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                      Exhibit A
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Exhibit A
FTX Trading Ltd. Case No. 22-11068
Summary of Fees by Professional
For the Period January 1, 2023 through January 31, 2023


               Name                         Rank           Date of Service             Project Category                                                     Description of Services                                          Hours   Hourly Rate   Fees
                                                                                                                      Follow-up on Project Management Office action items including correspondence with workstream
Ancona,Christopher                          Senior            1/2/2023       Chapter 11 Process and Case Management                                                                                                          1.80     $395.00       $711.00
                                                                                                                      leads and updating the Project Management Office status tracker
Ash,Polly Westerberg                   Senior Manager         1/2/2023        Project Management Office Transition    FTX Project Management Office (PMO) touchpoint call with P. Ash (EY) and C. Ancona (EY)                0.60     $650.00       $390.00

Ancona,Christopher                          Senior            1/2/2023        Project Management Office Transition    FTX Project Management Office (PMO) touchpoint call with P. Ash (EY) and C. Ancona (EY)                0.60     $395.00       $237.00
Ancona,Christopher                          Senior            1/2/2023        Project Management Office Transition    Make updates to FTX Strategic priorities slide deck                                                    1.80     $395.00        $711.00
Ancona,Christopher                          Senior            1/2/2023        Project Management Office Transition    Update the Final Deliverable deck to be shared with the FTX Committee                                  0.80     $395.00        $316.00
Ancona,Christopher                          Senior            1/2/2023        Project Management Office Transition    Update the Final Deliverable deck to be shared with the FTX Committee                                  1.20     $395.00        $474.00
Bailey,Doug                            Partner/Principal      1/2/2023                   Tax Advisory                 Continue research of tax court cases related to tax issue relevant to the company                      2.90     $825.00      $2,392.50
                                                                                                                      Draft funds flows document showing flows associated with fiat funds and flows associated with
Bailey,Doug                            Partner/Principal      1/2/2023                    Tax Advisory                                                                                                                       1.40     $825.00      $1,155.00
                                                                                                                      certain transactions and entities to aid in tax analysis
                                                                                                                      Correspondence regarding Gibraltar payroll taxes and staffing of EY foreign teams with regional
Hammon,David Lane                          Manager            1/2/2023                    Non US Tax                                                                                                                         2.70     $525.00      $1,417.50
                                                                                                                      leadership
                                                                                                                      Meeting with A. Richardson (EY) to coordinate with to generated transaction reports from
Nichol,T.J.                            Senior Manager         1/2/2023                Information Reporting                                                                                                                  1.90     $650.00      $1,235.00
                                                                                                                      QuickBooks
Richardson,Audrey Sarah                   Manager             1/2/2023                Information Reporting           Coordinate with T. Nichol (EY) to generated transaction reports from QuickBooks                        1.90     $525.00        $997.50
Nichol,T.J.                            Senior Manager         1/2/2023                Information Reporting           Review transaction reports to identify reportable accounts for 1099 purposes                           2.30     $650.00      $1,495.00
                                                                                                                      1/3 Meeting with FTX leadership to discuss engagement updates, issues and risks. Attendees: M. Cilia
Ash,Polly Westerberg                   Senior Manager         1/3/2023        Project Management Office Transition                                                                                                           0.20     $650.00       $130.00
                                                                                                                      (FTX), P. Ash (EY), T. Shea (EY), J. Berman (EY), K. Lowery (EY), J. Scott (EY)

                                                                                                                      1/3 Meeting with FTX leadership to discuss engagement updates, issues and risks. Attendees: M. Cilia
Shea JR,Thomas M                       Partner/Principal      1/3/2023        Project Management Office Transition                                                                                                           0.20     $825.00       $165.00
                                                                                                                      (FTX), P. Ash (EY), T. Shea (EY), J. Berman (EY), K. Lowery (EY), J. Scott (EY)

                                                                                                                      1/3 Meeting with FTX leadership to discuss engagement updates, issues and risks. Attendees: M. Cilia
Berman,Jake                            Senior Manager         1/3/2023        Project Management Office Transition                                                                                                           0.20     $650.00       $130.00
                                                                                                                      (FTX), P. Ash (EY), T. Shea (EY), J. Berman (EY), K. Lowery (EY), J. Scott (EY)

                                           National                                                                   1/3 Meeting with FTX leadership to discuss engagement updates, issues and risks. Attendees: M. Cilia
Lowery,Kristie L                                              1/3/2023        Project Management Office Transition                                                                                                           0.20     $990.00       $198.00
                                       Partner/Principal                                                              (FTX), P. Ash (EY), T. Shea (EY), J. Berman (EY), K. Lowery (EY), J. Scott (EY)

                                        Client Serving                                                                1/3 Meeting with FTX leadership to discuss engagement updates, issues and risks. Attendees: M. Cilia
Scott,James                                                   1/3/2023        Project Management Office Transition                                                                                                           0.20     $600.00       $120.00
                                        Contractor JS                                                                 (FTX), P. Ash (EY), T. Shea (EY), J. Berman (EY), K. Lowery (EY), J. Scott (EY)
                                                                                                                      Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action items.
Shea JR,Thomas M                       Partner/Principal      1/3/2023        Project Management Office Transition                                                                                                           0.90     $825.00       $742.50
                                                                                                                      EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
                                                                                                                      Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action items.
Berman,Jake                            Senior Manager         1/3/2023        Project Management Office Transition                                                                                                           0.90     $650.00       $585.00
                                                                                                                      EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
                                           National                                                                   Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action items.
Lowery,Kristie L                                              1/3/2023        Project Management Office Transition                                                                                                           0.90     $990.00       $891.00
                                       Partner/Principal                                                              EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
                                        Client Serving                                                                Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action items.
Scott,James                                                   1/3/2023        Project Management Office Transition                                                                                                           0.90     $600.00       $540.00
                                        Contractor JS                                                                 EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
                                                                                                                      Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action items.
Ash,Polly Westerberg                   Senior Manager         1/3/2023        Project Management Office Transition                                                                                                           0.90     $650.00       $585.00
                                                                                                                      EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
                                        Client Serving
Scott,James                                                   1/3/2023                   US Income Tax                Prepare for FTX call with K. Schultea and M. Cilia.                                                    1.20     $600.00       $720.00
                                        Contractor JS
Bailey,Doug                            Partner/Principal      1/3/2023                    Tax Advisory                Analysis of FTX Trading's Terms of Service                                                             1.10     $825.00       $907.50
                                                                                                                      Analysis performed on investor, vendor, and independent contractor data received from FTX and
Nichol,T.J.                            Senior Manager         1/3/2023                Information Reporting                                                                                                                  4.00     $650.00      $2,600.00
                                                                                                                      drafting of 1099 extensions
                                                                                                                      Call to discuss FTX MOR Tax Balance Sheet reserve requirements given FTX fact pattern. Discuss
                                                                                                                      today: The extended due date for the MOR and steps toward completion, timing challenges related to
                                        Client Serving
Scott,James                                                   1/3/2023               US State and Local Tax           obtaining historical tax compliance documentation, Review of ASC 852 and ASC 740 requirements          0.50     $600.00       $300.00
                                        Contractor JS
                                                                                                                      and how they relate to MOR and potential workflows. Attendees: J. Scott (EY), T. Shea (EY), N.
                                                                                                                      Flagg (EY), D. Johnson (EY).
                                                                                                                      Call to discuss FTX MOR Tax Balance Sheet reserve requirements given FTX fact pattern. Discuss
                                                                                                                      today: The extended due date for the MOR and steps toward completion, timing challenges related to
Shea JR,Thomas M                       Partner/Principal      1/3/2023               US State and Local Tax           obtaining historical tax compliance documentation, Review of ASC 852 and ASC 740 requirements          0.50     $825.00       $412.50
                                                                                                                      and how they relate to MOR and potential workflows. Attendees: J. Scott (EY), T. Shea (EY), N.
                                                                                                                      Flagg (EY), D. Johnson (EY).
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                  Name        Rank           Date of Service            Project Category                                                      Description of Services                                         Hours   Hourly Rate   Fees
                                                                                                       Call to discuss FTX MOR Tax Balance Sheet reserve requirements given FTX fact pattern. Discuss
                                                                                                       today: The extended due date for the MOR and steps toward completion, timing challenges related to
Flagg,Nancy A.           Managing Director      1/3/2023             US State and Local Tax            obtaining historical tax compliance documentation, Review of ASC 852 and ASC 740 requirements          0.50     $775.00       $387.50
                                                                                                       and how they relate to MOR and potential workflows. Attendees: J. Scott (EY), T. Shea (EY), N.
                                                                                                       Flagg (EY), D. Johnson (EY).
                                                                                                       Call to discuss FTX MOR Tax Balance Sheet reserve requirements given FTX fact pattern. Discuss
                                                                                                       today: The extended due date for the MOR and steps toward completion, timing challenges related to
Johnson,Derrick Joseph         Staff            1/3/2023             US State and Local Tax            obtaining historical tax compliance documentation, Review of ASC 852 and ASC 740 requirements          0.50     $225.00       $112.50
                                                                                                       and how they relate to MOR and potential workflows. Attendees: J. Scott (EY), T. Shea (EY), N.
                                                                                                       Flagg (EY), D. Johnson (EY).
                                                                                                       Call to discuss open indirect tax items and next steps on FTX. Discuss first day motions and the
                                                                                                       information included in the FTX first day tax motion, compiling a spreadsheet with critical
Flagg,Nancy A.           Managing Director      1/3/2023             US State and Local Tax            information specific to the debtor’s bankruptcy filing for the team to access easily, walkthrough of   0.40     $775.00       $310.00
                                                                                                       FTX’s Kroll site to understand claims that have been filed and to determine if any of the 39 claims
                                                                                                       filed to date are for tax issues. Attendees: D. Johnson (EY), N. Flagg (EY)

                                                                                                       Call to discuss open indirect tax items and next steps on FTX. Discuss first day motions and the
                                                                                                       information included in the FTX first day tax motion, compiling a spreadsheet with critical
Johnson,Derrick Joseph         Staff            1/3/2023             US State and Local Tax            information specific to the debtor’s bankruptcy filing for the team to access easily, walkthrough of   0.40     $225.00        $90.00
                                                                                                       FTX’s Kroll site to understand claims that have been filed and to determine if any of the 39 claims
                                                                                                       filed to date are for tax issues. Attendees: D. Johnson (EY), N. Flagg (EY)
                                                                                                       Call to discuss the open items for EY and HR issues for next steps. Attendees: K. Schultea, M. Cilia
Shea JR,Thomas M         Partner/Principal      1/3/2023                   Payroll Tax                                                                                                                        0.50     $825.00       $412.50
                                                                                                       (FTX), T. Shea (EY), J. Scott (EY) and K. Lowery (EY).
                          Client Serving                                                               Call to discuss the open items for EY and HR issues for next steps. Attendees: K. Schultea, M. Cilia
Scott,James                                     1/3/2023                   Payroll Tax                                                                                                                        0.50     $600.00       $300.00
                          Contractor JS                                                                (FTX), T. Shea (EY), J. Scott (EY) and K. Lowery (EY).
                             National                                                                  Call to discuss the open items for EY and HR issues for next steps. Attendees: K. Schultea, M. Cilia
Lowery,Kristie L                                1/3/2023                   Payroll Tax                                                                                                                        0.50     $990.00       $495.00
                         Partner/Principal                                                             (FTX), T. Shea (EY), J. Scott (EY) and K. Lowery (EY).
                                                                                                       Call with C. Joseph (EY) and M. Musano (EY) on California's treatment of unpaid tax liabilities for
Musano,Matthew Albert     Senior Manager        1/3/2023             US State and Local Tax                                                                                                                   0.50     $650.00       $325.00
                                                                                                       FTX entities.
                                                                                                       Call with FTX local Gibraltar contacts/legal counsel to discuss EY's assistance with the Gibraltar
                             National                                                                  November/December payroll taxes and social contributions. Attendees: D. Hammon (EY), K. Lowery
Lowery,Kristie L                                1/3/2023                   Non US Tax                                                                                                                         0.50     $990.00       $495.00
                         Partner/Principal                                                             (EY), K. Staromiejska (EY), T. Knoeller (EY), T. Shea (EY), E. Simpson (EY), O. Ravnushkin, M.
                                                                                                       Cilia, K. Schultea, N. Simoneaux, R. Kumanan (A&M)
                                                                                                       Call with FTX local Gibraltar contacts/legal counsel to discuss EY's assistance with the Gibraltar
                             National                                                                  November/December payroll taxes and social contributions. Attendees: D. Hammon (EY), K. Lowery
Simpson,Kirsten                                 1/3/2023                   Non US Tax                                                                                                                         0.50     $990.00       $495.00
                         Partner/Principal                                                             (EY), K. Staromiejska (EY), T. Knoeller (EY), T. Shea (EY), E. Simpson (EY), O. Ravnushkin, M.
                                                                                                       Cilia, K. Schultea, N. Simoneaux, R. Kumanan (A&M)
                                                                                                       Call with FTX local Gibraltar contacts/legal counsel to discuss EY's assistance with the Gibraltar
                                                                                                       November/December payroll taxes and social contributions. Attendees: D. Hammon (EY), K. Lowery
Staromiejska,Kinga           Manager            1/3/2023                   Non US Tax                                                                                                                         0.50     $525.00       $262.50
                                                                                                       (EY), K. Staromiejska (EY), T. Knoeller (EY), T. Shea (EY), E. Simpson (EY), O. Ravnushkin, M.
                                                                                                       Cilia, K. Schultea, N. Simoneaux, R. Kumanan (A&M)
                                                                                                       Call with FTX local Gibraltar contacts/legal counsel to discuss EY's assistance with the Gibraltar
                                                                                                       November/December payroll taxes and social contributions. Attendees: D. Hammon (EY), K. Lowery
Shea JR,Thomas M         Partner/Principal      1/3/2023                   Non US Tax                                                                                                                         0.50     $825.00       $412.50
                                                                                                       (EY), K. Staromiejska (EY), T. Knoeller (EY), T. Shea (EY), E. Simpson (EY), O. Ravnushkin, M.
                                                                                                       Cilia, K. Schultea, N. Simoneaux, R. Kumanan (A&M)
                                                                                                       Call with FTX local Gibraltar contacts/legal counsel to discuss EY's assistance with the Gibraltar
                                                                                                       November/December payroll taxes and social contributions. Attendees: D. Hammon (EY), K. Lowery
Hammon,David Lane            Manager            1/3/2023                   Non US Tax                                                                                                                         0.50     $525.00       $262.50
                                                                                                       (EY), K. Staromiejska (EY), T. Knoeller (EY), T. Shea (EY), E. Simpson (EY), O. Ravnushkin, M.
                                                                                                       Cilia, K. Schultea, N. Simoneaux, R. Kumanan (A&M)
                                                                                                       Call with FTX local Gibraltar contacts/legal counsel to discuss EY's assistance with the Gibraltar
                                                                                                       November/December payroll taxes and social contributions. Attendees: D. Hammon (EY), K. Lowery
Knoeller,Thomas J.       Partner/Principal      1/3/2023       Project Management Office Transition                                                                                                           0.50     $825.00       $412.50
                                                                                                       (EY), K. Staromiejska (EY), T. Knoeller (EY), T. Shea (EY), E. Simpson (EY), O. Ravnushkin, M.
                                                                                                       Cilia, K. Schultea, N. Simoneaux, R. Kumanan (A&M)
                                                                                                       Call with local EY Gibraltar team to discuss details of engagement scope, engagement acceptance
Staromiejska,Kinga           Manager            1/3/2023                   Non US Tax                  procedures and urgent payroll tax assistance needed by FTX. Attendees: D. Hammon (EY), K.              0.50     $525.00       $262.50
                                                                                                       Staromiejska (EY), N. Rumford (EY), S. Carreras (EY)
                                                                                                       Call with local EY Gibraltar team to discuss details of engagement scope, engagement acceptance
Rumford,Neil             Partner/Principal      1/3/2023                   Non US Tax                  procedures and urgent payroll tax assistance needed by FTX. Attendees: D. Hammon (EY), K.              0.50     $990.00       $495.00
                                                                                                       Staromiejska (EY), N. Rumford (EY), S. Carreras (EY)
                                                                                                       Call with local EY Gibraltar team to discuss details of engagement scope, engagement acceptance
Carreras,Stephen             Manager            1/3/2023                   Non US Tax                  procedures and urgent payroll tax assistance needed by FTX. Attendees: D. Hammon (EY), K.              0.50     $525.00       $262.50
                                                                                                       Staromiejska (EY), N. Rumford (EY), S. Carreras (EY)
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                 Name           Rank          Date of Service     Project Category                                              Description of Services                                        Hours   Hourly Rate   Fees
                                                                                          Call with local EY Gibraltar team to discuss details of engagement scope, engagement acceptance
Hammon,David Lane             Manager            1/3/2023            Non US Tax           procedures and urgent payroll tax assistance needed by FTX. Attendees: D. Hammon (EY), K.            0.50     $525.00       $262.50
                                                                                          Staromiejska (EY), N. Rumford (EY), S. Carreras (EY)
Joseph,Carl A             Partner/Principal      1/3/2023       US State and Local Tax    Call with M. Musano (EY) on California's treatment of unpaid tax liabilities for FTX entities.       0.50     $825.00       $412.50
                           Client Serving
Scott,James                                      1/3/2023          US Income Tax          Caselaw review regarding gross income inclusion                                                      1.30     $600.00       $780.00
                           Contractor JS
                                                                                          Conference call regarding gross income. Attendees: T. Shea (EY), L. Lovelace (EY), D. Bailey (EY),
Shea JR,Thomas M          Partner/Principal      1/3/2023          US Income Tax                                                                                                               1.10     $825.00       $907.50
                                                                                          J. Scott (EY).
                                                                                          Conference call regarding gross income. Attendees: T. Shea (EY), L. Lovelace (EY), D. Bailey (EY),
Lovelace,Lauren           Partner/Principal      1/3/2023          US Income Tax                                                                                                               1.10     $825.00       $907.50
                                                                                          J. Scott (EY).
                                                                                          Conference call regarding gross income. Attendees: T. Shea (EY), L. Lovelace (EY), D. Bailey (EY),
Bailey,Doug               Partner/Principal      1/3/2023          US Income Tax                                                                                                               1.10     $825.00       $907.50
                                                                                          J. Scott (EY).
                            Client Serving                                                Conference call regarding gross income. Attendees: T. Shea (EY), L. Lovelace (EY), D. Bailey (EY),
Scott,James                                      1/3/2023          US Income Tax                                                                                                               1.10     $600.00       $660.00
                            Contractor JS                                                 J. Scott (EY).
                                                                                          Correspondence with EY APAC leadership regarding staffing of foreign teams for ACR and payroll
Hammon,David Lane             Manager            1/3/2023            Non US Tax                                                                                                                0.70     $525.00       $367.50
                                                                                          services
Hammon,David Lane             Manager            1/3/2023            Non US Tax           Correspondence with EY Gibraltar team on the urgent payroll tax assistance required from client      1.90     $525.00       $997.50
Wrenn,Kaitlin Doyle           Manager            1/3/2023            Payroll Tax          Daily update call with K Wrenn, Mary H, Jennie D, and Cody C (all EY)                                0.30     $525.00       $157.50
Carver,Cody R.                 Senior            1/3/2023            Payroll Tax          Daily update call with K Wrenn, Mary H, Jennie D, and Cody C (all EY)                                0.30     $395.00       $118.50
DeVincenzo,Jennie         Managing Director      1/3/2023            Payroll Tax          Daily update call with K Wrenn, Mary H, Jennie D, and Cody C (all EY)                                0.30     $775.00       $232.50
Hamilton,Mary Catherine        Senior            1/3/2023            Payroll Tax          Daily update call with K Wrenn, Mary H, Jennie D, and Cody C (all EY)                                0.30     $395.00       $118.50
                                                                                          Discuss FTX property tax (RP and BPP) with team, assign workflow with Richard Ferrari, Mike
Carlson,Tim               Managing Director      1/3/2023       US State and Local Tax                                                                                                         0.50     $775.00       $387.50
                                                                                          Johnson, Jeff Kwas, Matthew Gorman and Cody Anderson.
                                                                                          Discuss setting up call with Bahamas team, W-2 review and follow-up with foreign countries. Daily
DeVincenzo,Jennie         Managing Director      1/3/2023            Payroll Tax                                                                                                               0.30     $775.00       $232.50
                                                                                          update call with Jennie D, Kaitlin W and Cody C (all EY)
                                                                                          Discuss setting up call with Bahamas team, W-2 review and follow-up with foreign countries. Daily
Wrenn,Kaitlin Doyle           Manager            1/3/2023            Payroll Tax                                                                                                               0.30     $525.00       $157.50
                                                                                          update call with Jennie D, Kaitlin W and Cody C (all EY)
                                                                                          Discuss setting up call with Bahamas team, W-2 review and follow-up with foreign countries. Daily
Carver,Cody R.                 Senior            1/3/2023            Payroll Tax                                                                                                               0.30     $395.00       $118.50
                                                                                          update call with Jennie D, Kaitlin W and Cody C (all EY)
                                                                                          Discussion around technical tax matters for 2022 income calculation. Attendees: L. Lovelace (EY),
Lovelace,Lauren           Partner/Principal      1/3/2023          US Income Tax                                                                                                               1.00     $825.00       $825.00
                                                                                          D. Bailey (EY), L. Jayanthi (EY), T. Shea(EY), J. Scott (EY), J. Berman (EY).
                                                                                          Discussion around technical tax matters for 2022 income calculation. Attendees: L. Lovelace (EY),
Bailey,Doug               Partner/Principal      1/3/2023          US Income Tax                                                                                                               1.00     $825.00       $825.00
                                                                                          D. Bailey (EY), L. Jayanthi (EY), T. Shea(EY), J. Scott (EY), J. Berman (EY).
                                                                                          Discussion around technical tax matters for 2022 income calculation. Attendees: L. Lovelace (EY),
Jayanthi,Lakshmi           Senior Manager        1/3/2023          US Income Tax                                                                                                               1.00     $650.00       $650.00
                                                                                          D. Bailey (EY), L. Jayanthi (EY), T. Shea(EY), J. Scott (EY), J. Berman (EY).
                                                                                          Discussion around technical tax matters for 2022 income calculation. Attendees: L. Lovelace (EY),
Shea JR,Thomas M          Partner/Principal      1/3/2023          US Income Tax                                                                                                               1.00     $825.00       $825.00
                                                                                          D. Bailey (EY), L. Jayanthi (EY), T. Shea(EY), J. Scott (EY), J. Berman (EY).
                            Client Serving                                                Discussion around technical tax matters for 2022 income calculation. Attendees: L. Lovelace (EY),
Scott,James                                      1/3/2023          US Income Tax                                                                                                               1.00     $600.00       $600.00
                            Contractor JS                                                 D. Bailey (EY), L. Jayanthi (EY), T. Shea(EY), J. Scott (EY), J. Berman (EY).
                                                                                          Discussion around technical tax matters for 2022 income calculation. Attendees: L. Lovelace (EY),
Berman,Jake                Senior Manager        1/3/2023          US Income Tax                                                                                                               1.00     $650.00       $650.00
                                                                                          D. Bailey (EY), L. Jayanthi (EY), T. Shea(EY), J. Scott (EY), J. Berman (EY).
Shea JR,Thomas M          Partner/Principal      1/3/2023          US Income Tax          Discussion re: bankruptcy tax technical issues. Attendees: J. Scott (EY), T. Shea (EY).              0.50     $825.00       $412.50
Shea JR,Thomas M          Partner/Principal      1/3/2023          US Income Tax          Discussion re: bankruptcy tax technical issues. Attendees: J. Scott (EY), T. Shea (EY).              0.50     $825.00       $412.50
                                                                                          Discussion re: Gibraltar tax support with local team. Attendees: K. Staromiejska (EY), N. Rumford
Staromiejska,Kinga            Manager            1/3/2023          US Income Tax                                                                                                               0.50     $525.00       $262.50
                                                                                          (EY), S. Carrera (EY), T. Knoeller (EY), D. Hammon (EY), T. Shea (EY).
                                                                                          Discussion re: Gibraltar tax support with local team. Attendees: K. Staromiejska (EY), N. Rumford
Rumford,Neil              Partner/Principal      1/3/2023          US Income Tax                                                                                                               0.50     $990.00       $495.00
                                                                                          (EY), S. Carrera (EY), T. Knoeller (EY), D. Hammon (EY), T. Shea (EY).
                                                                                          Discussion re: Gibraltar tax support with local team. Attendees: K. Staromiejska (EY), N. Rumford
Carreras,Stephen              Manager            1/3/2023          US Income Tax                                                                                                               0.50     $525.00       $262.50
                                                                                          (EY), S. Carrera (EY), T. Knoeller (EY), D. Hammon (EY), T. Shea (EY).
                                                                                          Discussion re: Gibraltar tax support with local team. Attendees: K. Staromiejska (EY), N. Rumford
Knoeller,Thomas J.        Partner/Principal      1/3/2023          US Income Tax                                                                                                               0.50     $825.00       $412.50
                                                                                          (EY), S. Carrera (EY), T. Knoeller (EY), D. Hammon (EY), T. Shea (EY).
                                                                                          Discussion re: Gibraltar tax support with local team. Attendees: K. Staromiejska (EY), N. Rumford
Hammon,David Lane             Manager            1/3/2023          US Income Tax                                                                                                               0.50     $525.00       $262.50
                                                                                          (EY), S. Carrera (EY), T. Knoeller (EY), D. Hammon (EY), T. Shea (EY).
                                                                                          Discussion re: Gibraltar tax support with local team. Attendees: K. Staromiejska (EY), N. Rumford
Shea JR,Thomas M          Partner/Principal      1/3/2023          US Income Tax                                                                                                               0.50     $825.00       $412.50
                                                                                          (EY), S. Carrera (EY), T. Knoeller (EY), D. Hammon (EY), T. Shea (EY).
                            Client Serving                                                Discussion re: treatment of tax reserve balances for monthly operating reports Attendees: J. Scott
Scott,James                                      1/3/2023          US Income Tax                                                                                                               0.50     $600.00       $300.00
                            Contractor JS                                                 (EY), B. Richards, N. Flagg (EY), N. Bugden, D. Johnson (EY), T. Shea (EY).
                                                                                          Discussion re: treatment of tax reserve balances for monthly operating reports Attendees: J. Scott
Flagg,Nancy A.            Managing Director      1/3/2023          US Income Tax                                                                                                               0.50     $775.00       $387.50
                                                                                          (EY), B. Richards, N. Flagg (EY), N. Bugden, D. Johnson (EY), T. Shea (EY).
                                                                                          Discussion re: treatment of tax reserve balances for monthly operating reports Attendees: J. Scott
Johnson,Derrick Joseph          Staff            1/3/2023          US Income Tax                                                                                                               0.50     $225.00       $112.50
                                                                                          (EY), B. Richards, N. Flagg (EY), N. Bugden, D. Johnson (EY), T. Shea (EY).
                                                                                          Discussion re: treatment of tax reserve balances for monthly operating reports Attendees: J. Scott
Shea JR,Thomas M          Partner/Principal      1/3/2023          US Income Tax                                                                                                               0.50     $825.00       $412.50
                                                                                          (EY), B. Richards, N. Flagg (EY), N. Bugden, D. Johnson (EY), T. Shea (EY).
                                                                                          Discussion re: treatment of tax reserve balances for monthly operating reports Attendees: J. Scott
Richards,Briana A.        Partner/Principal      1/3/2023          US Income Tax                                                                                                               0.50     $1,150.00     $575.00
                                                                                          (EY), B. Richards, N. Flagg (EY), N. Bugden, D. Johnson (EY), T. Shea (EY).
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                 Name         Rank          Date of Service            Project Category                                                       Description of Services                                               Hours   Hourly Rate   Fees
                            National
Lowery,Kristie L                               1/3/2023                   Payroll Tax                 Evaluate and mapping of 1099 process for 2022 for all entities and responsibilities.                          0.50     $990.00       $495.00
                        Partner/Principal
                                                                                                      Finalize of funds flow slides and also drafting of slides related to Cottonwood facts and identification
Bailey,Doug             Partner/Principal      1/3/2023                  Tax Advisory                                                                                                                               1.40     $825.00      $1,155.00
                                                                                                      of potential tax implications, if any
                                                                                                      Follow-up on Project Management Office action items including correspondence with workstream
Ancona,Christopher           Senior            1/3/2023       Project Management Office Transition                                                                                                                  1.10     $395.00       $434.50
                                                                                                      leads and updating the Project Management Office status tracker
Bailey,Doug             Partner/Principal      1/3/2023                  Tax Advisory                 Further revisions to the funds flow deck after comments from others                                           1.20     $825.00       $990.00
                                                                                                      Internal call discussing deadlines and analysis of multiple tax issues a such as uncertain tax position
                          Client Serving                                                              and timing of recognition in preparation for a call with Sullivan and Cromwell and Alvarez and
Scott,James                                    1/3/2023                  Tax Advisory                                                                                                                               1.00     $600.00       $600.00
                          Contractor JS                                                               Marshal. Attendees: L. Lovelace (EY), D. Bailey (EY), J. Scott (EY), L. Jayanthi (EY), J. Berman
                                                                                                      (EY), T. Shea (EY)
                                                                                                      Internal call discussing deadlines and analysis of multiple tax issues a such as uncertain tax position
                                                                                                      and timing of recognition in preparation for a call with Sullivan and Cromwell and Alvarez and
Lovelace,Lauren         Partner/Principal      1/3/2023                  Tax Advisory                                                                                                                               1.00     $825.00       $825.00
                                                                                                      Marshal. Attendees: L. Lovelace (EY), D. Bailey (EY), J. Scott (EY), L. Jayanthi (EY), J. Berman
                                                                                                      (EY), T. Shea (EY)
                                                                                                      Internal call discussing deadlines and analysis of multiple tax issues a such as uncertain tax position
                                                                                                      and timing of recognition in preparation for a call with Sullivan and Cromwell and Alvarez and
Bailey,Doug             Partner/Principal      1/3/2023                  Tax Advisory                                                                                                                               1.00     $825.00       $825.00
                                                                                                      Marshal. Attendees: L. Lovelace (EY), D. Bailey (EY), J. Scott (EY), L. Jayanthi (EY), J. Berman
                                                                                                      (EY), T. Shea (EY)
                                                                                                      Internal call discussing deadlines and analysis of multiple tax issues a such as uncertain tax position
                                                                                                      and timing of recognition in preparation for a call with Sullivan and Cromwell and Alvarez and
Jayanthi,Lakshmi         Senior Manager        1/3/2023                  Tax Advisory                                                                                                                               1.00     $650.00       $650.00
                                                                                                      Marshal. Attendees: L. Lovelace (EY), D. Bailey (EY), J. Scott (EY), L. Jayanthi (EY), J. Berman
                                                                                                      (EY), T. Shea (EY)
                                                                                                      Internal call discussing deadlines and analysis of multiple tax issues a such as uncertain tax position
                                                                                                      and timing of recognition in preparation for a call with Sullivan and Cromwell and Alvarez and
Lovelace,Lauren         Partner/Principal      1/3/2023               US International Tax                                                                                                                          1.00     $825.00       $825.00
                                                                                                      Marshal. Attendees: L. Lovelace (EY), D. Bailey (EY), J. Scott (EY), L. Jayanthi (EY), J. Berman
                                                                                                      (EY), T. Shea (EY)
                                                                                                      Internal call discussing deadlines and analysis of multiple tax issues a such as uncertain tax position
                                                                                                      and timing of recognition in preparation for a call with Sullivan and Cromwell and Alvarez and
Shea JR,Thomas M        Partner/Principal      1/3/2023                  Tax Advisory                                                                                                                               1.00     $825.00       $825.00
                                                                                                      Marshal. Attendees: L. Lovelace (EY), D. Bailey (EY), J. Scott (EY), L. Jayanthi (EY), J. Berman
                                                                                                      (EY), T. Shea (EY)
                                                                                                      Internal call to discuss the status of direct and indirect tax workstreams relating to the gap analysis for
                                                                                                      pre-petition liability. Attendance: M. Musano (EY), W. Bieganski (EY), J. Jimenez (EY), N. Flagg
Berman,Jake              Senior Manager        1/3/2023                 US Income Tax                                                                                                                               0.50     $650.00       $325.00
                                                                                                      (EY), M. Coffey (EY), M. O'Brien (EY), Y. Sun (EY), A. Scheele (EY), E. Zheng (EY), J. Berman
                                                                                                      (EY), E. Hall (EY)
                                                                                                      Internal call to discuss the status of direct and indirect tax workstreams relating to the gap analysis for
                         Client Serving                                                               pre-petition liability. Attendance: M. Musano (EY), W. Bieganski (EY), J. Jimenez (EY), N. Flagg
Bieganski,Walter                               1/3/2023             US State and Local Tax                                                                                                                          0.50     $200.00       $100.00
                         Contractor WB                                                                (EY), M. Coffey (EY), M. O'Brien (EY), Y. Sun (EY), A. Scheele (EY), E. Zheng (EY), J. Berman
                                                                                                      (EY), E. Hall (EY)
                                                                                                      Internal call to discuss the status of direct and indirect tax workstreams relating to the gap analysis for
                                                                                                      pre-petition liability. Attendance: M. Musano (EY), W. Bieganski (EY), J. Jimenez (EY), N. Flagg
Coffey,Mandy V.          Senior Manager        1/3/2023             US State and Local Tax                                                                                                                          0.50     $650.00       $325.00
                                                                                                      (EY), M. Coffey (EY), M. O'Brien (EY), Y. Sun (EY), A. Scheele (EY), E. Zheng (EY), J. Berman
                                                                                                      (EY), E. Hall (EY)
                                                                                                      Internal call to discuss the status of direct and indirect tax workstreams relating to the gap analysis for
                                                                                                      pre-petition liability. Attendance: M. Musano (EY), W. Bieganski (EY), J. Jimenez (EY), N. Flagg
Flagg,Nancy A.          Managing Director      1/3/2023             US State and Local Tax                                                                                                                          0.50     $775.00       $387.50
                                                                                                      (EY), M. Coffey (EY), M. O'Brien (EY), Y. Sun (EY), A. Scheele (EY), E. Zheng (EY), J. Berman
                                                                                                      (EY), E. Hall (EY)
                                                                                                      Internal call to discuss the status of direct and indirect tax workstreams relating to the gap analysis for
                                                                                                      pre-petition liability. Attendance: M. Musano (EY), W. Bieganski (EY), J. Jimenez (EY), N. Flagg
Hall,Emily Melissa           Senior            1/3/2023             US State and Local Tax                                                                                                                          0.50     $395.00       $197.50
                                                                                                      (EY), M. Coffey (EY), M. O'Brien (EY), Y. Sun (EY), A. Scheele (EY), E. Zheng (EY), J. Berman
                                                                                                      (EY), E. Hall (EY)
                                                                                                      Internal call to discuss the status of direct and indirect tax workstreams relating to the gap analysis for
                                                                                                      pre-petition liability. Attendance: M. Musano (EY), W. Bieganski (EY), J. Jimenez (EY), N. Flagg
Jimenez,Joseph Robert    Senior Manager        1/3/2023             US State and Local Tax                                                                                                                          0.50     $650.00       $325.00
                                                                                                      (EY), M. Coffey (EY), M. O'Brien (EY), Y. Sun (EY), A. Scheele (EY), E. Zheng (EY), J. Berman
                                                                                                      (EY), E. Hall (EY)
                                                                                                      Internal call to discuss the status of direct and indirect tax workstreams relating to the gap analysis for
                                                                                                      pre-petition liability. Attendance: M. Musano (EY), W. Bieganski (EY), J. Jimenez (EY), N. Flagg
Musano,Matthew Albert    Senior Manager        1/3/2023             US State and Local Tax                                                                                                                          0.50     $650.00       $325.00
                                                                                                      (EY), M. Coffey (EY), M. O'Brien (EY), Y. Sun (EY), A. Scheele (EY), E. Zheng (EY), J. Berman
                                                                                                      (EY), E. Hall (EY)
                                                                                                      Internal call to discuss the status of direct and indirect tax workstreams relating to the gap analysis for
                                                                                                      pre-petition liability. Attendance: M. Musano (EY), W. Bieganski (EY), J. Jimenez (EY), N. Flagg
O'Brien,Mike            Partner/Principal      1/3/2023             US State and Local Tax                                                                                                                          0.50     $825.00       $412.50
                                                                                                      (EY), M. Coffey (EY), M. O'Brien (EY), Y. Sun (EY), A. Scheele (EY), E. Zheng (EY), J. Berman
                                                                                                      (EY), E. Hall (EY)
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                 Name         Rank          Date of Service            Project Category                                                       Description of Services                                               Hours   Hourly Rate   Fees
                                                                                                      Internal call to discuss the status of direct and indirect tax workstreams relating to the gap analysis for
                                                                                                      pre-petition liability. Attendance: M. Musano (EY), W. Bieganski (EY), J. Jimenez (EY), N. Flagg
Scheele,Ashley          Managing Director      1/3/2023             US State and Local Tax                                                                                                                          0.50     $775.00       $387.50
                                                                                                      (EY), M. Coffey (EY), M. O'Brien (EY), Y. Sun (EY), A. Scheele (EY), E. Zheng (EY), J. Berman
                                                                                                      (EY), E. Hall (EY)
                                                                                                      Internal call to discuss the status of direct and indirect tax workstreams relating to the gap analysis for
                                                                                                      pre-petition liability. Attendance: M. Musano (EY), W. Bieganski (EY), J. Jimenez (EY), N. Flagg
Sun,Yuchen                   Senior            1/3/2023             US State and Local Tax                                                                                                                          0.50     $395.00       $197.50
                                                                                                      (EY), M. Coffey (EY), M. O'Brien (EY), Y. Sun (EY), A. Scheele (EY), E. Zheng (EY), J. Berman
                                                                                                      (EY), E. Hall (EY)
                                                                                                      Internal call to discuss the status of direct and indirect tax workstreams relating to the gap analysis for
                                                                                                      pre-petition liability. Attendance: M. Musano (EY), W. Bieganski (EY), J. Jimenez (EY), N. Flagg
Zheng,Eva                   Manager            1/3/2023             US State and Local Tax                                                                                                                          0.50     $525.00       $262.50
                                                                                                      (EY), M. Coffey (EY), M. O'Brien (EY), Y. Sun (EY), A. Scheele (EY), E. Zheng (EY), J. Berman
                                                                                                      (EY), E. Hall (EY)
Ancona,Christopher            Senior           1/3/2023       Project Management Office Transition    Make updates to FTX Strategy deck                                                                             0.80     $395.00       $316.00
                          Client Serving
Scott,James                                    1/3/2023                 US Income Tax                 Mazars discontinuance of service                                                                              0.90     $600.00       $540.00
                          Contractor JS
                                                                                                      Meeting to discuss EY Gibraltar filing requirements based on received information and previous calls
Rumford,Neil            Partner/Principal      1/3/2023                   Non US Tax                  with FTX management/employees. Attendees: N. Rumford (EY), S. Carreras (EY), T. Knoeller (EY),                0.50     $990.00       $495.00
                                                                                                      T. Shea (EY), D. Hammon (EY), K. Staromiejska (EY)
                                                                                                      Meeting to discuss EY Gibraltar filing requirements based on received information and previous calls
Carreras,Stephen            Manager            1/3/2023                   Non US Tax                  with FTX management/employees. Attendees: N. Rumford (EY), S. Carreras (EY), T. Knoeller (EY),                0.50     $525.00       $262.50
                                                                                                      T. Shea (EY), D. Hammon (EY), K. Staromiejska (EY)
                                                                                                      Meeting to discuss EY Gibraltar filing requirements based on received information and previous calls
Knoeller,Thomas J.      Partner/Principal      1/3/2023                   Non US Tax                  with FTX management/employees. Attendees: N. Rumford (EY), S. Carreras (EY), T. Knoeller (EY),                0.50     $825.00       $412.50
                                                                                                      T. Shea (EY), D. Hammon (EY), K. Staromiejska (EY)
                                                                                                      Meeting to discuss EY Gibraltar filing requirements based on received information and previous calls
Hammon,David Lane           Manager            1/3/2023                   Non US Tax                  with FTX management/employees. Attendees: N. Rumford (EY), S. Carreras (EY), T. Knoeller (EY),                0.50     $525.00       $262.50
                                                                                                      T. Shea (EY), D. Hammon (EY), K. Staromiejska (EY)
                                                                                                      Meeting to discuss EY Gibraltar filing requirements based on received information and previous calls
Shea JR,Thomas M        Partner/Principal      1/3/2023                   Non US Tax                  with FTX management/employees. Attendees: N. Rumford (EY), S. Carreras (EY), T. Knoeller (EY),                0.50     $825.00       $412.50
                                                                                                      T. Shea (EY), D. Hammon (EY), K. Staromiejska (EY)
                                                                                                      Meeting to discuss EY Gibraltar filing requirements based on received information and previous calls
Staromiejska,Kinga          Manager            1/3/2023                   Non US Tax                  with FTX management/employees. Attendees: N. Rumford (EY), S. Carreras (EY), T. Knoeller (EY),                0.50     $525.00       $262.50
                                                                                                      T. Shea (EY), D. Hammon (EY), K. Staromiejska (EY)
                                                                                                      Meeting to discuss ZUBR Chapter 11 background, immediate filing requirement, tax & accounting
                            National                                                                  support needed, liquidation plan. Attendees: E. Simpson (S&C), K. Lowery (EY), T. Knoeller (EY),
Lowery,Kristie L                               1/3/2023                   Non US Tax                                                                                                                                0.50     $990.00       $495.00
                        Partner/Principal                                                             K. Staromiejska (EY), D. Hammon (EY), O. Ravnushkin (FTX), M. Cilia (RLKS/FTX), T. Shea
                                                                                                      (EY), K. Schultea (RLKS/FTX), N. Simoneaux (A&M), K. Ram (A&M)
                                                                                                      Meeting to discuss ZUBR Chapter 11 background, immediate filing requirement, tax & accounting
                                                                                                      support needed, liquidation plan. Attendees: E. Simpson (S&C), K. Lowery (EY), T. Knoeller (EY),
Knoeller,Thomas J.      Partner/Principal      1/3/2023                   Non US Tax                                                                                                                                0.50     $825.00       $412.50
                                                                                                      K. Staromiejska (EY), D. Hammon (EY), O. Ravnushkin (FTX), M. Cilia (RLKS/FTX), T. Shea
                                                                                                      (EY), (RLKS/FTX), N. Simoneaux (A&M), K. Ram (A&M)
                                                                                                      Meeting to discuss ZUBR Chapter 11 background, immediate filing requirement, tax & accounting
                                                                                                      support needed, liquidation plan. Attendees: E. Simpson (S&C), K. Lowery (EY), T. Knoeller (EY),
Hammon,David Lane           Manager            1/3/2023                   Non US Tax                                                                                                                                0.50     $525.00       $262.50
                                                                                                      K. Staromiejska (EY), D. Hammon (EY), O. Ravnushkin (FTX), M. Cilia (RLKS/FTX), T. Shea
                                                                                                      (EY), (RLKS/FTX), N. Simoneaux (A&M), K. Ram (A&M)
                                                                                                      Meeting to discuss ZUBR Chapter 11 background, immediate filing requirement, tax & accounting
                                                                                                      support needed, liquidation plan. Attendees: E. Simpson (S&C), K. Lowery (EY), T. Knoeller (EY),
Shea JR,Thomas M        Partner/Principal      1/3/2023                   Non US Tax                                                                                                                                0.50     $825.00       $412.50
                                                                                                      K. Staromiejska (EY), D. Hammon (EY), O. Ravnushkin (FTX), M. Cilia (RLKS/FTX), T. Shea
                                                                                                      (EY), (RLKS/FTX), N. Simoneaux (A&M), K. Ram (A&M)
                                                                                                      Meeting to discuss ZUBR Chapter 11 background, immediate filing requirement, tax & accounting
                                                                                                      support needed, liquidation plan. Attendees: E. Simpson (S&C), K. Lowery (EY), T. Knoeller (EY),
Staromiejska,Kinga          Manager            1/3/2023                   Non US Tax                                                                                                                                0.50     $525.00       $262.50
                                                                                                      K. Staromiejska (EY), D. Hammon (EY), O. Ravnushkin (FTX), M. Cilia (RLKS/FTX), T. Shea
                                                                                                      (EY), (RLKS/FTX), N. Simoneaux (A&M), K. Ram (A&M)
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ash,Polly Westerberg     Senior Manager        1/3/2023             US State and Local Tax            preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the           0.40     $650.00       $260.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ancona,Christopher           Senior            1/3/2023             US State and Local Tax            preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the           0.40     $395.00       $158.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Hall,Emily Melissa           Senior            1/3/2023             US State and Local Tax            preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the           0.40     $395.00       $158.00
                                                                                                      implementation of global compliance and reporting services
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                  Name         Rank          Date of Service     Project Category                                               Description of Services                                            Hours   Hourly Rate   Fees
                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                             National
McComber,Donna                                  1/3/2023       US State and Local Tax    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $990.00       $396.00
                         Partner/Principal
                                                                                         implementation of global compliance and reporting services
                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Shea JR,Thomas M         Partner/Principal      1/3/2023       US State and Local Tax    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                         implementation of global compliance and reporting services
                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Hammon,David Lane            Manager            1/3/2023       US State and Local Tax    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $525.00       $210.00
                                                                                         implementation of global compliance and reporting services
                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                          Client Serving
Bieganski,Walter                                1/3/2023       US State and Local Tax    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $200.00        $80.00
                          Contractor WB
                                                                                         implementation of global compliance and reporting services
                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Jimenez,Joseph Robert     Senior Manager        1/3/2023       US State and Local Tax    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                         implementation of global compliance and reporting services
                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                           Client Serving
Scott,James                                     1/3/2023       US State and Local Tax    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $600.00       $240.00
                           Contractor JS
                                                                                         implementation of global compliance and reporting services
                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Farrar,Anne              Partner/Principal      1/3/2023       US State and Local Tax    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                         implementation of global compliance and reporting services
                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                             National
Lowery,Kristie L                                1/3/2023       US State and Local Tax    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $990.00       $396.00
                         Partner/Principal
                                                                                         implementation of global compliance and reporting services
                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Knoeller,Thomas J.       Partner/Principal      1/3/2023       US State and Local Tax    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                         implementation of global compliance and reporting services
                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Staromiejska,Kinga           Manager            1/3/2023       US State and Local Tax    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $525.00       $210.00
                                                                                         implementation of global compliance and reporting services
                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Lovelace,Lauren          Partner/Principal      1/3/2023       US State and Local Tax    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                         implementation of global compliance and reporting services
                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Bailey,Doug              Partner/Principal      1/3/2023       US State and Local Tax    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                         implementation of global compliance and reporting services
                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Bost,Anne                Managing Director      1/3/2023       US State and Local Tax    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $775.00       $310.00
                                                                                         implementation of global compliance and reporting services
                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Cotopoulis,Alex          Managing Director      1/3/2023       US State and Local Tax    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $775.00       $310.00
                                                                                         implementation of global compliance and reporting services
                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Gengler,Charlie          Partner/Principal      1/3/2023       US State and Local Tax    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                         implementation of global compliance and reporting services
                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Jayanthi,Lakshmi          Senior Manager        1/3/2023       US State and Local Tax    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                         implementation of global compliance and reporting services
                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ferris,Tara              Partner/Principal      1/3/2023       US State and Local Tax    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                         implementation of global compliance and reporting services
                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Madhok,Kishan             Senior Manager        1/3/2023       US State and Local Tax    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                         implementation of global compliance and reporting services
                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Wrenn,Kaitlin Doyle          Manager            1/3/2023       US State and Local Tax    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $525.00       $210.00
                                                                                         implementation of global compliance and reporting services
                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Berman,Jake               Senior Manager        1/3/2023       US State and Local Tax    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                         implementation of global compliance and reporting services
                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Nichol,T.J.               Senior Manager        1/3/2023       US State and Local Tax    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                         implementation of global compliance and reporting services
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                 Name         Rank           Date of Service            Project Category                                                       Description of Services                                             Hours   Hourly Rate   Fees
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Katsnelson,David             Manager            1/3/2023             US State and Local Tax            preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the         0.40     $525.00       $210.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Musano,Matthew Albert     Senior Manager        1/3/2023             US State and Local Tax            preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the         0.40     $650.00       $260.00
                                                                                                       implementation of global compliance and reporting services
                          Client Serving
Scott,James                                     1/3/2023                 US Income Tax                 Monthly Operating Report presentation                                                                       1.20     $600.00       $720.00
                          Contractor JS
                             National                                                                  Prepare for status call with K. Schultea, M. Cilia, J. Scott and T. Shea at 4pm on payroll and HR
Lowery,Kristie L                                1/3/2023                   Payroll Tax                                                                                                                             0.50     $990.00       $495.00
                         Partner/Principal                                                             related tasks.
Shea JR,Thomas M         Partner/Principal      1/3/2023                 US Income Tax                 Prepare agenda, including coordination with workstream leads, for Tax C-Suite Update                        1.50     $825.00      $1,237.50
                                                                                                       Prepare for and participate in discussion re: Binance transaction. Attendees: G. Di Stefano (EY), D.
Di Stefano,Giulia             Senior            1/3/2023                 Transfer Pricing                                                                                                                          0.40     $395.00       $158.00
                                                                                                       McComber (EY).
                             National                                                                  Prepare for and participate in discussion re: Binance transaction. Attendees: G. Di Stefano (EY), D.
McComber,Donna                                  1/3/2023                 Transfer Pricing                                                                                                                          0.40     $990.00       $396.00
                         Partner/Principal                                                             McComber (EY).
                                                                                                       Prepare for/follow-ups re: Internal Prep for working group session with A&M/S&C regarding tax
Shea JR,Thomas M         Partner/Principal      1/3/2023                 US Income Tax                                                                                                                             0.40     $825.00       $330.00
                                                                                                       technical treatment of certain income and deduction items
                                                                                                       Prioritize and deploy open indirect tax items as they relate to client’s current bankruptcy status,
Johnson,Derrick Joseph         Staff            1/3/2023             US State and Local Tax            client’s current indirect tax exposure, bankruptcy consequences to open indirect tax items, and             0.30     $225.00        $67.50
                                                                                                       implications on EY indirect tax workstreams.
Flagg,Nancy A.           Managing Director      1/3/2023             US State and Local Tax            Provide tax next step documents to EY D. Johnson to populate                                                0.30     $775.00       $232.50
Di Stefano,Giulia            Senior             1/3/2023                Transfer Pricing               Research on implications of the Binance transaction                                                         0.50     $395.00       $197.50
                                                                                                       Review bankruptcy court docket for First Day Tax Motion and provide Order information to EY tax
Flagg,Nancy A.           Managing Director      1/3/2023             US State and Local Tax                                                                                                                        1.20     $775.00       $930.00
                                                                                                       team for proper application of tax returns and any related payments
MacLean,Corrie                Senior            1/3/2023                   Non US Tax                  Communication and responses to local EY teams regarding limitation of liability questions                   0.80     $395.00       $316.00
                          Client Serving
Bieganski,Walter                                1/3/2023             US State and Local Tax            Review correspondence regarding business licenses and annual reports                                        0.10     $200.00        $20.00
                          Contractor WB
                                                                                                       Review of emails concerning the foreign workstreams (e.g., staffing of ACR and payroll teams,
Hammon,David Lane            Manager            1/3/2023                   Non US Tax                  Gibraltar payroll tax, contractual updates, and other European countries needing EY's assistance with       3.30     $525.00      $1,732.50
                                                                                                       on-call compliance services)
                                                                                                       Review of FTX Trading's general ledger and gross income accounts in particular, analysis of FTX
Bailey,Doug              Partner/Principal      1/3/2023                  Tax Advisory                                                                                                                             2.10     $825.00      $1,732.50
                                                                                                       Trading's fees and pricing for margin trades, and scrutiny of the "future fill fees" gross income account
                             National                                                                  Review of HR related items provided by Hudson Trent of Alvarez and Marcel and open items that EY
Lowery,Kristie L                                1/3/2023                   Payroll Tax                                                                                                                             1.20     $990.00      $1,188.00
                         Partner/Principal                                                             needs to execute going forward.
Jayanthi,Lakshmi         Senior Manager         1/3/2023                  Tax Advisory                 Review of tax returns and associated correspondence regarding Cottonwood Grove                              2.30     $650.00      $1,495.00
Wrenn,Kaitlin Doyle          Manager            1/3/2023                   Payroll Tax                 Review of updated data in box for US payroll tax reporting and global data                                  2.20     $525.00      $1,155.00
                          Client Serving
Scott,James                                     1/3/2023                 US Income Tax                 Review presentation slides regarding gross income                                                           0.50     $600.00       $300.00
                          Contractor JS
                          Client Serving
Bieganski,Walter                                1/3/2023             US State and Local Tax            Review tax diligence deck                                                                                   0.20     $200.00        $40.00
                         Contractor WB
Johnson,Derrick Joseph         Staff            1/3/2023             US State and Local Tax            Review all 39 claims on FTX's docket to determine if any were tax issues.                                   0.90     $225.00       $202.50
                          Client Serving
Scott,James                                     1/3/2023                 US Income Tax                 Assistance with the review of state license and annual report filings                                       0.20     $600.00       $120.00
                          Contractor JS
                                                                                                       Summarize and provide first day tax motion and order and related bankruptcy dockets along with EY
Flagg,Nancy A.           Managing Director      1/3/2023             US State and Local Tax                                                                                                                        0.90     $775.00       $697.50
                                                                                                       D. Johnson's tax proof of claim review information to the EY FTX direct and indirect tax teams
                                                                                                       Tax Support Workstream - Executive Update with FTX C-Suite. Attendees: P. Ash, M. Cilia, K.
Shea JR,Thomas M         Partner/Principal      1/3/2023                 US Income Tax                                                                                                                             0.70     $825.00       $577.50
                                                                                                       Schultea, K. Lowery, J. Scott, J. Berman
Santoro,David                Manager            1/3/2023              Information Reporting            Vendor Data Analysis                                                                                        0.50     $525.00       $262.50
                                                                                                       Meeting to discuss location of FTX US documents. Attendees: P. Ash (EY), D. Hammon (EY), K.
Hammon,David Lane            Manager            1/4/2023       Project Management Office Transition                                                                                                                0.30     $525.00       $157.50
                                                                                                       Staromiejska (EY), C. MacLean (EY), C. Ancona (EY)
                                                                                                       Meeting to discuss location of FTX US documents. Attendees: P. Ash (EY), D. Hammon (EY), K.
Staromiejska,Kinga           Manager            1/4/2023       Project Management Office Transition                                                                                                                0.30     $525.00       $157.50
                                                                                                       Staromiejska (EY), C. MacLean (EY), C. Ancona (EY)
                                                                                                       Meeting to discuss location of FTX US documents. Attendees: P. Ash (EY), D. Hammon (EY), K.
Ash,Polly Westerberg      Senior Manager        1/4/2023       Project Management Office Transition                                                                                                                0.30     $650.00       $195.00
                                                                                                       Staromiejska (EY), C. MacLean (EY), C. Ancona (EY)
                                                                                                       Meeting to discuss location of FTX US documents. Attendees: P. Ash (EY), D. Hammon (EY), K.
MacLean,Corrie                Senior            1/4/2023       Project Management Office Transition                                                                                                                0.30     $395.00       $118.50
                                                                                                       Staromiejska (EY), C. MacLean (EY), C. Ancona (EY)
                                                                                                       Meeting to discuss location of FTX US documents. Attendees: P. Ash (EY), D. Hammon (EY), K.
Ancona,Christopher            Senior            1/4/2023       Project Management Office Transition                                                                                                                0.30     $395.00       $118.50
                                                                                                       Staromiejska (EY), C. MacLean (EY), C. Ancona (EY)
                                                                                                       Internal call discussing different case law and the application concerning FTX funds flow with J. Scott
Berman,Jake               Senior Manager        1/4/2023                  Tax Advisory                                                                                                                             1.00     $650.00       $650.00
                                                                                                       (EY), T. Shea (EY), J. Berman (EY), L. Lovelace (EY), D. Bailey (EY), L. Jayanthi (EY).

                                                                                                       Internal call discussing different case law and the application concerning FTX funds flow with J. Scott
Bailey,Doug              Partner/Principal      1/4/2023                  Tax Advisory                                                                                                                             1.00     $825.00       $825.00
                                                                                                       (EY), T. Shea (EY), J. Berman (EY), L. Lovelace (EY), D. Bailey (EY), L. Jayanthi (EY).
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                 Name        Rank           Date of Service            Project Category                                                       Description of Services                                           Hours   Hourly Rate   Fees

                                                                                                      Internal call discussing different case law and the application concerning FTX funds flow with J. Scott
Jayanthi,Lakshmi        Senior Manager         1/4/2023                  Tax Advisory                                                                                                                           1.00     $650.00       $650.00
                                                                                                      (EY), T. Shea (EY), J. Berman (EY), L. Lovelace (EY), D. Bailey (EY), L. Jayanthi (EY).

                                                                                                      Internal call discussing different case law and the application concerning FTX funds flow with J. Scott
Lovelace,Lauren         Partner/Principal      1/4/2023               US International Tax                                                                                                                      1.00     $825.00       $825.00
                                                                                                      (EY), T. Shea (EY), J. Berman (EY), L. Lovelace (EY), D. Bailey (EY), L. Jayanthi (EY).

                                                                                                      Internal call discussing different case law and the application concerning FTX funds flow with J. Scott
Shea JR,Thomas M        Partner/Principal      1/4/2023                  Tax Advisory                                                                                                                           1.00     $825.00       $825.00
                                                                                                      (EY), T. Shea (EY), J. Berman (EY), L. Lovelace (EY), D. Bailey (EY), L. Jayanthi (EY).

                         Client Serving                                                               Internal call discussing different case law and the application concerning FTX funds flow with J. Scott
Scott,James                                    1/4/2023                  Tax Advisory                                                                                                                           1.00     $600.00       $600.00
                         Contractor JS                                                                (EY), T. Shea (EY), J. Berman (EY), L. Lovelace (EY), D. Bailey (EY), L. Jayanthi (EY).
                                                                                                      Meeting to prepare PSMs template for foreign offices, drafting PSMs with D. Hammon (EY) and C.
Hammon,David Lane           Manager            1/4/2023                   Non US Tax                                                                                                                            1.50     $525.00       $787.50
                                                                                                      MacLean (EY)
                                                                                                      Meeting to create PSMs template for foreign offices, drafting PSMs with D. Hammon (EY) and C.
MacLean,Corrie               Senior            1/4/2023                   Non US Tax                                                                                                                            1.50     $395.00       $592.50
                                                                                                      MacLean (EY)
                                                                                                      Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Knoeller,Thomas J.      Partner/Principal      1/4/2023                   Non US Tax                  standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.            1.00     $825.00       $825.00
                                                                                                      Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                      Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Hammon,David Lane           Manager            1/4/2023                   Non US Tax                  standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.            1.00     $525.00       $525.00
                                                                                                      Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                      Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Staromiejska,Kinga          Manager            1/4/2023                   Non US Tax                  standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.            1.00     $525.00       $525.00
                                                                                                      Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                      Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
MacLean,Corrie               Senior            1/4/2023                   Non US Tax                  standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.            1.00     $395.00       $395.00
                                                                                                      Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)
Ash,Polly Westerberg    Senior Manager         1/4/2023       Project Management Office Transition    FTX PMO touchpoint call with P. Ash (EY) and C. Ancona (EY)                                               0.30     $650.00       $195.00
Ancona,Christopher          Senior             1/4/2023       Project Management Office Transition    FTX PMO touchpoint call with P. Ash (EY) and C. Ancona (EY)                                               0.30     $395.00       $118.50
Nichol,T.J.             Senior Manager         1/4/2023              Information Reporting            Analysis performed on investor, vendor, and independent contractor data received from FTX                 4.00     $650.00      $2,600.00
Ancona,Christopher           Senior            1/4/2023       Project Management Office Transition    Make updates to the FTX Strategic priorities deck                                                         1.20     $395.00       $474.00
                                                                                                      Summarize FTX EY Leads touchpoint meeting discussion, compile action items, follow-up items, and
Ancona,Christopher           Senior            1/4/2023       Project Management Office Transition                                                                                                              1.40     $395.00       $553.00
                                                                                                      applicable parties. Circulate meeting notes to EY Leads.
Bailey,Doug             Partner/Principal      1/4/2023                  Tax Advisory                 Analysis of additional court cases and articles associated with tax issue relevant to the company         2.10     $825.00      $1,732.50

                                                                                                      Emails and discussions with state tax experts concerning the application of the state
Bailey,Doug             Partner/Principal      1/4/2023                  Tax Advisory                                                                                                                           1.90     $825.00      $1,567.50
                                                                                                      combination/unitary rules and whether such rules could create state tax liabilities for the debtors
                                                                                                      Finalize technical outline for working group to review prior to the working group's call on the tax
Bailey,Doug             Partner/Principal      1/4/2023                  Tax Advisory                                                                                                                           1.60     $825.00      $1,320.00
                                                                                                      issue relevant to the company.
                                                                                                      Discussion of tax technical items. Attendees: D. Bailey (EY), L. Lovelace (EY), L. Jayanthi (EY), T.
Bailey,Doug             Partner/Principal      1/4/2023                 US Income Tax                                                                                                                           0.70     $825.00       $577.50
                                                                                                      Shea (EY), J. Scott (EY), J. Berman (EY).
                                                                                                      Discussion of tax technical items. Attendees: D. Bailey (EY), L. Lovelace (EY), L. Jayanthi (EY), T.
Lovelace,Lauren         Partner/Principal      1/4/2023                 US Income Tax                                                                                                                           0.70     $825.00       $577.50
                                                                                                      Shea (EY), J. Scott (EY), J. Berman (EY).
                                                                                                      Discussion of tax technical items. Attendees: D. Bailey (EY), L. Lovelace (EY), L. Jayanthi (EY), T.
Jayanthi,Lakshmi        Senior Manager         1/4/2023                 US Income Tax                                                                                                                           0.70     $650.00       $455.00
                                                                                                      Shea (EY), J. Scott (EY), J. Berman (EY).
                                                                                                      Discussion of tax technical items. Attendees: D. Bailey (EY), L. Lovelace (EY), L. Jayanthi (EY), T.
Shea JR,Thomas M        Partner/Principal      1/4/2023                 US Income Tax                                                                                                                           0.70     $825.00       $577.50
                                                                                                      Shea (EY), J. Scott (EY), J. Berman (EY).
                         Client Serving                                                               Discussion of tax technical items. Attendees: D. Bailey (EY), L. Lovelace (EY), L. Jayanthi (EY), T.
Scott,James                                    1/4/2023                 US Income Tax                                                                                                                           0.70     $600.00       $420.00
                         Contractor JS                                                                Shea (EY), J. Scott (EY), J. Berman (EY).
                                                                                                      Discussion of tax technical items. Attendees: D. Bailey (EY), L. Lovelace (EY), L. Jayanthi (EY), T.
Berman,Jake             Senior Manager         1/4/2023                 US Income Tax                                                                                                                           0.70     $650.00       $455.00
                                                                                                      Shea (EY), J. Scott (EY), J. Berman (EY).
                                                                                                      Review of income(loss)/attribute schedule by year in diligence process of review of prior year tax
Berman,Jake             Senior Manager         1/4/2023                 US Income Tax                                                                                                                           1.20     $650.00       $780.00
                                                                                                      returns
                        Client Serving
Bieganski,Walter                               1/4/2023             US State and Local Tax            Review funding flow deck for state tax implications                                                       0.40     $200.00        $80.00
                        Contractor WB
                        Client Serving
Bieganski,Walter                               1/4/2023             US State and Local Tax            Review/revise state tax content in the Tax Diligence report                                               0.70     $200.00       $140.00
                        Contractor WB
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                 Name          Rank           Date of Service            Project Category                                                     Description of Services                                            Hours   Hourly Rate   Fees

                                                                                                       Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Hammon,David Lane             Manager            1/4/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.             1.00     $525.00       $525.00
                                                                                                       Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                                       Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Knoeller,Thomas J.        Partner/Principal      1/4/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.             1.00     $825.00       $825.00
                                                                                                       Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                                       Meeting to review transition-related items including next steps, issues requiring escalation, setup of
MacLean,Corrie                 Senior            1/4/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.             1.00     $395.00       $395.00
                                                                                                       Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                                       Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Staromiejska,Kinga            Manager            1/4/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.             1.00     $525.00       $525.00
                                                                                                       Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).
                                                                                                       Call with D. McComber (EY) and G. Di Stefano (EY) to discuss the implications of the Binance
Di Stefano,Giulia              Senior            1/4/2023                 Transfer Pricing                                                                                                                       0.30     $395.00       $118.50
                                                                                                       transaction with Giulia Di Stefano.
                              National                                                                 Call with D. McComber (EY) and G. Di Stefano (EY) to discuss the implications of the Binance
McComber,Donna                                   1/4/2023                 Transfer Pricing                                                                                                                       0.30     $990.00       $297.00
                          Partner/Principal                                                            transaction with Giulia Di Stefano.
Farrar,Anne               Partner/Principal      1/4/2023       Project Management Office Transition   Review of meeting agenda, notes, attendees, actions and risks                                             0.30     $825.00        $247.50
Hammon,David Lane             Manager            1/4/2023                  Non US Tax                  Correspondence regarding urgent assistance with Singapore GST filings                                     0.40     $525.00        $210.00
Hammon,David Lane             Manager            1/4/2023                  Non US Tax                  Draft templates and Correspondence related to subcontracting work to EY foreign firms                     3.10     $525.00      $1,627.50
Hammon,David Lane             Manager            1/4/2023                  Non US Tax                  Identification of foreign jurisdictions which will apply VAT/local surcharges to fees                     1.10     $525.00        $577.50
Jayanthi,Lakshmi          Senior Manager         1/4/2023                  Tax Advisory                Follow-up items related to the outstanding discussions re specific transactions and associated research   2.40     $650.00      $1,560.00
MacLean,Corrie                 Senior            1/4/2023                   Non US Tax                 Update EYI for US and foreign documents, update access                                                    2.30     $395.00       $908.50

Musano,Matthew Albert     Senior Manager         1/4/2023             US State and Local Tax           Call on preparing for call with S&C on FTX funds flow issue. Attendees: M. Musano (EY), L.                0.60     $650.00       $390.00
                                                                                                       Jayanthi (EY), D. Bailey (EY), L. Lovelace (EY), J.Berman (EY), T. Shea (EY) and J. Scott (EY).

Jayanthi,Lakshmi          Senior Manager         1/4/2023             US State and Local Tax           Call on preparing for call with S&C on FTX funds flow issue. Attendees: M. Musano (EY), L.                0.60     $650.00       $390.00
                                                                                                       Jayanthi (EY), D. Bailey (EY), L. Lovelace (EY), J.Berman (EY), T. Shea (EY) and J. Scott (EY).

Bailey,Doug               Partner/Principal      1/4/2023             US State and Local Tax           Call on preparing for call with S&C on FTX funds flow issue. Attendees: M. Musano (EY), L.                0.60     $825.00       $495.00
                                                                                                       Jayanthi (EY), D. Bailey (EY), L. Lovelace (EY), J.Berman (EY), T. Shea (EY) and J. Scott (EY).

Lovelace,Lauren           Partner/Principal      1/4/2023             US State and Local Tax           Call on preparing for call with S&C on FTX funds flow issue. Attendees: M. Musano (EY), L.                0.60     $825.00       $495.00
                                                                                                       Jayanthi (EY), D. Bailey (EY), L. Lovelace (EY), J.Berman (EY), T. Shea (EY) and J. Scott (EY).

Shea JR,Thomas M          Partner/Principal      1/4/2023             US State and Local Tax           Call on preparing for call with S&C on FTX funds flow issue. Attendees: M. Musano (EY), L.                0.60     $825.00       $495.00
                                                                                                       Jayanthi (EY), D. Bailey (EY), L. Lovelace (EY), J.Berman (EY), T. Shea (EY) and J. Scott (EY).
                           Client Serving
Scott,James                                      1/4/2023             US State and Local Tax           Call on preparing for call with S&C on FTX funds flow issue. Attendees: M. Musano (EY), L.                0.60     $600.00       $360.00
                           Contractor JS
                                                                                                       Jayanthi (EY), D. Bailey (EY), L. Lovelace (EY), J.Berman (EY), T. Shea (EY) and J. Scott (EY).

Berman,Jake               Senior Manager         1/4/2023             US State and Local Tax           Call on preparing for call with S&C on FTX funds flow issue. Attendees: M. Musano (EY), L.                0.60     $650.00       $390.00
                                                                                                       Jayanthi (EY), D. Bailey (EY), L. Lovelace (EY), J.Berman (EY), T. Shea (EY) and J. Scott (EY).
Owsley,John Christopher   Senior Manager         1/4/2023               US International Tax           Prepare Section 304 tax memo                                                                              7.00     $650.00      $4,550.00
                           Client Serving
Scott,James                                      1/4/2023                 US Income Tax                Gross income cases review                                                                                 2.50     $600.00      $1,500.00
                           Contractor JS
                           Client Serving
Scott,James                                      1/4/2023                 US Income Tax                PMO update slide review                                                                                   1.50     $600.00       $900.00
                           Contractor JS
                           Client Serving
Scott,James                                      1/4/2023                 US Income Tax                Review of PMO slide for 1/5/23 meeting                                                                    0.70     $600.00       $420.00
                           Contractor JS
                           Client Serving
Scott,James                                      1/4/2023                 US Income Tax                Tax motion review and request for detail                                                                  0.30     $600.00       $180.00
                           Contractor JS
Shea JR,Thomas M          Partner/Principal      1/4/2023                 US Income Tax                Discussion with D Hariton (S&C) regarding EY tax workstreams, technical and status updates.               1.00     $825.00       $825.00
                                                                                                       Review of tax motion filed for income tax disclosures, written correspondence with EY tax
Shea JR,Thomas M          Partner/Principal      1/4/2023                 US Income Tax                                                                                                                          1.60     $825.00      $1,320.00
                                                                                                       compliance team and A&M team
Shea JR,Thomas M          Partner/Principal      1/4/2023                 US Income Tax                Updates to Tax slide for project management / executive reporting to John Ray - submitted to A&M          1.10     $825.00       $907.50
Wrenn,Kaitlin Doyle           Manager            1/4/2023                   Payroll Tax                Review of vendor 1099 data provided and response to M Cilia on follow up items.                           2.40     $525.00      $1,260.00
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                  Name         Rank          Date of Service            Project Category                                                     Description of Services                                            Hours   Hourly Rate   Fees
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Jayanthi,Lakshmi          Senior Manager        1/5/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $650.00       $325.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ancona,Christopher            Senior            1/5/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $395.00       $158.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Hall,Emily Melissa            Senior            1/5/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $395.00       $158.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                             National
McComber,Donna                                  1/5/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $990.00       $396.00
                         Partner/Principal
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                          Client Serving
Bieganski,Walter                                1/5/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $200.00        $80.00
                          Contractor WB
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Jimenez,Joseph Robert     Senior Manager        1/5/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                           Client Serving
Scott,James                                     1/5/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $600.00       $240.00
                           Contractor JS
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Farrar,Anne              Partner/Principal      1/5/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                             National
Lowery,Kristie L                                1/5/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $990.00       $396.00
                         Partner/Principal
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Lovelace,Lauren          Partner/Principal      1/5/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Bailey,Doug              Partner/Principal      1/5/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Bost,Anne                Managing Director      1/5/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $775.00       $310.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Musano,Matthew Albert     Senior Manager        1/5/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Cotopoulis,Alex          Managing Director      1/5/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $775.00       $310.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Gengler,Charlie          Partner/Principal      1/5/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Jayanthi,Lakshmi          Senior Manager        1/5/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ferris,Tara              Partner/Principal      1/5/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Madhok,Kishan             Senior Manager        1/5/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Wrenn,Kaitlin Doyle          Manager            1/5/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $525.00       $210.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Berman,Jake               Senior Manager        1/5/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Nichol,T.J.               Senior Manager        1/5/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                      implementation of global compliance and reporting services
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                  Name         Rank          Date of Service            Project Category                                                     Description of Services                                            Hours   Hourly Rate   Fees
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Katsnelson,David             Manager            1/5/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $525.00       $210.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ash,Polly Westerberg      Senior Manager        1/5/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Hammon,David Lane            Manager            1/5/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $525.00       $210.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Knoeller,Thomas J.       Partner/Principal      1/5/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Shea JR,Thomas M         Partner/Principal      1/5/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Staromiejska,Kinga           Manager            1/5/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $525.00       $210.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                           Client Serving
Scott,James                                     1/4/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $600.00       $240.00
                           Contractor JS
                                                                                                      implementation of global compliance and reporting services
Ash,Polly Westerberg      Senior Manager        1/5/2023       Project Management Office Transition   Set-up of FTX and EY share file site                                                                      0.40     $650.00       $260.00
                                                                                                      Call to align on process for inventorying and sharing documents uploaded to Box by A&M.
Ash,Polly Westerberg      Senior Manager        1/5/2023                   Non US Tax                                                                                                                           0.30     $650.00       $195.00
                                                                                                      Attendees: D. Hammon (EY), C. MacLean (EY), P. Ash (EY).
                                                                                                      Call to align on process for inventorying and sharing documents uploaded to Box by A&M.
Hammon,David Lane            Manager            1/5/2023                   Non US Tax                                                                                                                           0.30     $525.00       $157.50
                                                                                                      Attendees: D. Hammon (EY), C. MacLean (EY), P. Ash (EY).
                                                                                                      Call to align on process for inventorying and sharing documents uploaded to Box by A&M.
MacLean,Corrie                Senior            1/5/2023                   Non US Tax                                                                                                                           0.30     $395.00       $118.50
                                                                                                      Attendees: D. Hammon (EY), C. MacLean (EY), P. Ash (EY).
                                                                                                      Call with EY Singapore Tax lead to discuss contract updates. Attendees: D. Hammon (EY), T. Shea
Shea JR,Thomas M         Partner/Principal      1/5/2023                   Non US Tax                                                                                                                           0.50     $825.00       $412.50
                                                                                                      (EY), T. Toryanik.
                                                                                                      Call with EY Singapore Tax lead to discuss contract updates. Attendees: D. Hammon (EY), T. Shea
Hammon,David Lane            Manager            1/5/2023                   Non US Tax                                                                                                                           0.50     $525.00       $262.50
                                                                                                      (EY), T. Toryanik.
                                                                                                      Analysis of FTX Digital Markets operations to determine applicability of various US international tax
Bailey,Doug              Partner/Principal      1/5/2023                  Tax Advisory                                                                                                                          1.40     $825.00      $1,155.00
                                                                                                      rules
Bailey,Doug              Partner/Principal      1/5/2023                  Tax Advisory                Evaluate procedural remedies available in the case of incomplete filings                                  1.20     $825.00       $990.00
                                                                                                      Call with Sullivan and Cromwell and Alvarez and Marsal. Discuss many relevant case laws on the
Shea JR,Thomas M         Partner/Principal      1/5/2023                  Tax Advisory                treatment of the FTX funds flow with D. Hariton, B. Seeway, K Jacobs, L Jayanthi (EY), L Lovelace         1.00     $825.00       $825.00
                                                                                                      (EY), D Bailey (EY), T Shea (EY), J Scott (EY).
                                                                                                      Call with Sullivan and Cromwell and Alvarez and Marsal. Discuss many relevant case laws on the
Bailey,Doug              Partner/Principal      1/5/2023                  Tax Advisory                treatment of the FTX funds flow with D. Hariton, B. Seeway, K Jacobs, L Jayanthi (EY), L Lovelace         1.00     $825.00       $825.00
                                                                                                      (EY), D Bailey (EY), T Shea (EY), J Scott (EY).
                                                                                                      Call with Sullivan and Cromwell and Alvarez and Marsal. Discuss many relevant case laws on the
Lovelace,Lauren          Partner/Principal      1/5/2023               US International Tax           treatment of the FTX funds flow with D. Hariton, B. Seeway, K Jacobs, L Jayanthi (EY), L Lovelace         1.00     $825.00       $825.00
                                                                                                      (EY), D Bailey (EY), T Shea (EY), J Scott (EY).
                                                                                                      Call with Sullivan and Cromwell and Alvarez and Marsal. Discuss many relevant case laws on the
                           Client Serving
Scott,James                                     1/5/2023                  Tax Advisory                treatment of the FTX funds flow with D. Hariton, B. Seeway, K Jacobs, L Jayanthi (EY), L Lovelace         1.00     $600.00       $600.00
                           Contractor JS
                                                                                                      (EY), D Bailey (EY), T Shea (EY), J Scott (EY).
                                                                                                      Call with Sullivan and Cromwell and Alvarez and Marsal. Discuss many relevant case laws on the
Jayanthi,Lakshmi          Senior Manager        1/5/2023                  Tax Advisory                treatment of the FTX funds flow with D. Hariton, B. Seeway, K Jacobs, L Jayanthi (EY), L Lovelace         1.00     $650.00       $650.00
                                                                                                      (EY), D Bailey (EY), T Shea (EY), J Scott (EY).
                                                                                                      Further analysis of FTX Trading general ledgers and market metrics to determine the reasonableness
Bailey,Doug              Partner/Principal      1/5/2023                  Tax Advisory                                                                                                                          2.10     $825.00      $1,732.50
                                                                                                      of its income categorizations
Berman,Jake               Senior Manager        1/5/2023                 US Income Tax                Review of Federal Entity Listing, evaluating complexity for compliance purposes                           1.40     $650.00       $910.00
                           Client Serving
Bieganski,Walter                                1/5/2023             US State and Local Tax           Review internal emails regarding first day tax motion/ EY Retention motion/ Tax Claim Review              0.30     $200.00        $60.00
                          Contractor WB
                                                                                                      Discuss Bahamas RP tax issues, BPP findings to date with Lissa Waller, Mary Catherine Statham and
Carlson,Tim              Managing Director      1/5/2023             US State and Local Tax                                                                                                                     0.50     $775.00       $387.50
                                                                                                      Colin Harper.
                                                                                                      Discuss setting up call with Bahamas team, W-2 review and follow-up with foreign countries. Daily
DeVincenzo,Jennie        Managing Director      1/5/2023                   Payroll Tax                                                                                                                          0.30     $775.00       $232.50
                                                                                                      update call with J. DeVincenzo, K. Wrenn and C. Carver (all EY)
                                                                                                      Discuss setting up call with Bahamas team, W-2 review and follow-up with foreign countries. Daily
Wrenn,Kaitlin Doyle          Manager            1/5/2023                   Payroll Tax                                                                                                                          0.30     $525.00       $157.50
                                                                                                      update call with J. DeVincenzo, K. Wrenn and C. Carver (all EY)
                                                                                                      Discuss setting up call with Bahamas team, W-2 review and follow-up with foreign countries. Daily
Carver,Cody R.                Senior            1/5/2023                   Payroll Tax                                                                                                                          0.30     $395.00       $118.50
                                                                                                      update call with J. DeVincenzo, K. Wrenn and C. Carver (all EY)
                                                                                                      Review internal correspondence and answer independence confirmation polling questions for FTX
Chyan,Megan                   Senior            1/5/2023             US State and Local Tax                                                                                                                     0.20     $395.00        $79.00
                                                                                                      from E. Hall
Cotopoulis,Alex          Managing Director      1/5/2023                Value Added Tax               Internal FTX EY Leads Touch Point Meetings.                                                               0.40     $775.00       $310.00
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                 Name           Rank          Date of Service            Project Category                                                    Description of Services                                          Hours   Hourly Rate   Fees
Wrenn,Kaitlin Doyle           Manager            1/5/2023                   Payroll Tax                Daily update call with J DeVincenzo, K. Wrenn, M. Hamilton and C. Carver (all EY)                      0.40     $525.00       $210.00
Carver,Cody R.                 Senior            1/5/2023                   Payroll Tax                Daily update call with J DeVincenzo, K. Wrenn, M. Hamilton and C. Carver (all EY)                      0.40     $395.00       $158.00
DeVincenzo,Jennie         Managing Director      1/5/2023                   Payroll Tax                Daily update call with J DeVincenzo, K. Wrenn, M. Hamilton and C. Carver (all EY)                      0.40     $775.00       $310.00
Hamilton,Mary Catherine        Senior            1/5/2023                   Payroll Tax                Daily update call with J DeVincenzo, K. Wrenn, M. Hamilton and C. Carver (all EY)                      0.40     $395.00       $158.00
                                                                                                       12/5 Meeting with Nils Molina to discuss TY22 investor data availability; analysis performed on data
Nichol,T.J.                Senior Manager        1/5/2023              Information Reporting                                                                                                                  4.00     $650.00      $2,600.00
                                                                                                       attributes
                                                                                                       Assist S. Beattie & T. Shea with FTX tracking of compliance for FA Examiner role vs. Tax
Farrar,Anne               Partner/Principal      1/5/2023       Project Management Office Transition                                                                                                          0.80     $825.00       $660.00
                                                                                                       Engagement. Includes cross-examining scope for local jurisdictions
Farrar,Anne               Partner/Principal      1/5/2023       Project Management Office Transition   Review status updates for meeting for FTX on tax status updates in Non-US jurisdictions                1.00     $825.00       $825.00
Hammon,David Lane             Manager            1/5/2023                   Non US Tax                 Correspondence regarding updates to memos used to subcontract work to the EY member firms              0.70     $525.00       $367.50

Hammon,David Lane             Manager            1/5/2023                   Non US Tax                 Review of contractual updates and analysis on how the updates will impact the EY foreign teams         1.60     $525.00       $840.00
                            Client Serving                                                             Internal call prepping for a call with Sullivan and Cromwell and Alvarez & Marsal. Discuss the FTX
Scott,James                                      1/5/2023                 US Income Tax                                                                                                                       1.00     $600.00       $600.00
                            Contractor JS                                                              funds flow issue with T. Shea, J. Scott, L. Lovelace, D. Bailey, L. Jayanthi (all EY)
                                                                                                       Internal call prepping for a call with Sullivan and Cromwell and Alvarez & Marsal. Discuss the FTX
Lovelace,Lauren           Partner/Principal      1/5/2023                  Tax Advisory                                                                                                                       1.00     $825.00       $825.00
                                                                                                       funds flow issue with T. Shea, J. Scott, L. Lovelace, D. Bailey, L. Jayanthi (all EY)
                                                                                                       Internal call prepping for a call with Sullivan and Cromwell and Alvarez & Marsal. Discuss the FTX
Bailey,Doug               Partner/Principal      1/5/2023                  Tax Advisory                                                                                                                       1.00     $825.00       $825.00
                                                                                                       funds flow issue with T. Shea, J. Scott, L. Lovelace, D. Bailey, L. Jayanthi (all EY)
                                                                                                       Internal call prepping for a call with Sullivan and Cromwell and Alvarez & Marsal. Discuss the FTX
Shea JR,Thomas M          Partner/Principal      1/5/2023                  Tax Advisory                                                                                                                       1.00     $825.00       $825.00
                                                                                                       funds flow issue with T. Shea, J. Scott, L. Lovelace, D. Bailey, L. Jayanthi (all EY)
                                                                                                       Internal call prepping for a call with Sullivan and Cromwell and Alvarez & Marsal. Discuss the FTX
Jayanthi,Lakshmi           Senior Manager        1/5/2023                  Tax Advisory                                                                                                                       1.00     $650.00       $650.00
                                                                                                       funds flow issue with T. Shea, J. Scott, L. Lovelace, D. Bailey, L. Jayanthi (all EY)
Jayanthi,Lakshmi           Senior Manager        1/5/2023                  Tax Advisory                Research and write- up regarding corporate income question                                             1.90     $650.00      $1,235.00
Loo,Lydia                      Senior            1/5/2023              Information Reporting           FTX transaction file analysis                                                                          2.10     $395.00        $829.50
                                                                                                       Meeting to discuss the concerns and issues with coding within Quickbooks related to information
Wrenn,Kaitlin Doyle           Manager            1/5/2023                   Payroll Tax                reporting and withholding for calendar year 2022. Attendees: M. Cilia (FTX), K. Wrenn (EY), T.         0.50     $525.00       $262.50
                                                                                                       Ferris (EY), TJ Nichol (EY), D. Santoro (EY), K. Lowery (EY).
                                                                                                       Meeting to discuss the concerns and issues with coding within Quickbooks related to information
Ferris,Tara               Partner/Principal      1/5/2023                   Payroll Tax                reporting and withholding for calendar year 2022. Attendees: M. Cilia (FTX), K. Wrenn (EY), T.         0.50     $825.00       $412.50
                                                                                                       Ferris (EY), TJ Nichol (EY), D. Santoro (EY), K. Lowery (EY).
                                                                                                       Meeting to discuss the concerns and issues with coding within Quickbooks related to information
Nichol,T.J.                Senior Manager        1/5/2023                   Payroll Tax                reporting and withholding for calendar year 2022. Attendees: M. Cilia (FTX), K. Wrenn (EY), T.         0.50     $650.00       $325.00
                                                                                                       Ferris (EY), TJ Nichol (EY), D. Santoro (EY), K. Lowery (EY).
                                                                                                       Meeting to discuss the concerns and issues with coding within Quickbooks related to information
Santoro,David                 Manager            1/5/2023                   Payroll Tax                reporting and withholding for calendar year 2022. Attendees: M. Cilia (FTX), K. Wrenn (EY), T.         0.50     $525.00       $262.50
                                                                                                       Ferris (EY), TJ Nichol (EY), D. Santoro (EY), K. Lowery (EY).
                                                                                                       Meeting to discuss the concerns and issues with coding within Quickbooks related to information
                              National
Lowery,Kristie L                                 1/5/2023                   Payroll Tax                reporting and withholding for calendar year 2022. Attendees: M. Cilia (FTX), K. Wrenn (EY), T.         0.50     $990.00       $495.00
                          Partner/Principal
                                                                                                       Ferris (EY), TJ Nichol (EY), D. Santoro (EY), K. Lowery (EY).
                                                                                                       Call on information reporting and withholding to discuss discrepancies and details between
                              National
Lowery,Kristie L                                 1/5/2023                   Payroll Tax                information provided by third party and Quickbooks payments. Attendees: K. Lowery (EY), T. Ferris      0.70     $990.00       $693.00
                          Partner/Principal
                                                                                                       (EY), K. Wrenn (EY), TJ Nichol (EY) and D. Santoro (EY).
                                                                                                       Call on information reporting and withholding to discuss discrepancies and details between
Ferris,Tara               Partner/Principal      1/5/2023                   Payroll Tax                information provided by third party and Quickbooks payments. Attendees: K. Lowery (EY), T. Ferris      0.70     $825.00       $577.50
                                                                                                       (EY), K. Wrenn (EY), TJ Nichol (EY) and D. Santoro (EY).
                                                                                                       Call on information reporting and withholding to discuss discrepancies and details between
Nichol,T.J.                Senior Manager        1/5/2023                   Payroll Tax                information provided by third party and Quickbooks payments. Attendees: K. Lowery (EY), T. Ferris      0.70     $650.00       $455.00
                                                                                                       (EY), K. Wrenn (EY), TJ Nichol (EY) and D. Santoro (EY).
                                                                                                       Call on information reporting and withholding to discuss discrepancies and details between
Wrenn,Kaitlin Doyle           Manager            1/5/2023                   Payroll Tax                information provided by third party and Quickbooks payments. Attendees: K. Lowery (EY), T. Ferris      0.70     $525.00       $367.50
                                                                                                       (EY), K. Wrenn (EY), TJ Nichol (EY) and D. Santoro (EY).
                                                                                                       Call on information reporting and withholding to discuss discrepancies and details between
Santoro,David                 Manager            1/5/2023                   Payroll Tax                information provided by third party and Quickbooks payments. Attendees: K. Lowery (EY), T. Ferris      0.70     $525.00       $367.50
                                                                                                       (EY), K. Wrenn (EY), TJ Nichol (EY) and D. Santoro (EY).
                              National                                                                 Prepare for meeting with M. Cilia and K. Schultea regarding next steps and open items related to
Lowery,Kristie L                                 1/5/2023                   Payroll Tax                                                                                                                       0.80     $990.00       $792.00
                          Partner/Principal                                                            payroll taxes and information reporting.
                                                                                                       Meeting to review available documentation for services to be provided under Fist Statement of Work.
MacLean,Corrie                 Senior            1/5/2023                   Non US Tax                                                                                                                        0.50     $395.00       $197.50
                                                                                                       Attendees: C. MacLean (EY), P. Ash (EY), K. Staromiejska (EY), C. Ancona (EY).

                                                                                                       Meeting to review available documentation for services to be provided under Fist Statement of Work.
Ash,Polly Westerberg       Senior Manager        1/5/2023                   Non US Tax                                                                                                                        0.50     $650.00       $325.00
                                                                                                       Attendees: C. MacLean (EY), P. Ash (EY), K. Staromiejska (EY), C. Ancona (EY).

                                                                                                       Meeting to review available documentation for services to be provided under Fist Statement of Work.
Ancona,Christopher             Senior            1/5/2023                   Non US Tax                                                                                                                        0.50     $395.00       $197.50
                                                                                                       Attendees: C. MacLean (EY), P. Ash (EY), K. Staromiejska (EY), C. Ancona (EY).
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                 Name        Rank           Date of Service   Project Category                                            Description of Services                                            Hours   Hourly Rate   Fees

                                                                                   Meeting to review available documentation for services to be provided under Fist Statement of Work.
Staromiejska,Kinga          Manager            1/5/2023         Non US Tax                                                                                                                   0.50     $525.00       $262.50
                                                                                   Attendees: C. MacLean (EY), P. Ash (EY), K. Staromiejska (EY), C. Ancona (EY).
                                                                                   Meeting to review delivery of services in Statement of Work in connection with submission to
                                                                                   bankruptcy court in order to identify and evaluate client acceptance and service offering approval by
Hammon,David Lane           Manager            1/5/2023         Non US Tax                                                                                                                   0.50     $525.00       $262.50
                                                                                   the Global Client Serving Partner. Attendees: D. Hammon (EY), T. Toryanik, T. Shea (EY), T.
                                                                                   Knoeller (EY), K. Staromiejska (EY).
                                                                                   Meeting to review delivery of services in Statement of Work in connection with submission to
                                                                                   bankruptcy court in order to identify and evaluate client acceptance and service offering approval by
Shea JR,Thomas M        Partner/Principal      1/5/2023         Non US Tax                                                                                                                   0.50     $825.00       $412.50
                                                                                   the Global Client Serving Partner. Attendees: D. Hammon (EY), T. Toryanik, T. Shea (EY), T.
                                                                                   Knoeller (EY), K. Staromiejska (EY).
                                                                                   Meeting to review delivery of services in Statement of Work in connection with submission to
                                                                                   bankruptcy court in order to identify and evaluate client acceptance and service offering approval by
Knoeller,Thomas J.      Partner/Principal      1/5/2023         Non US Tax                                                                                                                   0.50     $825.00       $412.50
                                                                                   the Global Client Serving Partner. Attendees: D. Hammon (EY), T. Toryanik, T. Shea (EY), T.
                                                                                   Knoeller (EY), K. Staromiejska (EY).
                                                                                   Meeting to review delivery of services in Statement of Work in connection with submission to
                                                                                   bankruptcy court in order to identify and evaluate client acceptance and service offering approval by
Staromiejska,Kinga          Manager            1/5/2023         Non US Tax                                                                                                                   0.50     $525.00       $262.50
                                                                                   the Global Client Serving Partner. Attendees: D. Hammon (EY), T. Toryanik, T. Shea (EY), T.
                                                                                   Knoeller (EY), K. Staromiejska (EY).
                                                                                   Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Hammon,David Lane           Manager            1/5/2023         Non US Tax         standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.             1.30     $525.00       $682.50
                                                                                   Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                   Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Knoeller,Thomas J.      Partner/Principal      1/5/2023         Non US Tax         standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.             1.30     $825.00      $1,072.50
                                                                                   Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                   Meeting to review transition-related items including next steps, issues requiring escalation, setup of
MacLean,Corrie               Senior            1/5/2023         Non US Tax         standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.             1.30     $395.00       $513.50
                                                                                   Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                   Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Staromiejska,Kinga          Manager            1/5/2023         Non US Tax         standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.             1.30     $525.00       $682.50
                                                                                   Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).
                                                                                   Meeting with K. Wrenn (EY), K Lowery (EY), T Farris, T Nichol (EY), D Santoro (EY) regarding
Nichol,T.J.             Senior Manager         1/5/2023         Payroll Tax        outline of tentative agenda of 1099 reporting rationalization items, next steps on securing data source   0.80     $650.00       $520.00
                                                                                   materials from RLA and Caroline.
                                                                                   Meeting with K. Wrenn (EY), K Lowery (EY), T Farris, T Nichol (EY), D Santoro (EY) regarding
                            National
Lowery,Kristie L                               1/5/2023         Payroll Tax        outline of tentative agenda of 1099 reporting rationalization items, next steps on securing data source   0.80     $990.00       $792.00
                        Partner/Principal
                                                                                   materials from RLA and Caroline.
                                                                                   Meeting with K. Wrenn (EY), K Lowery (EY), T Farris, T Nichol (EY), D Santoro (EY) regarding
Santoro,David               Manager            1/5/2023         Payroll Tax        outline of tentative agenda of 1099 reporting rationalization items, next steps on securing data source   0.80     $525.00       $420.00
                                                                                   materials from RLA and Caroline.
                                                                                   Meeting with K. Wrenn (EY), K Lowery (EY), T Farris, T Nichol (EY), D Santoro (EY) regarding
Wrenn,Kaitlin Doyle         Manager            1/5/2023         Payroll Tax        outline of tentative agenda of 1099 reporting rationalization items, next steps on securing data source   0.80     $525.00       $420.00
                                                                                   materials from RLA and Caroline.
                                                                                   Meeting with K. Wrenn (EY), M Cilia, K Lowery (EY), T Farris, T Nichol (EY), D Santoro (EY)
                            National
Lowery,Kristie L                               1/5/2023         Payroll Tax        regarding 1099 reporting rationalization items, next steps on securing data source materials from RLA     0.50     $990.00       $495.00
                        Partner/Principal
                                                                                   and Caroline and pre vs post-petition taxability reporting review
                                                                                   Meeting with K. Wrenn (EY), M Cilia, K Lowery (EY), T Farris, T Nichol (EY), D Santoro (EY)
Nichol,T.J.             Senior Manager         1/5/2023         Payroll Tax        regarding 1099 reporting rationalization items, next steps on securing data source materials from RLA     0.50     $650.00       $325.00
                                                                                   and Caroline and pre vs post-petition taxability reporting review
                                                                                   Meeting with K. Wrenn (EY), M Cilia, K Lowery (EY), T Farris, T Nichol (EY), D Santoro (EY)
Santoro,David               Manager            1/5/2023         Payroll Tax        regarding 1099 reporting rationalization items, next steps on securing data source materials from RLA     0.50     $525.00       $262.50
                                                                                   and Caroline and pre vs post-petition taxability reporting review
                                                                                   Meeting with K. Wrenn (EY), M Cilia, K Lowery (EY), T Farris, T Nichol (EY), D Santoro (EY)
Wrenn,Kaitlin Doyle         Manager            1/5/2023         Payroll Tax        regarding 1099 reporting rationalization items, next steps on securing data source materials from RLA     0.50     $525.00       $262.50
                                                                                   and Caroline and pre vs post-petition taxability reporting review
                            National                                               Review of 1099 files to prepare for meeting with Mary Cilia later today regarding FTX vendors for all
Lowery,Kristie L                               1/5/2023         Payroll Tax                                                                                                                  2.10     $990.00      $2,079.00
                        Partner/Principal                                          entities and reporting requirements for tax year reporting 2022.
                                                                                   Compile historical data in the EY Interact database and distribute to each corresponding EY local
MacLean,Corrie               Senior            1/5/2023         Non US Tax                                                                                                                   1.40     $395.00       $553.00
                                                                                   teams
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                  Name         Rank          Date of Service     Project Category                                                Description of Services                                          Hours   Hourly Rate   Fees

                                                                                          Meeting with T Nichol (EY), D Santoro (EY), and K Wrenn (EY) on vendor data accessibility by
Santoro,David                Manager            1/5/2023       Information Reporting                                                                                                              2.80     $525.00      $1,470.00
                                                                                          entity and outline of next step items for M Cilia regarding reportability rationalization.

                                                                                          Meeting with T Nichol (EY), D Santoro (EY), and K Wrenn (EY) on vendor data accessibility by
Wrenn,Kaitlin Doyle          Manager            1/5/2023            Payroll Tax                                                                                                                   2.80     $525.00      $1,470.00
                                                                                          entity and outline of next step items for M Cilia regarding reportability rationalization.

                                                                                          Meeting with T Nichol (EY), D Santoro (EY), and K Wrenn (EY) on vendor data accessibility by
Nichol,T.J.               Senior Manager        1/5/2023            Payroll Tax                                                                                                                   2.80     $650.00      $1,820.00
                                                                                          entity and outline of next step items for M Cilia regarding reportability rationalization.
                           Client Serving
Scott,James                                     1/5/2023          US Income Tax           Gross income case review                                                                                0.80     $600.00       $480.00
                           Contractor JS
                           Client Serving
Scott,James                                     1/5/2023          US Income Tax           Gross income inclusion review draft                                                                     0.90     $600.00       $540.00
                           Contractor JS
                           Client Serving
Scott,James                                     1/5/2023          US Income Tax           Review technical guidance regarding potential tax implications for digital asset transactions.          0.30     $600.00       $180.00
                           Contractor JS
                           Client Serving
Scott,James                                     1/5/2023          US Income Tax           Monthly Operating Report GAAP compliance                                                                0.70     $600.00       $420.00
                           Contractor JS
                                                                                          Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action items
Ash,Polly Westerberg      Senior Manager        1/5/2023          US Income Tax                                                                                                                   0.80     $650.00       $520.00
                                                                                          on Tax Support. EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
                          Client Serving                                                  Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action items
Scott,James                                     1/5/2023          US Income Tax                                                                                                                   0.80     $600.00       $480.00
                          Contractor JS                                                   on Tax Support. EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
                             National                                                     Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action items
Lowery,Kristie L                                1/5/2023          US Income Tax                                                                                                                   0.80     $990.00       $792.00
                         Partner/Principal                                                on Tax Support. EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
                                                                                          Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action items
Shea JR,Thomas M         Partner/Principal      1/5/2023          US Income Tax                                                                                                                   0.80     $825.00       $660.00
                                                                                          on Tax Support. EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
                           Client Serving                                                 Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action items
Scott,James                                     1/5/2023          US Income Tax                                                                                                                   0.80     $600.00       $480.00
                           Contractor JS                                                  on Tax Support. EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
                                                                                          Discussion re: 1099-MISC reporting with FTX/A&M. Attendees: T. Ferris (EY), T. Shea (EY), N.
Ferris,Tara              Partner/Principal      1/5/2023       Information Reporting                                                                                                              0.50     $825.00       $412.50
                                                                                          Svalinas, U. Benjamin, P. Kwan
                                                                                          Discussion re: 1099-MISC reporting with FTX/A&M. Attendees: T. Ferris (EY), T. Shea (EY), N.
Shea JR,Thomas M         Partner/Principal      1/5/2023       Information Reporting                                                                                                              0.50     $825.00       $412.50
                                                                                          Svalinas, U. Benjamin, P. Kwan
                                                                                          Discussion re: certain tax accounting considerations for MOR/entity reporting Attendees: C. Gengler,
Berman,Jake               Senior Manager        1/5/2023          US Income Tax                                                                                                                   0.40     $650.00       $260.00
                                                                                          J. Scott, J. Berman, T. Shea. (All EY)
                                                                                          Discussion re: certain tax accounting considerations for MOR/entity reporting Attendees: C. Gengler,
Gengler,Charlie          Partner/Principal      1/5/2023          US Income Tax                                                                                                                   0.40     $825.00       $330.00
                                                                                          J. Scott, J. Berman, T. Shea. (All EY)
                                                                                          Discussion re: certain tax accounting considerations for MOR/entity reporting Attendees: C. Gengler,
Shea JR,Thomas M         Partner/Principal      1/5/2023          US Income Tax                                                                                                                   0.40     $825.00       $330.00
                                                                                          J. Scott, J. Berman, T. Shea. (All EY)
                          Client Serving                                                  Discussion re: certain tax accounting considerations for MOR/entity reporting Attendees: C. Gengler,
Scott,James                                     1/5/2023          US Income Tax                                                                                                                   0.40     $600.00       $240.00
                          Contractor JS                                                   J. Scott, J. Berman, T. Shea. (All EY)
Shea JR,Thomas M         Partner/Principal      1/5/2023          US Income Tax           Prepare agenda, including coordination with workstream leads, for Tax C-Suite Update                    0.60     $825.00       $495.00
                                                                                          Review of reporting basis for monthly operating reports, written correspondence with A&M team and
Shea JR,Thomas M         Partner/Principal      1/5/2023          US Income Tax                                                                                                                   2.30     $825.00      $1,897.50
                                                                                          internal tax accounting team regarding specific tax accounting technical matters
                                                                                          Review of tax summary re: certain transactions and income & deduction items prepared by
Shea JR,Thomas M         Partner/Principal      1/5/2023          US Income Tax                                                                                                                   1.80     $825.00      $1,485.00
                                                                                          international team, written correspondence and follow-ups
Shea JR,Thomas M         Partner/Principal      1/5/2023          US Income Tax           Written correspondence with internal teams re: feedback from US Trustee on retention order              0.80     $825.00       $660.00
Wrenn,Kaitlin Doyle          Manager            1/5/2023            Payroll Tax           Preparation on next steps items for 1099 reporting requirements and documentation                       2.20     $525.00      $1,155.00
Santoro,David                Manager            1/6/2023       Information Reporting      1099 Vendor Data Analysis                                                                               0.60     $525.00        $315.00
Bailey,Doug              Partner/Principal      1/6/2023           Tax Advisory           Analyze facts associated with the purchase of Robinhood transaction                                     2.60     $825.00      $2,145.00
                                                                                          Call T Shea (EY), D Bailey (EY), L Lovelace (EY), J. Scott (EY), L Jayanthi (EY) federal tax
Shea JR,Thomas M         Partner/Principal      1/6/2023           Tax Advisory                                                                                                                   0.50     $825.00       $412.50
                                                                                          matters
                                                                                          Call T Shea (EY), D Bailey (EY), L Lovelace (EY), J. Scott (EY), L Jayanthi (EY) federal tax
Lovelace,Lauren          Partner/Principal      1/6/2023           Tax Advisory                                                                                                                   0.50     $825.00       $412.50
                                                                                          matters
                                                                                          Call T Shea (EY), D Bailey (EY), L Lovelace (EY), J. Scott (EY), L Jayanthi (EY) federal tax
Jayanthi,Lakshmi          Senior Manager        1/6/2023           Tax Advisory                                                                                                                   0.50     $650.00       $325.00
                                                                                          matters
                                                                                          Call T Shea (EY), D Bailey (EY), L Lovelace (EY), J. Scott (EY), L Jayanthi (EY) federal tax
Bailey,Doug              Partner/Principal      1/6/2023           Tax Advisory                                                                                                                   0.50     $825.00       $412.50
                                                                                          matters
                           Client Serving                                                 Call T Shea (EY), D Bailey (EY), L Lovelace (EY), J. Scott (EY), L Jayanthi (EY) federal tax
Scott,James                                     1/6/2023           Tax Advisory                                                                                                                   0.50     $600.00       $300.00
                           Contractor JS                                                  matters
                                                                                          Call with T. Carlson (EY) and K. Davis (EY) to discuss initial questions on real estate footprint and
Carlson,Tim              Managing Director      1/6/2023       US State and Local Tax                                                                                                             0.40     $775.00       $310.00
                                                                                          project ask
                                                                                          Call with T. Carlson (EY) and K. Davis (EY) to discuss initial questions on real estate footprint and
Davis,Kathleen F.            Manager            1/6/2023       US State and Local Tax                                                                                                             0.40     $525.00       $210.00
                                                                                          project ask
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                  Name           Rank          Date of Service    Project Category                                               Description of Services                                           Hours   Hourly Rate   Fees
                                                                                          Catchup with A&M and S&C tax leads to discuss status and issues relevant to FTX tax workstreams
Shea JR,Thomas M           Partner/Principal      1/6/2023         US Income Tax          being performed by each firm. Attendees: D. Hariton, C. Howe, T. Shea (EY), J. Berman (EY) and J.        0.50     $825.00       $412.50
                                                                                          Scott (EY)
                                                                                          Catchup with A&M and S&C tax leads to discuss status and issues relevant to FTX tax workstreams
                             Client Serving
Scott,James                                       1/6/2023         US Income Tax          being performed by each firm. Attendees: D. Hariton, C. Howe, T. Shea (EY), J. Berman (EY) and J.        0.60     $600.00       $360.00
                             Contractor JS
                                                                                          Scott (EY)
                                                                                          Catchup with A&M and S&C tax leads to discuss status and issues relevant to FTX tax workstreams
Berman,Jake                 Senior Manager        1/6/2023         US Income Tax          being performed by each firm. Attendees: D. Hariton, C. Howe, T. Shea (EY), J. Berman (EY) and J.        0.60     $650.00       $390.00
                                                                                          Scott (EY)
MacLean,Corrie                  Senior            1/6/2023          Non US Tax            Contact list and historical document review, update FTX contact list tracker                             1.10     $395.00       $434.50
Hammon,David Lane              Manager            1/6/2023          Non US Tax            Correspondence with leadership regarding staffing from foreign firms given the contractual updates       0.40     $525.00       $210.00
Raulli,Lindsay Elizabeth   Senior Manager         1/6/2023          Tax Advisory          Discuss Cottongrove tax issues with L. Raulli (EY), L. Lovelace (EY) and L. Jayanthi (EY)                0.50     $650.00       $325.00
Jayanthi,Lakshmi           Senior Manager         1/6/2023          Tax Advisory          Discuss Cottongrove tax issues with L. Raulli (EY), L. Lovelace (EY) and L. Jayanthi (EY)                0.50     $650.00       $325.00
Lovelace,Lauren            Partner/Principal      1/6/2023       US International Tax     Discuss Cottongrove tax issues with L. Raulli (EY), L. Lovelace (EY) and L. Jayanthi (EY)                0.50     $825.00       $412.50
                                                                                          Discussion re: tax treatment of certain funding flows within the organization. Attendees: L. Jayanthi
Jayanthi,Lakshmi            Senior Manager        1/6/2023         US Income Tax                                                                                                                   0.50     $650.00       $325.00
                                                                                          (EY), D. Bailey (EY), L. Lovelace (EY), J. Scott (EY), T. Shea (EY).
                                                                                          Discussion re: tax treatment of certain funding flows within the organization. Attendees: L. Jayanthi
Bailey,Doug                Partner/Principal      1/6/2023         US Income Tax                                                                                                                   0.50     $825.00       $412.50
                                                                                          (EY), D. Bailey (EY), L. Lovelace (EY), J. Scott (EY), T. Shea (EY).
                                                                                          Discussion re: tax treatment of certain funding flows within the organization. Attendees: L. Jayanthi
Lovelace,Lauren            Partner/Principal      1/6/2023         US Income Tax                                                                                                                   0.50     $825.00       $412.50
                                                                                          (EY), D. Bailey (EY), L. Lovelace (EY), J. Scott (EY), T. Shea (EY).
                             Client Serving                                               Discussion re: tax treatment of certain funding flows within the organization. Attendees: L. Jayanthi
Scott,James                                       1/6/2023         US Income Tax                                                                                                                   0.50     $600.00       $300.00
                             Contractor JS                                                (EY), D. Bailey (EY), L. Lovelace (EY), J. Scott (EY), T. Shea (EY).
                                                                                          Discussion re: tax treatment of certain funding flows within the organization. Attendees: L. Jayanthi
Shea JR,Thomas M           Partner/Principal      1/6/2023         US Income Tax                                                                                                                   0.50     $825.00       $412.50
                                                                                          (EY), D. Bailey (EY), L. Lovelace (EY), J. Scott (EY), T. Shea (EY).
                                                                                          Discussion with A&M and S&C regarding tax matters to include for UCC presentation. Attendees: C.
Shea JR,Thomas M           Partner/Principal      1/6/2023         US Income Tax                                                                                                                   0.50     $825.00       $412.50
                                                                                          Howe, S. Koverick, L. Callerio, R. Gordon, E. Mosley, A. Ulyanenko, D. Hariton
                                                                                          Follow-up discussion re: time sensitive Gibraltar tax support with local team. Attendees: D. Hammon,
Rumford,Neil               Partner/Principal      1/6/2023          Non US Tax                                                                                                                     0.50     $990.00       $495.00
                                                                                          N. Rumford, K. Staromiejska, T. Shea (All EY).
                                                                                          Follow-up discussion re: time sensitive Gibraltar tax support with local team. Attendees: D. Hammon,
Hammon,David Lane              Manager            1/6/2023          Non US Tax                                                                                                                     0.50     $525.00       $262.50
                                                                                          N. Rumford, K. Staromiejska, T. Shea (All EY).
                                                                                          Follow-up discussion re: time sensitive Gibraltar tax support with local team. Attendees: D. Hammon,
Staromiejska,Kinga             Manager            1/6/2023          Non US Tax                                                                                                                     0.50     $525.00       $262.50
                                                                                          N. Rumford, K. Staromiejska, T. Shea (All EY).
                                                                                          Follow-up discussion re: time sensitive Gibraltar tax support with local team. Attendees: D. Hammon,
Shea JR,Thomas M           Partner/Principal      1/6/2023          Non US Tax                                                                                                                     0.50     $825.00       $412.50
                                                                                          N. Rumford, K. Staromiejska, T. Shea (All EY).
Raulli,Lindsay Elizabeth    Senior Manager        1/6/2023       US International Tax     Review of Intercompany Transactions                                                                      1.00     $650.00       $650.00
                                                                                          Discussion re: time sensitive Singapore tax support with global indirect team. Attendees: R. Nicholas,
Nicholas,Russell Kenneth    Senior Manager        1/6/2023         US Income Tax                                                                                                                   0.50     $650.00       $325.00
                                                                                          D. Hammon, A. Cotopoulis, T. Shea (All EY).
                                                                                          Discussion re: time sensitive Singapore tax support with global indirect team. Attendees: R. Nicholas,
Hammon,David Lane              Manager            1/6/2023         US Income Tax                                                                                                                   0.50     $525.00       $262.50
                                                                                          D. Hammon, A. Cotopoulis, T. Shea (All EY).
                                                                                          Discussion re: time sensitive Singapore tax support with global indirect team. Attendees: R. Nicholas,
Cotopoulis,Alex            Managing Director      1/6/2023         US Income Tax                                                                                                                   0.50     $775.00       $387.50
                                                                                          D. Hammon, A. Cotopoulis, T. Shea (All EY).
                                                                                          Discussion re: time sensitive Singapore tax support with global indirect team. Attendees: R. Nicholas,
Shea JR,Thomas M           Partner/Principal      1/6/2023         US Income Tax                                                                                                                   0.50     $825.00       $412.50
                                                                                          D. Hammon, A. Cotopoulis, T. Shea (All EY).
                                                                                          Tax call. Attendees: T. Shea (EY), K. Madhok (EY), A. Tabak, A. Cotopoulis (EY) and D. Hammon
Shea JR,Thomas M           Partner/Principal      1/6/2023        Value Added Tax                                                                                                                  0.30     $825.00       $247.50
                                                                                          (EY).
                                                                                          Tax call. Attendees: T. Shea (EY), K. Madhok (EY), A. Tabak, A. Cotopoulis (EY) and D. Hammon
Madhok,Kishan               Senior Manager        1/6/2023        Value Added Tax                                                                                                                  0.30     $650.00       $195.00
                                                                                          (EY).
                                                                                          Tax call. Attendees: T. Shea (EY), K. Madhok (EY), A. Tabak, A. Cotopoulis (EY) and D. Hammon
Hammon,David Lane              Manager            1/6/2023        Value Added Tax                                                                                                                  0.30     $525.00       $157.50
                                                                                          (EY).
                                                                                          Tax call. Attendees: T. Shea (EY), K. Madhok (EY), A. Tabak, A. Cotopoulis (EY) and D. Hammon
Cotopoulis,Alex            Managing Director      1/6/2023        Value Added Tax                                                                                                                  0.30     $775.00       $232.50
                                                                                          (EY).
                                                                                          GCO email and email to EY tax leadership on VAT approach GCO call and tax call. Attendees: M.
Shea JR,Thomas M           Partner/Principal      1/6/2023        Value Added Tax                                                                                                                  0.80     $825.00       $660.00
                                                                                          Kishan (EY), T. Shea (EY), A. Cotopoulis (EY), A. Tabak and D. Hammon (EY).

                                                                                          GCO email and email to EY tax leadership on VAT approach GCO call and tax call. Attendees: M.
Hammon,David Lane              Manager            1/6/2023        Value Added Tax                                                                                                                  0.80     $525.00       $420.00
                                                                                          Kishan (EY), T. Shea (EY), A. Cotopoulis (EY), A. Tabak and D. Hammon (EY).

                                                                                          GCO email and email to EY tax leadership on VAT approach GCO call and tax call. Attendees: M.
Cotopoulis,Alex            Managing Director      1/6/2023        Value Added Tax                                                                                                                  0.80     $775.00       $620.00
                                                                                          Kishan (EY), T. Shea (EY), A. Cotopoulis (EY), A. Tabak and D. Hammon (EY).

                                                                                          GCO email and email to EY tax leadership on VAT approach GCO call and tax call. Attendees: M.
Madhok,Kishan               Senior Manager        1/6/2023        Value Added Tax                                                                                                                  0.80     $650.00       $520.00
                                                                                          Kishan (EY), T. Shea (EY), A. Cotopoulis (EY), A. Tabak and D. Hammon (EY).
Shea JR,Thomas M           Partner/Principal      1/6/2023         US Income Tax          Correspondence on follow-ups re: Gibraltar tax support                                                   0.70     $825.00       $577.50
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                 Name        Rank           Date of Service            Project Category                                                     Description of Services                                           Hours   Hourly Rate   Fees
Jayanthi,Lakshmi        Senior Manager         1/6/2023                  Tax Advisory                Meeting about organizing meeting notes. Attendees: L. Jayanthi (EY), A S Karan (EY).                     0.50     $650.00       $325.00
Karan,Anna Suncheuri          Staff            1/6/2023                  Tax Advisory                Meeting about organizing meeting notes. Attendees: L. Jayanthi (EY), A S Karan (EY).                     0.50     $225.00       $112.50
Farrar,Anne             Partner/Principal      1/6/2023       Project Management Office Transition   Meeting to discuss FTX strategy. Attendees: A. Farrar (EY), C. Ancona (EY), P. Ash (EY).                 1.10     $825.00       $907.50
Ancona,Christopher           Senior            1/6/2023       Project Management Office Transition   Meeting to discuss FTX strategy. Attendees: A. Farrar (EY), C. Ancona (EY), P. Ash (EY).                 1.10     $395.00       $434.50
Ash,Polly Westerberg    Senior Manager         1/6/2023       Project Management Office Transition   Meeting to discuss FTX strategy. Attendees: A. Farrar (EY), C. Ancona (EY), P. Ash (EY).                 1.10     $650.00       $715.00
                                                                                                     Meeting to discuss the impact of the waiving of the sole recourse clause on the foreign workstreams.
Shea JR,Thomas M        Partner/Principal      1/6/2023                   Non US Tax                                                                                                                          0.50     $825.00       $412.50
                                                                                                     Attendees: D. Hammon (EY), T. Shea (EY), K. Madhok (EY).
                                                                                                     Meeting to discuss the impact of the waiving of the sole recourse clause on the foreign workstreams.
Madhok,Kishan           Senior Manager         1/6/2023                   Non US Tax                                                                                                                          0.50     $650.00       $325.00
                                                                                                     Attendees: D. Hammon (EY), T. Shea (EY), K. Madhok (EY).
                                                                                                     Meeting to discuss the impact of the waiving of the sole recourse clause on the foreign workstreams.
Hammon,David Lane           Manager            1/6/2023                   Non US Tax                                                                                                                          0.50     $525.00       $262.50
                                                                                                     Attendees: D. Hammon (EY), T. Shea (EY), K. Madhok (EY).
                                                                                                     Meeting to review of status of various FTX workstreams including EY foreign teams. Attendees: T.
Knoeller,Thomas J.      Partner/Principal      1/6/2023                   Non US Tax                                                                                                                          0.50     $825.00       $412.50
                                                                                                     Knoeller, P. Ash, D. Hammon, A. Farrar, K. Staromiejska (all EY)
                                                                                                     Meeting to review of status of various FTX workstreams including EY foreign teams. Attendees: T.
Ash,Polly Westerberg    Senior Manager         1/6/2023                   Non US Tax                                                                                                                          0.50     $650.00       $325.00
                                                                                                     Knoeller, P. Ash, D. Hammon, A. Farrar, K. Staromiejska (all EY)
                                                                                                     Meeting to review of status of various FTX workstreams including EY foreign teams. Attendees: T.
Hammon,David Lane           Manager            1/6/2023                   Non US Tax                                                                                                                          0.50     $525.00       $262.50
                                                                                                     Knoeller, P. Ash, D. Hammon, A. Farrar, K. Staromiejska (all EY)
                                                                                                     Meeting to review of status of various FTX workstreams including EY foreign teams. Attendees: T.
Farrar,Anne             Partner/Principal      1/6/2023                   Non US Tax                                                                                                                          0.50     $825.00       $412.50
                                                                                                     Knoeller, P. Ash, D. Hammon, A. Farrar, K. Staromiejska (all EY)
                                                                                                     Meeting to review of status of various FTX workstreams including EY foreign teams. Attendees: T.
Staromiejska,Kinga          Manager            1/6/2023                   Non US Tax                                                                                                                          0.50     $525.00       $262.50
                                                                                                     Knoeller, P. Ash, D. Hammon, A. Farrar, K. Staromiejska (all EY)
                                                                                                     Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Knoeller,Thomas J.      Partner/Principal      1/6/2023                   Non US Tax                 standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.           1.00     $825.00       $825.00
                                                                                                     Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                     Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Hammon,David Lane           Manager            1/6/2023                   Non US Tax                 standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.           1.00     $525.00       $525.00
                                                                                                     Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                     Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Staromiejska,Kinga          Manager            1/6/2023                   Non US Tax                 standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.           1.00     $525.00       $525.00
                                                                                                     Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                     Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
MacLean,Corrie               Senior            1/6/2023                   Non US Tax                 standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.           1.00     $395.00       $395.00
                                                                                                     Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                     Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Hammon,David Lane           Manager            1/6/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.            1.00     $525.00       $525.00
                                                                                                     Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                                     Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Knoeller,Thomas J.      Partner/Principal      1/6/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.            1.00     $825.00       $825.00
                                                                                                     Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                                     Meeting to review transition-related items including next steps, issues requiring escalation, setup of
MacLean,Corrie               Senior            1/6/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.            1.00     $395.00       $395.00
                                                                                                     Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                                     Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Staromiejska,Kinga          Manager            1/6/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.            1.00     $525.00       $525.00
                                                                                                     Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).
Farrar,Anne             Partner/Principal      1/6/2023       Project Management Office Transition   Meeting with B. Richards (EY) and A. Farrar (EY) to discuss bankruptcy & liquidator role                 1.00      $825.00       $825.00
Richards,Briana A.      Partner/Principal      1/6/2023       Project Management Office Transition   Meeting with B. Richards (EY) and A. Farrar (EY) to discuss bankruptcy & liquidator role                 1.00     $1,150.00    $1,150.00
                         Client Serving
Scott,James                                    1/6/2023                 US Income Tax                Preparation for noon call on federal tax matters.                                                        0.90     $600.00       $540.00
                         Contractor JS
                         Client Serving
Scott,James                                    1/6/2023                 US Income Tax                Requests for assistance FTX Europe, Asia                                                                 0.70     $600.00       $420.00
                         Contractor JS
                                                                                                     Research in FTX data room for information on real and personal property tax payment and filing
Davis,Kathleen F.           Manager            1/6/2023             US State and Local Tax                                                                                                                    1.60     $525.00       $840.00
                                                                                                     obligations in US and Bahamas - K. Davis
                         Client Serving
Scott,James                                    1/6/2023                 US Income Tax                Review Ellison/Wang SEC document                                                                         2.10     $600.00      $1,260.00
                         Contractor JS
                                                                                                     Review file: Alameda+Research+LLC_General+Ledger - Full Year 2017.xlsx, to identify bank
Garcia,Casey                  Staff            1/6/2023               US International Tax                                                                                                                    0.10     $225.00        $22.50
                                                                                                     accounts
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               Name   Rank    Date of Service    Project Category                                            Description of Services                                      Hours   Hourly Rate   Fees
                                                                         Review file: Alameda+Research+LLC_General+Ledger - Full Year 2018.xlsx, to identify bank
Garcia,Casey          Staff      1/6/2023       US International Tax                                                                                                      0.20     $225.00        $45.00
                                                                         accounts
                                                                         Review file: Alameda+Research+LLC_General+Ledger 01.01.2020 - 03.31.2020.xlsx, to identify
Garcia,Casey          Staff      1/6/2023       US International Tax                                                                                                      0.20     $225.00        $45.00
                                                                         bank accounts
                                                                         Review file: Alameda+Research+LLC_General+Ledger 01.01.2022 - 3.31.22.xlsx, to identify bank
Garcia,Casey          Staff      1/6/2023       US International Tax                                                                                                      0.20     $225.00        $45.00
                                                                         accounts
                                                                         Review file: Alameda+Research+LLC_General+Ledger 04.01.2020 - 06.30.2020.xlsx, to identify
Garcia,Casey          Staff      1/6/2023       US International Tax                                                                                                      0.30     $225.00        $67.50
                                                                         bank accounts
                                                                         Review file: Alameda+Research+LLC_General+Ledger 04.01.2022 - 6.30.22.xlsx, to identify bank
Garcia,Casey          Staff      1/6/2023       US International Tax                                                                                                      0.10     $225.00        $22.50
                                                                         accounts
                                                                         Review file: Alameda+Research+LLC_General+Ledger 07.01.2020 - 09.30.2020.xlsx, to identify
Garcia,Casey          Staff      1/6/2023       US International Tax                                                                                                      0.30     $225.00        $67.50
                                                                         bank accounts
                                                                         Review file: Alameda+Research+LLC_General+Ledger 07.01.2022 - 9.30.22.xlsx, to identify bank
Garcia,Casey          Staff      1/6/2023       US International Tax                                                                                                      0.10     $225.00        $22.50
                                                                         accounts
                                                                         Review file: Alameda+Research+LLC_General+Ledger 1.1.2019 - 6.30.2019.xlsx, to identify bank
Garcia,Casey          Staff      1/6/2023       US International Tax                                                                                                      0.20     $225.00        $45.00
                                                                         accounts
                                                                         Review file: Alameda+Research+LLC_General+Ledger 10.01.2020 - 12.31.2020.xlsx, to identify
Garcia,Casey          Staff      1/6/2023       US International Tax                                                                                                      0.30     $225.00        $67.50
                                                                         bank accounts
                                                                         Review file: Alameda+Research+LLC_General+Ledger 10.01.2022 - 11.13.22.xlsx, to identify bank
Garcia,Casey          Staff      1/6/2023       US International Tax                                                                                                      0.10     $225.00        $22.50
                                                                         accounts
                                                                         Review file: Alameda+Research+LLC_General+Ledger 7.1.2019 - 12.31.2019.xlsx, to identify bank
Garcia,Casey          Staff      1/6/2023       US International Tax                                                                                                      0.30     $225.00        $67.50
                                                                         accounts
Garcia,Casey          Staff      1/6/2023       US International Tax     Review file: Alameda+Research+LLC_General+Ledger April 2021.xlsx, to identify bank accounts      0.10     $225.00        $22.50

Garcia,Casey          Staff      1/6/2023       US International Tax     Review file: Alameda+Research+LLC_General+Ledger August 2021.xlsx, to identify bank accounts     0.10     $225.00        $22.50
                                                                         Review file: Alameda+Research+LLC_General+Ledger December 2021.xlsx, to identify bank
Garcia,Casey          Staff      1/6/2023       US International Tax                                                                                                      0.10     $225.00        $22.50
                                                                         accounts
Garcia,Casey          Staff      1/6/2023       US International Tax     Review file: Alameda+Research+LLC_General+Ledger February 2021.xlsx, to identify bank accounts   0.20     $225.00        $45.00

Garcia,Casey          Staff      1/6/2023       US International Tax     Review file: Alameda+Research+LLC_General+Ledger January 2021.xlsx, to identify bank accounts    0.20     $225.00        $45.00

Garcia,Casey          Staff      1/6/2023       US International Tax     Review file: Alameda+Research+LLC_General+Ledger July 2021.xlsx, to identify bank accounts       0.10     $225.00        $22.50

Garcia,Casey          Staff      1/6/2023       US International Tax     Review file: Alameda+Research+LLC_General+Ledger June 2021.xlsx, to identify bank accounts       0.10     $225.00        $22.50

Garcia,Casey          Staff      1/6/2023       US International Tax     Review file: Alameda+Research+LLC_General+Ledger March 2021.xlsx, to identify bank accounts      0.20     $225.00        $45.00

Garcia,Casey          Staff      1/6/2023       US International Tax     Review file: Alameda+Research+LLC_General+Ledger May 2021.xlsx, to identify bank accounts        0.10     $225.00        $22.50
                                                                         Review file: Alameda+Research+LLC_General+Ledger November 2021.xlsx, to identify bank
Garcia,Casey          Staff      1/6/2023       US International Tax                                                                                                      0.10     $225.00        $22.50
                                                                         accounts
Garcia,Casey          Staff      1/6/2023       US International Tax     Review file: Alameda+Research+LLC_General+Ledger October 2021.xlsx, to identify bank accounts    0.10     $225.00        $22.50
                                                                         Review file: Alameda+Research+LLC_General+Ledger September 2021.xlsx, to identify bank
Garcia,Casey          Staff      1/6/2023       US International Tax                                                                                                      0.30     $225.00        $67.50
                                                                         accounts
                                                                         Review file: Good+Luck+Games+LLC_General+Ledger (March-Nov 13 2022) (1).xlsx, to identify
Garcia,Casey          Staff      1/6/2023       US International Tax                                                                                                      0.10     $225.00        $22.50
                                                                         bank accounts
                                                                         Review file: Good+Luck+Games+LLC_General+Ledger (March-Nov 13 2022).xlsx, to identify bank
Garcia,Casey          Staff      1/6/2023       US International Tax                                                                                                      0.10     $225.00        $22.50
                                                                         accounts
                                                                         Review file: West+Realm+Shires+Financial+Services+Inc_General+Ledger(2020).xlsx, to identify
Garcia,Casey          Staff      1/6/2023       US International Tax                                                                                                      0.10     $225.00        $22.50
                                                                         bank accounts
                                                                         Review file: West+Realm+Shires+Financial+Services+Inc_General+Ledger(2021).xlsx, to identify
Garcia,Casey          Staff      1/6/2023       US International Tax                                                                                                      0.10     $225.00        $22.50
                                                                         bank accounts
                                                                         Review file: West+Realm+Shires+Financial+Services+Inc_General+Ledger(2022 YTD).xlsx, to
Garcia,Casey          Staff      1/6/2023       US International Tax                                                                                                      0.10     $225.00        $22.50
                                                                         identify bank accounts
Garcia,Casey          Staff      1/6/2023       US International Tax     Review file: West+Realm+Shires+Inc._General+Ledger (2022 YTD).xlsx, to identify bank accounts    0.10     $225.00        $22.50
Garcia,Casey          Staff      1/6/2023       US International Tax     Review file: West+Realm+Shires+Inc. General+Ledger(2020).xlsx, to identify bank accounts         0.10     $225.00        $22.50
Garcia,Casey          Staff      1/6/2023       US International Tax     Review file: West+Realm+Shires+Inc. General+Ledger(2021).xlsx, to identify bank accounts         0.10     $225.00        $22.50
                                                                         Review file: West+Realm+Shires+Services,+Inc._General+Ledger(2021).xlsx, to identify bank
Garcia,Casey          Staff      1/6/2023       US International Tax                                                                                                      0.30     $225.00        $67.50
                                                                         accounts
                                                                         Review file: West+Realm+Shires+Services,+Inc._General+Ledger(Oct 1 - Nov 13 2022).xlsx, to
Garcia,Casey          Staff      1/6/2023       US International Tax                                                                                                      0.30     $225.00        $67.50
                                                                         identify bank accounts
                                                                         Review file: West+Realm+Shires+Services,+Inc._General+Ledger(Q2 2022).xlsx, to identify bank
Garcia,Casey          Staff      1/6/2023       US International Tax                                                                                                      0.30     $225.00        $67.50
                                                                         accounts
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                 Name          Rank           Date of Service            Project Category                                                    Description of Services                                        Hours   Hourly Rate   Fees
                                                                                                       Review file: West+Realm+Shires+Services,+Inc._General+Ledger(Q3 2022).xlsx, to identify bank
Garcia,Casey                    Staff            1/6/2023               US International Tax                                                                                                                0.30     $225.00        $67.50
                                                                                                       accounts
                                                                                                       Review of FTX's TP studies and evaluation of the coverage of these studies to the various related
Bailey,Doug               Partner/Principal      1/6/2023                  Tax Advisory                                                                                                                     1.80     $825.00      $1,485.00
                                                                                                       party transactions
Ferris,Tara               Partner/Principal      1/6/2023              Information Reporting           Review of Japan entities tax forms                                                                   0.40     $825.00       $330.00
                                                                                                       Review of service requirements to be provided to FTX entities in Europe including payroll and
Staromiejska,Kinga            Manager            1/6/2023                   Non US Tax                                                                                                                      2.10     $525.00      $1,102.50
                                                                                                       bookkeeping requirements and due diligence in connection with First Statement of Work.
                           Client Serving
Scott,James                                      1/6/2023                 US Income Tax                Robinhood shares filing                                                                              0.30     $600.00       $180.00
                           Contractor JS
                           Client Serving
Scott,James                                      1/6/2023                 US Income Tax                UCC slide request and proposed inputs                                                                0.80     $600.00       $480.00
                           Contractor JS
Bailey,Doug               Partner/Principal      1/6/2023                  Tax Advisory                Work on technical outline for tax issue relevant to the company                                      2.10     $825.00      $1,732.50
                           Client Serving
Scott,James                                      1/6/2023                 US Income Tax                ZUBR request for assistance                                                                          0.40     $600.00       $240.00
                           Contractor JS
Shea JR,Thomas M          Partner/Principal      1/8/2023                 US Income Tax                Draft of tax slides for UCC meeting and submission to A&M team                                       1.40     $825.00      $1,155.00
                                                                                                       1/10/23 FTX Silvergate discussion: Call with A Farrar (EY), T Shea (EY), C. Ancona (EY), P Ash
Shea JR,Thomas M          Partner/Principal      1/9/2023       Project Management Office Transition                                                                                                        0.40     $825.00       $330.00
                                                                                                       (EY), to discuss potential conflicts associated with FTX and Silvergate
                                                                                                       1/10/23 FTX Silvergate discussion: Call with A Farrar (EY), T Shea (EY), C. Ancona (EY), P Ash
Farrar,Anne               Partner/Principal      1/9/2023       Project Management Office Transition                                                                                                        0.40     $825.00       $330.00
                                                                                                       (EY), to discuss potential conflicts associated with FTX and Silvergate
                                                                                                       1/10/23 FTX Silvergate discussion: Call with A Farrar (EY), T Shea (EY), C. Ancona (EY), P Ash
Ash,Polly Westerberg       Senior Manager        1/9/2023       Project Management Office Transition                                                                                                        0.40     $650.00       $260.00
                                                                                                       (EY), to discuss potential conflicts associated with FTX and Silvergate
                                                                                                       1/10/23 FTX Silvergate discussion: Call with A Farrar (EY), T Shea (EY), C. Ancona (EY), P Ash
Ancona,Christopher             Senior            1/9/2023       Project Management Office Transition                                                                                                        0.40     $395.00       $158.00
                                                                                                       (EY), to discuss potential conflicts associated with FTX and Silvergate
                                                                                                       Call debrief with P Ash (EY) and C. Ancona (EY) to discuss updates to Strategy deck for FTX
Ash,Polly Westerberg       Senior Manager        1/9/2023       Project Management Office Transition                                                                                                        0.70     $650.00       $455.00
                                                                                                       executive committee
                                                                                                       Call debrief with P Ash (EY) and C. Ancona (EY) to discuss updates to Strategy deck for FTX
Ancona,Christopher             Senior            1/9/2023       Project Management Office Transition                                                                                                        0.70     $395.00       $276.50
                                                                                                       executive committee
                                                                                                       Call with K. Davis (EY) and T. Carlson (EY) to discuss initial research findings on property tax
Carlson,Tim               Managing Director      1/9/2023             US State and Local Tax                                                                                                                0.40     $775.00       $310.00
                                                                                                       landscape
                                                                                                       Call with K. Davis (EY) and T. Carlson (EY) to discuss initial research findings on property tax
Davis,Kathleen F.             Manager            1/9/2023             US State and Local Tax                                                                                                                0.40     $525.00       $210.00
                                                                                                       landscape
Ancona,Christopher             Senior            1/9/2023       Project Management Office Transition   Update strategy deliverable deck for FTX executive committee                                         1.60     $395.00       $632.00
Ancona,Christopher             Senior            1/9/2023       Project Management Office Transition   Update the Final Deliverable deck to be shared with the FTX Committee                                1.20     $395.00       $474.00
Ash,Polly Westerberg       Senior Manager        1/9/2023       Project Management Office Transition   FTX and RLA historical data request prioritization and file inventory                                1.20     $650.00       $780.00
Ash,Polly Westerberg       Senior Manager        1/9/2023       Project Management Office Transition   FTX Share File set up and user access to receive 1099s                                               1.40     $650.00       $910.00
Ash,Polly Westerberg       Senior Manager        1/9/2023       Project Management Office Transition   Prepare the federal and state and local teams status and issues update for FTX leadership            0.80     $650.00       $520.00
Ash,Polly Westerberg       Senior Manager        1/9/2023       Project Management Office Transition   Research and preparations prior to meeting with FTX leadership to discuss EY Non-US services         0.90     $650.00       $585.00

                                                                                                       Discuss possibility of transaction between certain entities and how to characterize from an income
Lovelace,Lauren           Partner/Principal      1/9/2023               US International Tax                                                                                                                0.50     $825.00       $412.50
                                                                                                       perspective with D. Bailey (EY), L. Lovelace (EY), K. Jacobs (A&M) and L. Jayanthi (EY)

                                                                                                       Discuss possibility of transaction between certain entities and how to characterize from an income
Jayanthi,Lakshmi           Senior Manager        1/9/2023               US International Tax                                                                                                                0.50     $650.00       $325.00
                                                                                                       perspective with D. Bailey (EY), L. Lovelace (EY), K. Jacobs (A&M) and L. Jayanthi (EY)

                                                                                                       Discuss possibility of transaction between certain entities and how to characterize from an income
Bailey,Doug               Partner/Principal      1/9/2023                  Tax Advisory                                                                                                                     0.50     $825.00       $412.50
                                                                                                       perspective with D. Bailey (EY), L. Lovelace (EY), K. Jacobs (A&M) and L. Jayanthi (EY)

                                                                                                       Follow-up re: FTX's staking and margin lending programs to clarify the differences and ensure
Bailey,Doug               Partner/Principal      1/9/2023                  Tax Advisory                                                                                                                     1.20     $825.00       $990.00
                                                                                                       everyone has a common accurate understanding of the various programs and their details
Bailey,Doug               Partner/Principal      1/9/2023                  Tax Advisory                Work on technical outline for tax issue relevant to the company                                      1.80     $825.00      $1,485.00
Berman,Jake               Senior Manager         1/9/2023                 US Income Tax                Diligence Analysis - Review of North Dimension Tax Returns                                           0.30     $650.00        $195.00
Berman,Jake               Senior Manager         1/9/2023                 US Income Tax                Review and prepare tax filing calendar for income tax for FTX Federal filings.                       0.90     $650.00        $585.00
                                                                                                       Discuss setting up call with Bahamas team, W-2 review and follow-up with foreign countries. Daily
Carver,Cody R.                 Senior            1/9/2023                   Payroll Tax                                                                                                                     0.50     $395.00       $197.50
                                                                                                       update call with J. DeVincenzo, K. Wrenn, M. Hamilton, and C, Carver (all EY)

                                                                                                       Discuss setting up call with Bahamas team, W-2 review and follow-up with foreign countries. Daily
DeVincenzo,Jennie         Managing Director      1/9/2023                   Payroll Tax                                                                                                                     0.50     $775.00       $387.50
                                                                                                       update call with J. DeVincenzo, K. Wrenn, M. Hamilton, and C, Carver (all EY)

                                                                                                       Discuss setting up call with Bahamas team, W-2 review and follow-up with foreign countries. Daily
Hamilton,Mary Catherine        Senior            1/9/2023                   Payroll Tax                                                                                                                     0.50     $395.00       $197.50
                                                                                                       update call with J. DeVincenzo, K. Wrenn, M. Hamilton, and C, Carver (all EY)

                                                                                                       Discuss setting up call with Bahamas team, W-2 review and follow-up with foreign countries. Daily
Wrenn,Kaitlin Doyle           Manager            1/9/2023                   Payroll Tax                                                                                                                     0.50     $525.00       $262.50
                                                                                                       update call with J. DeVincenzo, K. Wrenn, M. Hamilton, and C, Carver (all EY)
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                 Name        Rank           Date of Service            Project Category                                                    Description of Services                                         Hours   Hourly Rate   Fees
Garcia,Casey                  Staff            1/9/2023               US International Tax           Review file: 2021 Paper Bird Client Copy, to identify bank accounts                                   0.80     $225.00       $180.00
Garcia,Casey                  Staff            1/9/2023               US International Tax           Review file: Alameda Research LLC 2019 Client Copy Tax Return, to identify the bank accounts          0.40     $225.00        $90.00

Garcia,Casey                  Staff            1/9/2023               US International Tax           Review file: Blockfolio,+Inc._General+Ledger 10.1.2020 - 11.13.22.xlsx, to identify bank accounts     0.30     $225.00        $67.50
                                                                                                     Review file: FTX+Digital+Holdings+(Singapore)+Pte.+Ltd._General+Ledger - All Data.xlsx, to
Garcia,Casey                  Staff            1/9/2023               US International Tax                                                                                                                 0.10     $225.00        $22.50
                                                                                                     identify bank accounts
                                                                                                     Review file: FTX+Digital+Markets+Ltd._General+Ledger 1.1.22 - 6.30.22.xlsx, to identify bank
Garcia,Casey                  Staff            1/9/2023               US International Tax                                                                                                                 0.30     $225.00        $67.50
                                                                                                     accounts
                                                                                                     Meeting to discuss next steps on communicating contract updates to the foreign teams. Attendees: D.
Shea JR,Thomas M        Partner/Principal      1/9/2023                   Non US Tax                                                                                                                       0.50     $825.00       $412.50
                                                                                                     Hammon, T. Shea, T. Knoeller, K. Staromiejska
                                                                                                     Meeting to discuss next steps on communicating contract updates to the foreign teams. Attendees: D.
Staromiejska,Kinga          Manager            1/9/2023                   Non US Tax                                                                                                                       0.50     $525.00       $262.50
                                                                                                     Hammon, T. Shea, T. Knoeller, K. Staromiejska
                                                                                                     Meeting to discuss next steps on communicating contract updates to the foreign teams. Attendees: D.
Hammon,David Lane           Manager            1/9/2023                   Non US Tax                                                                                                                       0.50     $525.00       $262.50
                                                                                                     Hammon, T. Shea, T. Knoeller, K. Staromiejska
                                                                                                     Review file: FTX+Digital+Markets+Ltd._General+Ledger 7.1.22 - 11.13.22.xlsx, to identify bank
Garcia,Casey                  Staff            1/9/2023               US International Tax                                                                                                                 0.30     $225.00        $67.50
                                                                                                     accounts
                                                                                                     Review file: FTX+Digital+Markets+Ltd._General+Ledger Full Year 2021.xlsx, to identify bank
Garcia,Casey                  Staff            1/9/2023               US International Tax                                                                                                                 0.10     $225.00        $22.50
                                                                                                     accounts
                                                                                                     Review file: FTX+Exchange+FZE+-+NEW_General+Ledger All Data QBO International
Garcia,Casey                  Staff            1/9/2023               US International Tax                                                                                                                 0.10     $225.00        $22.50
                                                                                                     Version.xlsx, to identify bank accounts
                                                                                                     Review file: FTX+Exchange+FZE+-+OLD_General+Ledger All Data before transferred to QBO
Garcia,Casey                  Staff            1/9/2023               US International Tax                                                                                                                 0.10     $225.00        $22.50
                                                                                                     International.xlsx, to identify bank accounts
Garcia,Casey                  Staff            1/9/2023               US International Tax           Review file: FTX+Foundation+Inc General+Ledger All Data.xlsx, to identify bank accounts               0.10     $225.00        $22.50
Garcia,Casey                  Staff            1/9/2023               US International Tax           Review file: FTX+Japan+Services+KK_General+Ledger - All Data.xlsx, to identify bank accounts          0.10     $225.00        $22.50
                                                                                                     Meeting to discuss next steps on communicating contract updates to the foreign teams. Attendees: D.
Knoeller,Thomas J.      Partner/Principal      1/9/2023       Project Management Office Transition                                                                                                         0.50     $825.00       $412.50
                                                                                                     Hammon, T. Shea, T. Knoeller, K. Staromiejska
Garcia,Casey                  Staff            1/9/2023               US International Tax           Review file: FTX+Property+Holdings+Ltd_General+Ledger - All Data.xlsx, to identify bank accounts      0.10     $225.00        $22.50

Garcia,Casey                  Staff            1/9/2023               US International Tax           Review file: FTX+Trading,+Ltd_General+Ledger - 1.1.22 - 11.13.22.xlsx, to identify bank accounts      0.20     $225.00        $45.00
                                                                                                     Discuss business license filing requirements for the FTX group with T. Shea (EY), J. Scott (EY), M.
Scheele,Ashley          Managing Director      1/9/2023             US State and Local Tax                                                                                                                 4.60     $775.00      $3,565.00
                                                                                                     Musano (EY), M. Coffey (EY) and A. Scheele (EY).
                                                                                                     Call with S&C (J. Sutton, M. Scales) and EY (M. Musano, W. Bieganski, A. Scheele, and M. Coffey)
Coffey,Mandy V.          Senior Manager        1/9/2023             US State and Local Tax                                                                                                                 0.50     $650.00       $325.00
                                                                                                     to discuss EY taking over business license compliance and regulatory license compliance

                                                                                                     Call with S&C (J. Sutton, M. Scales) and EY (M. Musano, W. Bieganski, A. Scheele, and M. Coffey)
Scheele,Ashley          Managing Director      1/9/2023             US State and Local Tax                                                                                                                 0.50     $775.00       $387.50
                                                                                                     to discuss EY taking over business license compliance and regulatory license compliance

                         Client Serving                                                              Call with S&C (J. Sutton, M. Scales) and EY (M. Musano, W. Bieganski, A. Scheele, and M. Coffey)
Bieganski,Walter                               1/9/2023             US State and Local Tax                                                                                                                 0.50     $200.00       $100.00
                         Contractor WB                                                               to discuss EY taking over business license compliance and regulatory license compliance

                                                                                                     Call with S&C (J. Sutton, M. Scales) and EY (M. Musano, W. Bieganski, A. Scheele, and M. Coffey)
Musano,Matthew Albert    Senior Manager        1/9/2023             US State and Local Tax                                                                                                                 0.50     $650.00       $325.00
                                                                                                     to discuss EY taking over business license compliance and regulatory license compliance.

Garcia,Casey                  Staff            1/9/2023               US International Tax           Review file: FTX+Trading,+Ltd_General+Ledger - Full Year 2020.xlsx, to identify bank accounts         0.10     $225.00        $22.50

Garcia,Casey                  Staff            1/9/2023               US International Tax           Review file: FTX+Trading,+Ltd_General+Ledger - Full Year 2021.xlsx, to identify bank accounts         0.10     $225.00        $22.50

Garcia,Casey                  Staff            1/9/2023               US International Tax           Review file: FTX+Trading,+Ltd_General+Ledger Full year 2019.xlsx, to identify bank accounts           0.10     $225.00        $22.50

Garcia,Casey                  Staff            1/9/2023               US International Tax           Review file: GG+Trading+Terminal+Ltd_General+Ledger - All Data.xlsx, to identify bank accounts        0.10     $225.00        $22.50
Garcia,Casey                  Staff            1/9/2023              US International Tax            Review file: Innovatia+Ltd General+Ledger - All Data.xlsx, to identify bank accounts                  0.10     $225.00        $22.50
Hall,Emily Melissa           Senior            1/9/2023             US State and Local Tax           Updated the gap analysis.                                                                             2.20     $395.00       $869.00
                                                                                                     Updates/responses to questions from all 25 EY local teams concerning project updates (contractual
Hammon,David Lane           Manager            1/9/2023                   Non US Tax                                                                                                                       3.30     $525.00      $1,732.50
                                                                                                     changes/requirements, socpe updates, immediate next steps)
                                                                                                     Review of feedback from central billing team regarding potential jurisdictions to charge VAT/local
Hammon,David Lane           Manager            1/9/2023                   Non US Tax                                                                                                                       1.80     $525.00       $945.00
                                                                                                     surcharges on fees
                                                                                                     Update of various trackers for the foreign workstreams for scope changes and updates (e.g., due
Hammon,David Lane           Manager            1/9/2023                   Non US Tax                                                                                                                       2.20     $525.00      $1,155.00
                                                                                                     diligence tracker, interim compliance tracker, actions items tracker)
                                                                                                     continuing putting together the time recording matrix with notes from different meetings, to ensure
Karan,Anna Suncheuri          Staff            1/9/2023               US International Tax                                                                                                                 1.90     $225.00       $427.50
                                                                                                     that timing across the International tax team was accurate and consistent.
                                                                                                     Call with S&C re: Business Licensing Requirements Attendees: M. Musano (EY), J. Scott (EY), J.
Coffey,Mandy V.          Senior Manager        1/9/2023             US State and Local Tax                                                                                                                 0.50     $650.00       $325.00
                                                                                                     Sutton, T. Shea (EY), M. Scales, W. Bieganski (EY), A. Scheele (EY), M. Coffey (EY)
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                 Name         Rank          Date of Service     Project Category                                                Description of Services                                           Hours   Hourly Rate   Fees
                                                                                         Call with S&C re: Business Licensing Requirements Attendees: M. Musano (EY), J. Scott (EY), J.
Scheele,Ashley          Managing Director      1/9/2023       US State and Local Tax                                                                                                              0.50     $775.00       $387.50
                                                                                         Sutton, T. Shea (EY), M. Scales, W. Bieganski (EY), A. Scheele (EY), M. Coffey (EY)
                         Client Serving                                                  Call with S&C re: Business Licensing Requirements Attendees: M. Musano (EY), J. Scott (EY), J.
Bieganski,Walter                               1/9/2023       US State and Local Tax                                                                                                              0.50     $200.00       $100.00
                         Contractor WB                                                   Sutton, T. Shea (EY), M. Scales, W. Bieganski (EY), A. Scheele (EY), M. Coffey (EY)
                                                                                         Call with S&C re: Business Licensing Requirements Attendees: M. Musano (EY), J. Scott (EY), J.
Musano,Matthew Albert    Senior Manager        1/9/2023       US State and Local Tax                                                                                                              0.50     $650.00       $325.00
                                                                                         Sutton, T. Shea (EY), M. Scales, W. Bieganski (EY), A. Scheele (EY), M. Coffey (EY)
                          Client Serving                                                 Call with S&C re: Business Licensing Requirements Attendees: M. Musano (EY), J. Scott (EY), J.
Scott,James                                    1/9/2023       US State and Local Tax                                                                                                              0.50     $600.00       $300.00
                          Contractor JS                                                  Sutton, T. Shea (EY), M. Scales, W. Bieganski (EY), A. Scheele (EY), M. Coffey (EY)
                                                                                         Call with S&C re: Business Licensing Requirements Attendees: M. Musano (EY), J. Scott (EY), J.
Shea JR,Thomas M        Partner/Principal      1/9/2023       US State and Local Tax                                                                                                              0.50     $825.00       $412.50
                                                                                         Sutton, T. Shea (EY), M. Scales, W. Bieganski (EY), A. Scheele (EY), M. Coffey (EY)
                                                                                         Call with Louis Wetjakem to discuss how 1099 reporting is performed and Embed 1099 vendors.
Santoro,David               Manager            1/9/2023            Payroll Tax                                                                                                                    0.50     $525.00       $262.50
                                                                                         Attendees: D. Santoro, TJ Nichol, K. Wrenn, T. Ferris and K. Lowery. (All EY)
                                                                                         Call with Louis Wetjakem to discuss how 1099 reporting is performed and Embed 1099 vendors.
Nichol,T.J.              Senior Manager        1/9/2023            Payroll Tax                                                                                                                    0.50     $650.00       $325.00
                                                                                         Attendees: D. Santoro, TJ Nichol, K. Wrenn, T. Ferris and K. Lowery. (All EY)
                                                                                         Call with Louis Wetjakem to discuss how 1099 reporting is performed and Embed 1099 vendors.
Wrenn,Kaitlin Doyle         Manager            1/9/2023            Payroll Tax                                                                                                                    0.50     $525.00       $262.50
                                                                                         Attendees: D. Santoro, TJ Nichol, K. Wrenn, T. Ferris and K. Lowery. (All EY)
                                                                                         Call with Louis Wetjakem to discuss how 1099 reporting is performed and Embed 1099 vendors.
Ferris,Tara             Partner/Principal      1/9/2023            Payroll Tax                                                                                                                    0.50     $825.00       $412.50
                                                                                         Attendees: D. Santoro, TJ Nichol, K. Wrenn, T. Ferris and K. Lowery. (All EY)
                            National                                                     Call with Louis Wetjakem to discuss how 1099 reporting is performed and Embed 1099 vendors.
Lowery,Kristie L                               1/9/2023            Payroll Tax                                                                                                                    0.50     $990.00       $495.00
                        Partner/Principal                                                Attendees: D. Santoro, TJ Nichol, K. Wrenn, T. Ferris and K. Lowery. (All EY)
                                                                                         1/9 - 1.7 h TJ Nichol, K Wrenn, D Santoro - 1099 update call. Discuss accessibility to vendor data,
Santoro,David               Manager            1/9/2023            Payroll Tax                                                                                                                    1.70     $525.00       $892.50
                                                                                         application of logic and planning for call with Embed team.
                                                                                         1/9 - 1.7 h TJ Nichol, K Wrenn, D Santoro - 1099 update call. Discuss accessibility to vendor data,
Nichol,T.J.              Senior Manager        1/9/2023       Information Reporting                                                                                                               1.70     $650.00      $1,105.00
                                                                                         application of logic and planning for call with Embed team.
                                                                                         Meeting to discuss next steps on Statement of Work updates for additional services to be provided for
Shea JR,Thomas M        Partner/Principal      1/9/2023            Non US Tax                                                                                                                     0.50     $825.00       $412.50
                                                                                         non-US entities. EY Attendees: D. Hammon, T. Shea, T. Knoeller, K. Staromiejska

                                                                                         Meeting to discuss next steps on Statement of Work updates for additional services to be provided for
Hammon,David Lane           Manager            1/9/2023            Non US Tax                                                                                                                     0.50     $525.00       $262.50
                                                                                         non-US entities. EY Attendees: D. Hammon, T. Shea, T. Knoeller, K. Staromiejska

                                                                                         Meeting to discuss next steps on Statement of Work updates for additional services to be provided for
Knoeller,Thomas J.      Partner/Principal      1/9/2023            Non US Tax                                                                                                                     0.50     $825.00       $412.50
                                                                                         non-US entities. EY Attendees: D. Hammon, T. Shea, T. Knoeller, K. Staromiejska

                                                                                         Meeting to discuss next steps on Statement of Work updates for additional services to be provided for
Staromiejska,Kinga          Manager            1/9/2023            Non US Tax                                                                                                                     0.50     $525.00       $262.50
                                                                                         non-US entities. EY Attendees: D. Hammon, T. Shea, T. Knoeller, K. Staromiejska

                                                                                         Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Hammon,David Lane           Manager            1/9/2023            Non US Tax            standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.            0.30     $525.00       $157.50
                                                                                         Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                         Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Knoeller,Thomas J.      Partner/Principal      1/9/2023            Non US Tax            standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.            0.30     $825.00       $247.50
                                                                                         Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                         Meeting to review transition-related items including next steps, issues requiring escalation, setup of
MacLean,Corrie               Senior            1/9/2023            Non US Tax            standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.            0.30     $395.00       $118.50
                                                                                         Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                         Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Staromiejska,Kinga          Manager            1/9/2023            Non US Tax            standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.            0.30     $525.00       $157.50
                                                                                         Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).
                                                                                         Call with Embed team, L. Weitkam, D. Santoro (EY), T. Nichol (EY), T. Ferris (EY), K. Wrenn
Santoro,David               Manager            1/9/2023            Payroll Tax                                                                                                                    0.50     $525.00       $262.50
                                                                                         (EY), K. Lowery (EY) to discuss historical and TY22 process and data availability
                                                                                         Call with Embed team, L. Weitkam, D. Santoro (EY), T. Nichol (EY), T. Ferris (EY), K. Wrenn
Nichol,T.J.              Senior Manager        1/9/2023            Payroll Tax                                                                                                                    0.50     $650.00       $325.00
                                                                                         (EY), K. Lowery (EY) to discuss historical and TY22 process and data availability
                                                                                         Call with Embed team, L. Weitkam, D. Santoro (EY), T. Nichol (EY), T. Ferris (EY), K. Wrenn
Ferris,Tara             Partner/Principal      1/9/2023            Payroll Tax                                                                                                                    0.50     $825.00       $412.50
                                                                                         (EY), K. Lowery (EY) to discuss historical and TY22 process and data availability
                            National                                                     Call with Embed team, L. Weitkam, D. Santoro (EY), T. Nichol (EY), T. Ferris (EY), K. Wrenn
Lowery,Kristie L                               1/9/2023            Payroll Tax                                                                                                                    0.50     $990.00       $495.00
                        Partner/Principal                                                (EY), K. Lowery (EY) to discuss historical and TY22 process and data availability
                                                                                         Call with Embed team, L. Weitkam, D. Santoro (EY), T. Nichol (EY), T. Ferris (EY), K. Wrenn
Wrenn,Kaitlin Doyle         Manager            1/9/2023            Payroll Tax                                                                                                                    0.50     $525.00       $262.50
                                                                                         (EY), K. Lowery (EY) to discuss historical and TY22 process and data availability
                                                                                         Review FTX organizational chart and other background documents to identify state income tax and
O'Brien,Mike            Partner/Principal      1/9/2023       US State and Local Tax     state sales considerations. Review state appointment files to appropriately determine a plan for state   1.00     $825.00       $825.00
                                                                                         filing obligations, methodologies, and potential remedies
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                  Name          Rank          Date of Service    Project Category                                                Description of Services                                        Hours   Hourly Rate   Fees
                                                                                          Call to discuss Alameda Bahamas entity - US citizens working in Bahamas and determine what is
DeVincenzo,Jennie         Managing Director      1/9/2023            Payroll Tax          required by employer for reporting purposes. J. DeVincenzo, K Wren, M. Rule, C. Carver and M.         0.60     $775.00       $465.00
                                                                                          Hamilton (all EY)
                                                                                          Call to discuss Alameda Bahamas entity - US citizens working in Bahamas and determine what is
Wrenn,Kaitlin Doyle           Manager            1/9/2023            Payroll Tax          required by employer for reporting purposes. J. DeVincenzo, K Wren, M. Rule, C. Carver and M.         0.60     $525.00       $315.00
                                                                                          Hamilton (all EY)
                                                                                          Call to discuss Alameda Bahamas entity - US citizens working in Bahamas and determine what is
Hamilton,Mary Catherine        Senior            1/9/2023            Payroll Tax          required by employer for reporting purposes. J. DeVincenzo, K Wren, M. Rule, C. Carver and M.         0.60     $395.00       $237.00
                                                                                          Hamilton (all EY)
                                                                                          Call to discuss Alameda Bahamas entity - US citizens working in Bahamas and determine what is
Carver,Cody R.                 Senior            1/9/2023            Payroll Tax          required by employer for reporting purposes. J. DeVincenzo, K Wren, M. Rule, C. Carver and M.         0.60     $395.00       $237.00
                                                                                          Hamilton (all EY)
                                                                                          Call to discuss Alameda Bahamas entity - US citizens working in Bahamas and determine what is
Rule,Martin Daniel         Senior Manager        1/9/2023            Payroll Tax          required by employer for reporting purposes. J. DeVincenzo, K Wren, M. Rule, C. Carver and M.         0.60     $650.00       $390.00
                                                                                          Hamilton (all EY)
                            Client Serving
Scott,James                                      1/9/2023          US Income Tax          Gibralter request and solvency considerations                                                         0.70     $600.00       $420.00
                            Contractor JS
                            Client Serving
Scott,James                                      1/9/2023          US Income Tax          Gross income inclusion analysis                                                                       0.40     $600.00       $240.00
                            Contractor JS
                            Client Serving
Scott,James                                      1/9/2023          US Income Tax          License and annual report follow-ups                                                                  0.70     $600.00       $420.00
                            Contractor JS
                            Client Serving
Scott,James                                      1/9/2023          US Income Tax          License and annual report J Sutton of S&C                                                             0.50     $600.00       $300.00
                            Contractor JS
                            Client Serving
Scott,James                                      1/9/2023          US Income Tax          NOL motion analysis                                                                                   0.70     $600.00       $420.00
                            Contractor JS
                            Client Serving
Scott,James                                      1/9/2023          US Income Tax          Payroll and accounting Mazars resignation                                                             0.40     $600.00       $240.00
                            Contractor JS
                            Client Serving
Scott,James                                      1/9/2023          US Income Tax          PMO deck review                                                                                       0.40     $600.00       $240.00
                            Contractor JS
                            Client Serving
Scott,James                                      1/9/2023          US Income Tax          Preparation for and NOL motion conference call S&C, A&M and EY.                                       1.10     $600.00       $660.00
                            Contractor JS
                            Client Serving
Scott,James                                      1/9/2023          US Income Tax          UCC draft deck review and edits                                                                       0.50     $600.00       $300.00
                            Contractor JS
                                                                                          Call with GCR team regarding next steps for local team coordination/onboarding. Attendees: D.
Hammon,David Lane             Manager            1/9/2023          US Income Tax                                                                                                                0.50     $525.00       $262.50
                                                                                          Hammon, T. Knoeller, K. Staromiejska an T. Shea (all EY)
                                                                                          Call with GCR team regarding next steps for local team coordination/onboarding. Attendees: D.
Knoeller,Thomas J.        Partner/Principal      1/9/2023          US Income Tax                                                                                                                0.50     $825.00       $412.50
                                                                                          Hammon, T. Knoeller, K. Staromiejska an T. Shea (all EY)
                                                                                          Call with GCR team regarding next steps for local team coordination/onboarding. Attendees: D.
Staromiejska,Kinga            Manager            1/9/2023          US Income Tax                                                                                                                0.50     $525.00       $262.50
                                                                                          Hammon, T. Knoeller, K. Staromiejska an T. Shea (all EY)
                                                                                          Call with GCR team regarding next steps for local team coordination/onboarding. Attendees: D.
Shea JR,Thomas M          Partner/Principal      1/9/2023          US Income Tax                                                                                                                0.50     $825.00       $412.50
                                                                                          Hammon, T. Knoeller, K. Staromiejska an T. Shea (all EY)
                                                                                          Call with S&C and A&M regarding NOL motion and discussion of related tax technical issues (left
                            Client Serving
Scott,James                                      1/9/2023          US Income Tax          early) Attendees: D. Hariton, J. Scott, K. Jacobs, B.Seaway, A. Ulyanenko, A. Ritz, C. Howe and T.    0.60     $600.00       $360.00
                            Contractor JS
                                                                                          Shea
                                                                                          Call with S&C and A&M regarding NOL motion and discussion of related tax technical issues (left
Ritz,Amy Felice           Managing Director      1/9/2023          US Income Tax          early) Attendees: D. Hariton, J. Scott, K. Jacobs, B.Seaway, A. Ulyanenko, A. Ritz, C. Howe and T.    0.60     $775.00       $465.00
                                                                                          Shea
                                                                                          Call with S&C and A&M regarding NOL motion and discussion of related tax technical issues (left
Shea JR,Thomas M          Partner/Principal      1/9/2023          US Income Tax          early) Attendees: D. Hariton, J. Scott, K. Jacobs, B.Seaway, A. Ulyanenko, A. Ritz, C. Howe and T.    0.60     $825.00       $495.00
                                                                                          Shea
Shea JR,Thomas M          Partner/Principal      1/9/2023          US Income Tax          Written correspondence on Gibraltar and additional accounting/bookkeeping support                     0.80     $825.00       $660.00
                                                                                          Written correspondence with A&M and EY information reporting and tax technology teams regarding
Shea JR,Thomas M          Partner/Principal      1/9/2023          US Income Tax                                                                                                                1.30     $825.00      $1,072.50
                                                                                          potential customer reporting capabilities
                                                                                          1/9 - 1.7 h TJ Nichol, K Wrenn, D Santoro - 1099 update call. Discuss accessibility to vendor data,
Wrenn,Kaitlin Doyle           Manager            1/9/2023            Payroll Tax                                                                                                                1.70     $525.00       $892.50
                                                                                          application of logic and planning for call with Embed team.
Hamilton,Mary Catherine        Senior            1/9/2023            Payroll Tax          Daily internal call with J. DeVincenzo, K. Wrenn, C. Carver                                           0.30     $395.00       $118.50
                                                                                          1/10 - Call with FTX Vault Trust and DCI team and D Santoro (EY), TJ Nichol (EY), K Lowery
Nichol,T.J.                Senior Manager       1/10/2023       Information Reporting                                                                                                           0.60     $650.00       $390.00
                                                                                          (EY), T Ferris (EY) and K Wrenn (EY) to discuss historical and TY22 process and data availability

                                                                                          1/10 - Call with FTX Vault Trust and DCI team and D Santoro (EY), TJ Nichol (EY), K Lowery
Santoro,David                 Manager           1/10/2023            Payroll Tax                                                                                                                0.60     $525.00       $315.00
                                                                                          (EY), T Ferris (EY) and K Wrenn (EY) to discuss historical and TY22 process and data availability

                                                                                          1/10 - Call with FTX Vault Trust and DCI team and D Santoro (EY), TJ Nichol (EY), K Lowery
Ferris,Tara               Partner/Principal     1/10/2023            Payroll Tax                                                                                                                0.60     $825.00       $495.00
                                                                                          (EY), T Ferris (EY) and K Wrenn (EY) to discuss historical and TY22 process and data availability
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                  Name         Rank          Date of Service            Project Category                                                     Description of Services                                            Hours   Hourly Rate   Fees

                             National                                                                 1/10 - Call with FTX Vault Trust and DCI team and D Santoro (EY), TJ Nichol (EY), K Lowery
Lowery,Kristie L                               1/10/2023                   Payroll Tax                                                                                                                          0.60     $990.00       $594.00
                         Partner/Principal                                                            (EY), T Ferris (EY) and K Wrenn (EY) to discuss historical and TY22 process and data availability

                                                                                                      1/10 - Call with FTX Vault Trust and DCI team and D Santoro (EY), TJ Nichol (EY), K Lowery
Wrenn,Kaitlin Doyle          Manager           1/10/2023                   Payroll Tax                                                                                                                          0.60     $525.00       $315.00
                                                                                                      (EY), T Ferris (EY) and K Wrenn (EY) to discuss historical and TY22 process and data availability
                                                                                                      1/10 Meeting to discuss FTX non-US requests. Attendees: T. Shea (EY), P. Ash (EY), A. Farrar
Ancona,Christopher            Senior           1/10/2023       Project Management Office Transition                                                                                                             0.30     $395.00       $118.50
                                                                                                      (EY), C. Ancona (EY).
                                                                                                      1/10 Meeting to discuss FTX non-US requests. Attendees: T. Shea (EY), P. Ash (EY), A. Farrar
Farrar,Anne              Partner/Principal     1/10/2023       Project Management Office Transition                                                                                                             0.30     $825.00       $247.50
                                                                                                      (EY), C. Ancona (EY).
                                                                                                      1/10 Meeting to discuss FTX non-US requests. Attendees: T. Shea (EY), P. Ash (EY), A. Farrar
Shea JR,Thomas M         Partner/Principal     1/10/2023       Project Management Office Transition                                                                                                             0.30     $825.00       $247.50
                                                                                                      (EY), C. Ancona (EY).
                                                                                                      1/10 Meeting to discuss FTX non-US requests. Attendees: T. Shea (EY), P. Ash (EY), A. Farrar
Ash,Polly Westerberg      Senior Manager       1/10/2023       Project Management Office Transition                                                                                                             0.30     $650.00       $195.00
                                                                                                      (EY), C. Ancona (EY).
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ash,Polly Westerberg      Senior Manager       1/10/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $650.00       $195.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                             National
McComber,Donna                                 1/10/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $990.00       $297.00
                         Partner/Principal
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                           Client Serving
Scott,James                                    1/10/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $600.00       $180.00
                           Contractor JS
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Farrar,Anne              Partner/Principal     1/10/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $825.00       $247.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Lovelace,Lauren          Partner/Principal     1/10/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $825.00       $247.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Bailey,Doug              Partner/Principal     1/10/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $825.00       $247.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Bost,Anne                Managing Director     1/10/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $775.00       $232.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Cotopoulis,Alex          Managing Director     1/10/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $775.00       $232.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Gengler,Charlie          Partner/Principal     1/10/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $825.00       $247.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Jayanthi,Lakshmi          Senior Manager       1/10/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $650.00       $195.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ferris,Tara              Partner/Principal     1/10/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $825.00       $247.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Madhok,Kishan             Senior Manager       1/10/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $650.00       $195.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Nichol,T.J.               Senior Manager       1/10/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $650.00       $195.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ancona,Christopher            Senior           1/10/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $395.00       $118.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Berman,Jake               Senior Manager       1/10/2023                 US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $650.00       $195.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                          Client Serving
Bieganski,Walter                               1/10/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $200.00        $60.00
                          Contractor WB
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Hall,Emily Melissa            Senior           1/10/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $395.00       $118.50
                                                                                                      implementation of global compliance and reporting services
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                 Name           Rank          Date of Service            Project Category                                                     Description of Services                                            Hours   Hourly Rate   Fees
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Hammon,David Lane             Manager           1/10/2023                   Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $525.00       $157.50
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Jimenez,Joseph Robert      Senior Manager       1/10/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $650.00       $195.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Katsnelson,David              Manager           1/10/2023                 Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $525.00       $157.50
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Knoeller,Thomas J.        Partner/Principal     1/10/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $825.00       $247.50
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                              National
Lowery,Kristie L                                1/10/2023                   Payroll Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $990.00       $297.00
                          Partner/Principal
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Musano,Matthew Albert      Senior Manager       1/10/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $650.00       $195.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Shea JR,Thomas M          Partner/Principal     1/10/2023                 US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $825.00       $247.50
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Staromiejska,Kinga            Manager           1/10/2023                   Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $525.00       $157.50
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Wrenn,Kaitlin Doyle           Manager           1/10/2023                   Payroll Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $525.00       $157.50
                                                                                                       implementation of global compliance and reporting services
                                                                                                       1/10/23 Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action
Berman,Jake                Senior Manager       1/10/2023       Project Management Office Transition                                                                                                             0.30     $650.00       $195.00
                                                                                                       items. EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
                              National                                                                 1/10/23 Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action
Lowery,Kristie L                                1/10/2023       Project Management Office Transition                                                                                                             0.30     $990.00       $297.00
                          Partner/Principal                                                            items. EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
                           Client Serving                                                              1/10/23 Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action
Scott,James                                     1/10/2023       Project Management Office Transition                                                                                                             0.30     $600.00       $180.00
                           Contractor JS                                                               items. EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
                                                                                                       1/10/23 Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action
Shea JR,Thomas M          Partner/Principal     1/10/2023       Project Management Office Transition                                                                                                             0.30     $825.00       $247.50
                                                                                                       items. EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
                                                                                                       1/10/23 Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action
Ash,Polly Westerberg       Senior Manager       1/10/2023       Project Management Office Transition                                                                                                             0.30     $650.00       $195.00
                                                                                                       items. EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
                            Client Serving
Scott,James                                     1/10/2023                 US Income Tax                Agenda and updates from leads for K Schultea update                                                       1.20     $600.00       $720.00
                            Contractor JS
                            Client Serving
Scott,James                                     1/10/2023                 US Income Tax                Business licenses scoping                                                                                 0.70     $600.00       $420.00
                            Contractor JS
                                                                                                       Call to discuss Alameda Bahamas entity - US citizens working in Bahamas and determine what is
Wrenn,Kaitlin Doyle           Manager           1/10/2023                   Payroll Tax                required by employer for reporting purposes. J. DeVincenzo, K. Wrenn, M. Rule, C. Carver and M.           0.60     $525.00       $315.00
                                                                                                       Hamilton
                                                                                                       Call to discuss Alameda Bahamas entity - US citizens working in Bahamas and determine what is
Rule,Martin Daniel         Senior Manager       1/10/2023                   Payroll Tax                required by employer for reporting purposes. J. DeVincenzo, K. Wrenn, M. Rule, C. Carver and M.           0.60     $650.00       $390.00
                                                                                                       Hamilton
                                                                                                       Call to discuss Alameda Bahamas entity - US citizens working in Bahamas and determine what is
Hamilton,Mary Catherine        Senior           1/10/2023                   Payroll Tax                required by employer for reporting purposes. J. DeVincenzo, K. Wrenn, M. Rule, C. Carver and M.           0.60     $395.00       $237.00
                                                                                                       Hamilton
                                                                                                       Call to discuss Alameda Bahamas entity - US citizens working in Bahamas and determine what is
Carver,Cody R.                 Senior           1/10/2023                   Payroll Tax                required by employer for reporting purposes. J. DeVincenzo, K. Wrenn, M. Rule, C. Carver and M.           0.60     $395.00       $237.00
                                                                                                       Hamilton
                                                                                                       Call to discuss Alameda Bahamas entity - US citizens working in Bahamas and determine what is
DeVincenzo,Jennie         Managing Director     1/10/2023                   Payroll Tax                required by employer for reporting purposes. J. DeVincenzo, K. Wrenn, M. Rule, C. Carver and M.           0.60     $775.00       $465.00
                                                                                                       Hamilton
                                                                                                       Call to discuss large marketing expense associated with FTX Arena and transfer pricing implications
Lovelace,Lauren           Partner/Principal     1/10/2023                 Transfer Pricing             of the cost allocation. Attendees: L. Lovelace, D. McComber, J. Berman, D. Bailey, A. Bost, D.            0.40     $825.00       $330.00
                                                                                                       Katsnelson (All EY)
                                                                                                       Call to discuss large marketing expense associated with FTX Arena and transfer pricing implications
                              National
McComber,Donna                                  1/10/2023                 Transfer Pricing             of the cost allocation. Attendees: L. Lovelace, D. McComber, J. Berman, D. Bailey, A. Bost, D.            0.40     $990.00       $396.00
                          Partner/Principal
                                                                                                       Katsnelson (All EY)
                                                                                                       Call to discuss large marketing expense associated with FTX Arena and transfer pricing implications
Berman,Jake                Senior Manager       1/10/2023                 Transfer Pricing             of the cost allocation. Attendees: L. Lovelace, D. McComber, J. Berman, D. Bailey, A. Bost, D.            0.40     $650.00       $260.00
                                                                                                       Katsnelson (All EY)
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                   Name         Rank          Date of Service            Project Category                                                    Description of Services                                          Hours   Hourly Rate   Fees
                                                                                                       Call to discuss large marketing expense associated with FTX Arena and transfer pricing implications
Bailey,Doug               Partner/Principal     1/10/2023                 Transfer Pricing             of the cost allocation. Attendees: L. Lovelace, D. McComber, J. Berman, D. Bailey, A. Bost, D.         0.40     $825.00       $330.00
                                                                                                       Katsnelson (All EY)
                                                                                                       Call to discuss large marketing expense associated with FTX Arena and transfer pricing implications
Bost,Anne                 Managing Director     1/10/2023                 Transfer Pricing             of the cost allocation. Attendees: L. Lovelace, D. McComber, J. Berman, D. Bailey, A. Bost, D.         0.40     $775.00       $310.00
                                                                                                       Katsnelson (All EY)
                                                                                                       Call to discuss large marketing expense associated with FTX Arena and transfer pricing implications
Katsnelson,David              Manager           1/10/2023                 Transfer Pricing             of the cost allocation. Attendees: L. Lovelace, D. McComber, J. Berman, D. Bailey, A. Bost, D.         0.40     $525.00       $210.00
                                                                                                       Katsnelson (All EY)
                                                                                                       Call to discuss W-2 review and tracking of findings. K. Wrenn, K. Dickerson, M. Hamilton, C. Carver
Hamilton,Mary Catherine        Senior           1/10/2023                   Payroll Tax                                                                                                                       0.50     $395.00       $197.50
                                                                                                       and M. Pulliam
                                                                                                       Call to discuss W-2 review and tracking of findings. K. Wrenn, K. Dickerson, M. Hamilton, C. Carver
Wrenn,Kaitlin Doyle           Manager           1/10/2023                   Payroll Tax                                                                                                                       0.50     $525.00       $262.50
                                                                                                       and M. Pulliam
                                                                                                       Call to discuss W-2 review and tracking of findings. K. Wrenn, K. Dickerson, M. Hamilton, C. Carver
Carver,Cody R.                 Senior           1/10/2023                   Payroll Tax                                                                                                                       0.50     $395.00       $197.50
                                                                                                       and M. Pulliam
                                                                                                       Call to discuss W-2 review and tracking of findings. K. Wrenn, K. Dickerson, M. Hamilton, C. Carver
Dickerson,Kelsey              Manager           1/10/2023                   Payroll Tax                                                                                                                       0.50     $525.00       $262.50
                                                                                                       and M. Pulliam
                                                                                                       Call to discuss W-2 review and tracking of findings. K. Wrenn, K. Dickerson, M. Hamilton, C. Carver
Pulliam,Michelle                Staff           1/10/2023                   Payroll Tax                                                                                                                       0.50     $225.00       $112.50
                                                                                                       and M. Pulliam
                                                                                                       Call with C Papadopoulous on FTX and Alameda with EY D Santoro, TJ Nichol, K Lowery, T Ferris
Nichol,T.J.                Senior Manager       1/10/2023                   Payroll Tax                                                                                                                       0.70     $650.00       $455.00
                                                                                                       and K Wrenn to discuss historical and TY22 process and data availability.
                                                                                                       Call with C Papadopoulous on FTX and Alameda with EY D Santoro, TJ Nichol, K Lowery, T Ferris
Santoro,David                 Manager           1/10/2023                   Payroll Tax                                                                                                                       0.70     $525.00       $367.50
                                                                                                       and K Wrenn to discuss historical and TY22 process and data availability.
                                                                                                       Call with C Papadopoulous on FTX and Alameda with EY D Santoro, TJ Nichol, K Lowery, T Ferris
Ferris,Tara               Partner/Principal     1/10/2023                   Payroll Tax                                                                                                                       0.70     $825.00       $577.50
                                                                                                       and K Wrenn to discuss historical and TY22 process and data availability.
                              National                                                                 Call with C Papadopoulous on FTX and Alameda with EY D Santoro, TJ Nichol, K Lowery, T Ferris
Lowery,Kristie L                                1/10/2023                   Payroll Tax                                                                                                                       0.70     $990.00       $693.00
                          Partner/Principal                                                            and K Wrenn to discuss historical and TY22 process and data availability.
                                                                                                       Call with C Papadopoulous on FTX and Alameda with EY D Santoro, TJ Nichol, K Lowery, T Ferris
Wrenn,Kaitlin Doyle           Manager           1/10/2023                   Payroll Tax                                                                                                                       0.70     $525.00       $367.50
                                                                                                       and K Wrenn to discuss historical and TY22 process and data availability.
                                                                                                       Call with FTX/ Alameda 1099 process with Caroline Papadopoulus. Attendees: K. Lowery, K.
Ferris,Tara               Partner/Principal     1/10/2023                   Payroll Tax                                                                                                                       0.50     $825.00       $412.50
                                                                                                       Wrenn, D. Santoro, TJ Nichols, T. Ferris (All EY)
                                                                                                       Call with FTX/ Alameda 1099 process with Caroline Papadopoulus. Attendees: K. Lowery, K.
Wrenn,Kaitlin Doyle           Manager           1/10/2023                   Payroll Tax                                                                                                                       0.50     $525.00       $262.50
                                                                                                       Wrenn, D. Santoro, TJ Nichols, T. Ferris (All EY)
                                                                                                       Call with FTX/ Alameda 1099 process with Caroline Papadopoulus. Attendees: K. Lowery, K.
Santoro,David                 Manager           1/10/2023                   Payroll Tax                                                                                                                       0.50     $525.00       $262.50
                                                                                                       Wrenn, D. Santoro, TJ Nichols, T. Ferris (All EY)
                                                                                                       Call with FTX/ Alameda 1099 process with Caroline Papadopoulus. Attendees: K. Lowery, K.
Nichol,T.J.                Senior Manager       1/10/2023                   Payroll Tax                                                                                                                       0.50     $650.00       $325.00
                                                                                                       Wrenn, D. Santoro, TJ Nichols, T. Ferris (All EY)
                              National                                                                 Call with FTX/ Alameda 1099 process with Caroline Papadopoulus. Attendees: K. Lowery, K.
Lowery,Kristie L                                1/10/2023                   Payroll Tax                                                                                                                       0.50     $990.00       $495.00
                          Partner/Principal                                                            Wrenn, D. Santoro, TJ Nichols, T. Ferris (All EY)
                                                                                                       Meeting with M Wong (EY) and J. Berman (EY) regarding marketing expense allocation information
Wong,Maddie                     Staff           1/10/2023                 US Income Tax                                                                                                                       1.80     $225.00       $405.00
                                                                                                       and analysis
                            Client Serving                                                             Call with M. Cilia, J. Scott and T. Shea on time sensitive accounting on payroll support requests in
Scott,James                                     1/10/2023                 US Income Tax                                                                                                                       0.50     $600.00       $300.00
                            Contractor JS                                                              local jurisdictions
                                                                                                       Call with M. Cilia, J. Scott and T. Shea on time sensitive accounting on payroll support requests in
Shea JR,Thomas M          Partner/Principal     1/10/2023                 US Income Tax                                                                                                                       0.50     $825.00       $412.50
                                                                                                       local jurisdictions
Shea JR,Thomas M          Partner/Principal     1/10/2023                 US Income Tax                Conference call regarding Europe and Asia with M Cilia. Attendees: T. Shea (EY), J. Scott (EY).        0.70     $825.00       $577.50
                            Client Serving
Scott,James                                     1/10/2023                 US Income Tax                Conference call regarding Europe and Asia with M Cilia. Attendees: T. Shea (EY), J. Scott (EY).        0.70     $600.00       $420.00
                            Contractor JS
                                                                                                       Correspondence with EY local teams (Singapore, Turkey, Germany) concerning project updates and
Hammon,David Lane             Manager           1/10/2023                   Non US Tax                                                                                                                        1.40     $525.00       $735.00
                                                                                                       next steps
Wong,Maddie                     Staff           1/10/2023                 US Income Tax                Prepare a schedule for support of FTX's largest marketing expenses.                                    1.60     $225.00        $360.00
Ash,Polly Westerberg       Senior Manager       1/10/2023       Project Management Office Transition   Prepare FTX roadmap and project plan strategy                                                          2.20     $650.00      $1,430.00
                                                                                                       Discuss setting up call with Bahamas team, W-2 review and follow-up with foreign countries. Daily
Wrenn,Kaitlin Doyle           Manager           1/10/2023                   Payroll Tax                                                                                                                       0.50     $525.00       $262.50
                                                                                                       update call with Jennie D, Kaitlin W C, Carver and Mary H (all EY)
                                                                                                       Discuss setting up call with Bahamas team, W-2 review and follow-up with foreign countries. Daily
Hamilton,Mary Catherine        Senior           1/10/2023                   Payroll Tax                                                                                                                       0.50     $395.00       $197.50
                                                                                                       update call with Jennie D, Kaitlin W C, Carver and Mary H (all EY)
                                                                                                       Discuss setting up call with Bahamas team, W-2 review and follow-up with foreign countries. Daily
DeVincenzo,Jennie         Managing Director     1/10/2023                   Payroll Tax                                                                                                                       0.50     $775.00       $387.50
                                                                                                       update call with Jennie D, Kaitlin W C, Carver and Mary H (all EY)
                                                                                                       Discuss setting up call with Bahamas team, W-2 review and follow-up with foreign countries. Daily
Carver,Cody R.                 Senior           1/10/2023                   Payroll Tax                                                                                                                       0.50     $395.00       $197.50
                                                                                                       update call with Jennie D, Kaitlin W C, Carver and Mary H (all EY)
Hamilton,Mary Catherine         Senior          1/10/2023                   Payroll Tax                Review of 2021 & 2022 return filings to track account numbers                                          0.60     $395.00       $237.00
                            Client Serving
Scott,James                                     1/10/2023                 US Income Tax                Discussion regarding MOR Reporting. Attendees: J. Scott (EY), J. Berman (EY).                          0.20     $600.00       $120.00
                            Contractor JS
Berman,Jake                Senior Manager       1/10/2023                 US Income Tax                Discussion regarding MOR Reporting. Attendees: J. Scott (EY), J. Berman (EY).                          0.20     $650.00       $130.00
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                   Name          Rank          Date of Service    Project Category                                                Description of Services                                            Hours   Hourly Rate   Fees

Shea JR,Thomas M           Partner/Principal     1/10/2023         US Income Tax          Discussion with lawyers and Bill Seaway re: Section 382 issues. EY Attendees: T. Shea, A. Ritz             1.00     $825.00       $825.00

Ritz,Amy Felice            Managing Director     1/10/2023         US Income Tax          Discussion with lawyers and Bill Seaway re: Section 382 issues. EY Attendees: T. Shea, A. Ritz             1.00     $775.00       $775.00
Bailey,Doug                Partner/Principal     1/10/2023          Tax Advisory          Analysis of Cottonwood and the nature of its transactions and potential tax implications.                  0.30     $825.00       $247.50
                               National
Lowery,Kristie L                                 1/10/2023           Payroll Tax          Documentation of Forms 1099 process for mapping to each entity                                             1.90     $990.00      $1,881.00
                           Partner/Principal
                                                                                          Engagement Counsel re: potential conflict checks Attendees: C. Ancona, A. Farrar, S. Beattie, P.
Shea JR,Thomas M           Partner/Principal     1/10/2023         US Income Tax                                                                                                                     0.50     $825.00       $412.50
                                                                                          Ash, B. Richards, K. Hutchison, W. Raad, V. Kapoor, A. Tabak
                             Client Serving
Scott,James                                      1/10/2023         US Income Tax          Europe/Asia entity payroll and accounting support                                                          1.40     $600.00       $840.00
                             Contractor JS
                             Client Serving
Scott,James                                      1/10/2023         US Income Tax          EY team lead report                                                                                        0.20     $600.00       $120.00
                             Contractor JS
Karan,Anna Suncheuri              Staff          1/10/2023       US International Tax     Finish up the time recording matrix                                                                        2.70     $225.00       $607.50
Raulli,Lindsay Elizabeth    Senior Manager       1/10/2023       US International Tax     Review of Intercompany Transactions                                                                        1.50     $650.00       $975.00
Katsnelson,David               Manager           1/10/2023         Transfer Pricing       FTX - Review and assess tp implications of large marketing expense associated with FTX Arena               0.50     $525.00       $262.50
Pulliam,Michelle                 Staff           1/10/2023           Payroll Tax          Gusto Reports W-2 review and reconciliation - M. Pulliam                                                   1.30     $225.00       $292.50
                                                                                          Internal discussion on the 2022 taxable income amounts for FTX and Alameda. Attendees: L.
Lovelace,Lauren            Partner/Principal     1/10/2023       US International Tax     Lovelace (EY), T. Shea (EY), D. Bailey (EY), D. McComber (EY), D. Katsnelson (EY), A. Bost                 1.00     $825.00       $825.00
                                                                                          (EY), J. Bearman, L. Jayanthi (EY).
                                                                                          Internal discussion on the 2022 taxable income amounts for FTX and Alameda. Attendees: L.
Shea JR,Thomas M           Partner/Principal     1/10/2023       US International Tax     Lovelace (EY), T. Shea (EY), D. Bailey (EY), D. McComber (EY), D. Katsnelson (EY), A. Bost                 1.00     $825.00       $825.00
                                                                                          (EY), J. Bearman, L. Jayanthi (EY).
                                                                                          Internal discussion on the 2022 taxable income amounts for FTX and Alameda. Attendees: L.
Bailey,Doug                Partner/Principal     1/10/2023       US International Tax     Lovelace (EY), T. Shea (EY), D. Bailey (EY), D. McComber (EY), D. Katsnelson (EY), A. Bost                 1.00     $825.00       $825.00
                                                                                          (EY), J. Bearman, L. Jayanthi (EY).
                                                                                          Internal discussion on the 2022 taxable income amounts for FTX and Alameda. Attendees: L.
                               National
McComber,Donna                                   1/10/2023       US International Tax     Lovelace (EY), T. Shea (EY), D. Bailey (EY), D. McComber (EY), D. Katsnelson (EY), A. Bost                 1.00     $990.00       $990.00
                           Partner/Principal
                                                                                          (EY), J. Bearman, L. Jayanthi (EY).
                                                                                          Internal discussion on the 2022 taxable income amounts for FTX and Alameda. Attendees: L.
Katsnelson,David               Manager           1/10/2023       US International Tax     Lovelace (EY), T. Shea (EY), D. Bailey (EY), D. McComber (EY), D. Katsnelson (EY), A. Bost                 1.00     $525.00       $525.00
                                                                                          (EY), J. Bearman, L. Jayanthi (EY).
                                                                                          Internal discussion on the 2022 taxable income amounts for FTX and Alameda. Attendees: L.
Bost,Anne                  Managing Director     1/10/2023       US International Tax     Lovelace (EY), T. Shea (EY), D. Bailey (EY), D. McComber (EY), D. Katsnelson (EY), A. Bost                 1.00     $775.00       $775.00
                                                                                          (EY), J. Bearman, L. Jayanthi (EY).
                                                                                          Internal discussion on the 2022 taxable income amounts for FTX and Alameda. Attendees: L.
Jayanthi,Lakshmi            Senior Manager       1/10/2023       US International Tax     Lovelace (EY), T. Shea (EY), D. Bailey (EY), D. McComber (EY), D. Katsnelson (EY), A. Bost                 1.00     $650.00       $650.00
                                                                                          (EY), J. Bearman, L. Jayanthi (EY).
                             Client Serving
Scott,James                                      1/10/2023         US Income Tax          Local contacts for Mazar country resignations                                                              0.50     $600.00       $300.00
                             Contractor JS
                                                                                          Marketing Expense Allocation analysis meeting with L Lovelace (EY), D Bailey (EY), L Jayanthi
Lovelace,Lauren            Partner/Principal     1/10/2023         US Income Tax                                                                                                                     0.30     $825.00       $247.50
                                                                                          (EY), D McComber (EY), D Katnelson (EY), A Bost (EY) and J. Berman (EY)
                                                                                          Marketing Expense Allocation analysis meeting with L Lovelace (EY), D Bailey (EY), L Jayanthi
Bailey,Doug                Partner/Principal     1/10/2023         US Income Tax                                                                                                                     0.30     $825.00       $247.50
                                                                                          (EY), D McComber (EY), D Katnelson (EY), A Bost (EY) and J. Berman (EY)
                                                                                          Marketing Expense Allocation analysis meeting with L Lovelace (EY), D Bailey (EY), L Jayanthi
Jayanthi,Lakshmi            Senior Manager       1/10/2023         US Income Tax                                                                                                                     0.30     $650.00       $195.00
                                                                                          (EY), D McComber (EY), D Katnelson (EY), A Bost (EY) and J. Berman (EY)
                               National                                                   Marketing Expense Allocation analysis meeting with L Lovelace (EY), D Bailey (EY), L Jayanthi
McComber,Donna                                   1/10/2023         US Income Tax                                                                                                                     0.30     $990.00       $297.00
                           Partner/Principal                                              (EY), D McComber (EY), D Katnelson (EY), A Bost (EY) and J. Berman (EY)
                                                                                          Marketing Expense Allocation analysis meeting with L Lovelace (EY), D Bailey (EY), L Jayanthi
Katsnelson,David               Manager           1/10/2023         US Income Tax                                                                                                                     0.30     $525.00       $157.50
                                                                                          (EY), D McComber (EY), D Katnelson (EY), A Bost (EY) and J. Berman (EY)
                                                                                          Marketing Expense Allocation analysis meeting with L Lovelace (EY), D Bailey (EY), L Jayanthi
Bost,Anne                  Managing Director     1/10/2023         US Income Tax                                                                                                                     0.30     $775.00       $232.50
                                                                                          (EY), D McComber (EY), D Katnelson (EY), A Bost (EY) and J. Berman (EY)
                                                                                          Marketing Expense Allocation analysis meeting with L Lovelace (EY), D Bailey (EY), L Jayanthi
Berman,Jake                 Senior Manager       1/10/2023         US Income Tax                                                                                                                     0.30     $650.00       $195.00
                                                                                          (EY), D McComber (EY), D Katnelson (EY), A Bost (EY) and J. Berman (EY)
                                                                                          Meeting to discuss engagement details and next steps with EY Turkey team. Attendees: D. Hammon
Hammon,David Lane              Manager           1/10/2023          Non US Tax                                                                                                                       0.50     $525.00       $262.50
                                                                                          (EY), M. Tan
MacLean,Corrie                  Senior           1/10/2023          Non US Tax            Review transition-related items                                                                            0.30     $395.00       $118.50
                                                                                          Meeting with M Wong (EY) and J. Berman (EY) regarding marketing expense allocation information
Berman,Jake                 Senior Manager       1/10/2023         US Income Tax                                                                                                                     1.40     $650.00       $910.00
                                                                                          and analysis
                            Client Serving
Scott,James                                      1/10/2023         US Income Tax          MOR reporting                                                                                              0.70     $600.00       $420.00
                            Contractor JS
Shea JR,Thomas M           Partner/Principal     1/10/2023         US Income Tax          Prepare agenda, including coordination with workstream leads, for Tax C-Suite update                       0.90     $825.00       $742.50
                            Client Serving                                                Prepare and call to discuss status on payroll items and tax issues. Attendees: K. Schultea, M. Cilia, J.
Scott,James                                      1/10/2023           Payroll Tax                                                                                                                     0.50     $600.00       $300.00
                            Contractor JS                                                 Scott (EY), K. Lowery (EY), T. Shea (EY), and J. Berman (EY).
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                Name        Rank           Date of Service            Project Category                                                      Description of Services                                            Hours   Hourly Rate   Fees
                                                                                                    Prepare and call to discuss status on payroll items and tax issues. Attendees: K. Schultea, M. Cilia, J.
Shea JR,Thomas M       Partner/Principal     1/10/2023                   Payroll Tax                                                                                                                           0.50     $825.00       $412.50
                                                                                                    Scott (EY), K. Lowery (EY), T. Shea (EY), and J. Berman (EY).
                                                                                                    Prepare and call to discuss status on payroll items and tax issues. Attendees: K. Schultea, M. Cilia, J.
Berman,Jake            Senior Manager        1/10/2023                   Payroll Tax                                                                                                                           0.50     $650.00       $325.00
                                                                                                    Scott (EY), K. Lowery (EY), T. Shea (EY), and J. Berman (EY).
                           National                                                                 Prepare and call to discuss status on payroll items and tax issues. Attendees: K. Schultea, M. Cilia, J.
Lowery,Kristie L                             1/10/2023                   Payroll Tax                                                                                                                           0.50     $990.00       $495.00
                       Partner/Principal                                                            Scott (EY), K. Lowery (EY), T. Shea (EY), and J. Berman (EY).
Berman,Jake            Senior Manager        1/10/2023                 US Income Tax                Prepare for meeting regarding latest tax status update                                                     0.10     $650.00        $65.00
Dickerson,Kelsey           Manager           1/10/2023                  Payroll Tax                 Prepare W2 review files for Gusto and Rippling                                                             1.00     $525.00       $525.00
Wrenn,Kaitlin Doyle        Manager           1/10/2023                  Payroll Tax                 Reconciliation of box files for 1099 compliance and location of W9 forms                                   1.30     $525.00       $682.50
                                                                                                    Research re: marketing expenses and review of relevant documentation including the agreement with
Bailey,Doug            Partner/Principal     1/10/2023                  Tax Advisory                Miami Dade Country and review of the relevant company general ledgers to determine how these               1.40     $825.00      $1,155.00
                                                                                                    expenses were booked and funded
Bailey,Doug            Partner/Principal     1/10/2023                  Tax Advisory                Review and update tax issues list and action plans for each issue                                          1.10     $825.00       $907.50
Shea JR,Thomas M       Partner/Principal     1/10/2023                 US Income Tax                Review of Federal income tax issues and next steps with J. Berman and T Shea (EY)                          0.70     $825.00       $577.50
Ferris,Tara            Partner/Principal     1/10/2023              Information Reporting           Review of Form 1099 reporting scope                                                                        1.10     $825.00       $907.50
Berman,Jake            Senior Manager        1/10/2023                 US Income Tax                Review of Federal income tax issues and next steps with J. Berman and T Shea (EY)                          0.70     $650.00       $455.00
                                                                                                    Summarize FTX EY Leads touchpoint meeting discussion, compile action items and applicable
Ancona,Christopher          Senior           1/10/2023       Project Management Office Transition   parties. Circulate meeting notes to EY leads.                                                              1.20     $395.00       $474.00

                        Client Serving
Scott,James                                  1/10/2023                 US Income Tax                UCC and MOR requests                                                                                       0.60     $600.00       $360.00
                        Contractor JS
                                                                                                    Update of and Correspondence concerning contract to be utilized to subcontract services to EY
Hammon,David Lane          Manager           1/10/2023                   Non US Tax                                                                                                                            1.20     $525.00       $630.00
                                                                                                    member firms
Hammon,David Lane          Manager           1/10/2023                   Non US Tax                 Update of communication to be sent to EY local teams concerning contractual updates and next steps         1.10     $525.00       $577.50
                        Client Serving
Scott,James                                  1/10/2023                 US Income Tax                Update call with with M Cilia (FTX)                                                                        0.30     $600.00       $180.00
                        Contractor JS
                                                                                                    Workstream Connect Meeting with Vendor FTX Vault regarding 1099 reporting. 1099 Vendor Data
Nichol,T.J.            Senior Manager        1/10/2023              Information Reporting                                                                                                                      2.30     $650.00      $1,495.00
                                                                                                    Analysis. Attendees: , TJ Nichol (EY), Lydia Loo (EY), D. Santoro (EY).
                                                                                                    Workstream Connect Meeting with Vendor FTX Vault regarding 1099 reporting. 1099 Vendor Data
Loo,Lydia                   Senior           1/10/2023              Information Reporting                                                                                                                      2.30     $395.00       $908.50
                                                                                                    Analysis. Attendees: , TJ Nichol (EY), Lydia Loo (EY), D. Santoro (EY).
                                                                                                    Workstream Connect Meeting with Vendor FTX Vault regarding 1099 reporting. 1099 Vendor Data
Santoro,David              Manager           1/10/2023              Information Reporting                                                                                                                      2.30     $525.00      $1,207.50
                                                                                                    Analysis. Attendees: , TJ Nichol (EY), Lydia Loo (EY), D. Santoro (EY).
Shea JR,Thomas M       Partner/Principal     1/10/2023                 US Income Tax                Draft correspondence to EY internal teams re: potential additional accounting and payroll support          0.80     $825.00       $660.00
                                                                                                    Draft correspondence with RLA and A&M regarding tax compliance information request documents
Shea JR,Thomas M       Partner/Principal     1/10/2023                 US Income Tax                                                                                                                           1.00     $825.00       $825.00
                                                                                                    received from RLA
                                                                                                    1/11 - Call with Connect Ledger team, J Markou, G Camella, D Fish and EY D Santoro, TJ Nichol, K
Santoro,David              Manager           1/11/2023              Information Reporting                                                                                                                      0.70     $525.00       $367.50
                                                                                                    Lowery, T Ferris and K Wrenn to discuss historical andTY22 process and data availability

                                                                                                    1/11 - Call with Connect Ledger team, J Markou, G Camella, D Fish and EY D Santoro, TJ Nichol, K
Ferris,Tara            Partner/Principal     1/11/2023              Information Reporting                                                                                                                      0.70     $825.00       $577.50
                                                                                                    Lowery, T Ferris and K Wrenn to discuss historical andTY22 process and data availability

                           National                                                                 1/11 - Call with Connect Ledger team, J Markou, G Camella, D Fish and EY D Santoro, TJ Nichol, K
Lowery,Kristie L                             1/11/2023              Information Reporting                                                                                                                      0.70     $990.00       $693.00
                       Partner/Principal                                                            Lowery, T Ferris and K Wrenn to discuss historical andTY22 process and data availability

                                                                                                    1/11 - Call with Connect Ledger team, J Markou, G Camella, D Fish and EY D Santoro, TJ Nichol, K
Nichol,T.J.            Senior Manager        1/11/2023              Information Reporting                                                                                                                      0.70     $650.00       $455.00
                                                                                                    Lowery, T Ferris and K Wrenn to discuss historical andTY22 process and data availability

                                                                                                    1/11 - Call with Connect Ledger team, J Markou, G Camella, D Fish and EY D Santoro, TJ Nichol, K
Wrenn,Kaitlin Doyle        Manager           1/11/2023                   Payroll Tax                                                                                                                           0.70     $525.00       $367.50
                                                                                                    Lowery, T Ferris and K Wrenn to discuss historical andTY22 process and data availability

Bailey,Doug            Partner/Principal     1/11/2023                  Tax Advisory                Analysis of additional tax authorities and articles related to a tax issue relevant to the company         1.90     $825.00      $1,567.50
                                                                                                    Call with AciSecure team, I Stamova, P Hoffman, C Meyers with EY D Santoro, TJ Nichol, K Wrenn
Santoro,David              Manager           1/11/2023                   Payroll Tax                                                                                                                           0.50     $525.00       $262.50
                                                                                                    T Ferris and K Lowery to discuss historical and TY22 process and data availability
                                                                                                    Call with AciSecure team, I Stamova, P Hoffman, C Meyers with EY D Santoro, TJ Nichol, K Wrenn
Nichol,T.J.            Senior Manager        1/11/2023                   Payroll Tax                                                                                                                           0.50     $650.00       $325.00
                                                                                                    T Ferris and K Lowery to discuss historical and TY22 process and data availability
                           National                                                                 Call with AciSecure team, I Stamova, P Hoffman, C Meyers with EY D Santoro, TJ Nichol, K Wrenn
Lowery,Kristie L                             1/11/2023                   Payroll Tax                                                                                                                           0.50     $990.00       $495.00
                       Partner/Principal                                                            T Ferris and K Lowery to discuss historical and TY22 process and data availability
                                                                                                    Call with AciSecure team, I Stamova, P Hoffman, C Meyers with EY D Santoro, TJ Nichol, K Wrenn
Ferris,Tara            Partner/Principal     1/11/2023                   Payroll Tax                                                                                                                           0.50     $825.00       $412.50
                                                                                                    T Ferris and K Lowery to discuss historical and TY22 process and data availability
                                                                                                    Call with AciSecure team, I Stamova, P Hoffman, C Meyers with EY D Santoro, TJ Nichol, K Wrenn
Wrenn,Kaitlin Doyle        Manager           1/11/2023                   Payroll Tax                                                                                                                           0.50     $525.00       $262.50
                                                                                                    T Ferris and K Lowery to discuss historical and TY22 process and data availability
                                                                                                    Call with D Bailey (EY), L Raulli (EY), L Lovelace (EY), J Chebar (EY) and J Yen (EY) to discuss
Lovelace,Lauren        Partner/Principal     1/11/2023               US International Tax                                                                                                                      0.50     $825.00       $412.50
                                                                                                    application of AFE exception and dealer exception
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                  Name           Rank          Date of Service            Project Category                                                    Description of Services                                            Hours   Hourly Rate   Fees
                                                                                                        Call with D Bailey and L Raulli and L Lovelace and J Chebar and J Yen to discuss application of
Raulli,Lindsay Elizabeth    Senior Manager       1/11/2023               US International Tax                                                                                                                    0.50     $650.00       $325.00
                                                                                                        AFE exception and dealer exception
                                                                                                        Call with D Bailey and L Raulli and L Lovelace and J Chebar and J Yen to discuss application of
Chebar,Johana                   Senior           1/11/2023               US International Tax                                                                                                                    0.50     $395.00       $197.50
                                                                                                        AFE exception and dealer exception
                               National                                                                 Call with D Bailey and L Raulli and L Lovelace and J Chebar and J Yen to discuss application of
Yen,Jason                                        1/11/2023               US International Tax                                                                                                                    0.50     $990.00       $495.00
                           Partner/Principal                                                            AFE exception and dealer exception
Nichol,T.J.                 Senior Manager       1/11/2023              Information Reporting           Call with TJ Nichol, J Jackel and U. Benjamin re staking.                                                0.50     $650.00       $325.00
Jackel,Jonathan            Managing Director     1/11/2023              Information Reporting           Call with TJ Nichol, J Jackel and U. Benjamin re staking.                                                0.50     $775.00       $387.50
Hammon,David Lane              Manager           1/11/2023                   Non US Tax                 Correspondence regarding adding bookkeeping and payroll services to the SOW via an amendment             1.80     $525.00       $945.00
Ancona,Christopher              Senior           1/11/2023       Project Management Office Transition   Prepare addendum to initial SOW to account for payroll and accounting services                           2.10     $395.00       $829.50
                                                                                                        Develop and update transfer pricing status, risks and issues tracker for communication with FTX
Ash,Polly Westerberg        Senior Manager       1/11/2023       Project Management Office Transition                                                                                                            2.30     $650.00      $1,495.00
                                                                                                        leadership
                                                                                                        Prepare employment tax and information reporting data request and inventory review of historical
Ash,Polly Westerberg        Senior Manager       1/11/2023       Project Management Office Transition                                                                                                            1.40     $650.00       $910.00
                                                                                                        files
                                                                                                        Discuss setting up call with Bahamas team, W-2 review and follow-up with foreign countries. Daily
DeVincenzo,Jennie          Managing Director     1/11/2023                   Payroll Tax                                                                                                                         0.50     $775.00       $387.50
                                                                                                        update call with Jennie D, Kaitlin W, C Carver and Mary H
                                                                                                        Discuss setting up call with Bahamas team, W-2 review and follow-up with foreign countries. Daily
Wrenn,Kaitlin Doyle            Manager           1/11/2023                   Payroll Tax                                                                                                                         0.50     $525.00       $262.50
                                                                                                        update call with Jennie D, Kaitlin W, C Carver and Mary H
                                                                                                        Discuss setting up call with Bahamas team, W-2 review and follow-up with foreign countries. Daily
Hamilton,Mary Catherine         Senior           1/11/2023                   Payroll Tax                                                                                                                         0.50     $395.00       $197.50
                                                                                                        update call with Jennie D, Kaitlin W, C Carver and Mary H
                                                                                                        Discuss setting up call with Bahamas team, W-2 review and follow-up with foreign countries. Daily
Carver,Cody R.                  Senior           1/11/2023                   Payroll Tax                                                                                                                         0.50     $395.00       $197.50
                                                                                                        update call with Jennie D, Kaitlin W, C Carver and Mary H
                                                                                                        Discuss W-2 review, notices received and prepare for call with Bahamas team. Daily update call with
Wrenn,Kaitlin Doyle            Manager           1/11/2023                   Payroll Tax                                                                                                                         0.50     $525.00       $262.50
                                                                                                        J. DeVincenzo, K. Wrenn, M Hamilton and C. Carver (all EY)
                                                                                                        Discuss W-2 review, notices received and prepare for call with Bahamas team. Daily update call with
Carver,Cody R.                  Senior           1/11/2023                   Payroll Tax                                                                                                                         0.50     $395.00       $197.50
                                                                                                        J. DeVincenzo, K. Wrenn, M Hamilton and C. Carver (all EY)
                                                                                                        Discuss W-2 review, notices received and prepare for call with Bahamas team. Daily update call with
DeVincenzo,Jennie          Managing Director     1/11/2023                   Payroll Tax                                                                                                                         0.50     $775.00       $387.50
                                                                                                        J. DeVincenzo, K. Wrenn, M Hamilton and C. Carver (all EY)
                                                                                                        Discuss W-2 review, notices received and prepare for call with Bahamas team. Daily update call with
Hamilton,Mary Catherine         Senior           1/11/2023                   Payroll Tax                                                                                                                         0.50     $395.00       $197.50
                                                                                                        J. DeVincenzo, K. Wrenn, M Hamilton and C. Carver (all EY)
                                                                                                        Discussion around customer reporting. Attendees: T. Shea (EY), P. Stratton, M. Porto, T. Ferris
Shea JR,Thomas M           Partner/Principal     1/11/2023                 US Income Tax                                                                                                                         0.50     $825.00       $412.50
                                                                                                        (EY), TJ Nichol (EY), J. Scott (EY), B. Mistler (EY), J. Berman (EY).
                                                                                                        Discussion around customer reporting. Attendees: T. Shea (EY), P. Stratton, M. Porto, T. Ferris
Ferris,Tara                Partner/Principal     1/11/2023                 US Income Tax                                                                                                                         0.50     $825.00       $412.50
                                                                                                        (EY), TJ Nichol (EY), J. Scott (EY), B. Mistler (EY), J. Berman (EY).
                                                                                                        Discussion around customer reporting. Attendees: T. Shea (EY), P. Stratton, M. Porto, T. Ferris
Nichol,T.J.                 Senior Manager       1/11/2023                 US Income Tax                                                                                                                         0.50     $650.00       $325.00
                                                                                                        (EY), TJ Nichol (EY), J. Scott (EY), B. Mistler (EY), J. Berman (EY).
                             Client Serving                                                             Discussion around customer reporting. Attendees: T. Shea (EY), P. Stratton, M. Porto, T. Ferris
Scott,James                                      1/11/2023                 US Income Tax                                                                                                                         0.50     $600.00       $300.00
                             Contractor JS                                                              (EY), TJ Nichol (EY), J. Scott (EY), B. Mistler (EY), J. Berman (EY).
                                                                                                        Discussion around customer reporting. Attendees: T. Shea (EY), P. Stratton, M. Porto, T. Ferris
Mistler,Brian M                Manager           1/11/2023                 US Income Tax                                                                                                                         0.50     $525.00       $262.50
                                                                                                        (EY), TJ Nichol (EY), J. Scott (EY), B. Mistler (EY), J. Berman (EY).
                                                                                                        Discussion around customer reporting. Attendees: T. Shea (EY), P. Stratton, M. Porto, T. Ferris
Berman,Jake                 Senior Manager       1/11/2023                 US Income Tax                                                                                                                         0.50     $650.00       $325.00
                                                                                                        (EY), TJ Nichol (EY), J. Scott (EY), B. Mistler (EY), J. Berman (EY).
Farrar,Anne                Partner/Principal     1/11/2023       Project Management Office Transition   Discussion on Japan liquidation and potential engagement.                                                0.50     $825.00       $412.50
Farrar,Anne                Partner/Principal     1/11/2023       Project Management Office Transition   Prepare meeting notes and escalation procedures.                                                         0.30     $825.00       $247.50
                                                                                                        Draft and issue of communication to EY local teams requesting signing/filing requirements for each in-
Hammon,David Lane              Manager           1/11/2023                   Non US Tax                                                                                                                          1.70     $525.00       $892.50
                                                                                                        scope jurisdiction
Hammon,David Lane               Manager          1/11/2023                   Non US Tax                 Draft and issuing of Gibraltar PSM to EY local team                                                      0.80     $525.00       $420.00
                             Client Serving
Scott,James                                      1/11/2023                 US Income Tax                Europe and Asia accounting assistance solution                                                           2.10     $600.00      $1,260.00
                             Contractor JS
                             Client Serving
Scott,James                                      1/11/2023                 US Income Tax                Europe/Asia accounting follow-ups                                                                        0.80     $600.00       $480.00
                             Contractor JS
                                                                                                        Finish the summary of the precedent case law to create background on specific transactions given
Karan,Anna Suncheuri             Staff           1/11/2023               US International Tax                                                                                                                    2.70     $225.00       $607.50
                                                                                                        Company's facts and circumstances.
Ferris,Tara                Partner/Principal     1/11/2023              Information Reporting           Form 1099 vendor review discussion                                                                       1.00     $825.00       $825.00
                               National                                                                 Forms W-2 preview for year end processing for Gusto. Escalated no Kentucky withholding on
Lowery,Kristie L                                 1/11/2023                   Payroll Tax                                                                                                                         2.70     $990.00      $2,673.00
                           Partner/Principal                                                            Kentucky addresses.
Raulli,Lindsay Elizabeth   Senior Manager        1/11/2023               US International Tax           Research regarding subpart F income.                                                                     1.00     $650.00       $650.00
Loo,Lydia                       Senior           1/11/2023              Information Reporting           FTX analysis / data transformation                                                                       1.30     $395.00       $513.50
                                                                                                        Meeting to discuss contract updates and engagement procedures concerning EY Gibraltar.
Staromiejska,Kinga             Manager           1/11/2023       Project Management Office Transition                                                                                                            1.80     $525.00       $945.00
                                                                                                        Attendees: D. Hammon, T. Shea, R. Marzziotti, J. Satterlee, K. Staromiejska
                                                                                                        Meeting to discuss contract updates and engagement procedures concerning EY Gibraltar.
Shea JR,Thomas M           Partner/Principal     1/11/2023       Project Management Office Transition                                                                                                            1.80     $825.00      $1,485.00
                                                                                                        Attendees: D. Hammon, T. Shea, R. Marzziotti, J. Satterlee, K. Staromiejska
                                                                                                        Meeting to discuss contract updates and engagement procedures concerning EY Gibraltar.
Hammon,David Lane              Manager           1/11/2023       Project Management Office Transition                                                                                                            1.80     $525.00       $945.00
                                                                                                        Attendees: D. Hammon, T. Shea, R. Marzziotti, J. Satterlee, K. Staromiejska
Ash,Polly Westerberg        Senior Manager       1/11/2023       Project Management Office Transition   FTX forecasting to identify work required prior to approval of petition                                  1.30     $650.00       $845.00
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                   Name          Rank          Date of Service            Project Category                                                     Description of Services                                             Hours   Hourly Rate   Fees
Santoro,David                  Manager           1/11/2023              Information Reporting           FTX Vendor 1099 Meetings - FTX Internal Workstream Connect - Vendor Data Analysis                          1.90     $525.00       $997.50
Wrenn,Kaitlin Doyle            Manager           1/11/2023                   Payroll Tax                Gusto pull of 2019-current 2022 year end and quarterly end filings for employment tax purposes             1.80     $525.00       $945.00
Pulliam,Michelle                  Staff          1/11/2023                   Payroll Tax                Gusto Reports W-2 review and reconciliation - M. Pulliam                                                   2.00     $225.00       $450.00
                             Client Serving
Scott,James                                      1/11/2023                 US Income Tax                Information reporting data scope                                                                           0.60     $600.00       $360.00
                             Contractor JS
                                                                                                        Internal Call to discuss 954 issues with L Lovelace (EY), L Raulli (EY), D Bailey (EY), J Yen (EY) ,
Raulli,Lindsay Elizabeth    Senior Manager       1/11/2023               US International Tax                                                                                                                      0.50     $650.00       $325.00
                                                                                                        J Chebar (EY)
                               National                                                                 Internal Call to discuss 954 issues with L Lovelace (EY), L Raulli (EY), D Bailey (EY), J Yen (EY) ,
Yen,Jason                                        1/11/2023               US International Tax                                                                                                                      0.50     $990.00       $495.00
                           Partner/Principal                                                            J Chebar (EY)
                                                                                                        Internal Call to discuss 954 issues with L Lovelace (EY), L Raulli (EY), D Bailey (EY), J Yen (EY) ,
Bailey,Doug                Partner/Principal     1/11/2023               US International Tax                                                                                                                      0.50     $825.00       $412.50
                                                                                                        J Chebar (EY)
                                                                                                        Internal Call to discuss 954 issues with L Lovelace (EY), L Raulli (EY), D Bailey (EY), J Yen (EY) ,
Lovelace,Lauren            Partner/Principal     1/11/2023               US International Tax                                                                                                                      0.50     $825.00       $412.50
                                                                                                        J Chebar (EY)
                                                                                                        Internal Call to discuss 954 issues with L Lovelace (EY), L Raulli (EY), D Bailey (EY), J Yen (EY) ,
Chebar,Johana                   Senior           1/11/2023               US International Tax                                                                                                                      0.50     $395.00       $197.50
                                                                                                        J Chebar (EY)
Bailey,Doug                Partner/Principal     1/11/2023                  Tax Advisory                Internal discussion of various tax issues relevant to the company                                          1.00     $825.00       $825.00
                                                                                                        Internal discussion on Section 382 . Further discussions on the FTX funds flow issue. Attendees: L.
Bailey,Doug                Partner/Principal     1/11/2023               US International Tax                                                                                                                      1.00     $825.00       $825.00
                                                                                                        Jayanthi (EY), L. Lovelace (EY), D. Bailey (EY), T. Shea (EY), J. Scott (EY), A. Ritz (EY).

                                                                                                        Internal discussion on Section 382 . Further discussions on the FTX funds flow issue. Attendees: L.
Shea JR,Thomas M           Partner/Principal     1/11/2023               US International Tax                                                                                                                      1.00     $825.00       $825.00
                                                                                                        Jayanthi (EY), L. Lovelace (EY), D. Bailey (EY), T. Shea (EY), J. Scott (EY), A. Ritz (EY).

                             Client Serving                                                             Internal discussion on Section 382 . Further discussions on the FTX funds flow issue. Attendees: L.
Scott,James                                      1/11/2023               US International Tax                                                                                                                      1.00     $600.00       $600.00
                             Contractor JS                                                              Jayanthi (EY), L. Lovelace (EY), D. Bailey (EY), T. Shea (EY), J. Scott (EY), A. Ritz (EY).

                                                                                                        Internal discussion on Section 382 . Further discussions on the FTX funds flow issue. Attendees: L.
Ritz,Amy Felice            Managing Director     1/11/2023               US International Tax                                                                                                                      1.00     $775.00       $775.00
                                                                                                        Jayanthi (EY), L. Lovelace (EY), D. Bailey (EY), T. Shea (EY), J. Scott (EY), A. Ritz (EY).

                                                                                                        Internal discussion on Section 382 . Further discussions on the FTX funds flow issue. Attendees: L.
Jayanthi,Lakshmi            Senior Manager       1/11/2023               US International Tax                                                                                                                      1.00     $650.00       $650.00
                                                                                                        Jayanthi (EY), L. Lovelace (EY), D. Bailey (EY), T. Shea (EY), J. Scott (EY), A. Ritz (EY).

                                                                                                        Internal discussion on Section 382 . Further discussions on the FTX funds flow issue. Attendees: L.
Lovelace,Lauren            Partner/Principal     1/11/2023               US International Tax                                                                                                                      1.00     $825.00       $825.00
                                                                                                        Jayanthi (EY), L. Lovelace (EY), D. Bailey (EY), T. Shea (EY), J. Scott (EY), A. Ritz (EY).
                                                                                                        Internal discussion on tax technical treatment of certain loss and income issues. Further discussions on
                             Client Serving
Scott,James                                      1/11/2023               US International Tax           other transactions given recent court conclusions. Attendees: L. Jayanthi, L. Lovelace, D. Bailey, J.      1.00     $600.00       $600.00
                             Contractor JS
                                                                                                        Scott, A. Ritz and (all EY)
                                                                                                        Internal discussion on tax technical treatment of certain loss and income issues. Further discussions on
Bailey,Doug                Partner/Principal     1/11/2023               US International Tax           other transactions given recent court conclusions. Attendees: L. Jayanthi, L. Lovelace, D. Bailey, J.      1.00     $825.00       $825.00
                                                                                                        Scott, A. Ritz and (all EY)
                                                                                                        Internal discussion on tax technical treatment of certain loss and income issues. Further discussions on
Lovelace,Lauren            Partner/Principal     1/11/2023               US International Tax           other transactions given recent court conclusions. Attendees: L. Jayanthi, L. Lovelace, D. Bailey, J.      1.00     $825.00       $825.00
                                                                                                        Scott, A. Ritz and (all EY)
                                                                                                        Internal discussion on tax technical treatment of certain loss and income issues. Further discussions on
Jayanthi,Lakshmi            Senior Manager       1/11/2023               US International Tax           other transactions given recent court conclusions. Attendees: L. Jayanthi, L. Lovelace, D. Bailey, J.      1.00     $650.00       $650.00
                                                                                                        Scott, A. Ritz and (all EY)
                                                                                                        Internal discussion on tax technical treatment of certain loss and income issues. Further discussions on
Shea JR,Thomas M           Partner/Principal     1/11/2023               US International Tax           other transactions given recent court conclusions. Attendees: L. Jayanthi, L. Lovelace, D. Bailey, J.      1.00     $825.00       $825.00
                                                                                                        Scott, A. Ritz and (all EY)
                                                                                                        Internal discussion on tax technical treatment of certain loss and income issues. Further discussions on
Ritz,Amy Felice            Managing Director     1/11/2023               US International Tax           other transactions given recent court conclusions. Attendees: L. Jayanthi, L. Lovelace, D. Bailey, J.      1.00     $775.00       $775.00
                                                                                                        Scott, A. Ritz and T. Shea (all EY)
                                                                                                        Meeting to discuss contract updates and engagement procedures concerning EY Gibraltar. EY
Shea JR,Thomas M           Partner/Principal     1/11/2023                   Non US Tax                                                                                                                            0.50     $825.00       $412.50
                                                                                                        Attendees: D. Hammon, T. Shea, J. Scott
                             Client Serving                                                             Meeting to discuss contract updates and engagement procedures concerning EY Gibraltar. EY
Scott,James                                      1/11/2023                   Non US Tax                                                                                                                            0.50     $600.00       $300.00
                             Contractor JS                                                              Attendees: D. Hammon, T. Shea, J. Scott
                                                                                                        Meeting to discuss contract updates and engagement procedures concerning EY Gibraltar. EY
Hammon,David Lane              Manager           1/11/2023                   Non US Tax                                                                                                                            0.50     $525.00       $262.50
                                                                                                        Attendees: D. Hammon, T. Shea, J. Scott
                                                                                                        Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ash,Polly Westerberg        Senior Manager       1/11/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the        0.40     $650.00       $260.00
                                                                                                        implementation of global compliance and reporting services
                                                                                                        Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ancona,Christopher              Senior           1/11/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the        0.40     $395.00       $158.00
                                                                                                        implementation of global compliance and reporting services
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                  Name         Rank          Date of Service            Project Category                                                     Description of Services                                            Hours   Hourly Rate   Fees
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Hall,Emily Melissa            Senior           1/11/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $395.00       $158.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                             National
McComber,Donna                                 1/11/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $990.00       $396.00
                         Partner/Principal
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Shea JR,Thomas M         Partner/Principal     1/11/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Hammon,David Lane            Manager           1/11/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $525.00       $210.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                          Client Serving
Bieganski,Walter                               1/11/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $200.00        $80.00
                          Contractor WB
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Jimenez,Joseph Robert     Senior Manager       1/11/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                           Client Serving
Scott,James                                    1/11/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $600.00       $240.00
                           Contractor JS
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                             National
Lowery,Kristie L                               1/11/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $990.00       $396.00
                         Partner/Principal
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Knoeller,Thomas J.       Partner/Principal     1/11/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Staromiejska,Kinga           Manager           1/11/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $525.00       $210.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Lovelace,Lauren          Partner/Principal     1/11/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Bailey,Doug              Partner/Principal     1/11/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Bost,Anne                Managing Director     1/11/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $775.00       $310.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Musano,Matthew Albert     Senior Manager       1/11/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Cotopoulis,Alex          Managing Director     1/11/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $775.00       $310.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Gengler,Charlie          Partner/Principal     1/11/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Jayanthi,Lakshmi          Senior Manager       1/11/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ferris,Tara              Partner/Principal     1/11/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Madhok,Kishan             Senior Manager       1/11/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Wrenn,Kaitlin Doyle          Manager           1/11/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $525.00       $210.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Berman,Jake               Senior Manager       1/11/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                      implementation of global compliance and reporting services
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                 Name         Rank          Date of Service            Project Category                                                      Description of Services                                           Hours   Hourly Rate   Fees
                                                                                                     Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Nichol,T.J.              Senior Manager       1/11/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                     implementation of global compliance and reporting services
                                                                                                     Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Katsnelson,David            Manager           1/11/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $525.00       $210.00
                                                                                                     implementation of global compliance and reporting services
                                                                                                     Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Farrar,Anne             Partner/Principal     1/11/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                     implementation of global compliance and reporting services
                                                                                                     Meeting with FTX Capital on 1099 vendor process and year end reporting. Attendees: Illina
Santoro,David               Manager           1/11/2023                   Payroll Tax                Starmova; Peter Hoffman; Chris Meyers; K. Lowery (EY); K. Wrenn (EY); D. Santoro (EY); TJ                 0.70     $525.00       $367.50
                                                                                                     Nichols (EY).
                                                                                                     Meeting with FTX Capital on 1099 vendor process and year end reporting. Attendees: Illina
Nichol,T.J.              Senior Manager       1/11/2023                   Payroll Tax                Starmova; Peter Hoffman; Chris Meyers; K. Lowery (EY); K. Wrenn (EY); D. Santoro (EY); TJ                 0.70     $650.00       $455.00
                                                                                                     Nichols (EY).
                                                                                                     Meeting with FTX Capital on 1099 vendor process and year end reporting. Attendees: Illina
Wrenn,Kaitlin Doyle         Manager           1/11/2023                   Payroll Tax                Starmova; Peter Hoffman; Chris Meyers; K. Lowery (EY); K. Wrenn (EY); D. Santoro (EY); TJ                 0.70     $525.00       $367.50
                                                                                                     Nichols (EY).
                                                                                                     Meeting with FTX Capital on 1099 vendor process and year end reporting. Attendees: Illina
                            National
Lowery,Kristie L                              1/11/2023                   Payroll Tax                Starmova; Peter Hoffman; Chris Meyers; K. Lowery (EY); K. Wrenn (EY); D. Santoro (EY); TJ                 0.70     $990.00       $693.00
                        Partner/Principal
                                                                                                     Nichols (EY).
                                                                                                     Meeting with Ledger Holdings on Forms 1099 process and year end reporting. Attendees: Josh
                            National
Lowery,Kristie L                              1/11/2023                   Payroll Tax                Markou; Gabrielle Carmella; Dexter Fish; Kristie Lowery; Tara Ferris; TJ Nichols; Kaitlin Wrenn and       0.60     $990.00       $594.00
                        Partner/Principal
                                                                                                     David Santoro
Ash,Polly Westerberg     Senior Manager       1/11/2023       Project Management Office Transition   Meeting with P Ash (EY) and A Christopher (EY) to discuss FTX transition items                            0.50     $650.00       $325.00
Ancona,Christopher           Senior           1/11/2023       Project Management Office Transition   Meeting with P Ash (EY) and A Christopher (EY) to discuss FTX transition items                            0.50     $395.00       $197.50
                                                                                                     PMO touchpoint call to discuss project estimated resource and time expense for 1/12 - 1/20.
Ash,Polly Westerberg     Senior Manager       1/11/2023       Project Management Office Transition                                                                                                             0.90     $650.00       $585.00
                                                                                                     Attendees: P. Ash (EY), C. Ancona (EY).
                          Client Serving
Scott,James                                   1/11/2023                 US Income Tax                Preparation for weekly tax technical call.                                                                0.50     $600.00       $300.00
                          Contractor JS
Berman,Jake              Senior Manager       1/11/2023                 US Income Tax                Prepare for PMO Slides for FTX Tax diligence with T Shea, P Ash                                           0.40     $650.00       $260.00
                          Client Serving
Scott,James                                   1/11/2023                 US Income Tax                Review gross income cases                                                                                 0.50     $600.00       $300.00
                          Contractor JS
Ash,Polly Westerberg     Senior Manager       1/11/2023       Project Management Office Transition   Review of information request documents received from RLA of FTX historical tax reports                   1.00     $650.00       $650.00
                                                                                                     Review section 954 outline in preparation of the call with L. Lovelace (EY), L. Raulli (EY), D. Bailey
Chebar,Johana                Senior           1/11/2023               US International Tax                                                                                                                     0.50     $395.00       $197.50
                                                                                                     (EY), J. Yen (EY), Martin Milner, J. Chebar (EY).
DeVincenzo,Jennie       Managing Director     1/11/2023                   Payroll Tax                Review preliminary W2 data files                                                                          0.50     $775.00       $387.50
Farrar,Anne             Partner/Principal     1/11/2023       Project Management Office Transition   Review team meeting notes, actions & next steps.                                                          0.20     $825.00       $165.00
Karan,Anna Suncheuri          Staff           1/11/2023               US International Tax           Summarize precedent case law to create background on the specific tax technical issue                     3.00     $225.00       $675.00
                                                                                                     Tax technical call T. Shea (EY), D. Bailey (EY), L. Lovelace (EY), A. Fritz, L .Jayanthi (EY) and J.
Shea JR,Thomas M        Partner/Principal     1/11/2023                 US Income Tax                                                                                                                          0.60     $825.00       $495.00
                                                                                                     Scott (EY)
                                                                                                     Tax technical call T. Shea (EY), D. Bailey (EY), L. Lovelace (EY), A. Fritz, L .Jayanthi (EY) and J.
Bailey,Doug             Partner/Principal     1/11/2023                 US Income Tax                                                                                                                          0.60     $825.00       $495.00
                                                                                                     Scott (EY)
                                                                                                     Tax technical call T. Shea (EY), D. Bailey (EY), L. Lovelace (EY), A. Fritz, L .Jayanthi (EY) and J.
Lovelace,Lauren         Partner/Principal     1/11/2023                 US Income Tax                                                                                                                          0.60     $825.00       $495.00
                                                                                                     Scott (EY)
                                                                                                     Tax technical call T. Shea (EY), D. Bailey (EY), L. Lovelace (EY), A. Fritz, L .Jayanthi (EY) and J.
Jayanthi,Lakshmi         Senior Manager       1/11/2023                 US Income Tax                                                                                                                          0.60     $650.00       $390.00
                                                                                                     Scott (EY)
                          Client Serving                                                             Tax technical call T. Shea (EY), D. Bailey (EY), L. Lovelace (EY), A. Fritz, L .Jayanthi (EY) and J.
Scott,James                                   1/11/2023                 US Income Tax                                                                                                                          0.60     $600.00       $360.00
                          Contractor JS                                                              Scott (EY)
Wrenn,Kaitlin Doyle         Manager           1/11/2023                   Payroll Tax                Trinet pull of 2019-current 2022 year end and quarterly end filings for employment tax purposes           1.30     $525.00       $682.50
Hammon,David Lane           Manager           1/11/2023                   Non US Tax                 Update of due diligence tracker                                                                           1.80     $525.00       $945.00
                                                                                                     W-2 review of year-end information from payroll vendors to confirm accuracy and reporting
Carver,Cody R.               Senior           1/11/2023                   Payroll Tax                                                                                                                          2.90     $395.00      $1,145.50
                                                                                                     obligations. Reviewed Gusto, Rippling and Trinet W-2 employees.
Berman,Jake              Senior Manager       1/11/2023                 US Income Tax                Work on Marketing Expense Detail analysis for FTX Trading and WRS                                         1.20     $650.00       $780.00
                                                                                                     Work on putting together an outline for purposes of the discussion with Sullivan and Cromwell on
Jayanthi,Lakshmi         Senior Manager       1/11/2023               US International Tax                                                                                                                     2.60     $650.00      $1,690.00
                                                                                                     corporate income question.
                                                                                                     Draft correspondence to EY internal teams re: global tax compliance transition, potential additional
Shea JR,Thomas M        Partner/Principal     1/11/2023                 US Income Tax                                                                                                                          1.20     $825.00       $990.00
                                                                                                     support workstreams
                                                                                                     Draft correspondence with RLA regarding tax compliance transition request items, review of request
Shea JR,Thomas M        Partner/Principal     1/11/2023                 US Income Tax                                                                                                                          1.10     $825.00       $907.50
                                                                                                     list submitted
                                                                                                     1/12/23 - FTX Strategy Deck Review with T Shea (EY), C. Ancona (EY), D Hammon (EY), J Scott
Berman,Jake              Senior Manager       1/12/2023       Project Management Office Transition   (EY), J Berman (EY), P Ash (EY) to discuss FTX Strategy deck for inclusion of accounting &                0.80     $650.00       $520.00
                                                                                                     payroll services in TFO/GCR arrangement
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                  Name         Rank          Date of Service            Project Category                                                     Description of Services                                            Hours   Hourly Rate   Fees
                                                                                                      1/12/23 - FTX Strategy Deck Review with T Shea (EY), C. Ancona (EY), D Hammon (EY), J Scott
                           Client Serving
Scott,James                                    1/12/2023       Project Management Office Transition   (EY), J Berman (EY), P Ash (EY) to discuss FTX Strategy deck for inclusion of accounting &                0.80     $600.00       $480.00
                           Contractor JS
                                                                                                      payroll services in TFO/GCR arrangement
                                                                                                      1/12/23 - FTX Strategy Deck Review with T Shea (EY), C. Ancona (EY), D Hammon (EY), J Scott
Hammon,David Lane            Manager           1/12/2023       Project Management Office Transition   (EY), J Berman (EY), P Ash (EY) to discuss FTX Strategy deck for inclusion of accounting &                0.80     $525.00       $420.00
                                                                                                      payroll services in TFO/GCR arrangement
                                                                                                      1/12/23 - FTX Strategy Deck Review with T Shea (EY), C. Ancona (EY), D Hammon (EY), J Scott
Shea JR,Thomas M         Partner/Principal     1/12/2023       Project Management Office Transition   (EY), J Berman (EY), P Ash (EY) to discuss FTX Strategy deck for inclusion of accounting &                0.80     $825.00       $660.00
                                                                                                      payroll services in TFO/GCR arrangement
                                                                                                      1/12/23 - FTX Strategy Deck Review with T Shea (EY), C. Ancona (EY), D Hammon (EY), J Scott
Ash,Polly Westerberg      Senior Manager       1/12/2023       Project Management Office Transition   (EY), J Berman (EY), P Ash (EY) to discuss FTX Strategy deck for inclusion of accounting &                0.80     $650.00       $520.00
                                                                                                      payroll services in TFO/GCR arrangement
                                                                                                      1/12/23 - FTX Strategy Deck Review with T Shea (EY), C. Ancona (EY), D Hammon (EY), J Scott
Ancona,Christopher            Senior           1/12/2023       Project Management Office Transition   (EY), J Berman (EY), P Ash (EY) to discuss FTX Strategy deck for inclusion of accounting &                0.80     $395.00       $316.00
                                                                                                      payroll services in TFO/GCR arrangement
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                             National
McComber,Donna                                 1/12/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $990.00       $396.00
                         Partner/Principal
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                           Client Serving
Scott,James                                    1/12/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $600.00       $240.00
                           Contractor JS
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Farrar,Anne              Partner/Principal     1/12/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Lovelace,Lauren          Partner/Principal     1/12/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Bailey,Doug              Partner/Principal     1/12/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Bost,Anne                Managing Director     1/12/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $775.00       $310.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Cotopoulis,Alex          Managing Director     1/12/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $775.00       $310.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Gengler,Charlie          Partner/Principal     1/12/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Jayanthi,Lakshmi          Senior Manager       1/12/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ferris,Tara              Partner/Principal     1/12/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Madhok,Kishan             Senior Manager       1/12/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Nichol,T.J.               Senior Manager       1/12/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Katsnelson,David             Manager           1/12/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $525.00       $210.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ancona,Christopher            Senior           1/12/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $395.00       $158.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ash,Polly Westerberg      Senior Manager       1/12/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Berman,Jake               Senior Manager       1/12/2023                 US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                      implementation of global compliance and reporting services
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                   Name        Rank           Date of Service            Project Category                                                     Description of Services                                            Hours   Hourly Rate   Fees
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                           Client Serving
Bieganski,Walter                                1/12/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $200.00        $80.00
                           Contractor WB
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Hall,Emily Melissa             Senior           1/12/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $395.00       $158.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Hammon,David Lane             Manager           1/12/2023                   Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $525.00       $210.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Jimenez,Joseph Robert      Senior Manager       1/12/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Knoeller,Thomas J.        Partner/Principal     1/12/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                              National
Lowery,Kristie L                                1/12/2023                   Payroll Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $990.00       $396.00
                          Partner/Principal
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Musano,Matthew Albert      Senior Manager       1/12/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Shea JR,Thomas M          Partner/Principal     1/12/2023                 US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Staromiejska,Kinga            Manager           1/12/2023                   Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $525.00       $210.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Wrenn,Kaitlin Doyle           Manager           1/12/2023                   Payroll Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $525.00       $210.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       1/12/23 Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action
Berman,Jake                Senior Manager       1/12/2023       Project Management Office Transition                                                                                                             0.60     $650.00       $390.00
                                                                                                       items. EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
                              National                                                                 1/12/23 Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action
Lowery,Kristie L                                1/12/2023       Project Management Office Transition                                                                                                             0.60     $990.00       $594.00
                          Partner/Principal                                                            items. EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
                           Client Serving                                                              1/12/23 Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action
Scott,James                                     1/12/2023       Project Management Office Transition                                                                                                             0.60     $600.00       $360.00
                           Contractor JS                                                               items. EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
                                                                                                       1/12/23 Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action
Shea JR,Thomas M          Partner/Principal     1/12/2023       Project Management Office Transition                                                                                                             0.60     $825.00       $495.00
                                                                                                       items. EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
                                                                                                       1/12/23 Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action
Ash,Polly Westerberg       Senior Manager       1/12/2023       Project Management Office Transition                                                                                                             0.60     $650.00       $390.00
                                                                                                       items. EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
Nichol,T.J.                Senior Manager       1/12/2023              Information Reporting           Analysis performed on QuickBooks vendor data extract to determine reporting obligations                   3.80     $650.00      $2,470.00
                                                                                                       Call to discuss W-2 review and tracking of findings for Trinet K. Dickerson, C. Carver, M. Hamilton,
Wrenn,Kaitlin Doyle           Manager           1/12/2023                   Payroll Tax                                                                                                                          0.50     $525.00       $262.50
                                                                                                       K. Wrenn and M. Pulliam
                                                                                                       Call to discuss W-2 review and tracking of findings for Trinet K. Dickerson, C. Carver, M. Hamilton,
Hamilton,Mary Catherine        Senior           1/12/2023                   Payroll Tax                                                                                                                          0.50     $395.00       $197.50
                                                                                                       K. Wrenn and M. Pulliam
                                                                                                       Call to discuss W-2 review and tracking of findings for Trinet K. Dickerson, C. Carver, M. Hamilton,
Carver,Cody R.                 Senior           1/12/2023                   Payroll Tax                                                                                                                          0.50     $395.00       $197.50
                                                                                                       K. Wrenn and M. Pulliam
                                                                                                       Call to discuss W-2 review and tracking of findings for Trinet K. Dickerson, C. Carver, M. Hamilton,
Dickerson,Kelsey              Manager           1/12/2023                   Payroll Tax                                                                                                                          0.50     $525.00       $262.50
                                                                                                       K. Wrenn and M. Pulliam
                                                                                                       Call to discuss W-2 review and tracking of findings for Trinet K. Dickerson, C. Carver, M. Hamilton,
Pulliam,Michelle                Staff           1/12/2023                   Payroll Tax                                                                                                                          0.50     $225.00       $112.50
                                                                                                       K. Wrenn and M. Pulliam
                                                                                                       Call with Bahamas team to confirm ERs responsibility for tax filing - J DiVincenzo, K Wrenn, C
Carver,Cody R.                 Senior           1/12/2023                   Payroll Tax                                                                                                                          0.30     $395.00       $118.50
                                                                                                       Carver and M Hamilton
                                                                                                       Call with Bahamas team to confirm ERs responsibility for tax filing - J DiVincenzo, K Wrenn, C
DeVincenzo,Jennie         Managing Director     1/12/2023                   Payroll Tax                                                                                                                          0.30     $775.00       $232.50
                                                                                                       Carver and M Hamilton
                                                                                                       Call with Bahamas team to confirm ERs responsibility for tax filing - J DiVincenzo, K Wrenn, C
Hamilton,Mary Catherine        Senior           1/12/2023                   Payroll Tax                                                                                                                          0.30     $395.00       $118.50
                                                                                                       Carver and M Hamilton
                                                                                                       Call with Bahamas team to confirm ERs responsibility for tax filing - J DiVincenzo, K Wrenn, C
Wrenn,Kaitlin Doyle           Manager           1/12/2023                   Payroll Tax                                                                                                                          0.30     $525.00       $157.50
                                                                                                       Carver and M Hamilton
                                                                                                       Call with Sullivan and Cromwell and Alvarez and Marshal to discuss certain transactions and
                                                                                                       income/loss items, understanding how the courts have ruled historically in such cases and its potential
Jayanthi,Lakshmi           Senior Manager       1/12/2023               US International Tax                                                                                                                     1.00     $650.00       $650.00
                                                                                                       application. EY Attendees: L. Jayanthi, D. Bailey, L. Lovelace, L. Raulli, M. Musano, J. Scott, T.
                                                                                                       Shea
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                 Name            Rank          Date of Service            Project Category                                                     Description of Services                                            Hours   Hourly Rate   Fees
                                                                                                        Call with Sullivan and Cromwell and Alvarez and Marshal to discuss certain transactions and
                                                                                                        income/loss items, understanding how the courts have ruled historically in such cases and its potential
Bailey,Doug                Partner/Principal     1/12/2023               US International Tax                                                                                                                     1.00     $825.00       $825.00
                                                                                                        application. EY Attendees: L. Jayanthi, D. Bailey, L. Lovelace, L. Raulli, M. Musano, J. Scott, T.
                                                                                                        Shea
                                                                                                        Call with Sullivan and Cromwell and Alvarez and Marshal to discuss certain transactions and
                                                                                                        income/loss items, understanding how the courts have ruled historically in such cases and its potential
Lovelace,Lauren            Partner/Principal     1/12/2023               US International Tax                                                                                                                     1.00     $825.00       $825.00
                                                                                                        application. EY Attendees: L. Jayanthi, D. Bailey, L. Lovelace, L. Raulli, M. Musano, J. Scott, T.
                                                                                                        Shea
                                                                                                        Call with Sullivan and Cromwell and Alvarez and Marshal to discuss certain transactions and
                                                                                                        income/loss items, understanding how the courts have ruled historically in such cases and its potential
Raulli,Lindsay Elizabeth    Senior Manager       1/12/2023               US International Tax                                                                                                                     1.00     $650.00       $650.00
                                                                                                        application. EY Attendees: L. Jayanthi, D. Bailey, L. Lovelace, L. Raulli, M. Musano, J. Scott, T.
                                                                                                        Shea
                                                                                                        Call with Sullivan and Cromwell and Alvarez and Marshal to discuss certain transactions and
                                                                                                        income/loss items, understanding how the courts have ruled historically in such cases and its potential
Musano,Matthew Albert       Senior Manager       1/12/2023               US International Tax                                                                                                                     1.00     $650.00       $650.00
                                                                                                        application. EY Attendees: L. Jayanthi, D. Bailey, L. Lovelace, L. Raulli, M. Musano, J. Scott, T.
                                                                                                        Shea
                                                                                                        Call with Sullivan and Cromwell and Alvarez and Marshal to discuss certain transactions and
                             Client Serving                                                             income/loss items, understanding how the courts have ruled historically in such cases and its potential
Scott,James                                      1/12/2023               US International Tax                                                                                                                     1.00     $600.00       $600.00
                             Contractor JS                                                              application. EY Attendees: L. Jayanthi, D. Bailey, L. Lovelace, L. Raulli, M. Musano, J. Scott, T.
                                                                                                        Shea
                                                                                                        Call with Sullivan and Cromwell and Alvarez and Marshal to discuss certain transactions and
                                                                                                        income/loss items, understanding how the courts have ruled historically in such cases and its potential
Shea JR,Thomas M           Partner/Principal     1/12/2023               US International Tax                                                                                                                     1.00     $825.00       $825.00
                                                                                                        application. EY Attendees: L. Jayanthi, D. Bailey, L. Lovelace, L. Raulli, M. Musano, J. Scott, T.
                                                                                                        Shea
                                                                                                        Call with Sullivan and Cromwell and Alvarez and Marsal to discuss potential tax implications of
                                                                                                        certain transactions, understanding how the courts have ruled historically in such cases and its
Bailey,Doug                Partner/Principal     1/12/2023               US International Tax                                                                                                                     1.00     $825.00       $825.00
                                                                                                        application to the Company and associated shareholders with Lakshmi Jayanthi (EY), Doug Bailey
                                                                                                        (EY), Lauren Lovelace (EY), Thomas Shea (EY), David Hariton, Bill Seeway, Kevin James

                                                                                                        Call with Sullivan and Cromwell and Alvarez and Marsal to discuss potential tax implications of
                                                                                                        certain transactions, understanding how the courts have ruled historically in such cases and its
Shea JR,Thomas M           Partner/Principal     1/12/2023               US International Tax                                                                                                                     1.00     $825.00       $825.00
                                                                                                        application to the Company and associated shareholders with Lakshmi Jayanthi (EY), Doug Bailey
                                                                                                        (EY), Lauren Lovelace (EY), Thomas Shea (EY), David Hariton, Bill Seeway, Kevin James

                                                                                                        Call with Sullivan and Cromwell and Alvarez and Marsal to discuss potential tax implications of
                                                                                                        certain transactions, understanding how the courts have ruled historically in such cases and its
Jayanthi,Lakshmi            Senior Manager       1/12/2023               US International Tax                                                                                                                     1.00     $650.00       $650.00
                                                                                                        application to the Company and associated shareholders with Lakshmi Jayanthi (EY), Doug Bailey
                                                                                                        (EY), Lauren Lovelace (EY), Thomas Shea (EY), David Hariton, Bill Seeway, Kevin James

                                                                                                        Call with Sullivan and Cromwell and Alvarez and Marsal to discuss potential tax implications of
                                                                                                        certain transactions, understanding how the courts have ruled historically in such cases and its
Lovelace,Lauren            Partner/Principal     1/12/2023               US International Tax                                                                                                                     1.00     $825.00       $825.00
                                                                                                        application to the Company and associated shareholders with Lakshmi Jayanthi (EY), Doug Bailey
                                                                                                        (EY), Lauren Lovelace (EY), Thomas Shea (EY), David Hariton, Bill Seeway, Kevin James
Ash,Polly Westerberg        Senior Manager       1/12/2023       Project Management Office Transition   Complete scoping for additional assistance on FTX accounting and payroll assistance                       3.90     $650.00      $2,535.00
                                                                                                        Correspondence regarding SOW amendment to add payroll and bookkeeping services to current
Hammon,David Lane              Manager           1/12/2023                   Non US Tax                                                                                                                           0.60     $525.00       $315.00
                                                                                                        SOW
Hammon,David Lane              Manager           1/12/2023                   Non US Tax                 Correspondence with EY local teams clarifying the signing/filing requirements sent                        0.80     $525.00       $420.00
                                                                                                        Discuss business license filing requirements for the FTX group with T. Shea (EY), J. Scott (EY), W.
Shea JR,Thomas M           Partner/Principal     1/12/2023             US State and Local Tax                                                                                                                     0.50     $825.00       $412.50
                                                                                                        Bieganski (EY), M. Musano (EY), M. Coffey (EY) and A. Scheele (EY).
                             Client Serving                                                             Discuss business license filing requirements for the FTX group with T. Shea (EY), J. Scott (EY), W.
Scott,James                                      1/12/2023             US State and Local Tax                                                                                                                     0.50     $600.00       $300.00
                             Contractor JS                                                              Bieganski (EY), M. Musano (EY), M. Coffey (EY) and A. Scheele (EY).
                                                                                                        Discuss business license filing requirements for the FTX group with T. Shea (EY), J. Scott (EY), W.
Musano,Matthew Albert       Senior Manager       1/12/2023             US State and Local Tax                                                                                                                     0.50     $650.00       $325.00
                                                                                                        Bieganski (EY), M. Musano (EY), M. Coffey (EY) and A. Scheele (EY).
                            Client Serving                                                              Discuss business license filing requirements for the FTX group with T. Shea (EY), J. Scott (EY), W.
Bieganski,Walter                                 1/12/2023             US State and Local Tax                                                                                                                     0.50     $200.00       $100.00
                            Contractor WB                                                               Bieganski (EY), M. Musano (EY), M. Coffey (EY) and A. Scheele (EY).
                                                                                                        Discuss business license filing requirements for the FTX group with T. Shea (EY), J. Scott (EY), W.
Coffey,Mandy V.             Senior Manager       1/12/2023             US State and Local Tax                                                                                                                     0.50     $650.00       $325.00
                                                                                                        Bieganski (EY), M. Musano (EY), M. Coffey (EY) and A. Scheele (EY).
                                                                                                        Discuss business license filing requirements for the FTX group with T. Shea (EY), J. Scott (EY), W.
Scheele,Ashley             Managing Director     1/12/2023             US State and Local Tax                                                                                                                     0.50     $775.00       $387.50
                                                                                                        Bieganski (EY), M. Musano (EY), M. Coffey (EY) and A. Scheele (EY).
                                                                                                        Discuss setting up call W-2 review and follow-up with foreign countries. Daily update call with Jennie
DeVincenzo,Jennie          Managing Director     1/12/2023                   Payroll Tax                                                                                                                          0.60     $775.00       $465.00
                                                                                                        D, Kaitlin W, C Carver and M Hamilton (all EY)
                                                                                                        Discuss setting up call W-2 review and follow-up with foreign countries. Daily update call with Jennie
Wrenn,Kaitlin Doyle            Manager           1/12/2023                   Payroll Tax                                                                                                                          0.60     $525.00       $315.00
                                                                                                        D, Kaitlin W, C Carver and M Hamilton (all EY)
                                                                                                        Discuss setting up call W-2 review and follow-up with foreign countries. Daily update call with Jennie
Hamilton,Mary Catherine         Senior           1/12/2023                   Payroll Tax                                                                                                                          0.60     $395.00       $237.00
                                                                                                        D, Kaitlin W, C Carver and M Hamilton (all EY)
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                 Name            Rank          Date of Service            Project Category                                                     Description of Services                                           Hours   Hourly Rate   Fees
                                                                                                        Discuss setting up call W-2 review and follow-up with foreign countries. Daily update call with Jennie
Carver,Cody R.                  Senior           1/12/2023                   Payroll Tax                                                                                                                         0.60     $395.00       $237.00
                                                                                                        D, Kaitlin W, C Carver and M Hamilton (all EY)
Santoro,David                  Manager           1/12/2023              Information Reporting           Draft 1099 Extensions for FTX - FTX Internal Connect                                                     2.60     $525.00      $1,365.00
                                                                                                        Follow up on Project Management Office action items including correspondence with workstream
Ancona,Christopher              Senior           1/12/2023       Project Management Office Transition                                                                                                            0.70     $395.00       $276.50
                                                                                                        leads and updating the Project Management Office status tracker
Raulli,Lindsay Elizabeth   Senior Manager        1/12/2023               US International Tax           Research regarding subpart F income.                                                                     1.00     $650.00       $650.00
Farrar,Anne                Partner/Principal     1/12/2023       Project Management Office Transition   Review teams escalation matrix                                                                           0.30     $825.00       $247.50
Berman,Jake                Senior Manager        1/12/2023                 US Income Tax                FTX Tax Diligence status update with P Ash, T Shea, J Scott, D Hammon, A Farrar                          0.70     $650.00       $455.00
Karan,Anna Suncheuri             Staff           1/12/2023               US International Tax           Compile relevant court opinion related to specific transaction given client facts and circumstances      2.00     $225.00       $450.00
                             Client Serving
Scott,James                                      1/12/2023                 US Income Tax                Gross income analysis                                                                                    0.40     $600.00       $240.00
                             Contractor JS
                                                                                                        Internal call to discuss potential payroll and accounting support workstreams. Attendees: P. Ash
Ash,Polly Westerberg        Senior Manager       1/12/2023                 US Income Tax                                                                                                                         0.50     $650.00       $325.00
                                                                                                        (EY), J. Scott (EY), T. Shea (EY).
                             Client Serving                                                             Internal call to discuss potential payroll and accounting support workstreams. Attendees: P. Ash
Scott,James                                      1/12/2023                 US Income Tax                                                                                                                         0.50     $600.00       $300.00
                             Contractor JS                                                              (EY), J. Scott (EY), T. Shea (EY).
                                                                                                        Internal call to discuss potential payroll and accounting support workstreams. Attendees: P. Ash
Shea JR,Thomas M           Partner/Principal     1/12/2023                 US Income Tax                                                                                                                         0.50     $825.00       $412.50
                                                                                                        (EY), J. Scott (EY), T. Shea (EY).
                                                                                                        Internal discussion regarding business license support workstream. EY Attendees: M. Musano, J.
Musano,Matthew Albert       Senior Manager       1/12/2023             US State and Local Tax                                                                                                                    0.50     $650.00       $325.00
                                                                                                        Scott, A. Scheele, M. Coffey, W. Bieganski
                             Client Serving                                                             Internal discussion regarding business license support workstream. EY Attendees: M. Musano, J.
Scott,James                                      1/12/2023             US State and Local Tax                                                                                                                    0.50     $600.00       $300.00
                             Contractor JS                                                              Scott, A. Scheele, M. Coffey, W. Bieganski
                                                                                                        Internal discussion regarding business license support workstream. EY Attendees: M. Musano, J.
Scheele,Ashley             Managing Director     1/12/2023             US State and Local Tax                                                                                                                    0.50     $775.00       $387.50
                                                                                                        Scott, A. Scheele, M. Coffey, W. Bieganski
                                                                                                        Internal discussion regarding business license support workstream. EY Attendees: M. Musano, J.
Coffey,Mandy V.             Senior Manager       1/12/2023             US State and Local Tax                                                                                                                    0.50     $650.00       $325.00
                                                                                                        Scott, A. Scheele, M. Coffey, W. Bieganski
                            Client Serving                                                              Internal discussion regarding business license support workstream. EY Attendees: M. Musano, J.
Bieganski,Walter                                 1/12/2023             US State and Local Tax                                                                                                                    0.50     $200.00       $100.00
                            Contractor WB                                                               Scott, A. Scheele, M. Coffey, W. Bieganski
                                                                                                        Internal discussion regarding business license support workstream. EY Attendees: M. Musano, J.
Shea JR,Thomas M           Partner/Principal     1/12/2023             US State and Local Tax                                                                                                                    0.50     $825.00       $412.50
                                                                                                        Scott, A. Scheele, M. Coffey, W. Bieganski
                             Client Serving
Scott,James                                      1/12/2023                 US Income Tax                Discussion regarding liquidation coordination workstream Attendees: J. Scott (EY), T. Shea (EY)          0.30     $600.00       $180.00
                             Contractor JS
Shea JR,Thomas M           Partner/Principal     1/12/2023                 US Income Tax                Discussion regarding liquidation coordination workstream Attendees: J. Scott (EY), T. Shea (EY)          0.30     $825.00       $247.50
                                                                                                        Discussion regarding potential accounting/bookkeeping support workstream. EY Attendees: D.
Hammon,David Lane              Manager           1/12/2023                 US Income Tax                                                                                                                         0.50     $525.00       $262.50
                                                                                                        Hammon, T. Knoeller, T. Shea
                                                                                                        Discussion regarding potential accounting/bookkeeping support workstream. EY Attendees: D.
Knoeller,Thomas J.         Partner/Principal     1/12/2023                 US Income Tax                                                                                                                         0.50     $825.00       $412.50
                                                                                                        Hammon, T. Knoeller, T. Shea
                                                                                                        Discussion regarding potential accounting/bookkeeping support workstream. EY Attendees: D.
Shea JR,Thomas M           Partner/Principal     1/12/2023                 US Income Tax                                                                                                                         0.50     $825.00       $412.50
                                                                                                        Hammon, T. Knoeller, T. Shea
                                                                                                        Discussion to walk through the Cottonwood Grove filing EY Attendees: L. Jayanthi, D. Bailey, and
Lovelace,Lauren            Partner/Principal     1/12/2023               US International Tax                                                                                                                    0.50     $825.00       $412.50
                                                                                                        L. Lovelace
                                                                                                        Discussion to walk through the Cottonwood Grove filing EY Attendees: L. Jayanthi, D. Bailey, and
Jayanthi,Lakshmi            Senior Manager       1/12/2023               US International Tax                                                                                                                    0.50     $650.00       $325.00
                                                                                                        L. Lovelace
                                                                                                        Discussion to walk through the Cottonwood Grove filing EY Attendees: L. Jayanthi, D. Bailey, and
Bailey,Doug                Partner/Principal     1/12/2023                  Tax Advisory                                                                                                                         0.50     $825.00       $412.50
                                                                                                        L. Lovelace
Shea JR,Thomas M           Partner/Principal     1/12/2023                 US Income Tax                Correspondence re: potential accounting and payroll support in certain non-US jurisdictions              0.60     $825.00       $495.00
Shea JR,Thomas M           Partner/Principal     1/12/2023                 US Income Tax                Correspondence regarding latest feedback from US trustee                                                 0.40     $825.00       $330.00
                            Client Serving
Scott,James                                      1/12/2023                 US Income Tax                Liquidator role detail request and scope of assistance                                                   1.20     $600.00       $720.00
                            Contractor JS
                            Client Serving
Scott,James                                      1/12/2023                 US Income Tax                Liquidator role requests                                                                                 0.80     $600.00       $480.00
                            Contractor JS
Ancona,Christopher              Senior           1/12/2023       Project Management Office Transition   Make updates to addendum to SOW1 for accounting and payroll services                                     1.20     $395.00       $474.00
                                                                                                        Meeting to discuss adding bookkeeping services to the current SOW. Attendees: D. Hammon (EY),
Shea JR,Thomas M           Partner/Principal     1/12/2023                   Non US Tax                                                                                                                          0.50     $825.00       $412.50
                                                                                                        K. Denardo, T. Shea (EY), T. Knoeller (EY), M. Borts
                                                                                                        Meeting to discuss adding bookkeeping services to the current SOW. Attendees: D. Hammon (EY),
Hammon,David Lane              Manager           1/12/2023                   Non US Tax                                                                                                                          0.50     $525.00       $262.50
                                                                                                        K. Denardo, T. Shea (EY), T. Knoeller (EY), M. Borts
                                                                                                        Meeting to discuss adding bookkeeping services to the current SOW. Attendees: D. Hammon (EY),
Knoeller,Thomas J.         Partner/Principal     1/12/2023       Project Management Office Transition                                                                                                            0.50     $825.00       $412.50
                                                                                                        K. Denardo, T. Shea (EY), T. Knoeller (EY), M. Borts
                                                                                                        Meeting to discuss update EY leadership on engagement status and next steps. EY Attendees: D.
Ash,Polly Westerberg        Senior Manager       1/12/2023                   Non US Tax                                                                                                                          0.80     $650.00       $520.00
                                                                                                        Hammon, P. Ash, T. Shea, A. Farrar, C. Ancona, J. Berman, J. Scott
                                                                                                        Meeting to discuss update EY leadership on engagement status and next steps. EY Attendees: D.
Shea JR,Thomas M           Partner/Principal     1/12/2023                   Non US Tax                                                                                                                          0.80     $825.00       $660.00
                                                                                                        Hammon, P. Ash, T. Shea, A. Farrar, C. Ancona, J. Berman, J. Scott
                                                                                                        Meeting to discuss update EY leadership on engagement status and next steps. EY Attendees: D.
Farrar,Anne                Partner/Principal     1/12/2023                   Non US Tax                                                                                                                          0.80     $825.00       $660.00
                                                                                                        Hammon, P. Ash, T. Shea, A. Farrar, C. Ancona, J. Berman, J. Scott
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                 Name           Rank          Date of Service            Project Category                                                       Description of Services                                         Hours   Hourly Rate   Fees
                                                                                                       Meeting to discuss update EY leadership on engagement status and next steps. EY Attendees: D.
Ancona,Christopher             Senior           1/12/2023                   Non US Tax                                                                                                                          0.80     $395.00       $316.00
                                                                                                       Hammon, P. Ash, T. Shea, A. Farrar, C. Ancona, J. Berman, J. Scott
                                                                                                       Meeting to discuss update EY leadership on engagement status and next steps. EY Attendees: D.
Berman,Jake                Senior Manager       1/12/2023                   Non US Tax                                                                                                                          0.80     $650.00       $520.00
                                                                                                       Hammon, P. Ash, T. Shea, A. Farrar, C. Ancona, J. Berman, J. Scott
                            Client Serving                                                             Meeting to discuss update EY leadership on engagement status and next steps. EY Attendees: D.
Scott,James                                     1/12/2023                   Non US Tax                                                                                                                          0.80     $600.00       $480.00
                            Contractor JS                                                              Hammon, P. Ash, T. Shea, A. Farrar, C. Ancona, J. Berman, J. Scott
                                                                                                       Meeting to discuss update EY leadership on engagement status and next steps. EY Attendees: D.
Hammon,David Lane             Manager           1/12/2023                   Non US Tax                                                                                                                          0.80     $525.00       $420.00
                                                                                                       Hammon, P. Ash, T. Shea, A. Farrar, C. Ancona, J. Berman, J. Scott
                                                                                                       Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
MacLean,Corrie                 Senior           1/12/2023                   Non US Tax                 standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.           0.50     $395.00       $197.50
                                                                                                       Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                       Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Staromiejska,Kinga            Manager           1/12/2023                   Non US Tax                 standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.           0.50     $525.00       $262.50
                                                                                                       Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                       Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Hammon,David Lane             Manager           1/12/2023                   Non US Tax                 standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.           0.50     $525.00       $262.50
                                                                                                       Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                       Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Knoeller,Thomas J.        Partner/Principal     1/12/2023       Project Management Office Transition   standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.           0.50     $825.00       $412.50
                                                                                                       Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                       Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Hammon,David Lane             Manager           1/12/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.            0.50     $525.00       $262.50
                                                                                                       Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                                       Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Knoeller,Thomas J.        Partner/Principal     1/12/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.            0.50     $825.00       $412.50
                                                                                                       Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                                       Meeting to review transition-related items including next steps, issues requiring escalation, setup of
MacLean,Corrie                 Senior           1/12/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.            0.50     $395.00       $197.50
                                                                                                       Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                                       Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Staromiejska,Kinga            Manager           1/12/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.            0.50     $525.00       $262.50
                                                                                                       Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).
                            Client Serving
Scott,James                                     1/12/2023                 US Income Tax                Non-US payroll support and scoping with Employment Tax group                                             1.20     $600.00       $720.00
                            Contractor JS
                                                                                                       PAYROLL TAX - Request payroll info from local management, review & forward info to S Carreras,
Rumford,Neil              Partner/Principal     1/12/2023                   Non US Tax                                                                                                                          0.50     $990.00       $495.00
                                                                                                       EY Gib Payroll Manager
Shea JR,Thomas M          Partner/Principal     1/12/2023                 US Income Tax                Prepare agenda, including coordination with workstream leads, for Tax C-Suite Update                     1.10     $825.00       $907.50
                                                                                                       Prepare a fee quote for the global Indirect Tax Due Diligence and future global Indirect Tax
GIL DIEZ DE LEON,MARTA        Manager           1/12/2023                Value Added Tax                                                                                                                        1.50     $525.00       $787.50
                                                                                                       Compliance
                           Client Serving
Scott,James                                     1/12/2023                 US Income Tax                Prepare for K Schultea, M Cilia (FTX) update call                                                        0.40     $600.00       $240.00
                           Contractor JS
                              National
Lowery,Kristie L                                1/12/2023                   Payroll Tax                Prepare for status call and provide agenda items to J. Berman.                                           0.50     $990.00       $495.00
                          Partner/Principal
MacLean,Corrie                 Senior           1/12/2023                  Non US Tax                  Pricing request, filing requirement tracking up                                                          0.80     $395.00        $316.00
Ash,Polly Westerberg      Senior Manager        1/12/2023       Project Management Office Transition   Quality, Risk and Legal review of EY services request for accounting and payroll                         1.90     $650.00      $1,235.00
                           Client Serving
Scott,James                                     1/12/2023                 US Income Tax                Regulatory license filing requirements                                                                   0.50     $600.00       $300.00
                           Contractor JS
Hammon,David Lane             Manager           1/12/2023       Project Management Office Transition   Request to pricing team and US indirect tax team to provide scope details                                1.30     $525.00       $682.50
Bailey,Doug               Partner/Principal     1/12/2023                  Tax Advisory                Research concerning application of certain US international tax rules to company's foreign operations    1.70     $825.00      $1,402.50
Madhok,Kishan              Senior Manager       1/12/2023                Value Added Tax               Review jurisdictions in scope for VAT compliance and next steps plan                                     1.10     $650.00       $715.00
                                                                                                       Review the accounts identified in files: 2021 Paper Bird Client Copy & Alameda Research LLC 2019
Garcia,Casey                    Staff           1/12/2023               US International Tax           Client Copy Tax Return and compared them to the accounts identified in the General Ledger files          0.30     $225.00        $67.50
                                                                                                       provided to us.
Hamilton,Mary Catherine       Senior            1/12/2023                  Payroll Tax                 Review various notices received and update Notice tracker                                                2.80     $395.00      $1,106.00
Cotopoulis,Alex           Managing Director     1/12/2023                Value Added Tax               Sign off jurisdictions in scope for VAT compliance and next steps plan                                   0.50     $775.00        $387.50
                                                                                                       Status of W-2 review, notices received and update on status of codes. Daily update call with J
Carver,Cody R.                 Senior           1/12/2023                   Payroll Tax                                                                                                                         0.50     $395.00       $197.50
                                                                                                       DiVincenzo, K Wrenn, C Carver and M Hamilton
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                   Name        Rank           Date of Service            Project Category                                                      Description of Services                                           Hours   Hourly Rate   Fees
                                                                                                       Status of W-2 review, notices received and update on status of codes. Daily update call with J
DeVincenzo,Jennie         Managing Director     1/12/2023                   Payroll Tax                                                                                                                          0.50     $775.00       $387.50
                                                                                                       DiVincenzo, K Wrenn, C Carver and M Hamilton
                                                                                                       Status of W-2 review, notices received and update on status of codes. Daily update call with J
Hamilton,Mary Catherine        Senior           1/12/2023                   Payroll Tax                                                                                                                          0.50     $395.00       $197.50
                                                                                                       DiVincenzo, K Wrenn, C Carver and M Hamilton
                                                                                                       Status of W-2 review, notices received and update on status of codes. Daily update call with J
Wrenn,Kaitlin Doyle           Manager           1/12/2023                   Payroll Tax                                                                                                                          0.50     $525.00       $262.50
                                                                                                       DiVincenzo, K Wrenn, C Carver and M Hamilton
                              National
Lowery,Kristie L                                1/12/2023                   Payroll Tax                Tax notices review and documentation for Notice tracker and appropriate tax type.                         2.60     $990.00      $2,574.00
                          Partner/Principal
Loo,Lydia                      Senior           1/12/2023              Information Reporting           Transaction file checks against QuickBooks                                                                1.10     $395.00       $434.50
Pulliam,Michelle                Staff           1/12/2023                   Payroll Tax                Trinet Reports W-2 review and reconciliation - M. Pulliam                                                 0.80     $225.00       $180.00
Berman,Jake                Senior Manager       1/12/2023                 US Income Tax                Update call K. Schultea, M. Cilia, T. Shea (EY), J. Berman (EY), K. Lowery (EY) and J. Scott (EY)         0.70     $650.00       $455.00

Shea JR,Thomas M          Partner/Principal     1/12/2023                 US Income Tax                Update call K. Schultea, M. Cilia, T. Shea (EY), J. Berman (EY), K. Lowery (EY) and J. Scott (EY)         0.70     $825.00       $577.50
                              National
Lowery,Kristie L                                1/12/2023                 US Income Tax                Update call K. Schultea, M. Cilia, T. Shea (EY), J. Berman (EY), K. Lowery (EY) and J. Scott (EY)         0.70     $990.00       $693.00
                          Partner/Principal
                           Client Serving
Scott,James                                     1/12/2023                 US Income Tax                Update call K. Schultea, M. Cilia, T. Shea (EY), J. Berman (EY), K. Lowery (EY) and J. Scott (EY)         0.70     $600.00       $420.00
                           Contractor JS
                           Client Serving
Scott,James                                     1/12/2023                 US Income Tax                Updates on federal tax considerations                                                                     0.60     $600.00       $360.00
                           Contractor JS
                                                                                                       W-2 review of year-end information from payroll vendors to confirm accuracy and reporting
Carver,Cody R.                 Senior           1/12/2023                   Payroll Tax                                                                                                                          1.40     $395.00       $553.00
                                                                                                       obligations. Reviewed Gusto, Rippling and Trinet W-2 employees
                                                                                                       Draft correspondence regarding objectives and agendas for broader tax workstream approach and
Shea JR,Thomas M          Partner/Principal     1/12/2023                 US Income Tax                                                                                                                          1.10     $825.00       $907.50
                                                                                                       strategy, in preparation for meeting with coordinating partner and team leads
Shea JR,Thomas M          Partner/Principal     1/12/2023                 US Income Tax                Draft correspondence regarding potential liquidation of subsidiary with EY restructuring team             0.70     $825.00       $577.50
                                                                                                       Draft correspondence with VAT team regarding in-scope jurisdictions and potential filings/scoping of
Shea JR,Thomas M          Partner/Principal     1/12/2023                 US Income Tax                                                                                                                          0.80     $825.00       $660.00
                                                                                                       indirect workstream
                                                                                                       FTX catch up with D. Hammon, and C. MacLean (EY) and FTX contact details updated as per
MacLean,Corrie                 Senior           1/13/2023       Project Management Office Transition                                                                                                             2.30     $395.00       $908.50
                                                                                                       discussion TR
                                                                                                       FTX catch up with D. Hammon, and C. MacLean (EY) and FTX contact details updated as per
Hammon,David Lane             Manager           1/13/2023       Project Management Office Transition                                                                                                             2.30     $525.00      $1,207.50
                                                                                                       discussion TR
Ash,Polly Westerberg       Senior Manager       1/13/2023       Project Management Office Transition   Draft FTX leadership materials to review current issues, concerns and progress                            2.10     $650.00      $1,365.00
Ash,Polly Westerberg       Senior Manager       1/13/2023       Project Management Office Transition   FTX historical US document inventory and review                                                           2.30     $650.00      $1,495.00
Ash,Polly Westerberg       Senior Manager       1/13/2023       Project Management Office Transition   Review FTX payroll current state and completed potential EY services scope                                1.90     $650.00      $1,235.00
                                                                                                       Evaluate asset disposition plans reported by the company and identifying potential tax issue associated
Bailey,Doug               Partner/Principal     1/13/2023                  Tax Advisory                                                                                                                          0.90     $825.00       $742.50
                                                                                                       with the dispositions and the routing of proceeds
                                                                                                       Review of data warehouse for further documentation re: the Robinhood share purchase and the
Bailey,Doug               Partner/Principal     1/13/2023                  Tax Advisory                                                                                                                          1.70     $825.00      $1,402.50
                                                                                                       funding of such purchase to determine tax implications
                                                                                                       Review of specific items and documents for relevant detail, tax technical considerations, if any, and
Bailey,Doug               Partner/Principal     1/13/2023                  Tax Advisory                                                                                                                          0.90     $825.00       $742.50
                                                                                                       communication of findings to the working group
                                                                                                       Call to discuss process for inventorying and sharing documents related to domestic workstreams.
Ash,Polly Westerberg       Senior Manager       1/13/2023                   Non US Tax                                                                                                                           0.50     $650.00       $325.00
                                                                                                       Attendees: D. Hammon (EY), P. Ash (EY), C. Ancona (EY), C. MacLean (EY).
                                                                                                       Call to discuss process for inventorying and sharing documents related to domestic workstreams.
MacLean,Corrie                 Senior           1/13/2023                   Non US Tax                                                                                                                           0.50     $395.00       $197.50
                                                                                                       Attendees: D. Hammon (EY), P. Ash (EY), C. Ancona (EY), C. MacLean (EY).
                                                                                                       Call to discuss process for inventorying and sharing documents related to domestic workstreams.
Ancona,Christopher             Senior           1/13/2023                   Non US Tax                                                                                                                           0.50     $395.00       $197.50
                                                                                                       Attendees: D. Hammon (EY), P. Ash (EY), C. Ancona (EY), C. MacLean (EY).
                                                                                                       Call to discuss process for inventorying and sharing documents related to domestic workstreams.
Hammon,David Lane             Manager           1/13/2023                   Non US Tax                                                                                                                           0.50     $525.00       $262.50
                                                                                                       Attendees: D. Hammon (EY), P. Ash (EY), C. Ancona (EY), C. MacLean (EY).
                                                                                                       Discuss setting up call, W-2 review and follow-up with foreign countries. Daily update call with
Wrenn,Kaitlin Doyle           Manager           1/13/2023                   Payroll Tax                                                                                                                          0.50     $525.00       $262.50
                                                                                                       Jennie D (EY), Kaitlin W (EY), Cody C (EY) and Mary H (EY)
                                                                                                       Discuss setting up call, W-2 review and follow-up with foreign countries. Daily update call with
DeVincenzo,Jennie         Managing Director     1/13/2023                   Payroll Tax                                                                                                                          0.50     $775.00       $387.50
                                                                                                       Jennie D (EY), Kaitlin W (EY), Cody C (EY) and Mary H (EY)
                                                                                                       Discuss setting up call, W-2 review and follow-up with foreign countries. Daily update call with
Hamilton,Mary Catherine        Senior           1/13/2023                   Payroll Tax                                                                                                                          0.50     $395.00       $197.50
                                                                                                       Jennie D (EY), Kaitlin W (EY), Cody C (EY) and Mary H (EY)
                                                                                                       Discuss setting up call, W-2 review and follow-up with foreign countries. Daily update call with
Carver,Cody R.                 Senior           1/13/2023                   Payroll Tax                                                                                                                          0.50     $395.00       $197.50
                                                                                                       Jennie D (EY), Kaitlin W (EY), Cody C (EY) and Mary H (EY)
                                                                                                       Internal conference call / VAT team meeting with A. Cotopoulis (EY), K. Madhok (EY), M. Gil Diez
Marlow,Joe                     Senior           1/13/2023                Value Added Tax               de Leon (EY), M. Guinet (EY) and J. Marlow (EY) on VAT project next steps on DD and                       0.30     $395.00       $118.50
                                                                                                       compliance. We reviewed countries in scope that have a VAT and what is needed to submit.

                                                                                                       Internal conference call / VAT team meeting with A. Cotopoulis (EY), K. Madhok (EY), M. Gil Diez
Cotopoulis,Alex           Managing Director     1/13/2023                Value Added Tax               de Leon (EY), M. Guinet (EY) and J. Marlow (EY) on VAT project next steps on DD and                       0.30     $775.00       $232.50
                                                                                                       compliance. We reviewed countries in scope that have a VAT and what is needed to submit.
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                   Name        Rank           Date of Service            Project Category                                                    Description of Services                                          Hours   Hourly Rate   Fees
                                                                                                       Update call on W-2 review - K Wrenn (EY), K Dickerson (EY), C Carver (EY), M Pulliam (EY), M
Dickerson,Kelsey              Manager           1/13/2023                   Payroll Tax                                                                                                                       0.50     $525.00       $262.50
                                                                                                       Hamilton (EY)
Dickerson,Kelsey              Manager           1/13/2023                   Payroll Tax                Review Gusto W2 files prepared by C. Carver and M. Pulliam                                             0.40     $525.00       $210.00
Dickerson,Kelsey              Manager           1/13/2023                   Payroll Tax                Review TriNet W2 files prepared by C. Carver and M. Pulliam                                            1.40     $525.00       $735.00
Farrar,Anne               Partner/Principal     1/13/2023       Project Management Office Transition   Review teams escalation matrix                                                                         0.50     $825.00       $412.50
                                                                                                       Internal conference call / VAT team meeting with A. Cotopoulis (EY), K. Madhok (EY), M. Gil Diez
GIL DIEZ DE LEON,MARTA        Manager           1/13/2023                Value Added Tax               de Leon (EY), M. Guinet (EY) and J. Marlow (EY) on VAT project next steps on DD and                    0.30     $525.00       $157.50
                                                                                                       compliance. We reviewed countries in scope that have a VAT and what is needed to submit.

                                                                                                       Internal conference call / VAT team meeting with A. Cotopoulis (EY), K. Madhok (EY), M. Gil Diez
Guinet,Margot Madeleine        Senior           1/13/2023                Value Added Tax               de Leon (EY), M. Guinet (EY) and J. Marlow (EY) on VAT project next steps on DD and                    0.30     $395.00       $118.50
                                                                                                       compliance. We reviewed countries in scope that have a VAT and what is needed to submit.

                                                                                                       Internal conference call / VAT team meeting with A. Cotopoulis (EY), K. Madhok (EY), M. Gil Diez
Madhok,Kishan              Senior Manager       1/13/2023                Value Added Tax               de Leon (EY), M. Guinet (EY) and J. Marlow (EY) on VAT project next steps on DD and                    0.30     $650.00       $195.00
                                                                                                       compliance. We reviewed countries in scope that have a VAT and what is needed to submit.
                                                                                                       Conference call with A. Cotopoulis (EY), K. Madhok (EY) and M. Gil Diez de Leon (EY) in VAT
Cotopoulis,Alex           Managing Director     1/13/2023                Value Added Tax                                                                                                                      0.50     $775.00       $387.50
                                                                                                       team on fee approach estimate
                                                                                                       Conference call with A. Cotopoulis (EY), K. Madhok (EY) and M. Gil Diez de Leon (EY) in VAT
GIL DIEZ DE LEON,MARTA        Manager           1/13/2023                Value Added Tax                                                                                                                      0.50     $525.00       $262.50
                                                                                                       team on fee approach estimate
                                                                                                       Conference call with A. Cotopoulis (EY), K. Madhok (EY) and M. Gil Diez de Leon (EY) in VAT
Madhok,Kishan              Senior Manager       1/13/2023                Value Added Tax                                                                                                                      0.50     $650.00       $325.00
                                                                                                       team on fee approach estimate
                                                                                                       Status of W-2 review, notices received. Daily update call - K Wrenn (EY), C Carver (EY), M
Wrenn,Kaitlin Doyle           Manager           1/13/2023                   Payroll Tax                                                                                                                       0.50     $525.00       $262.50
                                                                                                       Hamilton (EY)
                                                                                                       Status of W-2 review, notices received. Daily update call - K Wrenn (EY), C Carver (EY), M
Carver,Cody R.                 Senior           1/13/2023                   Payroll Tax                                                                                                                       0.50     $395.00       $197.50
                                                                                                       Hamilton (EY)
                                                                                                       Status of W-2 review, notices received. Daily update call - K Wrenn (EY), C Carver (EY), M
Hamilton,Mary Catherine        Senior           1/13/2023                   Payroll Tax                                                                                                                       0.50     $395.00       $197.50
                                                                                                       Hamilton (EY)
                                                                                                       Update call on W-2 review - K Wrenn (EY), K Dickerson (EY), C Carver (EY), M Pulliam (EY), M
Wrenn,Kaitlin Doyle           Manager           1/13/2023                   Payroll Tax                                                                                                                       0.50     $525.00       $262.50
                                                                                                       Hamilton (EY)
                                                                                                       Update call on W-2 review - K Wrenn (EY), K Dickerson (EY), C Carver (EY), M Pulliam (EY), M
Carver,Cody R.                 Senior           1/13/2023                   Payroll Tax                                                                                                                       0.50     $395.00       $197.50
                                                                                                       Hamilton (EY)
                                                                                                       Update call on W-2 review - K Wrenn (EY), K Dickerson (EY), C Carver (EY), M Pulliam (EY), M
Pulliam,Michelle                Staff           1/13/2023                   Payroll Tax                                                                                                                       0.50     $225.00       $112.50
                                                                                                       Hamilton (EY)
                                                                                                       Update call on W-2 review - K Wrenn (EY), K Dickerson (EY), C Carver (EY), M Pulliam (EY), M
Hamilton,Mary Catherine        Senior           1/13/2023                   Payroll Tax                                                                                                                       0.50     $395.00       $197.50
                                                                                                       Hamilton (EY)
                                                                                                       Call to discuss scope for the non-US direct tax workstream. EY Attendees: D. Hammon, T. Knoeller,
Staromiejska,Kinga            Manager           1/13/2023                   Non US Tax                                                                                                                        0.50     $525.00       $262.50
                                                                                                       K. Staromiejska
                                                                                                       Call to discuss scope for the non-US direct tax workstream. EY Attendees: D. Hammon, T. Knoeller,
Hammon,David Lane             Manager           1/13/2023                   Non US Tax                                                                                                                        0.50     $525.00       $262.50
                                                                                                       K. Staromiejska
Hammon,David Lane             Manager           1/13/2023                   Non US Tax                 Coordinate and submit to client of Gibraltar payroll tax calculations                                  0.30     $525.00        $157.50
Hammon,David Lane             Manager           1/13/2023                   Non US Tax                 Correspondence with EY local teams regarding request for filing/signing requirements                   2.20     $525.00      $1,155.00
Hammon,David Lane             Manager           1/13/2023                   Non US Tax                 Correspondence, coordination and summarize of scope details for all foreign workstreams                5.80     $525.00      $3,045.00
                                                                                                       Meeting to signing/filing of deliverables in foreign jurisdictions. EY Attendees: D. Hammon, K.
Madhok,Kishan              Senior Manager       1/13/2023                   Non US Tax                                                                                                                        0.50     $650.00       $325.00
                                                                                                       Madhok, T. Shea, T. Knoeller, A. Cotopoulis
                                                                                                       Meeting to signing/filing of deliverables in foreign jurisdictions. EY Attendees: D. Hammon, K.
Shea JR,Thomas M          Partner/Principal     1/13/2023                   Non US Tax                                                                                                                        0.50     $825.00       $412.50
                                                                                                       Madhok, T. Shea, T. Knoeller, A. Cotopoulis
                                                                                                       Meeting to signing/filing of deliverables in foreign jurisdictions. EY Attendees: D. Hammon, K.
Cotopoulis,Alex           Managing Director     1/13/2023                   Non US Tax                                                                                                                        0.50     $775.00       $387.50
                                                                                                       Madhok, T. Shea, T. Knoeller, A. Cotopoulis
                                                                                                       Meeting to signing/filing of deliverables in foreign jurisdictions. EY Attendees: D. Hammon, K.
Hammon,David Lane             Manager           1/13/2023                   Non US Tax                                                                                                                        0.50     $525.00       $262.50
                                                                                                       Madhok, T. Shea, T. Knoeller, A. Cotopoulis
                                                                                                       Meeting to signing/filing of deliverables in foreign jurisdictions. EY Attendees: D. Hammon, K.
Knoeller,Thomas J.        Partner/Principal     1/13/2023                   Non US Tax                                                                                                                        0.50     $825.00       $412.50
                                                                                                       Madhok, T. Shea, T. Knoeller, A. Cotopoulis
Jayanthi,Lakshmi          Senior Manager        1/13/2023               US International Tax           Research the section 382 issues                                                                        1.80     $650.00      $1,170.00
Loo,Lydia                      Senior           1/13/2023              Information Reporting           Transaction file checks against QuickBooks                                                             1.70     $395.00        $671.50
                              National
Lowery,Kristie L                                1/13/2023                   Payroll Tax                Review of global payroll tax calculation addendum for Tom Shea to provide to Kathryn Schultea          0.30     $990.00       $297.00
                          Partner/Principal
MacLean,Corrie                 Senior           1/13/2023                   Non US Tax                 FTX historical data review, tracking up                                                                0.80     $395.00       $316.00
                              National
McComber,Donna                                  1/13/2023                 Transfer Pricing             Research and respond to question re: FTX Section 482 Question/2021 FTX Binance transaction             0.60     $990.00       $594.00
                          Partner/Principal
Rumford,Neil              Partner/Principal     1/13/2023                   Non US Tax                 PAYROLL TAX - Review & forward info to S Carreras, EY Gib Payroll Manager                              0.30     $990.00       $297.00
                                                                                                       Meeting to discuss additional services to be provided in connection with non-US direct tax for FTX's
Hammon,David Lane             Manager           1/13/2023                   Non US Tax                                                                                                                        0.50     $525.00       $262.50
                                                                                                       foreign affiliates. EY Attendees: D. Hammon, T. Knoeller, K. Staromiejska
                                                                                                       Meeting to discuss additional services to be provided in connection with non-US direct tax for FTX's
Knoeller,Thomas J.        Partner/Principal     1/13/2023                   Non US Tax                                                                                                                        0.50     $825.00       $412.50
                                                                                                       foreign affiliates. EY Attendees: D. Hammon, T. Knoeller, K. Staromiejska
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                   Name         Rank          Date of Service               Project Category                                                     Description of Services                                             Hours   Hourly Rate   Fees
                                                                                                          Meeting to discuss additional services to be provided in connection with non-US direct tax for FTX's
Staromiejska,Kinga            Manager           1/13/2023                     Non US Tax                                                                                                                             0.50     $525.00       $262.50
                                                                                                          foreign affiliates. EY Attendees: D. Hammon, T. Knoeller, K. Staromiejska
Nichol,T.J.                Senior Manager       1/13/2023                 Information Reporting           Analysis performed on QuickBook data extract to identify vendors in scope for reporting.                   4.20     $650.00      $2,730.00
                                                                                                          Review FTX organizational chart and other background documents to identify state income tax and
O'Brien,Mike              Partner/Principal     1/13/2023                US State and Local Tax           state sales considerations. Review state apportionment files to appropriately determine a plan for state   1.00     $825.00       $825.00
                                                                                                          filing obligations, methodologies, and potential remedies
                                                                                                          Call to discuss W-2 review and tracking of findings. K. Wrenn, K. Dickerson, M. Hamilton, C. Carver
Wrenn,Kaitlin Doyle           Manager           1/13/2023                      Payroll Tax                                                                                                                           0.50     $525.00       $262.50
                                                                                                          and M. Pulliam
                                                                                                          Call to discuss W-2 review and tracking of findings. K. Wrenn, K. Dickerson, M. Hamilton, C. Carver
Hamilton,Mary Catherine        Senior           1/13/2023                      Payroll Tax                                                                                                                           0.50     $395.00       $197.50
                                                                                                          and M. Pulliam
                                                                                                          Call to discuss W-2 review and tracking of findings. K. Wrenn, K. Dickerson, M. Hamilton, C. Carver
Carver,Cody R.                 Senior           1/13/2023                      Payroll Tax                                                                                                                           0.50     $395.00       $197.50
                                                                                                          and M. Pulliam
                                                                                                          Call to discuss W-2 review and tracking of findings. K. Wrenn, K. Dickerson, M. Hamilton, C. Carver
Dickerson,Kelsey              Manager           1/13/2023                      Payroll Tax                                                                                                                           0.50     $525.00       $262.50
                                                                                                          and M. Pulliam
                                                                                                          Call to discuss W-2 review and tracking of findings. K. Wrenn, K. Dickerson, M. Hamilton, C. Carver
Pulliam,Michelle                Staff           1/13/2023                      Payroll Tax                                                                                                                           0.50     $225.00       $112.50
                                                                                                          and M. Pulliam
Pulliam,Michelle                 Staff          1/13/2023                      Payroll Tax                Trinet Reports W-2 review and reconciliation - M. Pulliam                                                  0.60     $225.00       $135.00
Santoro,David                  Manager          1/13/2023                 Information Reporting           Meeting regarding FTX 1099 Extension - Draft FTX1099 Extension                                             1.30     $525.00       $682.50
                            Client Serving
Scott,James                                     1/13/2023                    US Income Tax                License datatypes access                                                                                   0.60     $600.00       $360.00
                            Contractor JS
                            Client Serving
Scott,James                                     1/13/2023                    US Income Tax                Preparation and update call with D Hartiton, C Howe, T Shea, J Berman                                      1.40     $600.00       $840.00
                            Contractor JS
                            Client Serving
Scott,James                                     1/13/2023                    US Income Tax                Review historical transaction documentation                                                                1.20     $600.00       $720.00
                            Contractor JS
                            Client Serving
Scott,James                                     1/13/2023                    US Income Tax                Assist with the request for documentation from Robert Lee Associates regarding prior year tax filings.     0.30     $600.00       $180.00
                            Contractor JS
                                                                                                          Internal discussion regarding indirect tax compliance workstream. EY Attendees: K. Madhok, T.
Madhok,Kishan              Senior Manager       1/13/2023                    US Income Tax                                                                                                                           0.50     $650.00       $325.00
                                                                                                          Knoeller, A. Cotopoulis, T. Shea
                                                                                                          Internal discussion regarding indirect tax compliance workstream. EY Attendees: K. Madhok, T.
Knoeller,Thomas J.        Partner/Principal     1/13/2023                    US Income Tax                                                                                                                           0.50     $825.00       $412.50
                                                                                                          Knoeller, A. Cotopoulis, T. Shea
                                                                                                          Internal discussion regarding indirect tax compliance workstream. EY Attendees: K. Madhok, T.
Cotopoulis,Alex           Managing Director     1/13/2023                    US Income Tax                                                                                                                           0.50     $775.00       $387.50
                                                                                                          Knoeller, A. Cotopoulis, T. Shea
                                                                                                          Internal discussion regarding indirect tax compliance workstream. EY Attendees: K. Madhok, T.
Shea JR,Thomas M          Partner/Principal     1/13/2023                    US Income Tax                                                                                                                           0.50     $825.00       $412.50
                                                                                                          Knoeller, A. Cotopoulis, T. Shea
                                                                                                          Tax Team Leads call with S&C, A&M to discuss status and issues relevant to FTX tax workstreams
                            Client Serving
Scott,James                                     1/13/2023                    US Income Tax                being performed by each firm. Attendees: J. Berman (EY), J. Scott (EY), C. Howe (A&M), D.                  0.50     $600.00       $300.00
                            Contractor JS
                                                                                                          Hariton (S&C), B. Mistler (EY), T. Shea (EY)
                                                                                                          Tax Team Leads call with S&C, A&M to discuss status and issues relevant to FTX tax workstreams
Berman,Jake                Senior Manager       1/13/2023                    US Income Tax                being performed by each firm. Attendees: J. Berman (EY), J. Scott (EY), C. Howe (A&M), D.                  0.50     $650.00       $325.00
                                                                                                          Hariton (S&C), B. Mistler (EY), T. Shea (EY)
                                                                                                          Tax Team Leads call with S&C, A&M to discuss status and issues relevant to FTX tax workstreams
Mistler,Brian M               Manager           1/13/2023                    US Income Tax                being performed by each firm. Attendees: J. Berman (EY), J. Scott (EY), C. Howe (A&M), D.                  0.50     $525.00       $262.50
                                                                                                          Hariton (S&C), B. Mistler (EY), T. Shea (EY)
                                                                                                          Tax Team Leads call with S&C, A&M to discuss status and issues relevant to FTX tax workstreams
Shea JR,Thomas M          Partner/Principal     1/13/2023                    US Income Tax                being performed by each firm. Attendees: J. Berman (EY), J. Scott (EY), C. Howe (A&M), D.                  0.50     $825.00       $412.50
                                                                                                          Hariton (S&C), B. Mistler (EY), T. Shea (EY)
                                                                                                          Weekly US income tax compliance call with RLA, company's legacy tax preparer to discuss latest
Shea JR,Thomas M          Partner/Principal     1/13/2023                    US Income Tax                PBCs, transition of compliance work Attendees: R. Lee, M. Hernandez, J. Berman, J. Scott, T.               0.70     $825.00       $577.50
                                                                                                          Nichol
Shea JR,Thomas M          Partner/Principal     1/13/2023                    US Income Tax                Draft correspondence with FTX C-Suite (RLKS) regarding additional tax workstream support                   0.80     $825.00       $660.00
                                                                                                          Review of additional requirements for additional services to be provided for non-US direct tax FTX's
Staromiejska,Kinga            Manager           1/13/2023                     Non US Tax                  foreign affiliates in connection with amended Statement of Work to be submitted to the bankruptcy          0.80     $525.00       $420.00
                                                                                                          court.
                                                                                                          Discussion of Trinet W2 previews, employment tax sampling outline with K Dickerson, C Carver, M
Wrenn,Kaitlin Doyle           Manager           1/13/2023                      Payroll Tax                                                                                                                           0.50     $525.00       $262.50
                                                                                                          Pulliam, M Hamilton
                                                                                                          Status of W-2 review, notices received and update on status access to Blockfolio W2s. Daily update
Hamilton,Mary Catherine        Senior           1/13/2023                      Payroll Tax                                                                                                                           0.30     $395.00       $118.50
                                                                                                          call with M Hamilton K Wrenn, C Carver
                                                                                                          Status of W-2 review, notices received and update on status access to Blockfolio W2s. Daily update
Carver,Cody R.                 Senior           1/13/2023                      Payroll Tax                                                                                                                           0.30     $395.00       $118.50
                                                                                                          call with M Hamilton K Wrenn, C Carver
                                                                                                          Status of W-2 review, notices received and update on status access to Blockfolio W2s. Daily update
Wrenn,Kaitlin Doyle           Manager           1/13/2023                      Payroll Tax                                                                                                                           0.30     $525.00       $157.50
                                                                                                          call with M Hamilton K Wrenn, C Carver
                            Client Serving
Scott,James                                     1/15/2023       Non-Working Travel (billed at 50% of rates) Travel from Raleigh, NC to New York, NY                                                                  3.80     $300.00      $1,140.00
                            Contractor JS
Santoro,David                  Manager          1/15/2023                 Information Reporting           Perform 1099 Vendor Data Analysis                                                                          0.40     $525.00       $210.00
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                  Name         Rank          Date of Service            Project Category                                                     Description of Services                                            Hours   Hourly Rate   Fees
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ash,Polly Westerberg      Senior Manager       1/16/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Hall,Emily Melissa            Senior           1/16/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $395.00       $158.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                             National
McComber,Donna                                 1/16/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $990.00       $396.00
                         Partner/Principal
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Shea JR,Thomas M         Partner/Principal     1/16/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Hammon,David Lane            Manager           1/16/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $525.00       $210.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                          Client Serving
Bieganski,Walter                               1/16/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $200.00        $80.00
                          Contractor WB
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Jimenez,Joseph Robert     Senior Manager       1/16/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                           Client Serving
Scott,James                                    1/16/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $600.00       $240.00
                           Contractor JS
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Farrar,Anne              Partner/Principal     1/16/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                             National
Lowery,Kristie L                               1/16/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $990.00       $396.00
                         Partner/Principal
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Knoeller,Thomas J.       Partner/Principal     1/16/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Staromiejska,Kinga           Manager           1/16/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $525.00       $210.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Lovelace,Lauren          Partner/Principal     1/16/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Bailey,Doug              Partner/Principal     1/16/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Bost,Anne                Managing Director     1/16/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $775.00       $310.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Musano,Matthew Albert     Senior Manager       1/16/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Cotopoulis,Alex          Managing Director     1/16/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $775.00       $310.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Gengler,Charlie          Partner/Principal     1/16/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Jayanthi,Lakshmi          Senior Manager       1/16/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ferris,Tara              Partner/Principal     1/16/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Madhok,Kishan             Senior Manager       1/16/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                      implementation of global compliance and reporting services
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                Name        Rank           Date of Service               Project Category                                                         Description of Services                                           Hours   Hourly Rate   Fees
                                                                                                          Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Berman,Jake            Senior Manager        1/16/2023          Project Management Office Transition      preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                          implementation of global compliance and reporting services
                                                                                                          Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Nichol,T.J.            Senior Manager        1/16/2023          Project Management Office Transition      preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                          implementation of global compliance and reporting services
                                                                                                          Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Katsnelson,David           Manager           1/16/2023          Project Management Office Transition      preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $525.00       $210.00
                                                                                                          implementation of global compliance and reporting services
                                                                                                          Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ancona,Christopher          Senior           1/16/2023          Project Management Office Transition      preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $395.00       $158.00
                                                                                                          implementation of global compliance and reporting services
                                                                                                          Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Wrenn,Kaitlin Doyle        Manager           1/16/2023                       Payroll Tax                  preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $525.00       $210.00
                                                                                                          implementation of global compliance and reporting services
                                                                                                          Call with P. Ash (EY) and C. Ancona (EY) to discuss PACE conflicts with FTX engagements and
Ash,Polly Westerberg   Senior Manager        1/16/2023          Project Management Office Transition                                                                                                                0.80     $650.00       $520.00
                                                                                                          correspondence with the conflicts resolution team
                                                                                                          Call with P. Ash (EY) and C. Ancona (EY) to discuss PACE conflicts with FTX engagements and
Ancona,Christopher          Senior           1/16/2023          Project Management Office Transition                                                                                                                0.80     $395.00       $316.00
                                                                                                          correspondence with the conflicts resolution team
                                                                                                          Compile and send out notes to the different workstreams for the 1/17/2023 status call
Ancona,Christopher          Senior           1/16/2023          Project Management Office Transition                                                                                                                0.80     $395.00       $316.00
Ash,Polly Westerberg   Senior Manager        1/16/2023          Project Management Office Transition      Updates to payroll and accounting scope document                                                          3.10     $650.00      $2,015.00
                                                                                                          Prepare notice tracker for future and current notice statements and log current notices received on
Cortes,jackie                Staff           1/16/2023                 US State and Local Tax                                                                                                                       3.00     $225.00       $675.00
                                                                                                          1/13/2023
Dickerson,Kelsey           Manager           1/16/2023                       Payroll Tax                  Review TriNet W2 review findings and draft recommendations for client                                     0.70     $525.00       $367.50
                           National
Lowery,Kristie L                             1/16/2023       Non-Working Travel (billed at 50% of rates) Travel from Charlotte, NC to New York, NY for meetings at Sullivan and Cromwell                            3.40     $495.00      $1,683.00
                       Partner/Principal
Rumford,Neil           Partner/Principal     1/16/2023                      Non US Tax                    PAYROLL TAX - Email from Oleg R, ZUBR, email to D Hammon, EY US re payroll tax/SI                         0.10     $990.00        $99.00
                                                                                                          Meeting with K. Wrenn (EY), D. Santoro (EY), T. Nichol (EY) to discuss Embed's 1099 reporting
Wrenn,Kaitlin Doyle        Manager           1/16/2023                 Information Reporting                                                                                                                        2.10     $525.00      $1,102.50
                                                                                                          process
                                                                                                          Meeting with K. Wrenn (EY), D. Santoro (EY), T. Nichol (EY) to discuss Embed's 1099 reporting
Santoro,David              Manager           1/17/2023                 Information Reporting                                                                                                                        2.10     $525.00      $1,102.50
                                                                                                          process
                                                                                                          1/16 Meeting with K. Wrenn (EY), D. Santoro (EY), T. Nichol (EY) to discuss Embed's 1099
Nichol,T.J.            Senior Manager        1/16/2023                 Information Reporting                                                                                                                        2.10     $650.00      $1,365.00
                                                                                                          reporting process
                        Client Serving
Scott,James                                  1/16/2023                     US Income Tax                  UCC Meeting Dry-Run with advisors S&C, A&M, Alix, Perella                                                 0.70     $600.00       $420.00
                        Contractor JS
                        Client Serving
Scott,James                                  1/16/2023                     US Income Tax                  Prepare for meeting with advisors regardign UCC dry run                                                   0.50     $600.00       $300.00
                        Contractor JS
                        Client Serving
Scott,James                                  1/16/2023                     US Income Tax                  Unsecured creditor question responses                                                                     0.90     $600.00       $540.00
                        Contractor JS
Shea JR,Thomas M       Partner/Principal     1/16/2023                     US Income Tax                 UCC Meeting Dry-Run with advisors S&C, A&M, Alix, Perella                                                  0.70     $825.00       $577.50
                                                                                                         Draft correspondence with internal teams re: updates to Tax slide for project management / executive
Shea JR,Thomas M       Partner/Principal     1/16/2023                   US Income Tax                                                                                                                              2.10     $825.00      $1,732.50
                                                                                                         reporting
                                                                                                         Prepare for onsite meeting with client on year end employment tax review, next steps on notice
Wrenn,Kaitlin Doyle        Manager           1/16/2023                    Payroll Tax                                                                                                                               2.70     $525.00      $1,417.50
                                                                                                         remediation.
Wrenn,Kaitlin Doyle        Manager           1/16/2023                    Payroll Tax                    Review of 1099 vendor analysis summary prepared for discussion with client.                                1.20     $525.00       $630.00
                                                                                                         Travel from Charlotte, NC to New York City, NY for meeting with Kathy Schultea to review
Wrenn,Kaitlin Doyle        Manager           1/16/2023       Non-Working Travel (billed at 50% of rates)                                                                                                            4.00     $262.50      $1,050.00
                                                                                                         employment tax
Lovelace,Lauren        Partner/Principal     1/16/2023                      Tax Advisory                  Research around case law on customer funds that have potentially been sent to incorrect taxpayer          2.00     $825.00      $1,650.00
                                                                                                          Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ancona,Christopher          Senior           1/17/2023                 US State and Local Tax             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $395.00       $118.50
                                                                                                          implementation of global compliance and reporting services
                                                                                                          Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                           National
McComber,Donna                               1/17/2023                 US State and Local Tax             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $990.00       $297.00
                       Partner/Principal
                                                                                                          implementation of global compliance and reporting services
                                                                                                          Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Hammon,David Lane          Manager           1/17/2023                 US State and Local Tax             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $525.00       $157.50
                                                                                                          implementation of global compliance and reporting services
                                                                                                          Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                        Client Serving
Scott,James                                  1/17/2023                 US State and Local Tax             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $600.00       $180.00
                        Contractor JS
                                                                                                          implementation of global compliance and reporting services
                                                                                                          Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Farrar,Anne            Partner/Principal     1/17/2023                 US State and Local Tax             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $825.00       $247.50
                                                                                                          implementation of global compliance and reporting services
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                  Name        Rank           Date of Service            Project Category                                                     Description of Services                                            Hours   Hourly Rate   Fees
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                             National
Lowery,Kristie L                               1/17/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $990.00       $297.00
                         Partner/Principal
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Lovelace,Lauren          Partner/Principal     1/17/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $825.00       $247.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Bailey,Doug              Partner/Principal     1/17/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $825.00       $247.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Bost,Anne                Managing Director     1/17/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $775.00       $232.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Musano,Matthew Albert     Senior Manager       1/17/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $650.00       $195.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Cotopoulis,Alex          Managing Director     1/17/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $775.00       $232.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Gengler,Charlie          Partner/Principal     1/17/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $825.00       $247.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Jayanthi,Lakshmi          Senior Manager       1/17/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $650.00       $195.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ferris,Tara              Partner/Principal     1/17/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $825.00       $247.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Madhok,Kishan             Senior Manager       1/17/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $650.00       $195.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Wrenn,Kaitlin Doyle          Manager           1/17/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $525.00       $157.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Nichol,T.J.               Senior Manager       1/17/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $650.00       $195.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Soderman,Kathy           Managing Director     1/17/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $775.00       $232.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Yencho,Jeremiah          Managing Director     1/17/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $775.00       $232.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
MacLean,Corrie                Senior           1/17/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $395.00       $118.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ash,Polly Westerberg      Senior Manager       1/17/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $650.00       $195.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Berman,Jake               Senior Manager       1/17/2023                 US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $650.00       $195.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                          Client Serving
Bieganski,Walter                               1/17/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $200.00        $60.00
                          Contractor WB
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Hall,Emily Melissa            Senior           1/17/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $395.00       $118.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Jimenez,Joseph Robert     Senior Manager       1/17/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $650.00       $195.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Katsnelson,David             Manager           1/17/2023                 Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.30     $525.00       $157.50
                                                                                                      implementation of global compliance and reporting services
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                Name         Rank          Date of Service            Project Category                                                      Description of Services                                            Hours   Hourly Rate   Fees
                                                                                                    Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Knoeller,Thomas J.     Partner/Principal     1/17/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the        0.30     $825.00       $247.50
                                                                                                    implementation of global compliance and reporting services
                                                                                                    Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Shea JR,Thomas M       Partner/Principal     1/17/2023                 US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the        0.30     $825.00       $247.50
                                                                                                    implementation of global compliance and reporting services
                                                                                                    Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Staromiejska,Kinga         Manager           1/17/2023                   Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the        0.30     $525.00       $157.50
                                                                                                    implementation of global compliance and reporting services
                                                                                                    1/17/23 Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action
Berman,Jake             Senior Manager       1/17/2023       Project Management Office Transition                                                                                                              0.50     $650.00       $325.00
                                                                                                    items. EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
                           National                                                                 1/17/23 Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action
Lowery,Kristie L                             1/17/2023       Project Management Office Transition                                                                                                              0.50     $990.00       $495.00
                       Partner/Principal                                                            items. EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
                        Client Serving                                                              1/17/23 Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action
Scott,James                                  1/17/2023       Project Management Office Transition                                                                                                              0.50     $600.00       $300.00
                        Contractor JS                                                               items. EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
                                                                                                    1/17/23 Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action
Shea JR,Thomas M       Partner/Principal     1/17/2023       Project Management Office Transition                                                                                                              0.50     $825.00       $412.50
                                                                                                    items. EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
                                                                                                    1/17/23 Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action
Ash,Polly Westerberg    Senior Manager       1/17/2023       Project Management Office Transition                                                                                                              0.50     $650.00       $325.00
                                                                                                    items. EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
                                                                                                    1/17 Meeting with Kaitlin Wrenn (EY), TJ Nichol (EY) and David Santoro (EY) to discuss FTX
Wrenn,Kaitlin Doyle        Manager           1/17/2023              Information Reporting           Vault's 1099 reporting process; Meeting with Caroline Papadopoulos to discuss Alameda 1099                 2.10     $525.00      $1,102.50
                                                                                                    reporting process
                                                                                                    1/17 Meeting with Kaitlin Wrenn (EY), TJ Nichol (EY) and David Santoro (EY) to discuss FTX
Santoro,David              Manager           1/17/2023              Information Reporting           Vault's 1099 reporting process; Meeting with Caroline Papadopoulos to discuss Alameda 1099                 2.10     $525.00      $1,102.50
                                                                                                    reporting process
                                                                                                    1/17 Meeting with Kaitlin Wrenn (EY), TJ Nichol (EY) and David Santoro (EY) to discuss FTX
Nichol,T.J.             Senior Manager       1/17/2023              Information Reporting           Vault's 1099 reporting process; Meeting with Caroline Papadopoulos to discuss Alameda 1099                 2.10     $650.00      $1,365.00
                                                                                                    reporting process
                                                                                                    1/17/23 Internal call to discuss income/franchise tax notice tracker and to determine if any outstanding
Cortes,Jackie                Staff           1/17/2023             US State and Local Tax                                                                                                                      0.10     $225.00        $22.50
                                                                                                    notices are due in January. EY meeting attendees: A. Yang, E. Hall, & J. Cortes
                                                                                                    1/17/23 Internal call to discuss income/franchise tax notice tracker and to determine if any outstanding
Hall,Emily Melissa          Senior           1/17/2023             US State and Local Tax                                                                                                                      0.10     $395.00        $39.50
                                                                                                    notices are due in January. EY meeting attendees: A. Yang, E. Hall, & J. Cortes
                                                                                                    1/17/23 Internal call to discuss income/franchise tax notice tracker and to determine if any outstanding
Yang,Annie              Senior Manager       1/17/2023             US State and Local Tax                                                                                                                      0.10     $650.00        $65.00
                                                                                                    notices are due in January. EY meeting attendees: A. Yang, E. Hall, & J. Cortes
Bailey,Doug            Partner/Principal     1/17/2023                  Tax Advisory                Additional evaluation of proposed dispositions for tax issues                                              0.80     $825.00       $660.00
                                                                                                    Analysis of presentation to unsecured creditors and identification of potential tax issues and facts
Bailey,Doug            Partner/Principal     1/17/2023                  Tax Advisory                                                                                                                           1.20     $825.00       $990.00
                                                                                                    relevant to various existing workstreams
                                                                                                    Analysis of venture investments and where such investments are held to identify potential tax risks and
Bailey,Doug            Partner/Principal     1/17/2023                  Tax Advisory                                                                                                                           1.20     $825.00       $990.00
                                                                                                    issues
                         Client Serving
Scott,James                                  1/17/2023                 US Income Tax                Review business license filings and assist in locating missing data.                                       0.70     $600.00       $420.00
                         Contractor JS
Karan,Anna Suncheuri          Staff          1/17/2023                  Tax Advisory                Call with Anna Karan (EY) regarding the corporate income question.                                         0.50     $225.00       $112.50
Jayanthi,Lakshmi        Senior Manager       1/17/2023                  Tax Advisory                Call with Anna Karan (EY) regarding the corporate income question.                                         0.50     $650.00       $325.00
MacLean,Corrie               Senior          1/17/2023                  Non US Tax                  Contact and tracker updates, mailbox review                                                                0.90     $395.00       $355.50
Hammon,David Lane          Manager           1/17/2023                   Non US Tax                 Correspondence regarding Gibraltar November and December payroll tax/social insurance calcs.               0.30     $525.00       $157.50
                         Client Serving
Scott,James                                  1/17/2023                 US Income Tax                Analyze disposition documents relating to planned entity dispositions                                      1.20     $600.00       $720.00
                         Contractor JS
                         Client Serving
Scott,James                                  1/17/2023                 US Income Tax                EY Tax Lead reporting review                                                                               1.50     $600.00       $900.00
                         Contractor JS
                         Client Serving
Scott,James                                  1/17/2023                 US Income Tax                Follow-up on payroll scope by jurisdiction                                                                 0.90     $600.00       $540.00
                         Contractor JS
                                                                                                    FTX Japan - Provide comments on FX gain/loss treatment for Japanese tax purpsoes where FTX
Hamano,Taisuke          Senior Manager       1/17/2023                  Tax Advisory                                                                                                                           0.10     $650.00        $65.00
                                                                                                    Japan transfers its cash from its Japanese bank accounts to its foreign bank accounts
                           National                                                                 Meeting with K Lowery, K. Wrenn and J DeVincenzo on US Forms 1099 information reportable
Lowery,Kristie L                             1/17/2023                   Payroll Tax                                                                                                                           0.80     $990.00       $792.00
                       Partner/Principal                                                            status update and discussion for M Cilia.
                                                                                                    Meeting with K Lowery, K. Wrenn and J DeVincenzo on US Forms 1099 information reportable
DeVincenzo,Jennie      Managing Director     1/17/2023                   Payroll Tax                                                                                                                           0.80     $775.00       $620.00
                                                                                                    status update and discussion for M Cilia.
                                                                                                    Meeting with K Lowery, K. Wrenn and J DeVincenzo on US Forms 1099 information reportable
Wrenn,Kaitlin Doyle        Manager           1/17/2023                   Payroll Tax                                                                                                                           0.80     $525.00       $420.00
                                                                                                    status update and discussion for M Cilia.
                         Client Serving
Scott,James                                  1/17/2023                 US Income Tax                Liquidator jurisdiction resources                                                                          0.80     $600.00       $480.00
                         Contractor JS
                         Client Serving
Scott,James                                  1/17/2023                 US Income Tax                Liquidator meeting K Schultea, M Cilia, B Richards, K Hutchison, T Shea                                    0.70     $600.00       $420.00
                         Contractor JS
                         Client Serving
Scott,James                                  1/17/2023                 US Income Tax                Liquidator role Gibralter                                                                                  1.10     $600.00       $660.00
                         Contractor JS
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                Name            Rank          Date of Service     Project Category                                               Description of Services                                           Hours   Hourly Rate   Fees
                                                                                           Meeting preparation with K Lowery (EY), K. Wrenn (EY) and J DeVincenzo (EY) on US
DeVincenzo,Jennie         Managing Director     1/17/2023            Payroll Tax                                                                                                                   2.70     $775.00      $2,092.50
                                                                                           employment tax year-end review and Form W2 previews results.
                              National                                                     Meeting preparation with K Lowery (EY), K. Wrenn (EY) and J DeVincenzo (EY) on US
Lowery,Kristie L                                1/17/2023            Payroll Tax                                                                                                                   2.70     $990.00      $2,673.00
                          Partner/Principal                                                employment tax year-end review and Form W2 previews results.
                                                                                           Meeting preparation with K Lowery (EY), K. Wrenn (EY) and J DeVincenzo (EY) on US
Wrenn,Kaitlin Doyle           Manager           1/17/2023            Payroll Tax                                                                                                                   2.70     $525.00      $1,417.50
                                                                                           employment tax year-end review and Form W2 previews results.
                                                                                           Meeting with K. Wrenn (EY), K Lowery (EY) and J DeVincenzo (EY) on outline of employee
DeVincenzo,Jennie         Managing Director     1/17/2023            Payroll Tax                                                                                                                   0.60     $775.00       $465.00
                                                                                           taxability review of expenses.
                              National                                                     Meeting with K. Wrenn (EY), K Lowery (EY) and J DeVincenzo (EY) on outline of employee
Lowery,Kristie L                                1/17/2023            Payroll Tax                                                                                                                   0.60     $990.00       $594.00
                          Partner/Principal                                                taxability review of expenses.
                                                                                           Meeting with K. Wrenn (EY), K Lowery (EY) and J DeVincenzo (EY) on outline of employee
Wrenn,Kaitlin Doyle           Manager           1/17/2023            Payroll Tax                                                                                                                   0.60     $525.00       $315.00
                                                                                           taxability review of expenses.
                                                                                           Meeting with K. Wrenn (EY), K. Lowery (EY) and J. De Vincenzo (EY) on US employment tax year-
DeVincenzo,Jennie         Managing Director     1/17/2023            Payroll Tax                                                                                                                   1.40     $775.00      $1,085.00
                                                                                           end review, Form W2 previews, notice analysis and account transcript workplan.
                              National                                                     Meeting with K. Wrenn (EY), K. Lowery (EY) and J. De Vincenzo (EY) on US employment tax year-
Lowery,Kristie L                                1/17/2023            Payroll Tax                                                                                                                   1.40     $990.00      $1,386.00
                          Partner/Principal                                                end review, Form W2 previews, notice analysis and account transcript workplan.
                                                                                           Meeting with K. Wrenn (EY), K. Lowery (EY) and J. De Vincenzo (EY) on US employment tax year-
Wrenn,Kaitlin Doyle           Manager           1/17/2023            Payroll Tax                                                                                                                   1.40     $525.00       $735.00
                                                                                           end review, Form W2 previews, notice analysis and account transcript workplan.
                                                                                           Meeting with TJ Nichol (EY), K. Wrenn (EY), J DeVincenzo (EY), K Lowery (EY), T Ferris (EY),
Nichol,T.J.                Senior Manager       1/17/2023            Payroll Tax           D. Santaro (EY) and L. Loo (EY) on 1099 vendor/contractor and investment, reportable status             1.60     $650.00      $1,040.00
                                                                                           update on source data and extension request
                                                                                           Meeting with TJ Nichol (EY), K. Wrenn (EY), J DeVincenzo (EY), K Lowery (EY), T Ferris (EY),
Ferris,Tara               Partner/Principal     1/17/2023            Payroll Tax           D. Santaro (EY) and L. Loo (EY) on 1099 vendor/contractor and investment, reportable status             1.60     $825.00      $1,320.00
                                                                                           update on source data and extension request
                                                                                           Meeting with TJ Nichol (EY), K. Wrenn (EY), J DeVincenzo (EY), K Lowery (EY), T Ferris (EY),
Santoro,David                 Manager           1/17/2023            Payroll Tax           D. Santaro (EY) and L. Loo (EY) on 1099 vendor/contractor and investment, reportable status             1.60     $525.00       $840.00
                                                                                           update on source data and extension request
                                                                                           Meeting with TJ Nichol (EY), K. Wrenn (EY), J DeVincenzo (EY), K Lowery (EY), T Ferris (EY),
Loo,Lydia                      Senior           1/17/2023            Payroll Tax           D. Santaro (EY) and L. Loo (EY) on 1099 vendor/contractor and investment, reportable status             1.60     $395.00       $632.00
                                                                                           update on source data and extension request
                                                                                           Meeting with TJ Nichol (EY), K. Wrenn (EY), J DeVincenzo (EY), K Lowery (EY), T Ferris (EY),
DeVincenzo,Jennie         Managing Director     1/17/2023            Payroll Tax           D. Santaro (EY) and L. Loo (EY) on 1099 vendor/contractor and investment, reportable status             1.60     $775.00      $1,240.00
                                                                                           update on source data and extension request
                                                                                           Meeting with TJ Nichol (EY), K. Wrenn (EY), J DeVincenzo (EY), K Lowery (EY), T Ferris (EY),
                              National
Lowery,Kristie L                                1/17/2023            Payroll Tax           D. Santaro (EY) and L. Loo (EY) on 1099 vendor/contractor and investment, reportable status             1.60     $990.00      $1,584.00
                          Partner/Principal
                                                                                           update on source data and extension request
                                                                                           Meeting with TJ Nichol (EY), K. Wrenn (EY), J DeVincenzo (EY), K Lowery (EY), T Ferris (EY),
Wrenn,Kaitlin Doyle           Manager           1/17/2023            Payroll Tax           D. Santaro (EY) and L. Loo (EY) on 1099 vendor/contractor and investment, reportable status             1.60     $525.00       $840.00
                                                                                           update on source data and extension request
                              National                                                     Meeting with T. Shea, J. Scott, and K. Lowery (EY) on various tax issues and notices and how to
Lowery,Kristie L                                1/17/2023          US Income Tax                                                                                                                   0.60     $990.00       $594.00
                          Partner/Principal                                                handle between EY, CT Corporation and FTX team.
                           Client Serving                                                  Meeting with T. Shea, J. Scott, and K. Lowery (EY) on various tax issues and notices and how to
Scott,James                                     1/17/2023          US Income Tax                                                                                                                   0.60     $600.00       $360.00
                           Contractor JS                                                   handle between EY, CT Corporation and FTX team.
                                                                                           Meeting with T. Shea, J. Scott, and K. Lowery (EY) on various tax issues and notices and how to
Shea JR,Thomas M          Partner/Principal     1/17/2023          US Income Tax                                                                                                                   0.60     $825.00       $495.00
                                                                                           handle between EY, CT Corporation and FTX team.
Lovelace,Lauren           Partner/Principal     1/17/2023           Tax Advisory           Call with D. Bailey and L. Lovelace (EY) to discuss issues identified                                   1.00     $825.00       $825.00
Bailey,Doug               Partner/Principal     1/17/2023           Tax Advisory           Call with D. Bailey and L. Lovelace (EY) to discuss issues identified                                   1.00     $825.00       $825.00
                                                                                           PAYROLL TAX - Called back C Martins of ZUBR re bank refusing to pay salaries, email to EY US,
Rumford,Neil              Partner/Principal     1/17/2023            Non US Tax                                                                                                                    0.20     $990.00       $198.00
                                                                                           forward document to local management
Shea JR,Thomas M          Partner/Principal     1/17/2023          US Income Tax           Prepare agenda, including coordination with workstream leads, for Tax C-Suite Update                    1.20     $825.00       $990.00
                                                                                           Prepare Forms W-8 for FTX Europe AG and Alameda Research KK, and Review of Form 1099
Ferris,Tara               Partner/Principal     1/17/2023       Information Reporting                                                                                                              1.70     $825.00      $1,402.50
                                                                                           meeting materials
Wrenn,Kaitlin Doyle           Manager           1/17/2023            Payroll Tax           Prepare Form 8809 1099 extension and recipient statements                                               1.20     $525.00       $630.00
Karan,Anna Suncheuri           Staff            1/17/2023           Tax Advisory           Research factors that led to specific rulings related to tax technical issue                            1.50     $225.00       $337.50
                                                                                           Review 2023 notices for FTX entities and update notice tracker to remove repeat notices and edit the
Hall,Emily Melissa             Senior           1/17/2023       US State and Local Tax                                                                                                             0.60     $395.00       $237.00
                                                                                           status per notice (i.e., pending, resolved).
                                                                                           Review of UCC presentation materials to identify any potential tax consequences, including for likely
Lovelace,Lauren           Partner/Principal     1/17/2023           Tax Advisory                                                                                                                   1.00     $825.00       $825.00
                                                                                           planned dispositions
Hammon,David Lane              Manager          1/17/2023           Non US Tax             Review/tracking of signing/filing requirements provided by EY foreign teams                             2.70     $525.00      $1,417.50
Di Stefano,Giulia               Senior          1/17/2023          Transfer Pricing        Revise functional profile workbook added TP doc filing requirements                                     3.40     $395.00      $1,343.00
                            Client Serving
Scott,James                                     1/17/2023          US Income Tax           Schedule of deliverables and related document requests                                                  1.30     $600.00       $780.00
                            Contractor JS
                            Client Serving
Scott,James                                     1/17/2023          US Income Tax           Tax lead reporting preparation                                                                          1.50     $600.00       $900.00
                            Contractor JS
Hamilton,Mary Catherine         Senior          1/17/2023            Payroll Tax           Update account listing tracker for Gusto and Trinet                                                     1.30     $395.00       $513.50
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               Name             Rank          Date of Service            Project Category                                                     Description of Services                                             Hours   Hourly Rate   Fees
                           Client Serving
Scott,James                                     1/17/2023                 US Income Tax                Ventures investment detail review                                                                          1.20     $600.00       $720.00
                           Contractor JS
                              National
McComber,Donna                                  1/17/2023                 Transfer Pricing             Work on global TP document requirement table to align with intercompany transactions.                      0.80     $990.00       $792.00
                          Partner/Principal
Shea JR,Thomas M          Partner/Principal     1/17/2023                 US Income Tax                Draft correspondence with internal teams re: tax implications of certain cash transactions                 1.30     $825.00      $1,072.50
Shea JR,Thomas M          Partner/Principal     1/17/2023                 US Income Tax                Draft correspondence with payroll team re: in-scope jurisdictions and support model                        1.00     $825.00        $825.00
                                                                                                       1/19/23 Internal call to discuss the status of direct and indirect tax workstreams and bankruptcy
Jimenez,Joseph Robert      Senior Manager       1/18/2023             US State and Local Tax           considerations for pre-petition and post-petition liabilities. EY Meeting Attendees: M. Musano, W.         0.80     $650.00       $520.00
                                                                                                       Bieganski, N. Flagg, K. Davis, J. Jimenez, and E. Hall
                           Client Serving
Scott,James                                     1/18/2023                 US Income Tax                Assist with identifying resources to handle foreign accounting requrements.                                0.80     $600.00       $480.00
                           Contractor JS
Loo,Lydia                      Senior           1/18/2023              Information Reporting           Analysis of 1099 / miscellaneous files                                                                     0.40     $395.00        $158.00
Lovelace,Lauren           Partner/Principal     1/18/2023                  Tax Advisory                Analyze various FTT transactions to determine potential tax implications.                                  1.40     $825.00      $1,155.00
                                                                                                       Call to discuss contracting and engagement acceptance procedures concerning the foreign EY teams.
Shea JR,Thomas M          Partner/Principal     1/18/2023                   Non US Tax                                                                                                                            0.50     $825.00       $412.50
                                                                                                       EY Attendees: D. Hammon, T. Shea, K. Staromiejska
                                                                                                       Call to discuss contracting and engagement acceptance procedures concerning the foreign EY teams.
Hammon,David Lane             Manager           1/18/2023                   Non US Tax                                                                                                                            0.50     $525.00       $262.50
                                                                                                       EY Attendees: D. Hammon, T. Shea, K. Staromiejska
                                                                                                       Call to discuss contracting and engagement acceptance procedures concerning the foreign EY teams.
Staromiejska,Kinga            Manager           1/18/2023                   Non US Tax                                                                                                                            0.50     $525.00       $262.50
                                                                                                       EY Attendees: D. Hammon, T. Shea, K. Staromiejska
                                                                                                       Call to discuss tax notices, tracking and responsible parties for various tax types - J DiVincenzo (EY),
Musano,Matthew Albert      Senior Manager       1/18/2023                   Payroll Tax                                                                                                                           0.50     $650.00       $325.00
                                                                                                       K Wrenn (EY), M Hamilton (EY) and M Musano (EY)
                                                                                                       Call to discuss tax notices, tracking and responsible parties for various tax types - J DiVincenzo (EY),
DeVincenzo,Jennie         Managing Director     1/18/2023                   Payroll Tax                                                                                                                           0.50     $775.00       $387.50
                                                                                                       K Wrenn (EY), M Hamilton (EY) and M Musano (EY)
                                                                                                       Call to discuss tax notices, tracking and responsible parties for various tax types - J DiVincenzo (EY),
Hamilton,Mary Catherine        Senior           1/18/2023                   Payroll Tax                                                                                                                           0.50     $395.00       $197.50
                                                                                                       K Wrenn (EY), M Hamilton (EY) and M Musano (EY)
                                                                                                       Call to discuss tax notices, tracking and responsible parties for various tax types - J DiVincenzo (EY),
Wrenn,Kaitlin Doyle           Manager           1/18/2023                   Payroll Tax                                                                                                                           0.50     $525.00       $262.50
                                                                                                       K Wrenn (EY), M Hamilton (EY) and M Musano (EY)
Hamilton,Mary Catherine        Senior           1/18/2023                   Payroll Tax                Call to discuss the cataloging of notices and the notice tracker - K Wrenn (EY), M Hamilton (EY)           0.90     $395.00       $355.50

Wrenn,Kaitlin Doyle           Manager           1/18/2023                   Payroll Tax                Call to discuss the cataloging of notices and the notice tracker - K Wrenn (EY), M Hamilton (EY)           0.90     $525.00       $472.50
                            Client Serving                                                             Call with J. Scott (EY) and M. Musano (EY) to discuss management's move to Texas and impacts for
Scott,James                                     1/18/2023             US State and Local Tax                                                                                                                      0.50     $600.00       $300.00
                            Contractor JS                                                              margin tax purposes
                                                                                                       Call with J. Scott (EY) and M. Musano (EY) to discuss management's move to Texas and impacts for
Musano,Matthew Albert      Senior Manager       1/18/2023             US State and Local Tax                                                                                                                      0.50     $650.00       $325.00
                                                                                                       margin tax purposes
                                                                                                       Call with M. Musano (EY), K. Wrenn (EY), J. DeVincenzo (EY) and M. Hamilton (EY) to discuss
Wrenn,Kaitlin Doyle           Manager           1/18/2023             US State and Local Tax                                                                                                                      0.50     $525.00       $262.50
                                                                                                       the notice process, cataloging of notices and workflow
                                                                                                       Call with M. Musano (EY), K. Wrenn (EY), J. DeVincenzo (EY) and M. Hamilton (EY) to discuss
Hamilton,Mary Catherine        Senior           1/18/2023             US State and Local Tax                                                                                                                      0.50     $395.00       $197.50
                                                                                                       the notice process, cataloging of notices and workflow
                                                                                                       Call with M. Musano (EY), K. Wrenn (EY), J. DeVincenzo (EY) and M. Hamilton (EY) to discuss
DeVincenzo,Jennie         Managing Director     1/18/2023             US State and Local Tax                                                                                                                      0.50     $775.00       $387.50
                                                                                                       the notice process, cataloging of notices and workflow
                                                                                                       Call with M. Musano (EY), K. Wrenn (EY), J. DeVincenzo (EY) and M. Hamilton (EY) to discuss
Musano,Matthew Albert      Senior Manager       1/18/2023             US State and Local Tax                                                                                                                      0.50     $650.00       $325.00
                                                                                                       the notice process, cataloging of notices and workflow
Hammon,David Lane              Manager          1/18/2023                   Non US Tax                 Correspondence regarding the in-scope countries for payroll                                                1.40     $525.00       $735.00
                            Client Serving
Scott,James                                     1/18/2023                 US Income Tax                Diligence output review                                                                                    0.40     $600.00       $240.00
                            Contractor JS
Hammon,David Lane              Manager          1/18/2023                   Non US Tax                 Draft communication to EY local teams regarding scope and contract updates                                 1.60     $525.00       $840.00
                                                                                                       Evaluate and facilitate of live global employee work locations and live locations. Needs for calendar
                              National
Lowery,Kristie L                                1/18/2023                   Payroll Tax                year 2023 employment tax calculations and pay slips in each country and parameters around each             1.70     $990.00      $1,683.00
                          Partner/Principal
                                                                                                       country.
Lovelace,Lauren           Partner/Principal     1/18/2023                  Tax Advisory                Evaluation of potential application of new loss ruling on abandoned crypto to FTX asset holdings.          1.00     $825.00       $825.00
                            Client Serving
Scott,James                                     1/18/2023                 US Income Tax                Review federal tax matters tracker for due diligence reporting                                             0.50     $600.00       $300.00
                            Contractor JS
                                                                                                       FTX Bahamas real estate property research to identify locations subject to real estate assessment and
Davis,Kathleen F.             Manager           1/18/2023             US State and Local Tax           taxation. Contact Bahamian jurisdiction for guidance on obtaining client assessment notices and tax        2.80     $525.00      $1,470.00
                                                                                                       bills information.
Ash,Polly Westerberg       Senior Manager       1/18/2023       Project Management Office Transition   FTX scope updates to payroll and accounting services                                                       2.10     $650.00      $1,365.00
                            Client Serving
Scott,James                                     1/18/2023                 US Income Tax                Review foreign compliance requirement scope for local country scope and contacts                           1.10     $600.00       $660.00
                            Contractor JS
                                                                                                       Internal call discussing coordination with foreign local teams re: tax support services. EY Attendees:
Hammon,David Lane             Manager           1/18/2023                 US Income Tax                                                                                                                           0.50     $525.00       $262.50
                                                                                                       D. Hammon, T. Knoeller, K. Staromiejska and T. Shea
                                                                                                       Internal call discussing coordination with foreign local teams re: tax support services. EY Attendees:
Staromiejska,Kinga            Manager           1/18/2023                 US Income Tax                                                                                                                           0.50     $525.00       $262.50
                                                                                                       D. Hammon, T. Knoeller, K. Staromiejska and T. Shea
                                                                                                       Internal call discussing coordination with foreign local teams re: tax support services. EY Attendees:
Knoeller,Thomas J.        Partner/Principal     1/18/2023                 US Income Tax                                                                                                                           0.50     $825.00       $412.50
                                                                                                       D. Hammon, T. Knoeller, K. Staromiejska and T. Shea
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                 Name           Rank           Date of Service     Project Category                                                 Description of Services                                             Hours   Hourly Rate   Fees
                                                                                            Internal call discussing coordination with foreign local teams re: tax support services. EY Attendees:
Shea JR,Thomas M           Partner/Principal     1/18/2023          US Income Tax                                                                                                                       0.50     $825.00       $412.50
                                                                                            D. Hammon, T. Knoeller, K. Staromiejska and T. Shea
                                                                                            Internal call on the potential application of IRC section 482 to an intercompany sale . EY Participants:
Di Stefano,Giulia               Senior           1/18/2023          Transfer Pricing                                                                                                                    0.40     $395.00       $158.00
                                                                                            Donna McComber, Ryan Kelly, Kent Stackhouse, Giulia Di Stefano
                                                                                            Internal call on the potential application of IRC section 482 to an intercompany sale . EY Participants:
Kelly,Ryan J               Partner/Principal     1/18/2023          Transfer Pricing                                                                                                                    0.40     $825.00       $330.00
                                                                                            Donna McComber, Ryan Kelly, Kent Stackhouse, Giulia Di Stefano
                               National                                                     Internal call on the potential application of IRC section 482 to an intercompany sale . EY Participants:
McComber,Donna                                   1/18/2023          Transfer Pricing                                                                                                                    0.40     $990.00       $396.00
                           Partner/Principal                                                Donna McComber, Ryan Kelly, Kent Stackhouse, Giulia Di Stefano
                                                                                            Internal call on the potential application of IRC section 482 to an intercompany sale . EY Participants:
Stackhouse,Kent            Partner/Principal     1/18/2023          Transfer Pricing                                                                                                                    0.40     $825.00       $330.00
                                                                                            Donna McComber, Ryan Kelly, Kent Stackhouse, Giulia Di Stefano
                                                                                            Internal call to discuss outstanding issues identified as part of the due diligence and next steps on how
Owsley,John Christopher    Senior Manager        1/18/2023           Tax Advisory           to proceed with each issue, including assigning responsible party. EY Attendees: L. Jayanthi, D.            1.00     $650.00       $650.00
                                                                                            Bailey, L. Lovelace. L. Raulli, M. Musano, J. Scott, J. Owsley and T. Shea

                                                                                            Internal call to discuss outstanding issues identified as part of the due diligence and next steps on how
                            Client Serving
Scott,James                                      1/18/2023           Tax Advisory           to proceed with each issue, including assigning responsible party. EY Attendees: L. Jayanthi, D.            1.00     $600.00       $600.00
                            Contractor JS
                                                                                            Bailey, L. Lovelace. L. Raulli, M. Musano, J. Scott, J. Owsley and T. Shea

                                                                                            Internal call to discuss outstanding issues identified as part of the due diligence and next steps on how
Bailey,Doug                Partner/Principal     1/18/2023           Tax Advisory           to proceed with each issue, including assigning responsible party. EY Attendees: L. Jayanthi, D.            1.00     $825.00       $825.00
                                                                                            Bailey, L. Lovelace. L. Raulli, M. Musano, J. Scott, J. Owsley and T. Shea

                                                                                            Internal call to discuss outstanding issues identified as part of the due diligence and next steps on how
Jayanthi,Lakshmi           Senior Manager        1/18/2023           Tax Advisory           to proceed with each issue, including assigning responsible party. EY Attendees: L. Jayanthi, D.            1.00     $650.00       $650.00
                                                                                            Bailey, L. Lovelace. L. Raulli, M. Musano, J. Scott, J. Owsley and T. Shea

                                                                                            Internal call to discuss outstanding issues identified as part of the due diligence and next steps on how
Lovelace,Lauren            Partner/Principal     1/18/2023        US International Tax      to proceed with each issue, including assigning responsible party. EY Attendees: L. Jayanthi, D.            1.00     $825.00       $825.00
                                                                                            Bailey, L. Lovelace. L. Raulli, M. Musano, J. Scott, J. Owsley and T. Shea

                                                                                            Internal call to discuss outstanding issues identified as part of the due diligence and next steps on how
Musano,Matthew Albert      Senior Manager        1/18/2023       US State and Local Tax     to proceed with each issue, including assigning responsible party. EY Attendees: L. Jayanthi, D.            1.00     $650.00       $650.00
                                                                                            Bailey, L. Lovelace. L. Raulli, M. Musano, J. Scott, J. Owsley and T. Shea

                                                                                            Internal call to discuss outstanding issues identified as part of the due diligence and next steps on how
Raulli,Lindsay Elizabeth   Senior Manager        1/18/2023           Tax Advisory           to proceed with each issue, including assigning responsible party. EY Attendees: L. Jayanthi, D.            1.00     $650.00       $650.00
                                                                                            Bailey, L. Lovelace. L. Raulli, M. Musano, J. Scott, J. Owsley and T. Shea

                                                                                            Internal call to discuss outstanding issues identified as part of the due diligence and next steps on how
Shea JR,Thomas M           Partner/Principal     1/18/2023           Tax Advisory           to proceed with each issue, including assigning responsible party. EY Attendees: L. Jayanthi, D.            1.00     $825.00       $825.00
                                                                                            Bailey, L. Lovelace. L. Raulli, M. Musano, J. Scott, J. Owsley and T. Shea
                                                                                            Internal re-group call to discuss the following relating to Texas: whether GILTI is included in the
                                                                                            sales factor for apportionment purposes; the extent to which Texas follows the federal return,
Musano,Matthew Albert      Senior Manager        1/18/2023       US State and Local Tax                                                                                                                 0.40     $650.00       $260.00
                                                                                            voluntary disclosure agreement process considerations, and the sourcing methodology for services.
                                                                                            Meeting attendees: M. Musano, J. Bowden, & E. Hall.
                                                                                            Internal re-group call to discuss the following relating to Texas: whether GILTI is included in the
                                                                                            sales factor for apportionment purposes; the extent to which Texas follows the federal return,
Bowden,Jamie               Senior Manager        1/18/2023       US State and Local Tax                                                                                                                 0.40     $650.00       $260.00
                                                                                            voluntary disclosure agreement process considerations, and the sourcing methodology for services.
                                                                                            Meeting attendees: M. Musano, J. Bowden, & E. Hall.
                                                                                            Internal re-group call to discuss the following relating to Texas: whether GILTI is included in the
                                                                                            sales factor for apportionment purposes; the extent to which Texas follows the federal return,
Hall,Emily Melissa              Senior           1/18/2023       US State and Local Tax                                                                                                                 0.40     $395.00       $158.00
                                                                                            voluntary disclosure agreement process considerations, and the sourcing methodology for services.
                                                                                            EY meeting attendees: M. Musano, J. Bowden, & E. Hall.
                            Client Serving
Scott,James                                      1/18/2023       US State and Local Tax     Licenses, annual reports and regulatory licensing                                                           1.20     $600.00       $720.00
                            Contractor JS
                                                                                            Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
MacLean,Corrie                  Senior           1/18/2023            Non US Tax            standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.              0.50     $395.00       $197.50
                                                                                            Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                            Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Staromiejska,Kinga             Manager           1/18/2023            Non US Tax            standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.              0.50     $525.00       $262.50
                                                                                            Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)
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                 Name          Rank           Date of Service               Project Category                                                      Description of Services                                          Hours   Hourly Rate   Fees

                                                                                                          Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Hammon,David Lane             Manager           1/18/2023                     Non US Tax                  standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.           0.50     $525.00       $262.50
                                                                                                          Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                          Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Knoeller,Thomas J.        Partner/Principal     1/18/2023         Project Management Office Transition    standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.           0.50     $825.00       $412.50
                                                                                                          Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                          Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Hammon,David Lane             Manager           1/18/2023                     Non US Tax                  standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.            0.50     $525.00       $262.50
                                                                                                          Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                                          Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Knoeller,Thomas J.        Partner/Principal     1/18/2023                     Non US Tax                  standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.            0.50     $825.00       $412.50
                                                                                                          Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                                          Meeting to review transition-related items including next steps, issues requiring escalation, setup of
MacLean,Corrie                 Senior           1/18/2023                     Non US Tax                  standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.            0.50     $395.00       $197.50
                                                                                                          Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                                          Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Staromiejska,Kinga            Manager           1/18/2023                     Non US Tax                  standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.            0.50     $525.00       $262.50
                                                                                                          Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).
Nichol,T.J.               Senior Manager        1/18/2023                 Information Reporting           Meeting with Audrey Richardson to discuss findings in the QuickBooks data extracts                       2.00     $650.00      $1,300.00
Richardson,Audrey Sarah       Manager           1/18/2023                 Information Reporting           Meeting with Audrey Richardson to discuss findings in the QuickBooks data extracts                       2.00     $525.00      $1,050.00
                           Client Serving
Scott,James                                     1/18/2023                    US Income Tax                Assist with foreign payroll and accounting resources and scope                                           0.80     $600.00       $480.00
                           Contractor JS
Rumford,Neil              Partner/Principal     1/18/2023                      Non US Tax                 Review and prepare response to email from C. Martins regarding PAYROLL TAX                               0.40     $990.00        $396.00
Nichol,T.J.               Senior Manager        1/18/2023                 Information Reporting           Perform analysis on QuickBook data extracts to remediate previously identified gaps                      2.20     $650.00      $1,430.00
Ferris,Tara               Partner/Principal     1/18/2023                 Information Reporting           Prepare Forms W-8 for FTX Europe AG and Alameda Research KK                                              0.30     $825.00        $247.50
                                                                                                          Research how Texas treats losses for base and apportionment purposes and to determine whether
Hall,Emily Melissa             Senior           1/18/2023                US State and Local Tax                                                                                                                    0.70     $395.00       $276.50
                                                                                                          GILTI/Subpart F is included for Texas purposes.
Musano,Matthew Albert      Senior Manager       1/18/2023                US State and Local Tax           Research on move to Texas by FTX management and impact for margin tax purposes                           0.50     $650.00       $325.00
Santoro,David                  Manager          1/18/2023                Information Reporting            Review and analyze 1099 Vendor Data -                                                                    0.40     $525.00       $210.00
                            Client Serving                                                                Review for state income tax effects the federal income tax analysis of the sale and repurchase of FTX
Bieganski,Walter                                1/18/2023                US State and Local Tax                                                                                                                    0.40     $200.00        $80.00
                           Contractor WB                                                                  shares from Binance
Bailey,Doug               Partner/Principal     1/18/2023                     Tax Advisory                Review of intercompany agreements including licensing agreement for trading system                       1.80     $825.00      $1,485.00
Hammon,David Lane              Manager          1/18/2023                     Non US Tax                  Review of new contact list and legal entity summary from A&M                                             0.80     $525.00        $420.00
Shea JR,Thomas M          Partner/Principal     1/18/2023                    US Income Tax                Review of updated internal tax technical considerations with International team                          1.70     $825.00      $1,402.50
DeVincenzo,Jennie         Managing Director     1/18/2023                      Payroll Tax                Review tax notice tracker                                                                                0.90     $775.00        $697.50
                                                                                                          Spending time on following-up from the call that took place earlier related to the issue tracking list
Jayanthi,Lakshmi           Senior Manager       1/18/2023                     Tax Advisory                                                                                                                         0.70     $650.00       $455.00
                                                                                                          and next steps - including sending emails and invites to the necessary contacts.
                           Client Serving
Scott,James                                     1/18/2023                US State and Local Tax           Texas tax filing with M Musano                                                                           0.40     $600.00       $240.00
                           Contractor JS
                           Client Serving
Scott,James                                     1/18/2023       Non-Working Travel (billed at 50% of rates) Travel from New York, NY to Raleigh, NC                                                                3.80     $300.00      $1,140.00
                           Contractor JS
Ancona,Christopher             Senior           1/18/2023             Fee/Employment Applications         Make updates to first monthly Fee Application                                                            2.70     $395.00      $1,066.50
Bailey,Doug               Partner/Principal     1/18/2023                   Tax Advisory                  Work on technical outline for tax issue relevant to the company                                          2.30     $825.00      $1,897.50
                                                                                                          Prepare correspondence with EY internal information reporting team and A&M regarding Form 1099
Shea JR,Thomas M          Partner/Principal     1/18/2023                    US Income Tax                                                                                                                         1.20     $825.00       $990.00
                                                                                                          compliance support
Shea JR,Thomas M          Partner/Principal     1/18/2023                    US Income Tax                Draft correspondence with team re: accounting and payroll additional services approach, and strategy     0.80     $825.00       $660.00
Alfaro,Adriana                  Staff           1/19/2023                      Payroll Tax                Call to discuss tax notices catalog - K Wrenn, M Hamilton and A Alfaro (all EY)                          1.00     $225.00       $225.00
Wrenn,Kaitlin Doyle           Manager           1/19/2023                      Payroll Tax                Call to discuss tax notices catalog - K Wrenn, M Hamilton and A Alfaro (all EY)                          1.00     $525.00       $525.00
Hamilton,Mary Catherine        Senior           1/19/2023                      Payroll Tax                Call to discuss tax notices catalog - K Wrenn, M Hamilton and A Alfaro (all EY)                          1.00     $395.00       $395.00
                                                                                                          1/19/23 Internal call to discuss the status of direct and indirect tax workstreams and bankruptcy
                           Client Serving
Bieganski,Walter                                1/19/2023                US State and Local Tax           considerations for pre-petition and post-petition liabilities. EY Meeting Attendees: M. Musano, W.       0.80     $200.00       $160.00
                           Contractor WB
                                                                                                          Bieganski, N. Flagg, K. Davis, J. Jimenez, and E. Hall
                                                                                                          1/19/23 Internal call to discuss the status of direct and indirect tax workstreams and bankruptcy
Davis,Kathleen F.             Manager           1/19/2023                US State and Local Tax           considerations for pre-petition and post-petition liabilities. EY Meeting Attendees: M. Musano, W.       0.80     $525.00       $420.00
                                                                                                          Bieganski, N. Flagg, K. Davis, J. Jimenez, and E. Hall
                                                                                                          1/19/23 Internal call to discuss the status of direct and indirect tax workstreams and bankruptcy
Flagg,Nancy A.            Managing Director     1/19/2023                US State and Local Tax           considerations for pre-petition and post-petition liabilities. EY Meeting Attendees: M. Musano, W.       0.80     $775.00       $620.00
                                                                                                          Bieganski, N. Flagg, K. Davis, J. Jimenez, and E. Hall
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                  Name         Rank          Date of Service            Project Category                                                     Description of Services                                            Hours   Hourly Rate   Fees
                                                                                                      1/19/23 Internal call to discuss the status of direct and indirect tax workstreams and bankruptcy
Hall,Emily Melissa            Senior           1/19/2023             US State and Local Tax           considerations for pre-petition and post-petition liabilities. EY Meeting Attendees: M. Musano, W.        0.80     $395.00       $316.00
                                                                                                      Bieganski, N. Flagg, K. Davis, J. Jimenez, and E. Hall
                                                                                                      1/19/23 Internal call to discuss the status of direct and indirect tax workstreams and bankruptcy
Musano,Matthew Albert     Senior Manager       1/19/2023             US State and Local Tax           considerations for pre-petition and post-petition liabilities. EY Meeting Attendees: M. Musano, W.        0.80     $650.00       $520.00
                                                                                                      Bieganski, N. Flagg, K. Davis, J. Jimenez, and E. Hall
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                             National
McComber,Donna                                 1/19/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $990.00       $396.00
                         Partner/Principal
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Jimenez,Joseph Robert     Senior Manager       1/19/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                           Client Serving
Scott,James                                    1/19/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $600.00       $240.00
                           Contractor JS
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Farrar,Anne              Partner/Principal     1/19/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                             National
Lowery,Kristie L                               1/19/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $990.00       $396.00
                         Partner/Principal
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Lovelace,Lauren          Partner/Principal     1/19/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Bailey,Doug              Partner/Principal     1/19/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Bost,Anne                Managing Director     1/19/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $775.00       $310.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Cotopoulis,Alex          Managing Director     1/19/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $775.00       $310.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Gengler,Charlie          Partner/Principal     1/19/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Jayanthi,Lakshmi          Senior Manager       1/19/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ferris,Tara              Partner/Principal     1/19/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Madhok,Kishan             Senior Manager       1/19/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Nichol,T.J.               Senior Manager       1/19/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Soderman,Kathy           Managing Director     1/19/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $775.00       $310.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Yencho,Jeremiah          Managing Director     1/19/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $775.00       $310.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
MacLean,Corrie                Senior           1/19/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $395.00       $158.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ancona,Christopher            Senior           1/19/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $395.00       $158.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ash,Polly Westerberg      Senior Manager       1/19/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                      implementation of global compliance and reporting services
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                Name         Rank           Date of Service            Project Category                                                     Description of Services                                            Hours   Hourly Rate   Fees
                                                                                                     Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Berman,Jake             Senior Manager        1/19/2023                 US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                     implementation of global compliance and reporting services
                                                                                                     Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                        Client Serving
Bieganski,Walter                              1/19/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $200.00        $80.00
                        Contractor WB
                                                                                                     implementation of global compliance and reporting services
                                                                                                     Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Hall,Emily Melissa           Senior           1/19/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $395.00       $158.00
                                                                                                     implementation of global compliance and reporting services
                                                                                                     Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Hammon,David Lane           Manager           1/19/2023                   Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $525.00       $210.00
                                                                                                     implementation of global compliance and reporting services
                                                                                                     Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Katsnelson,David            Manager           1/19/2023                 Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $525.00       $210.00
                                                                                                     implementation of global compliance and reporting services
                                                                                                     Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Knoeller,Thomas J.      Partner/Principal     1/19/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                     implementation of global compliance and reporting services
                                                                                                     Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Musano,Matthew Albert   Senior Manager        1/19/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                     implementation of global compliance and reporting services
                                                                                                     Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Shea JR,Thomas M        Partner/Principal     1/19/2023                 US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                     implementation of global compliance and reporting services
                                                                                                     Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Staromiejska,Kinga          Manager           1/19/2023                   Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $525.00       $210.00
                                                                                                     implementation of global compliance and reporting services
                                                                                                     Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Wrenn,Kaitlin Doyle         Manager           1/19/2023                   Payroll Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $525.00       $210.00
                                                                                                     implementation of global compliance and reporting services
                                                                                                     1/19/23 Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action
Berman,Jake             Senior Manager        1/19/2023       Project Management Office Transition                                                                                                             1.00     $650.00       $650.00
                                                                                                     items. EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
                            National                                                                 1/19/23 Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action
Lowery,Kristie L                              1/19/2023       Project Management Office Transition                                                                                                             1.00     $990.00       $990.00
                        Partner/Principal                                                            items. EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
                         Client Serving                                                              1/19/23 Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action
Scott,James                                   1/19/2023       Project Management Office Transition                                                                                                             1.00     $600.00       $600.00
                         Contractor JS                                                               items. EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
                                                                                                     1/19/23 Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action
Shea JR,Thomas M        Partner/Principal     1/19/2023       Project Management Office Transition                                                                                                             1.00     $825.00       $825.00
                                                                                                     items. EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
                                                                                                     1/19/23 Meeting with FTX CFO and CAO: M. Cilia, K. Shultea to discuss progress, status and action
Ash,Polly Westerberg    Senior Manager        1/19/2023       Project Management Office Transition                                                                                                             1.00     $650.00       $650.00
                                                                                                     items. EY attendees: P. Ash, J. Berman, K. Lowery, J. Scott, T. Shea
Nichol,T.J.             Senior Manager        1/19/2023              Information Reporting           1/19: Data analysis to determine vendor reportability                                                     6.20     $650.00      $4,030.00
Loo,Lydia                   Senior            1/19/2023              Information Reporting           Analysis of miscellaneous files, W-Forms update for Silvergate                                            1.60     $395.00        $632.00
                                                                                                     Call to align with General Counsels Office on how to navigate contract updates and engagement
Shea JR,Thomas M        Partner/Principal     1/19/2023                   Non US Tax                 acceptance with the foreign EY firms. EY Attendees: D. Hammon, T. Shea, T. Knoeller, K.                   0.50     $825.00       $412.50
                                                                                                     Staromiejska
                                                                                                     Call to align with General Counsels Office on how to navigate contract updates and engagement
Staromiejska,Kinga          Manager           1/19/2023                   Non US Tax                 acceptance with the foreign EY firms. EY Attendees: D. Hammon, T. Shea, T. Knoeller, K.                   0.50     $525.00       $262.50
                                                                                                     Staromiejska
                                                                                                     Call to align with General Counsels Office on how to navigate contract updates and engagement
Hammon,David Lane           Manager           1/19/2023                   Non US Tax                 acceptance with the foreign EY firms. EY Attendees: D. Hammon, T. Shea, T. Knoeller, K.                   0.50     $525.00       $262.50
                                                                                                     Staromiejska
                                                                                                     Call to align with General Counsels Office on how to navigate contract updates and engagement
Knoeller,Thomas J.      Partner/Principal     1/19/2023       Project Management Office Transition   acceptance with the foreign EY firms. EY Attendees: D. Hammon, T. Shea, T. Knoeller, K.                   0.50     $825.00       $412.50
                                                                                                     Staromiejska
                            National                                                                 Call to discuss ask for method to allocate post-filing expenses among silos for tax purposes. EY
McComber,Donna                                1/19/2023                 Transfer Pricing                                                                                                                       0.80     $990.00       $792.00
                        Partner/Principal                                                            Attended by: A. Bost, D. McComber, T. Shea, J. Berman, J. Scott, L. Jayanthi, L. Lovelace

                                                                                                     Call to discuss ask for method to allocate post-filing expenses among silos for tax purposes. EY
Shea JR,Thomas M        Partner/Principal     1/19/2023                 Transfer Pricing                                                                                                                       0.80     $825.00       $660.00
                                                                                                     Attended by: A. Bost, D. McComber, T. Shea, J. Berman, J. Scott, L. Jayanthi, L. Lovelace

                                                                                                     Call to discuss ask for method to allocate post-filing expenses among silos for tax purposes. EY
Berman,Jake             Senior Manager        1/19/2023                 Transfer Pricing                                                                                                                       0.80     $650.00       $520.00
                                                                                                     Attended by: A. Bost, D. McComber, T. Shea, J. Berman, J. Scott, L. Jayanthi, L. Lovelace

                         Client Serving                                                              Call to discuss ask for method to allocate post-filing expenses among silos for tax purposes. EY
Scott,James                                   1/19/2023                 Transfer Pricing                                                                                                                       0.80     $600.00       $480.00
                         Contractor JS                                                               Attended by: A. Bost, D. McComber, T. Shea, J. Berman, J. Scott, L. Jayanthi, L. Lovelace
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                 Name            Rank          Date of Service            Project Category                                                      Description of Services                                            Hours   Hourly Rate   Fees

                                                                                                        Call to discuss ask for method to allocate post-filing expenses among silos for tax purposes. EY
Jayanthi,Lakshmi            Senior Manager       1/19/2023                 Transfer Pricing                                                                                                                        0.80     $650.00       $520.00
                                                                                                        Attended by: A. Bost, D. McComber, T. Shea, J. Berman, J. Scott, L. Jayanthi, L. Lovelace

                                                                                                        Call to discuss ask for method to allocate post-filing expenses among silos for tax purposes. EY
Lovelace,Lauren            Partner/Principal     1/19/2023                 Transfer Pricing                                                                                                                        0.80     $825.00       $660.00
                                                                                                        Attended by: A. Bost, D. McComber, T. Shea, J. Berman, J. Scott, L. Jayanthi, L. Lovelace

                                                                                                        Call to discuss ask for method to allocate post-filing expenses among silos for tax purposes. EY
Bost,Anne                  Managing Director     1/19/2023                 Transfer Pricing                                                                                                                        0.80     $775.00       $620.00
                                                                                                        Attended by: A. Bost, D. McComber, T. Shea, J. Berman, J. Scott, L. Jayanthi, L. Lovelace
                                                                                                        Call to discuss transfer pricing Question on FTX - transaction pricing. EY Participants: L Jayanthi, D
Shea JR,Thomas M           Partner/Principal     1/19/2023                 Transfer Pricing                                                                                                                        0.50     $825.00       $412.50
                                                                                                        McComber, D Bailey, D Katsnelson, L Lovelace, J Scott, T Shea
                                                                                                        Call to discuss transfer pricing Question on FTX - transaction pricing. EY Participants: L Jayanthi, D
Jayanthi,Lakshmi            Senior Manager       1/19/2023                 Transfer Pricing                                                                                                                        0.50     $650.00       $325.00
                                                                                                        McComber, D Bailey, D Katsnelson, L Lovelace, J Scott, T Shea
                               National                                                                 Call to discuss transfer pricing Question on FTX - transaction pricing. EY Participants: L Jayanthi, D
McComber,Donna                                   1/19/2023                 Transfer Pricing                                                                                                                        0.50     $990.00       $495.00
                           Partner/Principal                                                            McComber, D Bailey, D Katsnelson, L Lovelace, J Scott, T Shea
                                                                                                        Call to discuss transfer pricing Question on FTX - transaction pricing. EY Participants: L Jayanthi, D
Bailey,Doug                Partner/Principal     1/19/2023                 Transfer Pricing                                                                                                                        0.50     $825.00       $412.50
                                                                                                        McComber, D Bailey, D Katsnelson, L Lovelace, J Scott, T Shea
                                                                                                        Call to discuss transfer pricing Question on FTX - transaction pricing. EY Participants: L Jayanthi, D
Lovelace,Lauren            Partner/Principal     1/19/2023                 Transfer Pricing                                                                                                                        0.50     $825.00       $412.50
                                                                                                        McComber, D Bailey, D Katsnelson, L Lovelace, J Scott, T Shea
                             Client Serving                                                             Call to discuss transfer pricing Question on FTX - transaction pricing. EY Participants: L Jayanthi, D
Scott,James                                      1/19/2023                 Transfer Pricing                                                                                                                        0.50     $600.00       $300.00
                             Contractor JS                                                              McComber, D Bailey, D Katsnelson, L Lovelace, J Scott, T Shea
                                                                                                        Call to discuss transfer pricing Question on FTX - transaction pricing. EY Participants: L Jayanthi, D
Katsnelson,David               Manager           1/19/2023                 Transfer Pricing                                                                                                                        0.50     $525.00       $262.50
                                                                                                        McComber, D Bailey, D Katsnelson, L Lovelace, J Scott, T Shea
                                                                                                        Call to discuss the cataloging of notices and the notice tracker - M Hamilton (EY), K Wrenn (EY)
Hamilton,Mary Catherine         Senior           1/19/2023                   Payroll Tax                                                                                                                           1.20     $395.00       $474.00
                                                                                                        and A Alfaro (EY)
                                                                                                        Call to discuss the cataloging of notices and the notice tracker - M Hamilton (EY), K Wrenn (EY)
Alfaro,Adriana                   Staff           1/19/2023                   Payroll Tax                                                                                                                           1.20     $225.00       $270.00
                                                                                                        and A Alfaro (EY)
                                                                                                        Call to discuss the cataloging of notices and the notice tracker - M Hamilton (EY), K Wrenn (EY)
Wrenn,Kaitlin Doyle            Manager           1/19/2023                   Payroll Tax                                                                                                                           1.20     $525.00       $630.00
                                                                                                        and A Alfaro (EY)
                                                                                                        Call with C. Carver (EY) and J. DeVincenzo (EY) - update on W2 review process, notice review and
Carver,Cody R.                  Senior           1/19/2023                   Payroll Tax                                                                                                                           0.30     $395.00       $118.50
                                                                                                        federal transcripts
                                                                                                        Call with C. Carver (EY) and J. DeVincenzo (EY) - update on W2 review process, notice review and
DeVincenzo,Jennie          Managing Director     1/19/2023                   Payroll Tax                                                                                                                           0.30     $775.00       $232.50
                                                                                                        federal transcripts
                                                                                                        Call with J. Sutton, M. Scales and L. Van Allan from S&C to discuss money transmitter license and
                             Client Serving
Scott,James                                      1/19/2023             US State and Local Tax           lending license compliance issues along with EY colleagues T. Shea, J. Scott, M. Musano, A. Scheele,       0.50     $600.00       $300.00
                             Contractor JS
                                                                                                        and M. Coffey
                                                                                                        Call with J. Sutton, M. Scales and L. Van Allan from S&C to discuss money transmitter license and
Coffey,Mandy V.             Senior Manager       1/19/2023             US State and Local Tax           lending license compliance issues along with EY colleagues T. Shea, J. Scott, M. Musano, A. Scheele,       0.50     $650.00       $325.00
                                                                                                        and M. Coffey
                                                                                                        Call with J. Sutton, M. Scales and L. Van Allan from S&C to discuss money transmitter license and
Scheele,Ashley             Managing Director     1/19/2023             US State and Local Tax           lending license compliance issues along with EY colleagues T. Shea, J. Scott, M. Musano, A. Scheele,       0.50     $775.00       $387.50
                                                                                                        and M. Coffey
                                                                                                        Call with J. Sutton, M. Scales and L. Van Allan from S&C to discuss money transmitter license and
Musano,Matthew Albert       Senior Manager       1/19/2023             US State and Local Tax           lending license compliance issues along with EY colleagues T. Shea, J. Scott, M. Musano, A. Scheele,       0.50     $650.00       $325.00
                                                                                                        and M. Coffey
                                                                                                        Call with J. Sutton, M. Scales and L. Van Allan from S&C to discuss money transmitter license and
Shea JR,Thomas M           Partner/Principal     1/19/2023             US State and Local Tax           lending license compliance issues along with EY colleagues T. Shea, J. Scott, M. Musano, A. Scheele,       0.50     $825.00       $412.50
                                                                                                        and M. Coffey
Ash,Polly Westerberg        Senior Manager       1/19/2023          Fee/Employment Applications         Call with P. Ash (EY) and C. Ancona (EY) to discuss bankruptcy fee application process                     0.40     $650.00       $260.00
Ancona,Christopher              Senior           1/19/2023          Fee/Employment Applications         Call with P. Ash (EY) and C. Ancona (EY) to discuss bankruptcy fee application process                     0.40     $395.00       $158.00
Alfaro,Adriana                   Staff           1/19/2023                  Payroll Tax                 Catalog tax notices received per K Wrenn and M Hamilton                                                    2.60     $225.00       $585.00
Hammon,David Lane              Manager           1/19/2023                   Non US Tax                 Correspondence regarding Gibraltar November and December payroll tax/social insurance calcs.               0.20     $525.00       $105.00
Wong,Maddie                      Staff           1/19/2023                 US Income Tax                Prepare chart to show the e-file acceptances received by state, extension/return, and year.                1.60     $225.00        $360.00
Ferris,Tara                Partner/Principal     1/19/2023              Information Reporting           Discuss Forms W-8 with RLKs and S&C                                                                        1.90     $825.00      $1,567.50
Shea JR,Thomas M           Partner/Principal     1/19/2023                 US Income Tax                Follow-up written correspondence on global payroll support workstream approach and scoping                 0.70     $825.00       $577.50
                                                                                                        Update the master foreign office transition tracking sheet to reflect current statuses of the transition
MacLean,Corrie                  Senior           1/19/2023                   Non US Tax                                                                                                                            0.40     $395.00       $158.00
                                                                                                        process per country to identify action items
Raulli,Lindsay Elizabeth   Senior Manager        1/19/2023                  Tax Advisory                FTX - Potential exposure of crypto lending transaction                                                     0.30     $650.00       $195.00
Farrar,Anne                Partner/Principal     1/19/2023       Project Management Office Transition   Review of FTX meeting materials                                                                            0.60     $825.00       $495.00
Farrar,Anne                Partner/Principal     1/19/2023       Project Management Office Transition   Review of FTX program team materials needed                                                                0.40     $825.00       $330.00
                                                                                                        FTX leads call: Jim Scott, Anne Bost, Walter B, Thomas K, Doug B, Matthew M, David Hammond,
Madhok,Kishan               Senior Manager       1/19/2023                Value Added Tax                                                                                                                          0.30     $650.00       $195.00
                                                                                                        Christopher A, Donna M and David K, Jake B, Lakshmi, Brian M, Anne Farrar, King S, Lauren L.
Wrenn,Kaitlin Doyle            Manager           1/19/2023                   Payroll Tax                Initial review of tax notice intake on employment tax, corporate and other tax time                        0.50     $525.00       $262.50
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               Name           Rank          Date of Service     Project Category                                                 Description of Services                                           Hours   Hourly Rate   Fees
                          Client Serving                                                 Call discussing Business Licenses support workstream. EY Attendees: J. Scott, M. Coffey, M.
Scott,James                                   1/19/2023       US State and Local Tax                                                                                                               0.50     $600.00       $300.00
                          Contractor JS                                                  Musano and T. Shea
                                                                                         Call discussing Business Licenses support workstream. EY Attendees: J. Scott, M. Coffey, M.
Coffey,Mandy V.          Senior Manager       1/19/2023       US State and Local Tax                                                                                                               0.50     $650.00       $325.00
                                                                                         Musano and T. Shea
                                                                                         Call discussing Business Licenses support workstream. EY Attendees: J. Scott, M. Coffey, M.
Musano,Matthew Albert    Senior Manager       1/19/2023       US State and Local Tax                                                                                                               0.50     $650.00       $325.00
                                                                                         Musano and T. Shea
                                                                                         Call discussing Business Licenses support workstream. EY Attendees: J. Scott, M. Coffey, M.
Shea JR,Thomas M        Partner/Principal     1/19/2023       US State and Local Tax                                                                                                               0.50     $825.00       $412.50
                                                                                         Musano and T. Shea
                                                                                         Call regarding latest progress of federal tax support workstreams including income tax compliance,
Berman,Jake              Senior Manager       1/19/2023          US Income Tax                                                                                                                     1.00     $650.00       $650.00
                                                                                         diligence of prior year returns. EY attendees: J. Berman and T. Shea
                                                                                         Call regarding latest progress of federal tax support workstreams including income tax compliance,
Shea JR,Thomas M        Partner/Principal     1/19/2023          US Income Tax                                                                                                                     1.00     $825.00       $825.00
                                                                                         diligence of prior year returns. EY attendees: J. Berman and T. Shea
                            National                                                     Internal call to discuss the transfer pricing implications of certain transactions in prior periods. EY
McComber,Donna                                1/19/2023           Tax Advisory                                                                                                                     0.50     $990.00       $495.00
                        Partner/Principal                                                Attendees: D. McComber, D. Katsnelson, L. Jayanthi, D. Bailey, L. Lovelace, T. Shea

                                                                                         Internal call to discuss the transfer pricing implications of certain transactions in prior periods. EY
Katsnelson,David            Manager           1/19/2023           Tax Advisory                                                                                                                     0.50     $525.00       $262.50
                                                                                         Attendees: D. McComber, D. Katsnelson, L. Jayanthi, D. Bailey, L. Lovelace, T. Shea

                                                                                         Internal call to discuss the transfer pricing implications of certain transactions in prior periods. EY
Jayanthi,Lakshmi         Senior Manager       1/19/2023           Tax Advisory                                                                                                                     0.50     $650.00       $325.00
                                                                                         Attendees: D. McComber, D. Katsnelson, L. Jayanthi, D. Bailey, L. Lovelace, T. Shea

                                                                                         Internal call to discuss the transfer pricing implications of certain transactions in prior periods. EY
Bailey,Doug             Partner/Principal     1/19/2023           Tax Advisory                                                                                                                     0.50     $825.00       $412.50
                                                                                         Attendees: D. McComber, D. Katsnelson, L. Jayanthi, D. Bailey, L. Lovelace, T. Shea

                                                                                         Internal call to discuss the transfer pricing implications of certain transactions in prior periods. EY
Lovelace,Lauren         Partner/Principal     1/19/2023           Tax Advisory                                                                                                                     0.50     $825.00       $412.50
                                                                                         Attendees: D. McComber, D. Katsnelson, L. Jayanthi, D. Bailey, L. Lovelace, T. Shea

                                                                                         Internal call to discuss the transfer pricing implications of certain transactions in prior periods. EY
Shea JR,Thomas M        Partner/Principal     1/19/2023           Tax Advisory                                                                                                                     0.50     $825.00       $412.50
                                                                                         Attendees: D. McComber, D. Katsnelson, L. Jayanthi, D. Bailey, L. Lovelace, T. Shea
                                                                                         Internal call to discuss the transfer pricing implications of the 2021 Binance transaction, with Donna
Bailey,Doug             Partner/Principal     1/19/2023           Tax Advisory           McComber (EY), David Katsnelson (EY), Thomas Shea (EY), Lakshmi Jayanthi (EY), Doug Bailey                0.50     $825.00       $412.50
                                                                                         (EY), Lauren Lovelace (EY)
                                                                                         Internal call to discuss the transfer pricing implications of the 2021 Binance transaction, with Donna
Shea JR,Thomas M        Partner/Principal     1/19/2023           Tax Advisory           McComber (EY), David Katsnelson (EY), Thomas Shea (EY), Lakshmi Jayanthi (EY), Doug Bailey                0.50     $825.00       $412.50
                                                                                         (EY), Lauren Lovelace (EY)
                                                                                         Internal call to discuss the transfer pricing implications of the 2021 Binance transaction, with Donna
                            National
McComber,Donna                                1/19/2023           Tax Advisory           McComber (EY), David Katsnelson (EY), Thomas Shea (EY), Lakshmi Jayanthi (EY), Doug Bailey                0.50     $990.00       $495.00
                        Partner/Principal
                                                                                         (EY), Lauren Lovelace (EY)
                                                                                         Internal call to discuss the transfer pricing implications of the 2021 Binance transaction, with Donna
Katsnelson,David            Manager           1/19/2023           Tax Advisory           McComber (EY), David Katsnelson (EY), Thomas Shea (EY), Lakshmi Jayanthi (EY), Doug Bailey                0.50     $525.00       $262.50
                                                                                         (EY), Lauren Lovelace (EY)
                                                                                         Internal call to discuss the transfer pricing implications of the 2021 Binance transaction, with Donna
Jayanthi,Lakshmi         Senior Manager       1/19/2023           Tax Advisory           McComber (EY), David Katsnelson (EY), Thomas Shea (EY), Lakshmi Jayanthi (EY), Doug Bailey                0.50     $650.00       $325.00
                                                                                         (EY), Lauren Lovelace (EY)
                                                                                         Internal call to discuss the transfer pricing implications of the 2021 Binance transaction, with Donna
Lovelace,Lauren         Partner/Principal     1/19/2023        US International Tax      McComber (EY), David Katsnelson (EY), Thomas Shea (EY), Lakshmi Jayanthi (EY), Doug Bailey                0.50     $825.00       $412.50
                                                                                         (EY), Lauren Lovelace (EY)
Bost,Anne               Managing Director     1/19/2023          Transfer Pricing        Internal Leads Touch point attended by                                                                    0.50     $775.00       $387.50
                         Client Serving
Scott,James                                   1/19/2023          US Income Tax           License, annual reports, regulatory meeting with M Coffey, M Musano, J Sutton                             0.50     $600.00       $300.00
                         Contractor JS
                         Client Serving
Scott,James                                   1/19/2023          US Income Tax           Master account treatment                                                                                  0.40     $600.00       $240.00
                         Contractor JS
                                                                                         PAYROLL TAX - Responding to Oleg R email, review payroll information, generate remittance
Rumford,Neil            Partner/Principal     1/19/2023            Non US Tax                                                                                                                      0.80     $990.00       $792.00
                                                                                         advice/code for PAYE/SI payment & email to EY US; call to ITO to confirm TIN
Wrenn,Kaitlin Doyle         Manager           1/19/2023            Payroll Tax           Prepare for meeting to discuss review of current 1099 status by legal entity                              0.50     $525.00       $262.50
                         Client Serving
Scott,James                                   1/19/2023          US Income Tax           Prepare for regulatory license call with S&C                                                              0.60     $600.00       $360.00
                         Contractor JS
                            National
Lowery,Kristie L                              1/19/2023            Payroll Tax           Prepare for status meeting and agenda items to discuss with FTX executive team                            0.60     $990.00       $594.00
                        Partner/Principal
Shea JR,Thomas M        Partner/Principal     1/19/2023          US Income Tax           Prepare agenda, including coordination with workstream leads, for Tax C-Suite Update                      1.60     $825.00      $1,320.00
Bailey,Doug             Partner/Principal     1/19/2023           Tax Advisory           Research into authorities concerning a tax issue relevant to the company                                  1.10     $825.00        $907.50
Santoro,David               Manager           1/19/2023       Information Reporting      Analyze 1099 reporting data                                                                               1.60     $525.00        $840.00
Hammon,David Lane           Manager           1/19/2023            Non US Tax            Review of countries in scope for payroll                                                                  2.60     $525.00      $1,365.00
                                                                                         Review of FTX Trading general ledger to determine if income categories can be more finely
Bailey,Doug             Partner/Principal     1/19/2023           Tax Advisory                                                                                                                     0.90     $825.00       $742.50
                                                                                         subdivided to allow more detailed analysis
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                  Name         Rank           Date of Service            Project Category                                                      Description of Services                                             Hours   Hourly Rate   Fees
Ancona,Christopher            Senior            1/19/2023       Project Management Office Transition   Summarize EY lead touchpoint meeting notes and sharing with broader group for reference                     1.20     $395.00       $474.00
Berman,Jake               Senior Manager        1/19/2023                 US Income Tax                Tax Diligence analysis - review of RLA files received                                                       0.90     $650.00       $585.00
                                                                                                       Tax Support Workstream - Executive Update with FTX C-Suite. Attendees: P. Ash, M. Cilia, K.
Shea JR,Thomas M          Partner/Principal     1/19/2023                 US Income Tax                                                                                                                            0.90     $825.00       $742.50
                                                                                                       Schultea, K. Lowery, J. Scott, J. Berman
                                                                                                       Tax Support Workstream - Executive Update with FTX C-Suite. Attendees: P. Ash, M. Cilia, K.
Ash,Polly Westerberg      Senior Manager        1/19/2023                 US Income Tax                                                                                                                            0.90     $650.00       $585.00
                                                                                                       Schultea, K. Lowery, J. Scott, J. Berman
                              National                                                                 Tax Support Workstream - Executive Update with FTX C-Suite. Attendees: P. Ash, M. Cilia, K.
Lowery,Kristie L                                1/19/2023                 US Income Tax                                                                                                                            0.90     $990.00       $891.00
                          Partner/Principal                                                            Schultea, K. Lowery, J. Scott, J. Berman
                           Client Serving                                                              Tax Support Workstream - Executive Update with FTX C-Suite. Attendees: P. Ash, M. Cilia, K.
Scott,James                                     1/19/2023                 US Income Tax                                                                                                                            0.90     $600.00       $540.00
                           Contractor JS                                                               Schultea, K. Lowery, J. Scott, J. Berman
                                                                                                       Tax Support Workstream - Executive Update with FTX C-Suite. Attendees: P. Ash, M. Cilia, K.
Berman,Jake               Senior Manager        1/19/2023                 US Income Tax                                                                                                                            0.90     $650.00       $585.00
                                                                                                       Schultea, K. Lowery, J. Scott, J. Berman
Bailey,Doug               Partner/Principal     1/19/2023                  Tax Advisory                Work on technical outline for tax issue relevant to the company                                             0.80     $825.00       $660.00
                                                                                                       Draft correspondence with Mary Cilia and relevant EY internal teams re: prioritization of additional
Shea JR,Thomas M          Partner/Principal     1/19/2023                 US Income Tax                                                                                                                            1.10     $825.00       $907.50
                                                                                                       workstreams (accounting, payroll) and relevant jurisdictions (e.g., Switzerland)
                                                                                                       Prepare correspondence with restructuring team regarding potential liquidation targets and relevant
Shea JR,Thomas M          Partner/Principal     1/19/2023                 US Income Tax                                                                                                                            0.80     $825.00       $660.00
                                                                                                       tax workstreams and initiatives
Alfaro,Adriana                 Staff            1/20/2023                   Payroll Tax                Catalog Corporate Notices                                                                                   2.20     $225.00       $495.00
Alfaro,Adriana                 Staff            1/20/2023                   Payroll Tax                Catalog Employment Tax Notices                                                                              2.10     $225.00       $472.50
Ancona,Christopher            Senior            1/20/2023       Project Management Office Transition   PMO meeting with P. Ash and C. Ancona (EY) to discuss FTX action items                                      0.40     $395.00       $158.00
Ash,Polly Westerberg      Senior Manager        1/20/2023       Project Management Office Transition   PMO meeting with P. Ash and C. Ancona (EY) to discuss FTX action items                                      0.40     $650.00       $260.00
Ancona,Christopher            Senior            1/20/2023           Fee/Employment Applications        Review first monthly monthly application                                                                    1.10     $395.00       $434.50
Ash,Polly Westerberg      Senior Manager        1/20/2023          Fee/Employment Applications         Review the November - December monthly application for submission to the Debtor's Counsel                   2.90     $650.00      $1,885.00
Ash,Polly Westerberg      Senior Manager        1/20/2023       Project Management Office Transition   Review and finalization of payroll and tax accounting services scope document                               1.90     $650.00      $1,235.00
                                                                                                       Analyze venture investment information posted to FT site that contained over 400 venture
Bailey,Doug               Partner/Principal     1/20/2023                  Tax Advisory                                                                                                                            1.30     $825.00      $1,072.50
                                                                                                       investments and cross reference to legal entity chart
                                                                                                       1/20: Data analysis with Audrey Richardson (EY), TJ Nichol (EY), David Santoro (EY) and Lydia
Santoro,David                 Manager           1/20/2023              Information Reporting                                                                                                                       5.60     $525.00      $2,940.00
                                                                                                       Loo (EY) to determine vendor reportability
                                                                                                       1/20: Data analysis with Audrey Richardson (EY), TJ Nichol (EY), David Santoro (EY) and Lydia
Loo,Lydia                      Senior           1/20/2023              Information Reporting                                                                                                                       5.60     $395.00      $2,212.00
                                                                                                       Loo (EY) to determine vendor reportability
                                                                                                       1/20: Data analysis with Audrey Richardson (EY), TJ Nichol (EY), David Santoro (EY) and Lydia
Richardson,Audrey Sarah       Manager           1/20/2023              Information Reporting                                                                                                                       5.60     $525.00      $2,940.00
                                                                                                       Loo (EY) to determine vendor reportability
                                                                                                       1/20: Data analysis with Audrey Richardson (EY), TJ Nichol (EY), David Santoro (EY) and Lydia
Nichol,T.J.               Senior Manager        1/20/2023              Information Reporting                                                                                                                       5.60     $650.00      $3,640.00
                                                                                                       Loo (EY) to determine vendor reportability
Hall,Emily Melissa             Senior           1/20/2023             US State and Local Tax           Add various property tax requests to EY's request list for Robert Lee & Associates.                         0.10     $395.00        $39.50
                           Client Serving                                                              Call to discuss support workstreams for FTX Europe (Switzerland). EY Attendees: J. Scott, D.
Scott,James                                     1/20/2023                 US Income Tax                                                                                                                            0.50     $600.00       $300.00
                           Contractor JS                                                               Hammon, K. Staromiejska, T. Knoeller, J. Berman, B. Mistler, T Shea
                                                                                                       Call to discuss support workstreams for FTX Europe (Switzerland). EY Attendees: J. Scott, D.
Hammon,David Lane             Manager           1/20/2023                 US Income Tax                                                                                                                            0.50     $525.00       $262.50
                                                                                                       Hammon, K. Staromiejska, T. Knoeller, J. Berman, B. Mistler, T Shea
                                                                                                       Call to discuss support workstreams for FTX Europe (Switzerland). EY Attendees: J. Scott, D.
Staromiejska,Kinga            Manager           1/20/2023                 US Income Tax                                                                                                                            0.50     $525.00       $262.50
                                                                                                       Hammon, K. Staromiejska, T. Knoeller, J. Berman, B. Mistler, T Shea
                                                                                                       Call to discuss support workstreams for FTX Europe (Switzerland). EY Attendees: J. Scott, D.
Knoeller,Thomas J.        Partner/Principal     1/20/2023                 US Income Tax                                                                                                                            0.50     $825.00       $412.50
                                                                                                       Hammon, K. Staromiejska, T. Knoeller, J. Berman, B. Mistler, T Shea
                                                                                                       Call to discuss support workstreams for FTX Europe (Switzerland). EY Attendees: J. Scott, D.
Berman,Jake               Senior Manager        1/20/2023                 US Income Tax                                                                                                                            0.50     $650.00       $325.00
                                                                                                       Hammon, K. Staromiejska, T. Knoeller, J. Berman, B. Mistler, T Shea
                                                                                                       Call to discuss support workstreams for FTX Europe (Switzerland). EY Attendees: J. Scott, D.
Mistler,Brian M               Manager           1/20/2023                 US Income Tax                                                                                                                            0.50     $525.00       $262.50
                                                                                                       Hammon, K. Staromiejska, T. Knoeller, J. Berman, B. Mistler, T Shea
                                                                                                       Call to discuss support workstreams for FTX Europe (Switzerland). EY Attendees: J. Scott, D.
Shea JR,Thomas M          Partner/Principal     1/20/2023                 US Income Tax                                                                                                                            0.50     $825.00       $412.50
                                                                                                       Hammon, K. Staromiejska, T. Knoeller, J. Berman, B. Mistler, T Shea
Wrenn,Kaitlin Doyle           Manager           1/20/2023                   Payroll Tax                Call to update status of Notice Tracker - K. Wrenn (EY) and M. Hamilton (EY)                                0.20     $525.00       $105.00
Hamilton,Mary Catherine        Senior           1/20/2023                   Payroll Tax                Call to update status of Notice Tracker - K. Wrenn (EY) and M. Hamilton (EY)                                0.20     $395.00        $79.00
                                                                                                       Call with K Wrenn (EY), TJ Nichol (EY), and D Santoro (EY) on year end payroll tax questions and
Nichol,T.J.               Senior Manager        1/20/2023                   Payroll Tax                                                                                                                            0.50     $650.00       $325.00
                                                                                                       W9 accessibility
                                                                                                       Call with K Wrenn (EY), TJ Nichol (EY), and D Santoro (EY) on year end payroll tax questions and
Santoro,David                 Manager           1/20/2023                   Payroll Tax                                                                                                                            0.50     $525.00       $262.50
                                                                                                       W9 accessibility
                                                                                                       Call with K Wrenn (EY), TJ Nichol (EY), and D Santoro (EY) on year end payroll tax questions and
Wrenn,Kaitlin Doyle           Manager           1/20/2023                   Payroll Tax                                                                                                                            0.50     $525.00       $262.50
                                                                                                       W9 accessibility
Hammon,David Lane             Manager           1/20/2023                   Non US Tax                 Correspondence regarding scope details and SOW amendment for ACR services                                   3.80     $525.00      $1,995.00
                                                                                                       Discussion regarding accounting/payroll services needs in global jurisdictions with CFO, M Cilia, T
Berman,Jake               Senior Manager        1/20/2023                 US Income Tax                                                                                                                            0.80     $650.00       $520.00
                                                                                                       Shea, D Hammon, J Scott
                                                                                                       Email to T. Carlson on research findings related to building out EY knowledge of client property tax
Davis,Kathleen F.             Manager           1/20/2023             US State and Local Tax                                                                                                                       0.50     $525.00       $262.50
                                                                                                       landscape
Santoro,David                 Manager           1/20/2023              Information Reporting           Review and Analyze 1099 data and reporting                                                                  1.10     $525.00       $577.50
                                                                                                       Internal call to discuss gap analysis, and how to compile a tax calendar for tax year 2022 state filings.
Hall,Emily Melissa             Senior           1/20/2023             US State and Local Tax                                                                                                                       0.30     $395.00       $118.50
                                                                                                       EY meeting attendees: E. Hall and W. Stillman.
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                 Name           Rank           Date of Service     Project Category                                                 Description of Services                                             Hours   Hourly Rate   Fees
                                                                                            Internal call to discuss gap analysis, and how to compile a tax calendar for tax year 2022 state filings.
Stillman,Will                    Staff           1/20/2023       US State and Local Tax                                                                                                                 0.30     $225.00        $67.50
                                                                                            EY meeting attendees: E. Hall and W. Stillman.
                                                                                            Internal call to discuss gap analysis, and how to compile a tax calendar for tax year 2022 state filings.
Hall,Emily Melissa              Senior           1/20/2023       US State and Local Tax                                                                                                                 0.20     $395.00        $79.00
                                                                                            EY meeting attendees: E. Hall and W. Stillman.
                                                                                            Internal call to discuss gap analysis, and how to compile a tax calendar for tax year 2022 state filings.
Steigler,Ella                   Senior           1/20/2023       US State and Local Tax                                                                                                                 0.20     $395.00        $79.00
                                                                                            EY meeting attendees: E. Hall and W. Stillman.
                                                                                            Internal call to discuss gap analysis, and how to compile a tax calendar for tax year 2022 state filings.
Zheng,Eva                      Manager           1/20/2023       US State and Local Tax                                                                                                                 0.20     $525.00       $105.00
                                                                                            EY meeting attendees: E. Hall and W. Stillman.
                                                                                            Internal call with L. Jayanthi (EY), D. Bailey (EY), (EY), J. Scott (EY), L. Lovelace (EY), L. Raulli
                            Client Serving
Scott,James                                      1/20/2023           Tax Advisory           (EY), and M. Musano (EY) to discuss the proposed subsidiaries to be sold in the coming months and           0.50     $600.00       $300.00
                            Contractor JS
                                                                                            the tax considerations associated with the sale of these subsidiaries.
                                                                                            Internal call with L. Jayanthi (EY), D. Bailey (EY), (EY), J. Scott (EY), L. Lovelace (EY), L. Raulli
Raulli,Lindsay Elizabeth   Senior Manager        1/20/2023           Tax Advisory           (EY), and M. Musano (EY) to discuss the proposed subsidiaries to be sold in the coming months and           0.50     $650.00       $325.00
                                                                                            the tax considerations associated with the sale of these subsidiaries.
                                                                                            Internal call with L. Jayanthi (EY), D. Bailey (EY), (EY), J. Scott (EY), L. Lovelace (EY), L. Raulli
Bailey,Doug                Partner/Principal     1/20/2023           Tax Advisory           (EY), and M. Musano (EY) to discuss the proposed subsidiaries to be sold in the coming months and           0.50     $825.00       $412.50
                                                                                            the tax considerations associated with the sale of these subsidiaries.
                                                                                            Internal call with L. Jayanthi (EY), D. Bailey (EY), (EY), J. Scott (EY), L. Lovelace (EY), L. Raulli
Jayanthi,Lakshmi           Senior Manager        1/20/2023           Tax Advisory           (EY), and M. Musano (EY) to discuss the proposed subsidiaries to be sold in the coming months and           0.50     $650.00       $325.00
                                                                                            the tax considerations associated with the sale of these subsidiaries.
                                                                                            Internal call with L. Jayanthi (EY), D. Bailey (EY), (EY), J. Scott (EY), L. Lovelace (EY), L. Raulli
Lovelace,Lauren            Partner/Principal     1/20/2023        US International Tax      (EY), and M. Musano (EY) to discuss the proposed subsidiaries to be sold in the coming months and           0.50     $825.00       $412.50
                                                                                            the tax considerations associated with the sale of these subsidiaries.
                                                                                            Internal call with L. Jayanthi (EY), D. Bailey (EY), (EY), J. Scott (EY), L. Lovelace (EY), L. Raulli
Musano,Matthew Albert      Senior Manager        1/20/2023       US State and Local Tax     (EY), and M. Musano (EY) to discuss the proposed subsidiaries to be sold in the coming months and           0.50     $650.00       $325.00
                                                                                            the tax considerations associated with the sale of these subsidiaries.
                                                                                            Internal call with L. Jayanthi (EY), D. Bailey (EY), (EY), J. Scott (EY), L. Lovelace (EY), L. Raulli
Shea JR,Thomas M           Partner/Principal     1/20/2023           Tax Advisory           (EY), and M. Musano (EY) to discuss the proposed subsidiaries to be sold in the coming months and           0.50     $825.00       $412.50
                                                                                            the tax considerations associated with the sale of these subsidiaries.
                                                                                            Internal call with state and local team to determine resources for FTX compliance work, consulting
                                                                                            work, and notices. Team further Discuss scope and budget of future work (i.e., tax year 2022 state
Zheng,Eva                      Manager           1/20/2023       US State and Local Tax                                                                                                                 0.20     $525.00       $105.00
                                                                                            income tax filings, extensions, estimate calculations, and state notice tracking/responses). EY meeting
                                                                                            attendees: M. Musano, E. Zheng, Y. Sun, E. Hall, J. Jimenez, V. Short, W. Stillman

                                                                                            Internal call with state and local team to determine resources for FTX compliance work, consulting
                                                                                            work, and notices. Team further Discuss scope and budget of future work (i.e., tax year 2022 state
Hall,Emily Melissa              Senior           1/20/2023       US State and Local Tax                                                                                                                 0.20     $395.00        $79.00
                                                                                            income tax filings, extensions, estimate calculations, and state notice tracking/responses). EY meeting
                                                                                            attendees: M. Musano, E. Zheng, Y. Sun, E. Hall, J. Jimenez, V. Short, W. Stillman

                                                                                            Internal call with state and local team to determine resources for FTX compliance work, consulting
                                                                                            work, and notices. Team further Discuss scope and budget of future work (i.e., tax year 2022 state
Jimenez,Joseph Robert      Senior Manager        1/20/2023       US State and Local Tax                                                                                                                 0.20     $650.00       $130.00
                                                                                            income tax filings, extensions, estimate calculations, and state notice tracking/responses). EY meeting
                                                                                            attendees: M. Musano, E. Zheng, Y. Sun, E. Hall, J. Jimenez, V. Short, W. Stillman

                                                                                            Internal call with state and local team to determine resources for FTX compliance work, consulting
                                                                                            work, and notices. Team further Discuss scope and budget of future work (i.e., tax year 2022 state
Musano,Matthew Albert      Senior Manager        1/20/2023       US State and Local Tax                                                                                                                 0.20     $650.00       $130.00
                                                                                            income tax filings, extensions, estimate calculations, and state notice tracking/responses). EY meeting
                                                                                            attendees: M. Musano, E. Zheng, Y. Sun, E. Hall, J. Jimenez, V. Short, W. Stillman

                                                                                            Internal call with state and local team to determine resources for FTX compliance work, consulting
                                                                                            work, and notices. Team further Discuss scope and budget of future work (i.e., tax year 2022 state
Short,Victoria                  Senior           1/20/2023       US State and Local Tax                                                                                                                 0.20     $395.00        $79.00
                                                                                            income tax filings, extensions, estimate calculations, and state notice tracking/responses). EY meeting
                                                                                            attendees: M. Musano, E. Zheng, Y. Sun, E. Hall, J. Jimenez, V. Short, W. Stillman

                                                                                            Internal call with state and local team to determine resources for FTX compliance work, consulting
                                                                                            work, and notices. Team further Discuss scope and budget of future work (i.e., tax year 2022 state
Stillman,Will                    Staff           1/20/2023       US State and Local Tax                                                                                                                 0.20     $225.00        $45.00
                                                                                            income tax filings, extensions, estimate calculations, and state notice tracking/responses). EY meeting
                                                                                            attendees: M. Musano, E. Zheng, Y. Sun, E. Hall, J. Jimenez, V. Short, W. Stillman

                                                                                            Internal call with state and local team to determine resources for FTX compliance work, consulting
                                                                                            work, and notices. Team further Discuss scope and budget of future work (i.e., tax year 2022 state
Sun,Yuchen                      Senior           1/20/2023       US State and Local Tax                                                                                                                 0.20     $395.00        $79.00
                                                                                            income tax filings, extensions, estimate calculations, and state notice tracking/responses). EY meeting
                                                                                            attendees: M. Musano, E. Zheng, Y. Sun, E. Hall, J. Jimenez, V. Short, W. Stillman
                               National                                                     Internal discussion on allocation of expenses incurred after chapter 11 filing. Participants: Donna
McComber,Donna                                   1/20/2023          Transfer Pricing                                                                                                                    1.40     $990.00      $1,386.00
                           Partner/Principal                                                McComber, Anne Bost, David Katsnelson and Giulia Di Stefano
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                  Name         Rank          Date of Service            Project Category                                                      Description of Services                                       Hours   Hourly Rate   Fees
                                                                                                      Internal discussion on allocation of expenses incurred after chapter 11 filing. Participants: Donna
Bost,Anne                Managing Director     1/20/2023                 Transfer Pricing                                                                                                                   1.40     $775.00      $1,085.00
                                                                                                      McComber, Anne Bost, David Katsnelson and Giulia Di Stefano
                                                                                                      Internal discussion on allocation of expenses incurred after chapter 11 filing. Participants: Donna
Di Stefano,Giulia             Senior           1/20/2023                 Transfer Pricing                                                                                                                   1.40     $395.00       $553.00
                                                                                                      McComber, Anne Bost, David Katsnelson and Giulia Di Stefano
                                                                                                      Internal discussion on allocation of expenses incurred after chapter 11 filing. Participants: Donna
Katsnelson,David             Manager           1/20/2023                 Transfer Pricing                                                                                                                   1.40     $525.00       $735.00
                                                                                                      McComber, Anne Bost, David Katsnelson and Giulia Di Stefano.
                           Client Serving
Scott,James                                    1/20/2023                 US Income Tax                Master account transfer pricing                                                                       1.20     $600.00       $720.00
                           Contractor JS
                                                                                                      Meeting to align on next steps regarding urgent assistance needed in certain jurisdictions (e.g.,
                           Client Serving
Scott,James                                    1/20/2023                   Non US Tax                 Switzerland, Vietnam, Singapore, etc.). EY Attendees: D. Hammon, T. Shea, J. Scott, K.                0.50     $600.00       $300.00
                           Contractor JS
                                                                                                      Staromiejska, T. Knoeller
                                                                                                      Meeting to align on next steps regarding urgent assistance needed in certain jurisdictions (e.g.,
Shea JR,Thomas M         Partner/Principal     1/20/2023                   Non US Tax                 Switzerland, Vietnam, Singapore, etc.). EY Attendees: D. Hammon, T. Shea, J. Scott, K.                0.50     $825.00       $412.50
                                                                                                      Staromiejska, T. Knoeller
                                                                                                      Meeting to align on next steps regarding urgent assistance needed in certain jurisdictions (e.g.,
Hammon,David Lane            Manager           1/20/2023                   Non US Tax                 Switzerland, Vietnam, Singapore, etc.). EY Attendees: D. Hammon, T. Shea, J. Scott, K.                0.50     $525.00       $262.50
                                                                                                      Staromiejska, T. Knoeller
                                                                                                      Meeting to align on next steps regarding urgent assistance needed in certain jurisdictions (e.g.,
Knoeller,Thomas J.       Partner/Principal     1/20/2023       Project Management Office Transition   Switzerland, Vietnam, Singapore, etc.). EY Attendees: D. Hammon, T. Shea, J. Scott, K.                0.50     $825.00       $412.50
                                                                                                      Staromiejska, T. Knoeller
                                                                                                      Meeting to align on next steps regarding urgent assistance needed in certain jurisdictions (e.g.,
Staromiejska,Kinga           Manager           1/20/2023                   Non US Tax                 Switzerland, Vietnam, Singapore, etc.). EY Attendees: D. Hammon, T. Shea, J. Scott, K.                0.50     $525.00       $262.50
                                                                                                      Staromiejska, T. Knoeller
Ash,Polly Westerberg      Senior Manager       1/20/2023          Fee/Employment Applications         Meeting to review fee application preparation. EY Attendees: C. Ancona, P. Ash, K. Staromiejska       0.50     $650.00       $325.00

Ancona,Christopher            Senior           1/20/2023          Fee/Employment Applications         Meeting to review fee application preparation. EY Attendees: C. Ancona, P. Ash, K. Staromiejska       0.50     $395.00       $197.50

Staromiejska,Kinga           Manager           1/20/2023          Fee/Employment Applications         Meeting to review fee application preparation. EY Attendees: C. Ancona, P. Ash, K. Staromiejska       0.50     $525.00       $262.50

                                                                                                      Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Hammon,David Lane            Manager           1/20/2023                   Non US Tax                 standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.        0.50     $525.00       $262.50
                                                                                                      Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                      Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Knoeller,Thomas J.       Partner/Principal     1/20/2023       Project Management Office Transition   standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.        0.50     $825.00       $412.50
                                                                                                      Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                      Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Staromiejska,Kinga           Manager           1/20/2023                   Non US Tax                 standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.        0.50     $525.00       $262.50
                                                                                                      Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                      Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
MacLean,Corrie                Senior           1/20/2023                   Non US Tax                 standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.        0.50     $395.00       $197.50
                                                                                                      Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)
                                                                                                      Prepare for call with D Ornles and K Schultea (FTX) on year end payroll tax questions and W9
Wrenn,Kaitlin Doyle          Manager           1/20/2023                   Payroll Tax                                                                                                                      0.80     $525.00       $420.00
                                                                                                      accessibility
                                                                                                      Prepare for call with RLA on request status for diligence analysis. Included T Shea, TJ Nichols, D
Berman,Jake               Senior Manager       1/20/2023                 US Income Tax                                                                                                                      0.70     $650.00       $455.00
                                                                                                      Bailey, L Lovelace, R Lee, M Hernandez
Di Stefano,Giulia              Senior          1/20/2023                 Transfer Pricing             Research on the allocation of expenses incurred after chapter 11 filing                               0.40     $395.00       $158.00
                           Client Serving
Scott,James                                    1/20/2023                 US Income Tax                Robert Lee & Associates document review                                                               1.30     $600.00       $780.00
                           Contractor JS
Berman,Jake               Senior Manager       1/20/2023                 US Income Tax                Call with D Hariton (S&C) regarding tax diligence status                                              0.50     $650.00       $325.00
                           Client Serving
Scott,James                                    1/20/2023                 US Income Tax                Switzerland payroll and accounting                                                                    0.80     $600.00       $480.00
                           Contractor JS
                                                                                                      Tax Team Leads call with S&C, A&M to discuss status and issues relevant to FTX tax workstreams
                           Client Serving
Scott,James                                    1/20/2023                 US Income Tax                being performed by each firm. Attendees: J. Berman (EY), J. Scott (EY), C. Howe (A&M), D.             0.50     $600.00       $300.00
                           Contractor JS
                                                                                                      Hariton (S&C), B. Mistler (EY), T. Shea (EY)
                                                                                                      Tax Team Leads call with S&C, A&M to discuss status and issues relevant to FTX tax workstreams
Berman,Jake               Senior Manager       1/20/2023                 US Income Tax                being performed by each firm. Attendees: J. Berman (EY), J. Scott (EY), C. Howe (A&M), D.             0.50     $650.00       $325.00
                                                                                                      Hariton (S&C), B. Mistler (EY), T. Shea (EY)
                                                                                                      Tax Team Leads call with S&C, A&M to discuss status and issues relevant to FTX tax workstreams
Mistler,Brian M              Manager           1/20/2023                 US Income Tax                being performed by each firm. Attendees: J. Berman (EY), J. Scott (EY), C. Howe (A&M), D.             0.50     $525.00       $262.50
                                                                                                      Hariton (S&C), B. Mistler (EY), T. Shea (EY)
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                  Name          Rank          Date of Service            Project Category                                                      Description of Services                                            Hours   Hourly Rate   Fees
                                                                                                       Tax Team Leads call with S&C, A&M to discuss status and issues relevant to FTX tax workstreams
Shea JR,Thomas M          Partner/Principal     1/20/2023                 US Income Tax                being performed by each firm. Attendees: J. Berman (EY), J. Scott (EY), C. Howe (A&M), D.                  0.50     $825.00       $412.50
                                                                                                       Hariton (S&C), B. Mistler (EY), T. Shea (EY)
Loo,Lydia                      Senior           1/20/2023              Information Reporting           Transaction file analysis against 1099 report                                                              1.10     $395.00       $434.50
                                                                                                       VAT DD on documents in data room (GL and TB) and online searchs for cypriot regulated entity
Madhok,Kishan              Senior Manager       1/20/2023                Value Added Tax                                                                                                                          0.40     $650.00       $260.00
                                                                                                       from a VAT perspective
                            Client Serving
Scott,James                                     1/20/2023                 US Income Tax                Venture investment reporting                                                                               0.90     $600.00       $540.00
                            Contractor JS
                                                                                                       Weekly US income tax compliance call with RLA, company's legacy tax preparer to discuss latest
Shea JR,Thomas M          Partner/Principal     1/20/2023                 US Income Tax                PBCs, transition of compliance work Attendees: R. Lee, M. Hernandez, J. Berman, J. Scott, T.               0.40     $825.00       $330.00
                                                                                                       Nichol (partial attendence)
                                                                                                       Weekly US income tax compliance call with RLA, company's legacy tax preparer to discuss latest
Berman,Jake                Senior Manager       1/20/2023                 US Income Tax                PBCs, transition of compliance work Attendees: R. Lee, M. Hernandez, J. Berman, J. Scott, T.               0.40     $650.00       $260.00
                                                                                                       Nichol (partial attendence)
                                                                                                       Weekly US income tax compliance call with RLA, company's legacy tax preparer to discuss latest
                            Client Serving
Scott,James                                     1/20/2023                 US Income Tax                PBCs, transition of compliance work Attendees: R. Lee, M. Hernandez, J. Berman, J. Scott, T.               0.40     $600.00       $240.00
                            Contractor JS
                                                                                                       Nichol (partial attendence)
                                                                                                       Weekly US income tax compliance call with RLA, company's legacy tax preparer to discuss latest
Nichol,T.J.                Senior Manager       1/20/2023              Information Reporting           PBCs, transition of compliance work Attendees: R. Lee, M. Hernandez, J. Berman, J. Scott, T.               0.20     $650.00       $130.00
                                                                                                       Nichol (partial attendence)
                              National
McComber,Donna                                  1/20/2023                 Transfer Pricing             Work on post bankruptcy expense allocation analysis.                                                       1.10     $990.00      $1,089.00
                          Partner/Principal
Bailey,Doug               Partner/Principal     1/20/2023                  Tax Advisory                Work on technical outline for tax issue relevant to the company                                            0.70     $825.00       $577.50
                           Client Serving
Scott,James                                     1/23/2023                 US Income Tax                Transition of accounting, stat reporting                                                                   0.50     $600.00       $300.00
                           Contractor JS
Staromiejska,Kinga            Manager           1/23/2023       Project Management Office Transition   FTX catch up with David, K. Staromiejska (EY), D. Venkatesh (EY) and Tomas                                 0.90     $525.00       $472.50
Alfaro,Adriana                  Staff           1/23/2023                   Payroll Tax                Catalog notices for Business License                                                                       1.20     $225.00       $270.00
Alfaro,Adriana                  Staff           1/23/2023                   Payroll Tax                Catalog notices for Employment Tax                                                                         2.20     $225.00       $495.00
Ash,Polly Westerberg      Senior Manager        1/23/2023       Project Management Office Transition   Meeting with P. Ash (EY) and C. Ancona (EY) to discuss Monthly Application Fee                             0.60     $650.00       $390.00
Ancona,Christopher             Senior           1/23/2023       Project Management Office Transition   Meeting with P. Ash (EY) and C. Ancona (EY) to discuss Monthly Application Fee                             0.60     $395.00       $237.00
Bailey,Doug               Partner/Principal     1/23/2023                  Tax Advisory                Analyze Cottonwood documents                                                                               1.10     $825.00       $907.50
                           Client Serving
Scott,James                                     1/23/2023                 US Income Tax                Accounting and payroll assistance                                                                          0.60     $600.00       $360.00
                           Contractor JS
Richardson,Audrey Sarah       Manager           1/23/2023              Information Reporting           Analyze data collected by the team                                                                         1.60     $525.00       $840.00
                           Client Serving
Scott,James                                     1/23/2023                 US Income Tax                Binance transaction review                                                                                 0.50     $600.00       $300.00
                           Contractor JS
                                                                                                       Call with E Hall, M Musano, K Wrenn and E Steigler on non-employment tax notice review and
Musano,Matthew Albert      Senior Manager       1/23/2023                   Payroll Tax                                                                                                                           0.40     $650.00       $260.00
                                                                                                       collective approach on cataloging next steps for resolution
                                                                                                       Call with E Hall, M Musano, K Wrenn and E Steigler on non-employment tax notice review and
Steigler,Ella                  Senior           1/23/2023                   Payroll Tax                                                                                                                           0.40     $395.00       $158.00
                                                                                                       collective approach on cataloging next steps for resolution
                                                                                                       Call with E Hall, M Musano, K Wrenn and E Steigler on non-employment tax notice review and
Hall,Emily Melissa             Senior           1/23/2023                   Payroll Tax                                                                                                                           0.40     $395.00       $158.00
                                                                                                       collective approach on cataloging next steps for resolution
                                                                                                       Call with E Hall, M Musano, K Wrenn and E Steigler on non-employment tax notice review and
Wrenn,Kaitlin Doyle           Manager           1/23/2023                   Payroll Tax                                                                                                                           0.40     $525.00       $210.00
                                                                                                       collective approach on cataloging next steps for resolution
MacLean,Corrie                 Senior           1/23/2023                   Non US Tax                 Compile historical documents, tracking sheet                                                               0.20     $395.00        $79.00
                              National
Simpson,Kirsten                                 1/23/2023                  Tax Advisory                Consider/discuss with A. Dubroff on specific transactions and potential tax implications.                  0.30     $990.00       $297.00
                          Partner/Principal
                                                                                                       Daily call to discuss expenses, notices, PoA and transcripts - J DeVincenzo (EY), K Wrenn (EY), M
Carver,Cody R.                 Senior           1/23/2023                   Payroll Tax                                                                                                                           0.50     $395.00       $197.50
                                                                                                       Hamilton (EY) & C Carver (EY)
                                                                                                       Daily call to discuss expenses, notices, PoA and transcripts - J DeVincenzo (EY), K Wrenn (EY), M
DeVincenzo,Jennie         Managing Director     1/23/2023                   Payroll Tax                                                                                                                           0.50     $775.00       $387.50
                                                                                                       Hamilton (EY) & C Carver (EY)
                                                                                                       Daily call to discuss expenses, notices, PoA and transcripts - J DeVincenzo (EY), K Wrenn (EY), M
Hamilton,Mary Catherine        Senior           1/23/2023                   Payroll Tax                                                                                                                           0.50     $395.00       $197.50
                                                                                                       Hamilton (EY) & C Carver (EY)
                                                                                                       Daily call to discuss expenses, notices, PoA and transcripts - J DeVincenzo (EY), K Wrenn (EY), M
Wrenn,Kaitlin Doyle           Manager           1/23/2023                   Payroll Tax                                                                                                                           0.50     $525.00       $262.50
                                                                                                       Hamilton (EY) & C Carver (EY)
                                                                                                       Discuss status of notices, calls to be made to states re: notices and status of account, IRS notices and
DeVincenzo,Jennie         Managing Director     1/23/2023                   Payroll Tax                IRS transcript requests. Daily update call with J De Vincenzo (EY), K Wrenn (EY), M Hamilton               0.30     $775.00       $232.50
                                                                                                       (EY), C Carver (EY)
                                                                                                       Discuss status of notices, calls to be made to states re: notices and status of account, IRS notices and
Hamilton,Mary Catherine        Senior           1/23/2023                   Payroll Tax                IRS transcript requests. Daily update call with J De Vincenzo (EY), K Wrenn (EY), M Hamilton               0.30     $395.00       $118.50
                                                                                                       (EY), C Carver (EY)
                                                                                                       Discuss status of notices, calls to be made to states re: notices and status of account, IRS notices and
Wrenn,Kaitlin Doyle           Manager           1/23/2023                   Payroll Tax                IRS transcript requests. Daily update call with J De Vincenzo (EY), K Wrenn (EY), M Hamilton               0.30     $525.00       $157.50
                                                                                                       (EY), C Carver (EY)
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                 Name           Rank           Date of Service     Project Category                                                 Description of Services                                            Hours   Hourly Rate   Fees
                                                                                            Discuss status of notices, calls to be made to states re: notices and status of account, IRS notices and
Carver,Cody R.                  Senior           1/23/2023            Payroll Tax           IRS transcript requests. Daily update call with J De Vincenzo (EY), K Wrenn (EY), M Hamilton               0.30     $395.00       $118.50
                                                                                            (EY), C Carver (EY)
                                                                                            Discussion on Japan tax considerations to the extent FTX divests its Japanese investments/entities or
Lovelace,Lauren            Partner/Principal     1/23/2023           Tax Advisory           entities that sit under FTX Japan Holdings with T. Hamano (EY), L. Lovelace (EY), D. Bailey (EY)           0.20     $825.00       $165.00
                                                                                            and L. Jayanthi (EY)
                                                                                            Discussion on Japan tax considerations to the extent FTX divests its Japanese investments/entities or
Hamano,Taisuke              Senior Manager       1/23/2023           Tax Advisory           entities that sit under FTX Japan Holdings with T. Hamano (EY), L. Lovelace (EY), D. Bailey (EY)           0.20     $650.00       $130.00
                                                                                            and L. Jayanthi (EY)
                                                                                            Discussion on Japan tax considerations to the extent FTX divests its Japanese investments/entities or
Bailey,Doug                Partner/Principal     1/23/2023           Tax Advisory           entities that sit under FTX Japan Holdings with T. Hamano (EY), L. Lovelace (EY), D. Bailey (EY)           0.20     $825.00       $165.00
                                                                                            and L. Jayanthi (EY)
                                                                                            Discussion on Japan tax considerations to the extent FTX divests its Japanese investments/entities or
Jayanthi,Lakshmi            Senior Manager       1/23/2023        US International Tax      entities that sit under FTX Japan Holdings with T. Hamano (EY), L. Lovelace (EY), D. Bailey (EY)           0.20     $650.00       $130.00
                                                                                            and L. Jayanthi (EY)
                                                                                            Draft of request and follow-up Correspondence with EY regional leadership concerning contacts for
Hammon,David Lane              Manager           1/23/2023            Non US Tax                                                                                                                       1.70     $525.00       $892.50
                                                                                            bookkeeping and payroll
Wrenn,Kaitlin Doyle             Manager          1/23/2023            Payroll Tax           FTX 1099 compliance workstream update on data viability and application of assumptions                     1.60     $525.00       $840.00
Loo,Lydia                        Senior          1/23/2023       Information Reporting      FTX data analysis                                                                                          0.30     $395.00       $118.50
Santoro,David                   Manager          1/23/2023       Information Reporting       Analyze 1099 FTX Reportable Data                                                                          0.80     $525.00       $420.00
Hamano,Taisuke              Senior Manager       1/23/2023           Tax Advisory           FTX Japan - Internal call with respect to the capital gain taxation                                        0.30     $650.00       $195.00
Hall,Emily Melissa               Senior          1/23/2023       US State and Local Tax     Reviewed filings by entity regarding the gap analysis.                                                     1.60     $395.00       $632.00
                             Client Serving
Scott,James                                      1/23/2023          US Income Tax           Global compliance update                                                                                   0.60     $600.00       $360.00
                             Contractor JS
                                                                                            Internal call to discuss potential PFIC filing requirements for the investments and determining whether
                                                                                            the underlying investments are in fact treated as PFICs for US tax purposes with Cathy Daly (EY),
Lovelace,Lauren            Partner/Principal     1/23/2023           Tax Advisory                                                                                                                      1.00     $825.00       $825.00
                                                                                            Lindsay Raulli (EY), John Owsley (EY), Lauren Lovelace (EY), Doug Bailey (EY) and Lakshmi
                                                                                            Jayanthi (EY)
                                                                                            Internal call to discuss potential PFIC filing requirements for the investments and determining whether
                                                                                            the underlying investments are in fact treated as PFICs for US tax purposes with Cathy Daly (EY),
Owsley,John Christopher     Senior Manager       1/23/2023           Tax Advisory                                                                                                                      1.00     $650.00       $650.00
                                                                                            Lindsay Raulli (EY), John Owsley (EY), Lauren Lovelace (EY), Doug Bailey (EY) and Lakshmi
                                                                                            Jayanthi (EY)
                                                                                            Internal call to discuss potential PFIC filing requirements for the investments and determining whether
                                                                                            the underlying investments are in fact treated as PFICs for US tax purposes with Cathy Daly (EY),
Bailey,Doug                Partner/Principal     1/23/2023           Tax Advisory                                                                                                                      1.00     $825.00       $825.00
                                                                                            Lindsay Raulli (EY), John Owsley (EY), Lauren Lovelace (EY), Doug Bailey (EY) and Lakshmi
                                                                                            Jayanthi (EY)
                                                                                            Internal call to discuss potential PFIC filing requirements for the investments and determining whether
                                                                                            the underlying investments are in fact treated as PFICs for US tax purposes with Cathy Daly (EY),
Daly,Cathy                 Managing Director     1/23/2023        US International Tax                                                                                                                 1.00     $775.00       $775.00
                                                                                            Lindsay Raulli (EY), John Owsley (EY), Lauren Lovelace (EY), Doug Bailey (EY) and Lakshmi
                                                                                            Jayanthi (EY)
                                                                                            Internal call to discuss potential PFIC filing requirements for the investments and determining whether
                                                                                            the underlying investments are in fact treated as PFICs for US tax purposes with Cathy Daly (EY),
Jayanthi,Lakshmi            Senior Manager       1/23/2023        US International Tax                                                                                                                 1.00     $650.00       $650.00
                                                                                            Lindsay Raulli (EY), John Owsley (EY), Lauren Lovelace (EY), Doug Bailey (EY) and Lakshmi
                                                                                            Jayanthi (EY)
                                                                                            Internal call to discuss potential PFIC filing requirements for the investments and determining whether
                                                                                            the underlying investments are in fact treated as PFICs for US tax purposes with Cathy Daly (EY),
Raulli,Lindsay Elizabeth    Senior Manager       1/23/2023        US International Tax                                                                                                                 1.00     $650.00       $650.00
                                                                                            Lindsay Raulli (EY), John Owsley (EY), Lauren Lovelace (EY), Doug Bailey (EY) and Lakshmi
                                                                                            Jayanthi (EY)
                                                                                            Internal call to discuss the FTX notices that EY has received to date and establish the process and
Wrenn,Kaitlin Doyle            Manager           1/23/2023       US State and Local Tax     cadence going forward for organizing notices by tax workstream and providing progress updates. EY          0.30     $525.00       $157.50
                                                                                            meeting attendees: M. Musano, K. Wrenn, E. Steigler, & E. Hall.
                                                                                            Internal call to discuss the FTX notices that EY has received to date and establish the process and
Hall,Emily Melissa              Senior           1/23/2023       US State and Local Tax     cadence going forward for organizing notices by tax workstream and providing progress updates. EY          0.30     $395.00       $118.50
                                                                                            meeting attendees: M. Musano, K. Wrenn, E. Steigler, & E. Hall.
                                                                                            Internal call to discuss the FTX notices that EY has received to date and establish the process and
Musano,Matthew Albert       Senior Manager       1/23/2023       US State and Local Tax     cadence going forward for organizing notices by tax workstream and providing progress updates. EY          0.30     $650.00       $195.00
                                                                                            meeting attendees: M. Musano, K. Wrenn, E. Steigler, & E. Hall.
                                                                                            Internal call to discuss the FTX notices that EY has received to date and establish the process and
Steigler,Ella                   Senior           1/23/2023       US State and Local Tax     cadence going forward for organizing notices by tax workstream and providing progress updates. EY          0.30     $395.00       $118.50
                                                                                            meeting attendees: M. Musano, K. Wrenn, E. Steigler, & E. Hall.
                                                                                            Internal call with O. Hall (EY) and S. Canale (EY) to discuss expense allocation for chapter 11
Canale,Steven P.                Senior           1/23/2023          Transfer Pricing                                                                                                                   0.50     $395.00       $197.50
                                                                                            proceeding
                                                                                            Internal call with O. Hall (EY) and S. Canale (EY) to discuss expense allocation for chapter 11
Hall,Olivia                      Staff           1/23/2023            Non US Tax                                                                                                                       0.50     $225.00       $112.50
                                                                                            proceeding
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                 Name            Rank          Date of Service            Project Category                                                     Description of Services                                           Hours   Hourly Rate   Fees
                                                                                                        Internal discussion on the Binance transaction with A. Dubroff, D. Bailey, L. Lovelace, T. Shea, L.
Lovelace,Lauren            Partner/Principal     1/23/2023               US International Tax                                                                                                                    0.50     $825.00       $412.50
                                                                                                        Jayanthi and J. Scott
                             Client Serving                                                             Internal discussion on the Binance transaction with A. Dubroff, D. Bailey, L. Lovelace, T. Shea, L.
Scott,James                                      1/23/2023               US International Tax                                                                                                                    0.50     $600.00       $300.00
                             Contractor JS                                                              Jayanthi and J. Scott
                                                                                                        Internal discussion on the Binance transaction with A. Dubroff, D. Bailey, L. Lovelace, T. Shea, L.
Bailey,Doug                Partner/Principal     1/23/2023               US International Tax                                                                                                                    0.50     $825.00       $412.50
                                                                                                        Jayanthi and J. Scott
                                                                                                        Internal discussion on the Binance transaction with A. Dubroff, D. Bailey, L. Lovelace, T. Shea, L.
Shea JR,Thomas M           Partner/Principal     1/23/2023               US International Tax                                                                                                                    0.50     $825.00       $412.50
                                                                                                        Jayanthi and J. Scott
                                                                                                        Internal discussion on the Binance transaction with A. Dubroff, D. Bailey, L. Lovelace, T. Shea, L.
Dubroff,Andy               Managing Director     1/23/2023               US International Tax                                                                                                                    0.50     $775.00       $387.50
                                                                                                        Jayanthi and J. Scott
                                                                                                        Internal discussion on the Binance transaction with A. Dubroff, D. Bailey, L. Lovelace, T. Shea, L.
Jayanthi,Lakshmi            Senior Manager       1/23/2023               US International Tax                                                                                                                    0.50     $650.00       $325.00
                                                                                                        Jayanthi and J. Scott
                                                                                                        Internal discussion regarding Alameda loss. Attendees: L Raulli, L Lovelace, D. Bailey, A Karan and
Raulli,Lindsay Elizabeth    Senior Manager       1/23/2023               US International Tax                                                                                                                    0.50     $650.00       $325.00
                                                                                                        LJayanthi
                                                                                                        Internal discussion regarding Alameda loss. Attendees: L Raulli, L Lovelace, D. Bailey, A Karan and
Jayanthi,Lakshmi            Senior Manager       1/23/2023               US International Tax                                                                                                                    0.50     $650.00       $325.00
                                                                                                        LJayanthi
                                                                                                        Internal discussion regarding Alameda loss. Attendees: L Raulli, L Lovelace, D. Bailey, A Karan and
Lovelace,Lauren            Partner/Principal     1/23/2023               US International Tax                                                                                                                    0.50     $825.00       $412.50
                                                                                                        LJayanthi
                                                                                                        Internal discussion regarding Alameda loss. Attendees: L Raulli, L Lovelace, D. Bailey, A Karan and
Karan,Anna Suncheuri             Staff           1/23/2023               US International Tax                                                                                                                    0.50     $225.00       $112.50
                                                                                                        LJayanthi
                                                                                                        Internal meeting with E. Hall and M. Musano to discuss the Gap Analysis and additional updates to
Hall,Emily Melissa              Senior           1/23/2023             US State and Local Tax                                                                                                                    0.50     $395.00       $197.50
                                                                                                        include going forward (i.e., condensing all filings into one chart, net operating loss limitations).

                                                                                                        Internal meeting with E. Hall and M. Musano to discuss the Gap Analysis and additional updates to
Musano,Matthew Albert       Senior Manager       1/23/2023             US State and Local Tax                                                                                                                    0.50     $650.00       $325.00
                                                                                                        include going forward (i.e., condensing all filings into one chart, net operating loss limitations).
Song,Young Ju               Senior Manager       1/23/2023                 Transfer Pricing             Korea tax review of direct share transfer                                                                4.00     $650.00      $2,600.00
                                                                                                        Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
MacLean,Corrie                  Senior           1/23/2023                   Non US Tax                 standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.           1.00     $395.00       $395.00
                                                                                                        Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                        Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Staromiejska,Kinga             Manager           1/23/2023                   Non US Tax                 standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.           1.00     $525.00       $525.00
                                                                                                        Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                        Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Hammon,David Lane              Manager           1/23/2023                   Non US Tax                 standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.           1.00     $525.00       $525.00
                                                                                                        Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                        Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Knoeller,Thomas J.         Partner/Principal     1/23/2023       Project Management Office Transition   standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.           1.00     $825.00       $825.00
                                                                                                        Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                        Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Hammon,David Lane              Manager           1/23/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.            1.00     $525.00       $525.00
                                                                                                        Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                                        Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Knoeller,Thomas J.         Partner/Principal     1/23/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.            1.00     $825.00       $825.00
                                                                                                        Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                                        Meeting to review transition-related items including next steps, issues requiring escalation, setup of
MacLean,Corrie                  Senior           1/23/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.            1.00     $395.00       $395.00
                                                                                                        Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                                        Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Staromiejska,Kinga             Manager           1/23/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.            1.00     $525.00       $525.00
                                                                                                        Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).
Nichol,T.J.                 Senior Manager       1/23/2023              Information Reporting           Meeting with Audrey Richardson, David Santoro to discuss findings in the data                            1.10     $650.00       $715.00
                                                                                                        Meeting with D. Bailey (EY), L. Raulli (EY), L. Lovelace (EY), L Jayanthi (EY) and A. Karan (EY)
Bailey,Doug                Partner/Principal     1/23/2023               US International Tax                                                                                                                    0.50     $825.00       $412.50
                                                                                                        concerning crypto lending workstream
                                                                                                        Meeting with D. Bailey (EY), L. Raulli (EY), L. Lovelace (EY), L Jayanthi (EY) and A. Karan (EY)
Raulli,Lindsay Elizabeth    Senior Manager       1/23/2023               US International Tax                                                                                                                    0.50     $650.00       $325.00
                                                                                                        concerning crypto lending workstream
                                                                                                        Meeting with D. Bailey (EY), L. Raulli (EY), L. Lovelace (EY), L Jayanthi (EY) and A. Karan (EY)
Lovelace,Lauren            Partner/Principal     1/23/2023               US International Tax                                                                                                                    0.50     $825.00       $412.50
                                                                                                        concerning crypto lending workstream
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                  Name          Rank          Date of Service            Project Category                                                     Description of Services                                            Hours   Hourly Rate   Fees
                                                                                                       Meeting with D. Bailey (EY), L. Raulli (EY), L. Lovelace (EY), L Jayanthi (EY) and A. Karan (EY)
Jayanthi,Lakshmi           Senior Manager       1/23/2023               US International Tax                                                                                                                     0.50     $650.00       $325.00
                                                                                                       concerning crypto lending workstream
                                                                                                       Meeting with D. Bailey (EY), L. Raulli (EY), L. Lovelace (EY), L Jayanthi (EY) and A. Karan (EY)
Karan,Anna Suncheuri            Staff           1/23/2023               US International Tax                                                                                                                     0.50     $225.00       $112.50
                                                                                                       concerning crypto lending workstream
                            Client Serving
Scott,James                                     1/23/2023                 US Income Tax                Noticing document review                                                                                  0.60     $600.00       $360.00
                            Contractor JS
                                                                                                       Perform analysis on QuickBook data extracts to remediate previously identified gaps; strategized on
Nichol,T.J.                Senior Manager       1/23/2023              Information Reporting                                                                                                                     2.70     $650.00      $1,755.00
                                                                                                       how to obtain missing required data attributes
                            Client Serving
Scott,James                                     1/23/2023                 US Income Tax                PMO tax slide update                                                                                      1.20     $600.00       $720.00
                            Contractor JS
Ash,Polly Westerberg       Senior Manager       1/23/2023       Project Management Office Transition   Prepare for FTX executive update with K. Shultea and M. Cilia                                             0.40     $650.00       $260.00
Dubroff,Andy              Managing Director     1/23/2023               US International Tax           Research authorities for upcoming call                                                                    1.20     $775.00       $930.00
                                                                                                       Review and analysis of scope of services to be provided in connection with Statement of Work
Staromiejska,Kinga            Manager           1/23/2023                   Non US Tax                                                                                                                           2.30     $525.00      $1,207.50
                                                                                                       amendment to be filed with the bankruptcy court - bookkeeping and statutory accounting services.
                                                                                                       Review Clifton Bay returns and documentation submitted by Robert Lee & Associates to determine
Hall,Emily Melissa             Senior           1/23/2023             US State and Local Tax                                                                                                                     1.20     $395.00       $474.00
                                                                                                       what, if anything, should be included in the gap analysis from Clifton Bay.
                                                                                                       Review creditor noticing list for tax jurisdiction provided by EY J. Scott for completeness and reply
Flagg,Nancy A.            Managing Director     1/23/2023             US State and Local Tax           with comments on immediately identified required adds. Pull copy of case Commencement Notice              1.20     $775.00       $930.00
                                                                                                       from docket and circulate to EY team for go-forward use in tax jurisdiction responses.
Marlow,Joe                     Senior           1/23/2023                Value Added Tax               Review if any new Indirect Tax related documents were available in the Virtual Data Room.                 0.10     $395.00        $39.50
                                                                                                       Review of tax-related amounts and disclosures for Monthly Estate Report (1-20 draft) and written
Shea JR,Thomas M          Partner/Principal     1/23/2023                 US Income Tax                                                                                                                          1.30     $825.00      $1,072.50
                                                                                                       feedback to Mary Cilia
                            Client Serving
Scott,James                                     1/23/2023                 US Income Tax                Review of white papers on allocation of central costs                                                     0.90     $600.00       $540.00
                            Contractor JS
                                                                                                       Draft correspondence related to urgent assistance needed by FTX (Gibraltar, Switzerland, Japan,
Hammon,David Lane             Manager           1/23/2023                   Non US Tax                                                                                                                           1.80     $525.00       $945.00
                                                                                                       Singapore and Vietnam)
Berman,Jake                Senior Manager       1/23/2023                 US Income Tax                Tax diligence review of requests received from RLA                                                        1.40     $650.00       $910.00
Hamilton,Mary Catherine        Senior           1/23/2023                  Payroll Tax                 Update Meeting with J. DeVincenzo (EY), M. Hamilton (EY), C. Carver (EY)                                  0.50     $395.00       $197.50
Carver,Cody R.                 Senior           1/23/2023                  Payroll Tax                 Update Meeting with J. DeVincenzo (EY), M. Hamilton (EY), C. Carver (EY)                                  0.50     $395.00       $197.50
DeVincenzo,Jennie         Managing Director     1/23/2023                  Payroll Tax                 Update Meeting with J. DeVincenzo (EY), M. Hamilton (EY), C. Carver (EY)                                  0.50     $775.00       $387.50
Shea JR,Thomas M          Partner/Principal     1/23/2023                 US Income Tax                Draft correspondence with M Cilia regarding assistance in Gibraltar                                       0.60     $825.00       $495.00
                                                                                                       Prepare correspondence with relevant EY teams regarding additional accounting and payroll
Shea JR,Thomas M          Partner/Principal     1/23/2023                 US Income Tax                                                                                                                          1.20     $825.00       $990.00
                                                                                                       workstreams, including scope and approach
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                              National
McComber,Donna                                  1/24/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $990.00       $396.00
                          Partner/Principal
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Jimenez,Joseph Robert      Senior Manager       1/24/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                            Client Serving
Scott,James                                     1/24/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $600.00       $240.00
                            Contractor JS
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Farrar,Anne               Partner/Principal     1/24/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                              National
Lowery,Kristie L                                1/24/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $990.00       $396.00
                          Partner/Principal
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Lovelace,Lauren           Partner/Principal     1/24/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Bailey,Doug               Partner/Principal     1/24/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Bost,Anne                 Managing Director     1/24/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $775.00       $310.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Cotopoulis,Alex           Managing Director     1/24/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $775.00       $310.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Gengler,Charlie           Partner/Principal     1/24/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                       implementation of global compliance and reporting services
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                 Name          Rank           Date of Service            Project Category                                                     Description of Services                                            Hours   Hourly Rate   Fees
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Jayanthi,Lakshmi           Senior Manager       1/24/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ferris,Tara               Partner/Principal     1/24/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Madhok,Kishan              Senior Manager       1/24/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Nichol,T.J.                Senior Manager       1/24/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Soderman,Kathy            Managing Director     1/24/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $775.00       $310.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Yencho,Jeremiah           Managing Director     1/24/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $775.00       $310.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
MacLean,Corrie                 Senior           1/24/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $395.00       $158.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ancona,Christopher             Senior           1/24/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $395.00       $158.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ash,Polly Westerberg       Senior Manager       1/24/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Berman,Jake                Senior Manager       1/24/2023                 US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Hall,Emily Melissa             Senior           1/24/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $395.00       $158.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Hammon,David Lane             Manager           1/24/2023                   Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $525.00       $210.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                           Client Serving
Bieganski,Walter                                1/24/2023                   Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $200.00        $80.00
                           Contractor WB
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Katsnelson,David              Manager           1/24/2023                 Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $525.00       $210.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Knoeller,Thomas J.        Partner/Principal     1/24/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Musano,Matthew Albert      Senior Manager       1/24/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $650.00       $260.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Shea JR,Thomas M          Partner/Principal     1/24/2023                 US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $825.00       $330.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Staromiejska,Kinga            Manager           1/24/2023                   Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $525.00       $210.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Wrenn,Kaitlin Doyle           Manager           1/24/2023                   Payroll Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.40     $525.00       $210.00
                                                                                                       implementation of global compliance and reporting services
                                                                                                       Call to discuss Notice Tracker next steps - K Wrenn (EY), E Steigler (EY), M Hamilton (EY) and A
Steigler,Ella                  Senior           1/24/2023                   Payroll Tax                                                                                                                          0.60     $395.00       $237.00
                                                                                                       Alfaro (EY)
                                                                                                       Call to discuss Notice Tracker next steps - K Wrenn (EY), E Steigler (EY), M Hamilton (EY) and A
Alfaro,Adriana                  Staff           1/24/2023                   Payroll Tax                                                                                                                          0.60     $225.00       $135.00
                                                                                                       Alfaro (EY)
                                                                                                       Call to discuss Notice Tracker next steps - K Wrenn (EY), E Steigler (EY), M Hamilton (EY) and A
Hamilton,Mary Catherine        Senior           1/24/2023                   Payroll Tax                                                                                                                          0.60     $395.00       $237.00
                                                                                                       Alfaro (EY)
                                                                                                       Call to discuss Notice Tracker next steps - K Wrenn (EY), E Steigler (EY), M Hamilton (EY) and A
Wrenn,Kaitlin Doyle           Manager           1/24/2023                   Payroll Tax                                                                                                                          0.60     $525.00       $315.00
                                                                                                       Alfaro (EY)
Alfaro,Adriana                  Staff           1/24/2023                   Payroll Tax                Catalog notices for Business License                                                                      2.70     $225.00       $607.50
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                 Name          Rank           Date of Service            Project Category                                                     Description of Services                                             Hours   Hourly Rate   Fees
Alfaro,Adriana                  Staff           1/24/2023                   Payroll Tax                Catalog notices for Corporate                                                                              1.70     $225.00       $382.50
                                                                                                       Summarize FTX EY Leads touchpoint meeting discussion, compile action items, follow-up items, and
Ancona,Christopher             Senior           1/24/2023       Project Management Office Transition                                                                                                              1.20     $395.00       $474.00
                                                                                                       applicable parties. Circulate meeting notes to EY Leads.
                                                                                                       Work on internal FTX workstream leads deck to compile information on workstream leads for each
Ancona,Christopher             Senior           1/24/2023       Project Management Office Transition                                                                                                              1.30     $395.00       $513.50
                                                                                                       scope area
                                                                                                       Analyze general ledger and blockchain data to identify potentially taxable transactions involving
Bailey,Doug               Partner/Principal     1/24/2023                  Tax Advisory                                                                                                                           2.40     $825.00      $1,980.00
                                                                                                       cryptocurrencies
                                                                                                       Evaluate list of information to be requested from RLA re: Clifton Bay Investments LLC minority
Bailey,Doug               Partner/Principal     1/24/2023                  Tax Advisory                investments and potential PFIC status and draft email to team discussing status and next steps. (PFIC      1.40     $825.00      $1,155.00
                                                                                                       means passive foreign investment company and LLC means limited liability company)

                                                                                                       Internal call presented by N. Flagg and K. Gatt to walk through the basics of bankruptcy proceedings
                                                                                                       for tax purposes. Topics Discuss include pre-petition v. post-petition treatment of tax liabilities, tax
                              National                                                                 creditor notice process, and particular claims on file with the Bankruptcy Court for this case. EY
Lowery,Kristie L                                1/24/2023             US State and Local Tax                                                                                                                      1.00     $990.00       $990.00
                          Partner/Principal                                                            meeting attendees: M. Musano, A. Scheele, K. Gatt, V. Huang, E. Zheng, Y. Sun, K. Lowery, N.
                                                                                                       Flagg, A. Richardson, C. Carver, D. Santoro, D. Johnson, G. Meagher, G. Vise, J. Cortes, J. Scott, J.
                                                                                                       Jimenez, K. Davis, M. Coffey, M. Hamilton, M. O'Brien, S. Toi, T.J. Nichol, W. Stillman, & E. Hall.

                                                                                                       Internal call presented by N. Flagg and K. Gatt to walk through the basics of bankruptcy proceedings
                                                                                                       for tax purposes. Topics Discuss include pre-petition v. post-petition treatment of tax liabilities, tax
                                                                                                       creditor notice process, and particular claims on file with the Bankruptcy Court for this case. EY
Richardson,Audrey Sarah       Manager           1/24/2023             US State and Local Tax                                                                                                                      1.00     $525.00       $525.00
                                                                                                       meeting attendees: M. Musano, A. Scheele, K. Gatt, V. Huang, E. Zheng, Y. Sun, K. Lowery, N.
                                                                                                       Flagg, A. Richardson, C. Carver, D. Santoro, D. Johnson, G. Meagher, G. Vise, J. Cortes, J. Scott, J.
                                                                                                       Jimenez, K. Davis, M. Coffey, M. Hamilton, M. O'Brien, S. Toi, T.J. Nichol, W. Stillman, & E. Hall.

                                                                                                       Internal call presented by N. Flagg and K. Gatt to walk through the basics of bankruptcy proceedings
                                                                                                       for tax purposes. Topics Discuss include pre-petition v. post-petition treatment of tax liabilities, tax
                                                                                                       creditor notice process, and particular claims on file with the Bankruptcy Court for this case. EY
Santoro,David                 Manager           1/24/2023             US State and Local Tax                                                                                                                      1.00     $525.00       $525.00
                                                                                                       meeting attendees: M. Musano, A. Scheele, K. Gatt, V. Huang, E. Zheng, Y. Sun, K. Lowery, N.
                                                                                                       Flagg, A. Richardson, C. Carver, D. Santoro, D. Johnson, G. Meagher, G. Vise, J. Cortes, J. Scott, J.
                                                                                                       Jimenez, K. Davis, M. Coffey, M. Hamilton, M. O'Brien, S. Toi, T.J. Nichol, W. Stillman, & E. Hall.

                                                                                                       Internal call presented by N. Flagg and K. Gatt to walk through the basics of bankruptcy proceedings
                                                                                                       for tax purposes. Topics Discuss include pre-petition v. post-petition treatment of tax liabilities, tax
                                                                                                       creditor notice process, and particular claims on file with the Bankruptcy Court for this case. EY
Nichol,T.J.               Senior Manager        1/24/2023             US State and Local Tax                                                                                                                      1.00     $650.00       $650.00
                                                                                                       meeting attendees: M. Musano, A. Scheele, K. Gatt, V. Huang, E. Zheng, Y. Sun, K. Lowery, N.
                                                                                                       Flagg, A. Richardson, C. Carver, D. Santoro, D. Johnson, G. Meagher, G. Vise, J. Cortes, J. Scott, J.
                                                                                                       Jimenez, K. Davis, M. Coffey, M. Hamilton, M. O'Brien, S. Toi, T.J. Nichol, W. Stillman, & E. Hall.

                                                                                                       Internal call presented by N. Flagg and K. Gatt to walk through the basics of bankruptcy proceedings
                                                                                                       for tax purposes. Topics Discuss include pre-petition v. post-petition treatment of tax liabilities, tax
                                                                                                       creditor notice process, and particular claims on file with the Bankruptcy Court for this case. EY
Carver,Cody R.                 Senior           1/24/2023             US State and Local Tax                                                                                                                      1.00     $395.00       $395.00
                                                                                                       meeting attendees: M. Musano, A. Scheele, K. Gatt, V. Huang, E. Zheng, Y. Sun, K. Lowery, N.
                                                                                                       Flagg, A. Richardson, C. Carver, D. Santoro, D. Johnson, G. Meagher, G. Vise, J. Cortes, J. Scott, J.
                                                                                                       Jimenez, K. Davis, M. Coffey, M. Hamilton, M. O'Brien, S. Toi, T.J. Nichol, W. Stillman, & E. Hall.

                                                                                                       Internal call presented by N. Flagg and K. Gatt to walk through the basics of bankruptcy proceedings
                                                                                                       for tax purposes. Topics Discuss include pre-petition v. post-petition treatment of tax liabilities, tax
                                                                                                       creditor notice process, and particular claims on file with the Bankruptcy Court for this case. EY
Coffey,Mandy V.           Senior Manager        1/24/2023             US State and Local Tax                                                                                                                      1.00     $650.00       $650.00
                                                                                                       meeting attendees: M. Musano, A. Scheele, K. Gatt, V. Huang, E. Zheng, Y. Sun, K. Lowery, N.
                                                                                                       Flagg, A. Richardson, C. Carver, D. Santoro, D. Johnson, G. Meagher, G. Vise, J. Cortes, J. Scott, J.
                                                                                                       Jimenez, K. Davis, M. Coffey, M. Hamilton, M. O'Brien, S. Toi, T.J. Nichol, W. Stillman, & E. Hall.

                                                                                                       Internal call presented by N. Flagg and K. Gatt to walk through the basics of bankruptcy proceedings
                                                                                                       for tax purposes. Topics Discuss include pre-petition v. post-petition treatment of tax liabilities, tax
                                                                                                       creditor notice process, and particular claims on file with the Bankruptcy Court for this case. EY
Cortes,jackie                   Staff           1/24/2023             US State and Local Tax                                                                                                                      1.00     $225.00       $225.00
                                                                                                       meeting attendees: M. Musano, A. Scheele, K. Gatt, V. Huang, E. Zheng, Y. Sun, K. Lowery, N.
                                                                                                       Flagg, A. Richardson, C. Carver, D. Santoro, D. Johnson, G. Meagher, G. Vise, J. Cortes, J. Scott, J.
                                                                                                       Jimenez, K. Davis, M. Coffey, M. Hamilton, M. O'Brien, S. Toi, T.J. Nichol, W. Stillman, & E. Hall.
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                 Name          Rank           Date of Service     Project Category                                                Description of Services                                             Hours   Hourly Rate   Fees

                                                                                           Internal call presented by N. Flagg and K. Gatt to walk through the basics of bankruptcy proceedings
                                                                                           for tax purposes. Topics Discuss include pre-petition v. post-petition treatment of tax liabilities, tax
                                                                                           creditor notice process, and particular claims on file with the Bankruptcy Court for this case. EY
Davis,Kathleen F.             Manager           1/24/2023       US State and Local Tax                                                                                                                1.00     $525.00       $525.00
                                                                                           meeting attendees: M. Musano, A. Scheele, K. Gatt, V. Huang, E. Zheng, Y. Sun, K. Lowery, N.
                                                                                           Flagg, A. Richardson, C. Carver, D. Santoro, D. Johnson, G. Meagher, G. Vise, J. Cortes, J. Scott, J.
                                                                                           Jimenez, K. Davis, M. Coffey, M. Hamilton, M. O'Brien, S. Toi, T.J. Nichol, W. Stillman, & E. Hall.

                                                                                           Internal call presented by N. Flagg and K. Gatt to walk through the basics of bankruptcy proceedings
                                                                                           for tax purposes. Topics Discuss include pre-petition v. post-petition treatment of tax liabilities, tax
                                                                                           creditor notice process, and particular claims on file with the Bankruptcy Court for this case. EY
Flagg,Nancy A.            Managing Director     1/24/2023       US State and Local Tax                                                                                                                1.00     $775.00       $775.00
                                                                                           meeting attendees: M. Musano, A. Scheele, K. Gatt, V. Huang, E. Zheng, Y. Sun, K. Lowery, N.
                                                                                           Flagg, A. Richardson, C. Carver, D. Santoro, D. Johnson, G. Meagher, G. Vise, J. Cortes, J. Scott, J.
                                                                                           Jimenez, K. Davis, M. Coffey, M. Hamilton, M. O'Brien, S. Toi, T.J. Nichol, W. Stillman, & E. Hall.

                                                                                           Internal call presented by N. Flagg and K. Gatt to walk through the basics of bankruptcy proceedings
                                                                                           for tax purposes. Topics Discuss include pre-petition v. post-petition treatment of tax liabilities, tax
                                                                                           creditor notice process, and particular claims on file with the Bankruptcy Court for this case. EY
Gatt,Katie                 Senior Manager       1/24/2023       US State and Local Tax                                                                                                                1.00     $650.00       $650.00
                                                                                           meeting attendees: M. Musano, A. Scheele, K. Gatt, V. Huang, E. Zheng, Y. Sun, K. Lowery, N.
                                                                                           Flagg, A. Richardson, C. Carver, D. Santoro, D. Johnson, G. Meagher, G. Vise, J. Cortes, J. Scott, J.
                                                                                           Jimenez, K. Davis, M. Coffey, M. Hamilton, M. O'Brien, S. Toi, T.J. Nichol, W. Stillman, & E. Hall.

                                                                                           Internal call presented by N. Flagg and K. Gatt to walk through the basics of bankruptcy proceedings
                                                                                           for tax purposes. Topics Discuss include pre-petition v. post-petition treatment of tax liabilities, tax
                                                                                           creditor notice process, and particular claims on file with the Bankruptcy Court for this case. EY
Hall,Emily Melissa             Senior           1/24/2023       US State and Local Tax                                                                                                                1.00     $395.00       $395.00
                                                                                           meeting attendees: M. Musano, A. Scheele, K. Gatt, V. Huang, E. Zheng, Y. Sun, K. Lowery, N.
                                                                                           Flagg, A. Richardson, C. Carver, D. Santoro, D. Johnson, G. Meagher, G. Vise, J. Cortes, J. Scott, J.
                                                                                           Jimenez, K. Davis, M. Coffey, M. Hamilton, M. O'Brien, S. Toi, T.J. Nichol, W. Stillman, & E. Hall.

                                                                                           Internal call presented by N. Flagg and K. Gatt to walk through the basics of bankruptcy proceedings
                                                                                           for tax purposes. Topics Discuss include pre-petition v. post-petition treatment of tax liabilities, tax
                                                                                           creditor notice process, and particular claims on file with the Bankruptcy Court for this case. EY
Hamilton,Mary Catherine        Senior           1/24/2023       US State and Local Tax                                                                                                                1.00     $395.00       $395.00
                                                                                           meeting attendees: M. Musano, A. Scheele, K. Gatt, V. Huang, E. Zheng, Y. Sun, K. Lowery, N.
                                                                                           Flagg, A. Richardson, C. Carver, D. Santoro, D. Johnson, G. Meagher, G. Vise, J. Cortes, J. Scott, J.
                                                                                           Jimenez, K. Davis, M. Coffey, M. Hamilton, M. O'Brien, S. Toi, T.J. Nichol, W. Stillman, & E. Hall.

                                                                                           Internal call presented by N. Flagg and K. Gatt to walk through the basics of bankruptcy proceedings
                                                                                           for tax purposes. Topics Discuss include pre-petition v. post-petition treatment of tax liabilities, tax
                                                                                           creditor notice process, and particular claims on file with the Bankruptcy Court for this case. EY
Huang,Vanesa                    Staff           1/24/2023       US State and Local Tax                                                                                                                1.00     $225.00       $225.00
                                                                                           meeting attendees: M. Musano, A. Scheele, K. Gatt, V. Huang, E. Zheng, Y. Sun, K. Lowery, N.
                                                                                           Flagg, A. Richardson, C. Carver, D. Santoro, D. Johnson, G. Meagher, G. Vise, J. Cortes, J. Scott, J.
                                                                                           Jimenez, K. Davis, M. Coffey, M. Hamilton, M. O'Brien, S. Toi, T.J. Nichol, W. Stillman, & E. Hall.

                                                                                           Internal call presented by N. Flagg and K. Gatt to walk through the basics of bankruptcy proceedings
                                                                                           for tax purposes. Topics Discuss include pre-petition v. post-petition treatment of tax liabilities, tax
                                                                                           creditor notice process, and particular claims on file with the Bankruptcy Court for this case. EY
Jimenez,Joseph Robert      Senior Manager       1/24/2023       US State and Local Tax                                                                                                                1.00     $650.00       $650.00
                                                                                           meeting attendees: M. Musano, A. Scheele, K. Gatt, V. Huang, E. Zheng, Y. Sun, K. Lowery, N.
                                                                                           Flagg, A. Richardson, C. Carver, D. Santoro, D. Johnson, G. Meagher, G. Vise, J. Cortes, J. Scott, J.
                                                                                           Jimenez, K. Davis, M. Coffey, M. Hamilton, M. O'Brien, S. Toi, T.J. Nichol, W. Stillman, & E. Hall.

                                                                                           Internal call presented by N. Flagg and K. Gatt to walk through the basics of bankruptcy proceedings
                                                                                           for tax purposes. Topics Discuss include pre-petition v. post-petition treatment of tax liabilities, tax
                                                                                           creditor notice process, and particular claims on file with the Bankruptcy Court for this case. EY
Johnson,Derrick Joseph          Staff           1/24/2023       US State and Local Tax                                                                                                                1.00     $225.00       $225.00
                                                                                           meeting attendees: M. Musano, A. Scheele, K. Gatt, V. Huang, E. Zheng, Y. Sun, K. Lowery, N.
                                                                                           Flagg, A. Richardson, C. Carver, D. Santoro, D. Johnson, G. Meagher, G. Vise, J. Cortes, J. Scott, J.
                                                                                           Jimenez, K. Davis, M. Coffey, M. Hamilton, M. O'Brien, S. Toi, T.J. Nichol, W. Stillman, & E. Hall.

                                                                                           Internal call presented by N. Flagg and K. Gatt to walk through the basics of bankruptcy proceedings
                                                                                           for tax purposes. Topics Discuss include pre-petition v. post-petition treatment of tax liabilities, tax
                                                                                           creditor notice process, and particular claims on file with the Bankruptcy Court for this case. EY
Meagher,Gentine               Manager           1/24/2023       US State and Local Tax                                                                                                                1.00     $525.00       $525.00
                                                                                           meeting attendees: M. Musano, A. Scheele, K. Gatt, V. Huang, E. Zheng, Y. Sun, K. Lowery, N.
                                                                                           Flagg, A. Richardson, C. Carver, D. Santoro, D. Johnson, G. Meagher, G. Vise, J. Cortes, J. Scott, J.
                                                                                           Jimenez, K. Davis, M. Coffey, M. Hamilton, M. O'Brien, S. Toi, T.J. Nichol, W. Stillman, & E. Hall.
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                 Name         Rank          Date of Service            Project Category                                                     Description of Services                                             Hours   Hourly Rate   Fees

                                                                                                     Internal call presented by N. Flagg and K. Gatt to walk through the basics of bankruptcy proceedings
                                                                                                     for tax purposes. Topics Discuss include pre-petition v. post-petition treatment of tax liabilities, tax
                                                                                                     creditor notice process, and particular claims on file with the Bankruptcy Court for this case. EY
Musano,Matthew Albert    Senior Manager       1/24/2023             US State and Local Tax                                                                                                                      1.00     $650.00       $650.00
                                                                                                     meeting attendees: M. Musano, A. Scheele, K. Gatt, V. Huang, E. Zheng, Y. Sun, K. Lowery, N.
                                                                                                     Flagg, A. Richardson, C. Carver, D. Santoro, D. Johnson, G. Meagher, G. Vise, J. Cortes, J. Scott, J.
                                                                                                     Jimenez, K. Davis, M. Coffey, M. Hamilton, M. O'Brien, S. Toi, T.J. Nichol, W. Stillman, & E. Hall.

                                                                                                     Internal call presented by N. Flagg and K. Gatt to walk through the basics of bankruptcy proceedings
                                                                                                     for tax purposes. Topics Discuss include pre-petition v. post-petition treatment of tax liabilities, tax
                                                                                                     creditor notice process, and particular claims on file with the Bankruptcy Court for this case. EY
O'Brien,Mike            Partner/Principal     1/24/2023             US State and Local Tax                                                                                                                      1.00     $825.00       $825.00
                                                                                                     meeting attendees: M. Musano, A. Scheele, K. Gatt, V. Huang, E. Zheng, Y. Sun, K. Lowery, N.
                                                                                                     Flagg, A. Richardson, C. Carver, D. Santoro, D. Johnson, G. Meagher, G. Vise, J. Cortes, J. Scott, J.
                                                                                                     Jimenez, K. Davis, M. Coffey, M. Hamilton, M. O'Brien, S. Toi, T.J. Nichol, W. Stillman, & E. Hall.

                                                                                                     Internal call presented by N. Flagg and K. Gatt to walk through the basics of bankruptcy proceedings
                                                                                                     for tax purposes. Topics Discuss include pre-petition v. post-petition treatment of tax liabilities, tax
                                                                                                     creditor notice process, and particular claims on file with the Bankruptcy Court for this case. EY
Scheele,Ashley          Managing Director     1/24/2023             US State and Local Tax                                                                                                                      1.00     $775.00       $775.00
                                                                                                     meeting attendees: M. Musano, A. Scheele, K. Gatt, V. Huang, E. Zheng, Y. Sun, K. Lowery, N.
                                                                                                     Flagg, A. Richardson, C. Carver, D. Santoro, D. Johnson, G. Meagher, G. Vise, J. Cortes, J. Scott, J.
                                                                                                     Jimenez, K. Davis, M. Coffey, M. Hamilton, M. O'Brien, S. Toi, T.J. Nichol, W. Stillman, & E. Hall.

                                                                                                     Internal call presented by N. Flagg and K. Gatt to walk through the basics of bankruptcy proceedings
                                                                                                     for tax purposes. Topics Discuss include pre-petition v. post-petition treatment of tax liabilities, tax
                          Client Serving                                                             creditor notice process, and particular claims on file with the Bankruptcy Court for this case. EY
Scott,James                                   1/24/2023             US State and Local Tax                                                                                                                      1.00     $600.00       $600.00
                          Contractor JS                                                              meeting attendees: M. Musano, A. Scheele, K. Gatt, V. Huang, E. Zheng, Y. Sun, K. Lowery, N.
                                                                                                     Flagg, A. Richardson, C. Carver, D. Santoro, D. Johnson, G. Meagher, G. Vise, J. Cortes, J. Scott, J.
                                                                                                     Jimenez, K. Davis, M. Coffey, M. Hamilton, M. O'Brien, S. Toi, T.J. Nichol, W. Stillman, & E. Hall.

                                                                                                     Internal call presented by N. Flagg and K. Gatt to walk through the basics of bankruptcy proceedings
                                                                                                     for tax purposes. Topics Discuss include pre-petition v. post-petition treatment of tax liabilities, tax
                                                                                                     creditor notice process, and particular claims on file with the Bankruptcy Court for this case. EY
Stillman,Will                 Staff           1/24/2023             US State and Local Tax                                                                                                                      1.00     $225.00       $225.00
                                                                                                     meeting attendees: M. Musano, A. Scheele, K. Gatt, V. Huang, E. Zheng, Y. Sun, K. Lowery, N.
                                                                                                     Flagg, A. Richardson, C. Carver, D. Santoro, D. Johnson, G. Meagher, G. Vise, J. Cortes, J. Scott, J.
                                                                                                     Jimenez, K. Davis, M. Coffey, M. Hamilton, M. O'Brien, S. Toi, T.J. Nichol, W. Stillman, & E. Hall.

                                                                                                     Internal call presented by N. Flagg and K. Gatt to walk through the basics of bankruptcy proceedings
                                                                                                     for tax purposes. Topics Discuss include pre-petition v. post-petition treatment of tax liabilities, tax
                                                                                                     creditor notice process, and particular claims on file with the Bankruptcy Court for this case. EY
Sun,Yuchen                   Senior           1/24/2023             US State and Local Tax                                                                                                                      1.00     $395.00       $395.00
                                                                                                     meeting attendees: M. Musano, A. Scheele, K. Gatt, V. Huang, E. Zheng, Y. Sun, K. Lowery, N.
                                                                                                     Flagg, A. Richardson, C. Carver, D. Santoro, D. Johnson, G. Meagher, G. Vise, J. Cortes, J. Scott, J.
                                                                                                     Jimenez, K. Davis, M. Coffey, M. Hamilton, M. O'Brien, S. Toi, T.J. Nichol, W. Stillman, & E. Hall.

                                                                                                     Internal call presented by N. Flagg and K. Gatt to walk through the basics of bankruptcy proceedings
                                                                                                     for tax purposes. Topics Discuss include pre-petition v. post-petition treatment of tax liabilities, tax
                                                                                                     creditor notice process, and particular claims on file with the Bankruptcy Court for this case. EY
Toi,Sarah Massey        Partner/Principal     1/24/2023             US State and Local Tax                                                                                                                      1.00     $825.00       $825.00
                                                                                                     meeting attendees: M. Musano, A. Scheele, K. Gatt, V. Huang, E. Zheng, Y. Sun, K. Lowery, N.
                                                                                                     Flagg, A. Richardson, C. Carver, D. Santoro, D. Johnson, G. Meagher, G. Vise, J. Cortes, J. Scott, J.
                                                                                                     Jimenez, K. Davis, M. Coffey, M. Hamilton, M. O'Brien, S. Toi, T.J. Nichol, W. Stillman, & E. Hall.

                                                                                                     Internal call presented by N. Flagg and K. Gatt to walk through the basics of bankruptcy proceedings
                                                                                                     for tax purposes. Topics Discuss include pre-petition v. post-petition treatment of tax liabilities, tax
                                                                                                     creditor notice process, and particular claims on file with the Bankruptcy Court for this case. EY
Vise,Grace               Senior Manager       1/24/2023             US State and Local Tax                                                                                                                      1.00     $650.00       $650.00
                                                                                                     meeting attendees: M. Musano, A. Scheele, K. Gatt, V. Huang, E. Zheng, Y. Sun, K. Lowery, N.
                                                                                                     Flagg, A. Richardson, C. Carver, D. Santoro, D. Johnson, G. Meagher, G. Vise, J. Cortes, J. Scott, J.
                                                                                                     Jimenez, K. Davis, M. Coffey, M. Hamilton, M. O'Brien, S. Toi, T.J. Nichol, W. Stillman, & E. Hall.

                                                                                                     Internal call presented by N. Flagg and K. Gatt to walk through the basics of bankruptcy proceedings
                                                                                                     for tax purposes. Topics Discuss include pre-petition v. post-petition treatment of tax liabilities, tax
                                                                                                     creditor notice process, and particular claims on file with the Bankruptcy Court for this case. EY
Zheng,Eva                   Manager           1/24/2023             US State and Local Tax                                                                                                                      1.00     $525.00       $525.00
                                                                                                     meeting attendees: M. Musano, A. Scheele, K. Gatt, V. Huang, E. Zheng, Y. Sun, K. Lowery, N.
                                                                                                     Flagg, A. Richardson, C. Carver, D. Santoro, D. Johnson, G. Meagher, G. Vise, J. Cortes, J. Scott, J.
                                                                                                     Jimenez, K. Davis, M. Coffey, M. Hamilton, M. O'Brien, S. Toi, T.J. Nichol, W. Stillman, & E. Hall.
                                                                                                     Update call with M. Cilia, K. Schultea (FTX), K. Lowery, J. Scott, T. Shea, J. Berman, and P. Ash
Ash,Polly Westerberg     Senior Manager       1/24/2023       Project Management Office Transition                                                                                                              0.40     $650.00       $260.00
                                                                                                     (EY) on various taxes EY is evaluating
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                 Name           Rank          Date of Service   Project Category                                             Description of Services                                            Hours   Hourly Rate   Fees
                                                                                     Update call with M. Cilia, K. Schultea (FTX), K. Lowery, J. Scott, T. Shea, J. Berman, and P. Ash
Shea JR,Thomas M          Partner/Principal     1/24/2023        US Income Tax                                                                                                                  0.40     $825.00       $330.00
                                                                                     (EY) on various taxes EY is evaluating
                              National                                               Update call with M. Cilia, K. Schultea (FTX), K. Lowery, J. Scott, T. Shea, J. Berman, and P. Ash
Lowery,Kristie L                                1/24/2023         Payroll Tax                                                                                                                   0.40     $990.00       $396.00
                          Partner/Principal                                          (EY) on various taxes EY is evaluating
                                                                                     Update call with M. Cilia, K. Schultea (FTX), K. Lowery, J. Scott, T. Shea, J. Berman, and P. Ash
Berman,Jake                Senior Manager       1/24/2023        US Income Tax                                                                                                                  0.40     $650.00       $260.00
                                                                                     (EY) on various taxes EY is evaluating
                            Client Serving                                           Update call with M. Cilia, K. Schultea (FTX), K. Lowery, J. Scott, T. Shea, J. Berman, and P. Ash
Scott,James                                     1/24/2023        US Income Tax                                                                                                                  0.40     $600.00       $240.00
                            Contractor JS                                            (EY) on various taxes EY is evaluating
                                                                                     Call with D Hammon (EY), K Wrenn (EY), C Schwarzwilder (EY), M Koch (EY), K Staromiejska
Hammon,David Lane             Manager           1/24/2023         Payroll Tax                                                                                                                   0.60     $525.00       $315.00
                                                                                     (EY) regarding support around Switzerland accounting, payroll operate services for current activity.

                                                                                     Call with D Hammon (EY), K Wrenn (EY), C Schwarzwilder (EY), M Koch (EY), K Staromiejska
Schwarzwälder,Christian    Senior Manager       1/24/2023         Payroll Tax                                                                                                                   0.60     $650.00       $390.00
                                                                                     (EY) regarding support around Switzerland accounting, payroll operate services for current activity.

                                                                                     Call with D Hammon (EY), K Wrenn (EY), C Schwarzwilder (EY), M Koch (EY), K Staromiejska
Koch,Markus               Managing Director     1/24/2023         Payroll Tax                                                                                                                   0.60     $775.00       $465.00
                                                                                     (EY) regarding support around Switzerland accounting, payroll operate services for current activity.

                                                                                     Call with D Hammon (EY), K Wrenn (EY), C Schwarzwilder (EY), M Koch (EY), K Staromiejska
Staromiejska,Kinga            Manager           1/24/2023         Payroll Tax                                                                                                                   0.60     $525.00       $315.00
                                                                                     (EY) regarding support around Switzerland accounting, payroll operate services for current activity.

                                                                                     Call with D Hammon (EY), K Wrenn (EY), C Schwarzwilder (EY), M Koch (EY), K Staromiejska
Wrenn,Kaitlin Doyle           Manager           1/24/2023         Payroll Tax                                                                                                                   0.60     $525.00       $315.00
                                                                                     (EY) regarding support around Switzerland accounting, payroll operate services for current activity.
                                                                                     Call with J DeVincenzo (EY), K Lowery (EY), K Soderman (EY), K Wrenn (EY) and J Yencho
                              National
Lowery,Kristie L                                1/24/2023         Payroll Tax        (EY) on FTX global payroll operate scope, implementation and support around due diligence with             0.50     $990.00       $495.00
                          Partner/Principal
                                                                                     global jurisdictional historical exposure analysis.
                                                                                     Call with J DeVincenzo (EY), K Lowery (EY), K Soderman (EY), K Wrenn (EY) and J Yencho
DeVincenzo,Jennie         Managing Director     1/24/2023         Payroll Tax        (EY) on FTX global payroll operate scope, implementation and support around due diligence with             0.50     $775.00       $387.50
                                                                                     global jurisdictional historical exposure analysis.
                                                                                     Call with J DeVincenzo, K Lowery, K Soderman and J Yencho on FTX global payroll operate scope,
Wrenn,Kaitlin Doyle           Manager           1/24/2023         Payroll Tax        implementation and support around due diligence with global jurisdictional historical exposure             0.50     $525.00       $262.50
                                                                                     analysis.
                                                                                     Call with J DeVincenzo, K Lowery, K Soderman and J Yencho on FTX global payroll operate scope,
Soderman,Kathy            Managing Director     1/24/2023         Payroll Tax        implementation and support around due diligence with global jurisdictional historical exposure             0.50     $775.00       $387.50
                                                                                     analysis.
                                                                                     Call with J DeVincenzo, K Lowery, K Soderman and J Yencho on FTX global payroll operate scope,
Yencho,Jeremiah           Managing Director     1/24/2023         Payroll Tax        implementation and support around due diligence with global jurisdictional historical exposure             0.50     $775.00       $387.50
                                                                                     analysis.
                              National                                               Call with K. Lowery (EY), K. Wrenn (EY) and J. DeVincenzo (EY) on WRS US payroll taxation,
Lowery,Kristie L                                1/24/2023         Payroll Tax                                                                                                                   0.40     $990.00       $396.00
                          Partner/Principal                                          2022 W-2 preview review and support around employment tax notices.
                                                                                     Call with K. Lowery (EY), K. Wrenn (EY) and J. DeVincenzo (EY) on WRS US payroll taxation,
DeVincenzo,Jennie         Managing Director     1/24/2023         Payroll Tax                                                                                                                   0.40     $775.00       $310.00
                                                                                     2022 W-2 preview review and support around employment tax notices.
                                                                                     Call with K. Lowery (EY), K. Wrenn (EY) and J. DeVincenzo (EY) on WRS US payroll taxation,
Wrenn,Kaitlin Doyle           Manager           1/24/2023         Payroll Tax                                                                                                                   0.40     $525.00       $210.00
                                                                                     2022 W-2 preview review and support around employment tax notices.
Hammon,David Lane             Manager           1/24/2023         Non US Tax         Correspondence concerning billing instructions for EY local teams                                          0.30     $525.00       $157.50
                                                                                     Correspondence with leadership concerning updates with the foreign workstreams (performing
Hammon,David Lane             Manager           1/24/2023         Non US Tax                                                                                                                    2.70     $525.00      $1,417.50
                                                                                     services for non-debtor entities, Germany bookkeeping/payroll needs, newly identified Swiss entity)
                                                                                     Update call to discuss second level reviewer - J DeVincenzo (EY), C Carver (EY) and M Hamilton
Carver,Cody R.                 Senior           1/24/2023         Payroll Tax                                                                                                                   0.30     $395.00       $118.50
                                                                                     (EY)
                                                                                     Update call to discuss second level reviewer - J DeVincenzo (EY), C Carver (EY) and M Hamilton
DeVincenzo,Jennie         Managing Director     1/24/2023         Payroll Tax                                                                                                                   0.30     $775.00       $232.50
                                                                                     (EY)
                                                                                     Update call to discuss second level reviewer - J DeVincenzo (EY), C Carver (EY) and M Hamilton
Hamilton,Mary Catherine        Senior           1/24/2023         Payroll Tax                                                                                                                   0.30     $395.00       $118.50
                                                                                     (EY)
                                                                                     Discuss status of notices, calls to be made to states re: notices and status of account, IRS notices and
DeVincenzo,Jennie         Managing Director     1/24/2023         Payroll Tax        IRS transcript requests. Daily update call with J De Vincenzo (EY), K Wrenn (EY), M Hamilton               0.30     $775.00       $232.50
                                                                                     (EY), C Carver (EY)
                                                                                     Discuss status of notices, calls to be made to states re: notices and status of account, IRS notices and
Hamilton,Mary Catherine        Senior           1/24/2023         Payroll Tax        IRS transcript requests. Daily update call with J De Vincenzo (EY), K Wrenn (EY), M Hamilton               0.30     $395.00       $118.50
                                                                                     (EY), C Carver (EY)
                                                                                     Discuss status of notices, calls to be made to states re: notices and status of account, IRS notices and
Wrenn,Kaitlin Doyle           Manager           1/24/2023         Payroll Tax        IRS transcript requests. Daily update call with J De Vincenzo (EY), K Wrenn (EY), M Hamilton               0.30     $525.00       $157.50
                                                                                     (EY), C Carver (EY)
                                                                                     Discuss status of notices, calls to be made to states re: notices and status of account, IRS notices and
Carver,Cody R.                 Senior           1/24/2023         Payroll Tax        IRS transcript requests. Daily update call with J De Vincenzo (EY), K Wrenn (EY), M Hamilton               0.30     $395.00       $118.50
                                                                                     (EY), C Carver (EY)
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                 Name           Rank           Date of Service            Project Category                                                     Description of Services                                           Hours   Hourly Rate   Fees
MacLean,Corrie                  Senior           1/24/2023                   Non US Tax                 Foreign office transition tracking sheet                                                                 0.30     $395.00       $118.50
Loo,Lydia                       Senior           1/24/2023              Information Reporting           FTX data analysis on transaction files and 1099 reports                                                  2.30     $395.00       $908.50
                                                                                                        FTX Europe - call regarding accounting/payroll services and status corporate tax in Switzerland and
Koch,Markus                Managing Director     1/24/2023                   Non US Tax                 Liechtenstein: J. Bavaud (FTX), R. Matzke (FTX), M. Liebi (FTX), M. Rhotert (FTX), M. Koch, C.           1.00     $775.00       $775.00
                                                                                                        Trachsel, R. Andreoli, S. Berrette, D. Hammon, K. Wrenn, K. Staromiejska
Santoro,David                  Manager           1/24/2023             Information Reporting            Review and analyze FTX 1099 Data                                                                         1.60     $525.00       $840.00
Madhok,Kishan              Senior Manager        1/24/2023               Value Added Tax                FTX tax leads touchpoint call to discuss project updates for each workstream                             0.40     $650.00       $260.00
Hall,Emily Melissa              Senior           1/24/2023             US State and Local Tax           Reviewed the gap analysis                                                                                2.10     $395.00       $829.50
Bailey,Doug                Partner/Principal     1/24/2023                 Tax Advisory                 Internal discussion concerning tax issue relevant to the company                                         0.40     $825.00       $330.00
                                                                                                        Internal discussion on whether an entity an claim MTM treatment even if the election was not filed
Duvoisin,Eric              Managing Director     1/24/2023               US International Tax                                                                                                                    0.50     $775.00       $387.50
                                                                                                        timely and potential next steps
                                                                                                        Internal discussion on whether an entity an claim MTM treatment even if the election was not filed
Jayanthi,Lakshmi            Senior Manager       1/24/2023               US International Tax                                                                                                                    0.50     $650.00       $325.00
                                                                                                        timely and potential next steps
                                                                                                        Internal discussion on whether an entity an claim MTM treatment even if the election was not filed
Raulli,Lindsay Elizabeth    Senior Manager       1/24/2023               US International Tax                                                                                                                    0.50     $650.00       $325.00
                                                                                                        timely and potential next steps
                               National                                                                 Internal discussion on whether an entity an claim MTM treatment even if the election was not filed
Stevens,Matthew Aaron                            1/24/2023               US International Tax                                                                                                                    0.40     $990.00       $396.00
                           Partner/Principal                                                            timely and potential next steps - Matthew Stevens, Lindsay Raulli, Doug Bailey, Lakshmi Jayanthi.
                                                                                                        Internal discussion re: global payroll services support workstream. EY Attendees: K. Wrenn, J.
Soderman,Kathy             Managing Director     1/24/2023                 US Income Tax                                                                                                                         0.50     $775.00       $387.50
                                                                                                        Yencho, K. Soderman, K. Lowery, J. DeVincenzo, T. Shea
                                                                                                        Internal discussion re: global payroll services support workstream. EY Attendees: K. Wrenn, J.
Yencho,Jeremiah            Managing Director     1/24/2023                 US Income Tax                                                                                                                         0.50     $775.00       $387.50
                                                                                                        Yencho, K. Soderman, K. Lowery, J. DeVincenzo, T. Shea
                                                                                                        Internal discussion re: global payroll services support workstream. EY Attendees: K. Wrenn, J.
Wrenn,Kaitlin Doyle            Manager           1/24/2023                 US Income Tax                                                                                                                         0.50     $525.00       $262.50
                                                                                                        Yencho, K. Soderman, K. Lowery, J. DeVincenzo, T. Shea
                               National                                                                 Internal discussion re: global payroll services support workstream. EY Attendees: K. Wrenn, J.
Lowery,Kristie L                                 1/24/2023                 US Income Tax                                                                                                                         0.50     $990.00       $495.00
                           Partner/Principal                                                            Yencho, K. Soderman, K. Lowery, J. DeVincenzo, T. Shea
                                                                                                        Internal discussion re: global payroll services support workstream. EY Attendees: K. Wrenn, J.
DeVincenzo,Jennie          Managing Director     1/24/2023                 US Income Tax                                                                                                                         0.50     $775.00       $387.50
                                                                                                        Yencho, K. Soderman, K. Lowery, J. DeVincenzo, T. Shea
                                                                                                        Internal discussion re: global payroll services support workstream. EY Attendees: K. Wrenn, J.
Shea JR,Thomas M           Partner/Principal     1/24/2023                 US Income Tax                                                                                                                         0.50     $825.00       $412.50
                                                                                                        Yencho, K. Soderman, K. Lowery, J. DeVincenzo, T. Shea
                                                                                                        Internal discussion to determine Swiss tax considerations to FTX for divesting its Swiss entity and/or
Bailey,Doug                Partner/Principal     1/24/2023                  Tax Advisory                                                                                                                         0.50     $825.00       $412.50
                                                                                                        the underlying entities under the Swiss entity
                                                                                                        Internal discussion to determine Swiss tax considerations to FTX for divesting its Swiss entity and/or
Jayanthi,Lakshmi            Senior Manager       1/24/2023               US International Tax                                                                                                                    0.50     $650.00       $325.00
                                                                                                        the underlying entities under the Swiss entity with Eric Duvoisin and Lakshmi Jayanthi
Bost,Anne                  Managing Director     1/24/2023                 Transfer Pricing             Internal FTX EY Leads Touch Point                                                                        0.50     $775.00       $387.50
                            Client Serving
Scott,James                                      1/24/2023                 US Income Tax                Kroll noticing document review and share                                                                 0.50     $600.00       $300.00
                            Contractor JS
                                                                                                        Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
MacLean,Corrie                  Senior           1/24/2023                   Non US Tax                 standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.           1.00     $395.00       $395.00
                                                                                                        Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                        Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Staromiejska,Kinga             Manager           1/24/2023                   Non US Tax                 standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.           1.00     $525.00       $525.00
                                                                                                        Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                        Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Hammon,David Lane              Manager           1/24/2023                   Non US Tax                 standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.           1.00     $525.00       $525.00
                                                                                                        Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                        Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Knoeller,Thomas J.         Partner/Principal     1/24/2023       Project Management Office Transition   standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.           1.00     $825.00       $825.00
                                                                                                        Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                        Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Hammon,David Lane              Manager           1/24/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.            1.00     $525.00       $525.00
                                                                                                        Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                                        Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Knoeller,Thomas J.         Partner/Principal     1/24/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.            1.00     $825.00       $825.00
                                                                                                        Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).
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                 Name           Rank          Date of Service        Project Category                                                   Description of Services                                           Hours   Hourly Rate   Fees

                                                                                                Meeting to review transition-related items including next steps, issues requiring escalation, setup of
MacLean,Corrie                 Senior           1/24/2023              Non US Tax               standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.             1.00     $395.00       $395.00
                                                                                                Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                                Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Staromiejska,Kinga            Manager           1/24/2023              Non US Tax               standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.             1.00     $525.00       $525.00
                                                                                                Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).
                                                                                                Meeting with FTX and EY local teams to discuss scope and next steps concerning urgent assistance
Wrenn,Kaitlin Doyle           Manager           1/24/2023              Non US Tax               with bookkeeping and payroll for FTX Europe/Switzerland. EY Attendees: D. Hammon, K. Wrenn,               1.00     $525.00       $525.00
                                                                                                C. Schwarzwalder, M. Koch and K. Staromiejska
                                                                                                Meeting with FTX and EY local teams to discuss scope and next steps concerning urgent assistance
Koch,Markus               Managing Director     1/24/2023              Non US Tax               with bookkeeping and payroll for FTX Europe/Switzerland. EY Attendees: D. Hammon, K. Wrenn,               1.00     $775.00       $775.00
                                                                                                C. Schwarzwalder, M. Koch and K. Staromiejska
                                                                                                Meeting with FTX and EY local teams to discuss scope and next steps concerning urgent assistance
Schwarzwälder,Christian    Senior Manager       1/24/2023              Non US Tax               with bookkeeping and payroll for FTX Europe/Switzerland. EY Attendees: D. Hammon, K. Wrenn,               1.00     $650.00       $650.00
                                                                                                C. Schwarzwalder, M. Koch and K. Staromiejska
                                                                                                Meeting with FTX and EY local teams to discuss scope and next steps concerning urgent assistance
Hammon,David Lane             Manager           1/24/2023              Non US Tax               with bookkeeping and payroll for FTX Europe/Switzerland. EY Attendees: D. Hammon, K. Wrenn,               1.00     $525.00       $525.00
                                                                                                C. Schwarzwalder, M. Koch and K. Staromiejska
                                                                                                Meeting with FTX and EY local teams to discuss scope and next steps concerning urgent assistance
Staromiejska,Kinga            Manager           1/24/2023              Non US Tax               with bookkeeping and payroll for FTX Europe/Switzerland. EY Attendees: D. Hammon, K. Wrenn,               1.00     $525.00       $525.00
                                                                                                C. Schwarzwalder, M. Koch and K. Staromiejska
                                                                                                Analyze notices for Alameda by tax workstream and topic in the notice tracker; renamed files per EY
Hall,Emily Melissa             Senior           1/24/2023         US State and Local Tax                                                                                                                  0.40     $395.00       $158.00
                                                                                                naming convention and saved the notices in the relevant tax workstream folders.

                                                                                                Analyze notices for West Realm Shires by tax workstream and topic in the notice tracker; renamed
Hall,Emily Melissa             Senior           1/24/2023         US State and Local Tax                                                                                                                  0.80     $395.00       $316.00
                                                                                                files per EY naming convention and saved the notices in the relevant tax workstream folders.
                                                                                                Organize and analyze notices for West Realm Shires Services by tax workstream and topic in the
Hall,Emily Melissa             Senior           1/24/2023         US State and Local Tax        notice tracker; renamed files per EY naming convention and saved the notices in the relevant tax          1.30     $395.00       $513.50
                                                                                                workstream folders.
                           Client Serving
Scott,James                                     1/24/2023             US Income Tax             PMO Meeting                                                                                               0.50     $600.00       $300.00
                           Contractor JS
                           Client Serving
Scott,James                                     1/24/2023             US Income Tax             PMO prepare regulatory licenses                                                                           0.60     $600.00       $360.00
                           Contractor JS
Shea JR,Thomas M          Partner/Principal     1/24/2023             US Income Tax             Prepare agenda, including coordination with workstream leads, for Tax C-Suite Update                      0.90     $825.00       $742.50
                           Client Serving
Scott,James                                     1/24/2023             US Income Tax             Prepare agenda for bi-weekly call                                                                         0.70     $600.00       $420.00
                           Contractor JS
                                                                                                Prepare for bankruptcy tax education bootcamp session with EY tax team to ensure the appropriate
Flagg,Nancy A.            Managing Director     1/24/2023         US State and Local Tax                                                                                                                  0.60     $775.00       $465.00
                                                                                                bankruptcy protocols are followed while addressing tax issues
Hammon,David Lane             Manager           1/24/2023              Non US Tax               Research/Correspondence on newly identified Swiss entity                                                  1.30     $525.00       $682.50
Marlow,Joe                     Senior           1/24/2023            Value Added Tax            Review if any new Indirect Tax related documents were available in the Virtual Data Room.                 0.10     $395.00        $39.50
Marlow,Joe                     Senior           1/24/2023            Value Added Tax            Review of historic files uploaded                                                                         0.30     $395.00       $118.50
                                                                                                Review the new population of transaction files for blockfolio based on the new approach. Pull out all
Richardson,Audrey Sarah       Manager           1/24/2023          Information Reporting                                                                                                                  1.60     $525.00       $840.00
                                                                                                the transaction types and determine what items are in scope and what items are out of scope
                                                                                                Review the state taxing authorities service list to determine if any jurisdictions are missing based on
Hall,Emily Melissa             Senior           1/24/2023         US State and Local Tax                                                                                                                  0.80     $395.00       $316.00
                                                                                                the gap analysis.
                                                                                                Review QuickBooks to determine if there were any tax forms attached to the vendor profiles or any
Nichol,T.J.                Senior Manager       1/24/2023          Information Reporting                                                                                                                  2.80     $650.00      $1,820.00
                                                                                                other documentation that would indicate the nature of the payment
                                                                                                Review reporting templates for quality control purposes (e.g., confirming all required data attributes
Nichol,T.J.                Senior Manager       1/24/2023          Information Reporting                                                                                                                  3.10     $650.00      $2,015.00
                                                                                                are present)
Carver,Cody R.                 Senior           1/24/2023               Payroll Tax             Status update of IRS notices and IRS transcript requests                                                  0.70     $395.00       $276.50
Guzman Chamorro,Itzel          Senior           1/24/2023           US International Tax        Teleconference with Matthew re: potential treatment of loss on cryptocurrency as ordinary income          0.40     $395.00       $158.00
                            Client Serving
Scott,James                                     1/24/2023             US Income Tax             Ventures prepare for bi-weekly meeting                                                                    1.20     $600.00       $720.00
                            Contractor JS
Ash,Polly Westerberg       Senior Manager       1/25/2023       Fee/Employment Applications     Data collection and review for FTX Fee Application preparations                                           1.70     $650.00      $1,105.00
                                                                                                Add additional state and local tax requests to Robert Lee & Associates related to unclaimed property
Hall,Emily Melissa             Senior           1/25/2023         US State and Local Tax                                                                                                                  0.20     $395.00        $79.00
                                                                                                and sales and use tax.
Berman,Jake                Senior Manager       1/25/2023             US Income Tax             Analysis of current tax status for Ledger Holdings Inc.                                                   0.90     $650.00       $585.00
                                                                                                Analyze general ledger and blockchain data to identify potentially taxable transactions involving
Bailey,Doug               Partner/Principal     1/25/2023              Tax Advisory                                                                                                                       1.40     $825.00      $1,155.00
                                                                                                cryptocurrencies
                            Client Serving                                                      Call to discuss IRS examination notice for Ledger Holdings. EY Attendees: C. Ellenson, J. Scott and
Scott,James                                     1/25/2023             US Income Tax                                                                                                                       0.50     $600.00       $300.00
                            Contractor JS                                                       T. Shea
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                 Name          Rank           Date of Service            Project Category                                                      Description of Services                                            Hours   Hourly Rate   Fees
                                                                                                       Call to discuss IRS examination notice for Ledger Holdings. EY Attendees: C. Ellenson, J. Scott and
Ellenson,Cory              Senior Manager       1/25/2023                 US Income Tax                                                                                                                           0.50     $650.00       $325.00
                                                                                                       T. Shea
                                                                                                       Call to discuss IRS examination notice for Ledger Holdings. EY Attendees: C. Ellenson, J. Scott and
Shea JR,Thomas M          Partner/Principal     1/25/2023                 US Income Tax                                                                                                                           0.50     $825.00       $412.50
                                                                                                       T. Shea
Alfaro,Adriana                  Staff           1/25/2023                   Payroll Tax                Catalog notices for Employment Tax                                                                         1.50     $225.00       $337.50
                                                                                                       Conference call to discuss next steps in transfer pricing analysis- including chapter 11 entity risk
Rodriguez,Lenny                Senior           1/25/2023                   Non US Tax                 analysis strategy and user agreement discussions. Call participants D. Katsnelson, D. McComber, G.         0.60     $395.00       $237.00
                                                                                                       Di Stefano, A. Bost, O. Hall, and S. Canale.
                                                                                                       Conference call to discuss next steps in transfer pricing analysis- including chapter 11 entity risk
Bost,Anne                 Managing Director     1/25/2023                 Transfer Pricing             analysis strategy and user agreement discussions. Call participants D. Katsnelson, L. Rodriguez, D.        0.60     $775.00       $465.00
                                                                                                       McComber, G. Di Stefano, A. Bost, O. Hall, and S. Canale
                                                                                                       Conference call to discuss next steps in transfer pricing analysis- including chapter 11 entity risk
Canale,Steven P.               Senior           1/25/2023                 Transfer Pricing             analysis strategy and user agreement discussions. Call participants D. Katsnelson, L. Rodriguez, D.        0.60     $395.00       $237.00
                                                                                                       McComber, G. Di Stefano, A. Bost, O. Hall, and S. Canale.
                                                                                                       Conference call to discuss next steps in transfer pricing analysis- including chapter 11 entity risk
Di Stefano,Giulia              Senior           1/25/2023                 Transfer Pricing             analysis strategy and user agreement discussions. Call participants D. Katsnelson, L. Rodriguez, D.        0.60     $395.00       $237.00
                                                                                                       McComber, G. Di Stefano, A. Bost, O. Hall, and S. Canale.
                                                                                                       Conference call to discuss next steps in transfer pricing analysis- including chapter 11 entity risk
Katsnelson,David              Manager           1/25/2023                 Transfer Pricing             analysis strategy and user agreement discussions. Call participants D. Katsnelson, L. Rodriguez, D.        0.60     $525.00       $315.00
                                                                                                       McComber, G. Di Stefano, A. Bost, O. Hall, and S. Canale.
                                                                                                       Conference call to discuss next steps in transfer pricing analysis, including chapter 11 entity risk
                              National
McComber,Donna                                  1/25/2023                 Transfer Pricing             analysis strategy and user agreement discussion. Call participants D. Katsnelson; L. Rodriquez; D.         0.60     $990.00       $594.00
                          Partner/Principal
                                                                                                       McComber; G. Di Stefano; A. Bost; O, Hall; S. Canale.
                                                                                                       Discuss status of notices, calls to be made to states re: notices and status of account, IRS notices and
Carver,Cody R.                 Senior           1/25/2023                   Payroll Tax                IRS transcript requests. Daily update call with J De Vincenzo (EY), K Wrenn (EY), M Hamilton               0.50     $395.00       $197.50
                                                                                                       (EY), C Carver (EY)
                                                                                                       Discuss status of notices, calls to be made to states re: notices and status of account, IRS notices and
DeVincenzo,Jennie         Managing Director     1/25/2023                   Payroll Tax                IRS transcript requests. Daily update call with J De Vincenzo (EY), K Wrenn (EY), M Hamilton               0.50     $775.00       $387.50
                                                                                                       (EY), C Carver (EY)
                                                                                                       Discuss status of notices, calls to be made to states re: notices and status of account, IRS notices and
Hamilton,Mary Catherine        Senior           1/25/2023                   Payroll Tax                IRS transcript requests. Daily update call with J De Vincenzo (EY), K Wrenn (EY), M Hamilton               0.50     $395.00       $197.50
                                                                                                       (EY), C Carver (EY)
                                                                                                       Discuss status of notices, calls to be made to states re: notices and status of account, IRS notices and
Wrenn,Kaitlin Doyle           Manager           1/25/2023                   Payroll Tax                IRS transcript requests. Daily update call with J De Vincenzo (EY), K Wrenn (EY), M Hamilton               0.50     $525.00       $262.50
                                                                                                       (EY), C Carver (EY)
Nichol,T.J.                Senior Manager       1/25/2023              Information Reporting           Discussed one-off data quality issues with Tara Ferris, Audrey Richardson                                  2.00     $650.00      $1,300.00
                                                                                                       Email communication with E. Hall by K. Davis regarding property tax request list for provider RLA.
Davis,Kathleen F.             Manager           1/25/2023             US State and Local Tax                                                                                                                      0.20     $525.00       $105.00
                                                                                                       Re-send property tax request items to ensure part of the overall RLA request list for all groups.
Jayanthi,Lakshmi          Senior Manager        1/25/2023                US International Tax          Follow up related to divesture questions from a US tax perspective                                         0.60     $650.00        $390.00
Farrar,Anne               Partner/Principal     1/25/2023       Project Management Office Transition   FTX Bankruptcy/ Review governance & PMO deck for Kathy/Mary meeting                                        1.30     $825.00      $1,072.50
Santoro,David                 Manager           1/25/2023               Information Reporting          Review and analyze FTX 1099 Vendor Data                                                                    2.40     $525.00      $1,260.00
Bailey,Doug               Partner/Principal     1/25/2023                   Tax Advisory               Further evaluation of US international tax rules application to FTX Trading activities                     0.40     $825.00        $330.00
Hall,Emily Melissa             Senior           1/25/2023              US State and Local Tax          Researched NOL limitations by state and SRLY rules                                                         1.70     $395.00        $671.50
                                                                                                       Internal call to walk through the entities, states, and filing methodologies from the 2021 gap analysis
Hall,Emily Melissa             Senior           1/25/2023             US State and Local Tax           for purposes of creating a tax filing calendar for tax year 2022 filings. EY meeting attendees: E.         0.30     $395.00       $118.50
                                                                                                       Zheng, Y. Sun, E. Hall, and W. Stillman.
                                                                                                       Internal call to walk through the entities, states, and filing methodologies from the 2021 gap analysis
Stillman,Will                   Staff           1/25/2023             US State and Local Tax           for purposes of creating a tax filing calendar for tax year 2022 filings. EY meeting attendees: E.         0.30     $225.00        $67.50
                                                                                                       Zheng, Y. Sun, E. Hall, and W. Stillman.
                                                                                                       Internal call to walk through the entities, states, and filing methodologies from the 2021 gap analysis
Sun,Yuchen                     Senior           1/25/2023             US State and Local Tax           for purposes of creating a tax filing calendar for tax year 2022 filings. EY meeting attendees: E.         0.30     $395.00       $118.50
                                                                                                       Zheng, Y. Sun, E. Hall, and W. Stillman.
                                                                                                       Internal call to walk through the entities, states, and filing methodologies from the 2021 gap analysis
Zheng,Eva                     Manager           1/25/2023             US State and Local Tax           for purposes of creating a tax filing calendar for tax year 2022 filings. EY meeting attendees: E.         0.30     $525.00       $157.50
                                                                                                       Zheng, Y. Sun, E. Hall, and W. Stillman.
                                                                                                       Internal call to walk through the notice tracking process. EY meeting attendees: K Wrenn, M
Alfaro,Adriana                  Staff           1/25/2023             US State and Local Tax                                                                                                                      0.50     $225.00       $112.50
                                                                                                       Hamilton, E Steigler, A Alfaro.
                                                                                                       Internal call to walk through the notice tracking process. EY meeting attendees: K Wrenn, M
Wrenn,Kaitlin Doyle           Manager           1/25/2023             US State and Local Tax                                                                                                                      0.50     $525.00       $262.50
                                                                                                       Hamilton, E Steigler, A Alfaro.
                                                                                                       Internal call to walk through the notice tracking process. EY meeting attendees: K Wrenn, M
Hamilton,Mary Catherine        Senior           1/25/2023             US State and Local Tax                                                                                                                      0.50     $395.00       $197.50
                                                                                                       Hamilton, E Steigler, A Alfaro.
                                                                                                       Internal call to walk through the notice tracking process. EY meeting attendees: K Wrenn, M
Steigler,Ella                  Senior           1/25/2023             US State and Local Tax                                                                                                                      0.50     $395.00       $197.50
                                                                                                       Hamilton, E Steigler, A Alfaro.
                                                                                                       Internal call with A. Bost (EY), D. McComber (EY), J. Flannery (EY), L. Rodriguez (EY), D.
Di Stefano,Giulia              Senior           1/25/2023                   Non US Tax                                                                                                                            0.50     $395.00       $197.50
                                                                                                       Katsnelson (EY), O. Hall (EY) and G. Di Stefano (EY) to discuss RLA request
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                 Name        Rank           Date of Service            Project Category                                                     Description of Services                                           Hours   Hourly Rate   Fees
                                                                                                     Internal call with A. Bost (EY), D. McComber (EY), J. Flannery (EY), L. Rodriguez (EY), D.
Flannery,Jennifer           Manager           1/25/2023                   Non US Tax                                                                                                                          0.50     $525.00       $262.50
                                                                                                     Katsnelson (EY), O. Hall (EY) and G. Di Stefano (EY) to discuss RLA request
                                                                                                     Internal call with A. Bost (EY), D. McComber (EY), J. Flannery (EY), L. Rodriguez (EY), D.
Bost,Anne               Managing Director     1/25/2023                   Non US Tax                                                                                                                          0.50     $775.00       $387.50
                                                                                                     Katsnelson (EY), O. Hall (EY) and G. Di Stefano (EY) to discuss RLA request
                            National                                                                 Internal call with A. Bost (EY), D. McComber (EY), J. Flannery (EY), L. Rodriguez (EY), D.
McComber,Donna                                1/25/2023                   Non US Tax                                                                                                                          0.50     $990.00       $495.00
                        Partner/Principal                                                            Katsnelson (EY), O. Hall (EY) and G. Di Stefano (EY) to discuss RLA request
                                                                                                     Internal call with A. Bost (EY), D. McComber (EY), J. Flannery (EY), L. Rodriguez (EY), D.
Katsnelson,David            Manager           1/25/2023                   Non US Tax                                                                                                                          0.50     $525.00       $262.50
                                                                                                     Katsnelson (EY), O. Hall (EY) and G. Di Stefano (EY) to discuss RLA request
                                                                                                     Internal call with A. Bost (EY), D. McComber (EY), J. Flannery (EY), L. Rodriguez (EY), D.
Rodriguez,Lenny              Senior           1/25/2023                   Non US Tax                                                                                                                          0.50     $395.00       $197.50
                                                                                                     Katsnelson (EY), O. Hall (EY) and G. Di Stefano (EY) to discuss RLA request
                                                                                                     Internal call with A. Bost (EY), D. McComber (EY), J. Flannery (EY), L. Rodriguez (EY), D.
Hall,Olivia                   Staff           1/25/2023                   Non US Tax                                                                                                                          0.50     $225.00       $112.50
                                                                                                     Katsnelson (EY), O. Hall (EY) and G. Di Stefano (EY) to discuss RLA request
Shea JR,Thomas M        Partner/Principal     1/25/2023                 US Income Tax                Internal discussion with C. Tong to discuss PMO support workstream                                       0.50     $825.00       $412.50
                                                                                                     Correspondence with EY controversy team, S&C, and client contact re: Ledger Holdings tax
Shea JR,Thomas M        Partner/Principal     1/25/2023                 US Income Tax                                                                                                                         1.90     $825.00      $1,567.50
                                                                                                     examination notice
Ellenson,Cory            Senior Manager       1/25/2023                IRS Audit Matters             IRS audit. Call with Tom, David from S&C and C. Ellenson (EY)                                            0.50     $650.00       $325.00
                          Client Serving
Scott,James                                   1/25/2023                 US Income Tax                Ledger Holding background and tax profile                                                                1.60     $600.00       $960.00
                          Contractor JS
                          Client Serving
Scott,James                                   1/25/2023                 US Income Tax                Assist in providing response to Ledger Holdings IRS document request.                                    0.70     $600.00       $420.00
                          Contractor JS
Steigler,Ella                 Senior          1/25/2023             US State and Local Tax           Log of FTX notices into internal tracker for resolution                                                  1.20     $395.00       $474.00
                                                                                                     Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
MacLean,Corrie               Senior           1/25/2023                   Non US Tax                 standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.           1.00     $395.00       $395.00
                                                                                                     Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                     Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Staromiejska,Kinga          Manager           1/25/2023                   Non US Tax                 standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.           1.00     $525.00       $525.00
                                                                                                     Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                     Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Hammon,David Lane           Manager           1/25/2023                   Non US Tax                 standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.           1.00     $525.00       $525.00
                                                                                                     Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                     Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Knoeller,Thomas J.      Partner/Principal     1/25/2023       Project Management Office Transition   standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.           1.00     $825.00       $825.00
                                                                                                     Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                     Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Hammon,David Lane           Manager           1/25/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.            1.00     $525.00       $525.00
                                                                                                     Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                                     Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Knoeller,Thomas J.      Partner/Principal     1/25/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.            1.00     $825.00       $825.00
                                                                                                     Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                                     Meeting to review transition-related items including next steps, issues requiring escalation, setup of
MacLean,Corrie               Senior           1/25/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.            1.00     $395.00       $395.00
                                                                                                     Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                                     Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Staromiejska,Kinga          Manager           1/25/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.            1.00     $525.00       $525.00
                                                                                                     Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).
                                                                                                     MVL ASSISTANCE - Call with N. Rumford, B. Richards, K. Hutchison, and N. Bugden (EY) to
Rumford,Neil            Partner/Principal     1/25/2023                   Non US Tax                                                                                                                          0.30     $990.00       $297.00
                                                                                                     prepare for management call on Zubr (Gibraltar) liquidation
Rumford,Neil            Partner/Principal     1/25/2023                  Non US Tax                  MVL ASSISTANCE - Review Zubr data sent by N Budgen; review info sent by EY US                            1.30     $990.00      $1,287.00
Di Stefano,Giulia            Senior           1/25/2023                 Transfer Pricing             Perform risk assessment analysis of the intercompany agreements                                          3.50     $395.00      $1,382.50
Tong,Chia-Hui           Senior Manager        1/25/2023       Project Management Office Transition   PMO team debrief and action plan                                                                         1.30     $650.00        $845.00
Ash,Polly Westerberg    Senior Manager        1/25/2023       Project Management Office Transition   Preparation for FTX executive update with K. Shultea and M. Cilia                                        1.40     $650.00        $910.00
                                                                                                     Preparation for meeting on FTX US payroll year-end reporting open questions, expensify and W9
Wrenn,Kaitlin Doyle         Manager           1/25/2023                   Payroll Tax                                                                                                                         2.80     $525.00      $1,470.00
                                                                                                     vendor questions
Jayanthi,Lakshmi         Senior Manager       1/25/2023               US International Tax           Research of 482 as well as the overall Binance transaction                                               2.60     $650.00      $1,690.00
Guzman Chamorro,Itzel        Senior           1/25/2023               US International Tax           Research of case law regarding tax issues                                                                1.00     $395.00        $395.00
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                  Name          Rank          Date of Service        Project Category                                                  Description of Services                                            Hours   Hourly Rate   Fees

                                                                                                Review and document West Realm Shires Services and Alameda's apportionment documentation
Hall,Emily Melissa             Senior           1/25/2023         US State and Local Tax        uploaded by Robert Lee & Associates to determine what, if any, additional data EY can utilize from a      0.30     $395.00       $118.50
                                                                                                gap analysis and 2022 filing perspective and whether any additional requests should be made.
                              National                                                          Review and evaluation of Bankruptcy Motion regarding pre petition payments and amounts for Kathy
Lowery,Kristie L                                1/25/2023               Payroll Tax                                                                                                                       0.80     $990.00       $792.00
                          Partner/Principal                                                     Schultea related to VEC notice received
Shea JR,Thomas M          Partner/Principal     1/25/2023             US Income Tax             Review and prepare response to Kroll Website Customer FAQ items from A&M team                             1.10     $825.00       $907.50
Marlow,Joe                     Senior           1/25/2023            Value Added Tax            Review if any new Indirect Tax related documents were available in the Virtual Data Room.                 0.10     $395.00        $39.50
                                                                                                Review notice tracker and discuss next steps to clarify entries - K. Wrenn (EY), M. Hamilton (EY),
Steigler,Ella                  Senior           1/25/2023               Payroll Tax                                                                                                                       0.50     $395.00       $197.50
                                                                                                E. Steigler (EY), A. Alfaro (EY)
                                                                                                Review notice tracker and discuss next steps to clarify entries - K. Wrenn (EY), M. Hamilton (EY),
Alfaro,Adriana                  Staff           1/25/2023               Payroll Tax                                                                                                                       0.50     $225.00       $112.50
                                                                                                E. Steigler (EY), A. Alfaro (EY)
                                                                                                Review notice tracker and discuss next steps to clarify entries - K. Wrenn (EY), M. Hamilton (EY),
Hamilton,Mary Catherine        Senior           1/25/2023               Payroll Tax                                                                                                                       0.50     $395.00       $197.50
                                                                                                E. Steigler (EY), A. Alfaro (EY)
                                                                                                Review notice tracker and discuss next steps to clarify entries - K. Wrenn (EY), M. Hamilton (EY),
Wrenn,Kaitlin Doyle           Manager           1/25/2023               Payroll Tax                                                                                                                       0.50     $525.00       $262.50
                                                                                                E. Steigler (EY), A. Alfaro (EY)
                           Client Serving
Bieganski,Walter                                1/25/2023         US State and Local Tax        Review responses from RLA re tax data request                                                             0.40     $200.00        $80.00
                           Contractor WB
Ancona,Christopher             Senior           1/25/2023       Fee/Employment Applications     Continue to review the monthly application                                                                4.10     $395.00      $1,619.50
Hammon,David Lane             Manager           1/25/2023              Non US Tax               Review/tracking of ACR and payroll contacts provided by regional leadership                               1.90     $525.00        $997.50
                           Client Serving
Scott,James                                     1/25/2023             US Income Tax             RLA document request update and priority assignment                                                       0.90     $600.00       $540.00
                           Contractor JS
                                                                                                Data review of the 1099 reports from 2021 to determine how RLA performed the reporting in prior
Richardson,Audrey Sarah       Manager           1/25/2023          Information Reporting        years. Then spent remainder of time to review WRSS transaction population to determine which items        2.10     $525.00      $1,102.50
                                                                                                listed were outgoing payments rather than incoming bills
                                                                                                State and Local Tax - Sales and Use tax review - Analysis pertaining to payable invoices provided to
Jimenez,Joseph Robert      Senior Manager       1/25/2023         US State and Local Tax        determine whether vendor properly charged sales tax or any use tax exposure in instances where the        0.90     $650.00       $585.00
                                                                                                vendor did not charge sales tax.
                           Client Serving
Scott,James                                     1/25/2023         US State and Local Tax        State tax Phase I report                                                                                  0.80     $600.00       $480.00
                           Contractor JS
                              National
Stevens,Matthew Aaron                           1/25/2023           US International Tax        Call with Itzel re: potential treatment of loss on cryptocurrency as ordinary income                      0.40     $990.00       $396.00
                          Partner/Principal
                                                                                                Update trackers based on additional services (e.g., bookkeeping and payroll) and other engagement
Hammon,David Lane             Manager           1/25/2023              Non US Tax                                                                                                                         3.10     $525.00      $1,627.50
                                                                                                updates to scope
                            Client Serving
Scott,James                                     1/25/2023             US Income Tax             Venture PFIC analysis                                                                                     0.40     $600.00       $240.00
                            Contractor JS
                                                                                                Work on updating the FTX taxing authorities service list with addresses from the Delaware district
Johnson,Derrick Joseph          Staff           1/25/2023         US State and Local Tax                                                                                                                  0.90     $225.00       $202.50
                                                                                                clerk of court website, to ensure that government agencies are noticed at the proper addresses.
                                                                                                Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                              National
McComber,Donna                                  1/26/2023              Non US Tax               preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $990.00       $495.00
                          Partner/Principal
                                                                                                implementation of global compliance and reporting services
                                                                                                Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Jimenez,Joseph Robert      Senior Manager       1/26/2023              Non US Tax               preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $650.00       $325.00
                                                                                                implementation of global compliance and reporting services
                                                                                                Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                            Client Serving
Scott,James                                     1/26/2023              Non US Tax               preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $600.00       $300.00
                            Contractor JS
                                                                                                implementation of global compliance and reporting services
                                                                                                Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Farrar,Anne               Partner/Principal     1/26/2023              Non US Tax               preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $825.00       $412.50
                                                                                                implementation of global compliance and reporting services
                                                                                                Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                              National
Lowery,Kristie L                                1/26/2023              Non US Tax               preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $990.00       $495.00
                          Partner/Principal
                                                                                                implementation of global compliance and reporting services
                                                                                                Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Lovelace,Lauren           Partner/Principal     1/26/2023              Non US Tax               preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $825.00       $412.50
                                                                                                implementation of global compliance and reporting services
                                                                                                Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Bailey,Doug               Partner/Principal     1/26/2023              Non US Tax               preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $825.00       $412.50
                                                                                                implementation of global compliance and reporting services
                                                                                                Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Bost,Anne                 Managing Director     1/26/2023              Non US Tax               preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $775.00       $387.50
                                                                                                implementation of global compliance and reporting services
                                                                                                Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Cotopoulis,Alex           Managing Director     1/26/2023              Non US Tax               preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $775.00       $387.50
                                                                                                implementation of global compliance and reporting services
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                  Name        Rank           Date of Service            Project Category                                                     Description of Services                                            Hours   Hourly Rate   Fees
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Gengler,Charlie          Partner/Principal     1/26/2023                   Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $825.00       $412.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Jayanthi,Lakshmi          Senior Manager       1/26/2023                   Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $650.00       $325.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ferris,Tara              Partner/Principal     1/26/2023                   Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $825.00       $412.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Madhok,Kishan             Senior Manager       1/26/2023                   Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $650.00       $325.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Wrenn,Kaitlin Doyle          Manager           1/26/2023                   Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $525.00       $262.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Berman,Jake               Senior Manager       1/26/2023                   Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $650.00       $325.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Nichol,T.J.               Senior Manager       1/26/2023                   Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $650.00       $325.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Soderman,Kathy           Managing Director     1/26/2023                   Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $775.00       $387.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Yencho,Jeremiah          Managing Director     1/26/2023                   Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $775.00       $387.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
MacLean,Corrie                Senior           1/26/2023                   Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $395.00       $197.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ancona,Christopher            Senior           1/26/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $395.00       $197.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ash,Polly Westerberg      Senior Manager       1/26/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $650.00       $325.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                          Client Serving
Bieganski,Walter                               1/26/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $200.00       $100.00
                          Contractor WB
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Hall,Emily Melissa            Senior           1/26/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $395.00       $197.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Hammon,David Lane            Manager           1/26/2023                   Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $525.00       $262.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Katsnelson,David             Manager           1/26/2023                 Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $525.00       $262.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Knoeller,Thomas J.       Partner/Principal     1/26/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $825.00       $412.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Musano,Matthew Albert     Senior Manager       1/26/2023             US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $650.00       $325.00
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Shea JR,Thomas M         Partner/Principal     1/26/2023                 US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $825.00       $412.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Staromiejska,Kinga           Manager           1/26/2023                   Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $525.00       $262.50
                                                                                                      implementation of global compliance and reporting services
                                                                                                      1/26/23 Tax Support Workstream - Executive Update with FTX C-Suite. Attendees: M. Cilia, K.
Ash,Polly Westerberg      Senior Manager       1/26/2023       Project Management Office Transition                                                                                                             0.80     $650.00       $520.00
                                                                                                      Schultea, P. Ash, K. Lowery, J. Scott, J. Berman, T Shea (EY)
                             National                                                                 1/26/23 Tax Support Workstream - Executive Update with FTX C-Suite. Attendees: M. Cilia, K.
Lowery,Kristie L                               1/26/2023                 US Income Tax                                                                                                                          0.80     $990.00       $792.00
                         Partner/Principal                                                            Schultea, P. Ash, K. Lowery, J. Scott, J. Berman, T Shea (EY)
                                                                                                      1/26/23 Tax Support Workstream - Executive Update with FTX C-Suite. Attendees: M. Cilia, K.
Shea JR,Thomas M         Partner/Principal     1/26/2023                 US Income Tax                                                                                                                          0.80     $825.00       $660.00
                                                                                                      Schultea, P. Ash, K. Lowery, J. Scott, J. Berman, T Shea (EY)
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                 Name           Rank          Date of Service            Project Category                                                      Description of Services                                            Hours   Hourly Rate   Fees
                            Client Serving                                                             1/26/23 Tax Support Workstream - Executive Update with FTX C-Suite. Attendees: M. Cilia, K.
Scott,James                                     1/26/2023                 US Income Tax                                                                                                                           0.80     $600.00       $480.00
                            Contractor JS                                                              Schultea, P. Ash, K. Lowery, J. Scott, J. Berman, T Shea (EY)
                                                                                                       1/26/23 Tax Support Workstream - Executive Update with FTX C-Suite. Attendees: M. Cilia, K.
Berman,Jake                Senior Manager       1/26/2023                 US Income Tax                                                                                                                           0.80     $650.00       $520.00
                                                                                                       Schultea, P. Ash, K. Lowery, J. Scott, J. Berman, T Shea (EY)
                              National
McComber,Donna                                  1/26/2023                 Transfer Pricing             Analyze in company contracts and intercompany transaction flows                                            1.60     $990.00      $1,584.00
                          Partner/Principal
                           Client Serving
Scott,James                                     1/26/2023                 US Income Tax                Binance transaction background documentation                                                               1.10     $600.00       $660.00
                           Contractor JS
                                                                                                       Call with K. Lowery (EY), J. DeVincenzo (EY), K. Wrenn (EY) to discuss W2 preview questions
DeVincenzo,Jennie         Managing Director     1/26/2023                   Payroll Tax                                                                                                                           0.50     $775.00       $387.50
                                                                                                       and employee expense details
                              National                                                                 Call with K. Lowery (EY), J. DeVincenzo (EY), K. Wrenn (EY) to discuss W2 preview questions
Lowery,Kristie L                                1/26/2023                   Payroll Tax                                                                                                                           0.50     $990.00       $495.00
                          Partner/Principal                                                            and employee expense details
                                                                                                       Call with K. Lowery (EY), J. DeVincenzo (EY), K. Wrenn (EY) to discuss W2 preview questions
Wrenn,Kaitlin Doyle           Manager           1/26/2023                   Payroll Tax                                                                                                                           0.50     $525.00       $262.50
                                                                                                       and employee expense details
Alfaro,Adriana                  Staff           1/26/2023                  Payroll Tax                 Catalog notices for Employment Tax                                                                         0.40     $225.00        $90.00
Katsnelson,David              Manager           1/26/2023                Transfer Pricing              Coordination of transfer pricing team for updates                                                          1.80     $525.00       $945.00
Hall,Emily Melissa             Senior           1/26/2023             US State and Local Tax           Review and analyze specific income tax notices                                                             1.70     $395.00       $671.50
                                                                                                       Correspondence with leadership on various items concerning the foreign workstreams (on-call
Hammon,David Lane             Manager           1/26/2023                   Non US Tax                                                                                                                            2.40     $525.00      $1,260.00
                                                                                                       compliance, contracting, timeline, summary of action items)
                                                                                                       Communications with payroll team concerning how best to leverage available headcount data to
Hammon,David Lane             Manager           1/26/2023                   Non US Tax                                                                                                                            0.70     $525.00       $367.50
                                                                                                       identify outstanding client contacts required for the knowledge transfer process
Hammon,David Lane             Manager           1/26/2023                   Non US Tax                 Correspondence with payroll team to clarify information concerning available headcount information         1.30     $525.00       $682.50
                                                                                                       Discuss status of notices, calls to be made to states re: notices and status of account, IRS notices and
DeVincenzo,Jennie         Managing Director     1/26/2023                   Payroll Tax                IRS transcript requests. Daily update call with J De Vincenzo (EY), K Wrenn (EY), M Hamilton               0.30     $775.00       $232.50
                                                                                                       (EY), C Carver (EY)
                                                                                                       Discuss status of notices, calls to be made to states re: notices and status of account, IRS notices and
Hamilton,Mary Catherine        Senior           1/26/2023                   Payroll Tax                IRS transcript requests. Daily update call with J De Vincenzo (EY), K Wrenn (EY), M Hamilton               0.30     $395.00       $118.50
                                                                                                       (EY), C Carver (EY)
                                                                                                       Discuss status of notices, calls to be made to states re: notices and status of account, IRS notices and
Carver,Cody R.                 Senior           1/26/2023                   Payroll Tax                IRS transcript requests. Daily update call with J De Vincenzo (EY), K Wrenn (EY), M Hamilton               0.30     $395.00       $118.50
                                                                                                       (EY), C Carver (EY)
                                                                                                       Discuss status of notices, calls to be made to states re: notices and status of account, IRS notices and
Wrenn,Kaitlin Doyle           Manager           1/26/2023                   Payroll Tax                IRS transcript requests. Daily update call with J De Vincenzo (EY), K Wrenn (EY), M Hamilton               0.30     $525.00       $157.50
                                                                                                       (EY), C Carver (EY)
                                                                                                       Draft the FTX strawman to illustrate existing intercompany transactions as well as transactions we
Flannery,Jennifer             Manager           1/26/2023                 Transfer Pricing                                                                                                                        1.30     $525.00       $682.50
                                                                                                       should expect but haven't been able to confirm
                           Client Serving
Scott,James                                     1/26/2023                 US Income Tax                EY Lead update call                                                                                        0.40     $600.00       $240.00
                           Contractor JS
Di Stefano,Giulia              Senior           1/26/2023                  Transfer Pricing            Finalize risk analysis on the intercompany agreements                                                      2.60     $395.00      $1,027.00
Jayanthi,Lakshmi          Senior Manager        1/26/2023                US International Tax          FTX - research of specific tax technical issues give client facts and circumstances                        0.40     $650.00        $260.00
Jayanthi,Lakshmi          Senior Manager        1/26/2023                US International Tax          Follow-ups related to the PFIC discussion                                                                  0.80     $650.00        $520.00
MacLean,Corrie                 Senior           1/26/2023                    Non US Tax                Foreign office ACR and payroll contact                                                                     0.40     $395.00        $158.00
Santoro,David                 Manager           1/26/2023               Information Reporting          Review and Analyze 1099 reporting data                                                                     0.90     $525.00        $472.50
Santoro,David                 Manager           1/26/2023               Information Reporting          FTX 1099 MISC Reporting Discussion with TJ Nichol, L Loo, T Ferris, D Santoro (EY)                         1.00     $525.00        $525.00
Nichol,T.J.               Senior Manager        1/26/2023               Information Reporting          FTX 1099 MISC Reporting Discussion with TJ Nichol, L Loo, T Ferris, D Santoro (EY)                         1.00     $650.00        $650.00
Loo,Lydia                      Senior           1/26/2023               Information Reporting          FTX 1099 MISC Reporting Discussion with TJ Nichol, L Loo, T Ferris, D Santoro (EY)                         1.00     $395.00        $395.00
Ferris,Tara               Partner/Principal     1/26/2023               Information Reporting          FTX 1099 MISC Reporting Discussion with TJ Nichol, L Loo, T Ferris, D Santoro (EY)                         1.00     $825.00        $825.00
Farrar,Anne               Partner/Principal     1/26/2023       Project Management Office Transition   Review governance & PMO deck                                                                               0.70     $825.00        $577.50
Farrar,Anne               Partner/Principal     1/26/2023       Project Management Office Transition   Discussion with T Shea (EY) on Switzerland payroll services scope and timing of deliverables.              1.20     $825.00       $990.00
Flannery,Jennifer             Manager           1/26/2023                 Transfer Pricing             Review the files received to sort to the entity trial balances and create a P&L summary                    0.70     $525.00       $367.50
                                                                                                       Identification of EY local teams for payroll and bookkeeping (Correspondence with regional leads,
Hammon,David Lane             Manager           1/26/2023                   Non US Tax                                                                                                                            1.90     $525.00       $997.50
                                                                                                       review of responses and updating of contact list/tracker)
                                                                                                       Internal call to discuss the status of the notice tracker with a specific focus on the corporate income
Hall,Emily Melissa             Senior           1/26/2023             US State and Local Tax           tax and franchise tax notices and next steps. Meeting attendees: M. Musano, E. Zheng, E. Steigler, &       0.40     $395.00       $158.00
                                                                                                       E. Hall.
                                                                                                       Internal call to discuss the status of the notice tracker with a specific focus on the corporate income
Musano,Matthew Albert      Senior Manager       1/26/2023             US State and Local Tax           tax and franchise tax notices and next steps. Meeting attendees: M. Musano, E. Zheng, E. Steigler, &       0.40     $650.00       $260.00
                                                                                                       E. Hall.
                                                                                                       Internal call to discuss the status of the notice tracker with a specific focus on the corporate income
Steigler,Ella                  Senior           1/26/2023             US State and Local Tax           tax and franchise tax notices and next steps. Meeting attendees: M. Musano, E. Zheng, E. Steigler, &       0.40     $395.00       $158.00
                                                                                                       E. Hall.
                                                                                                       Internal call to discuss the status of the notice tracker with a specific focus on the corporate income
Zheng,Eva                     Manager           1/26/2023             US State and Local Tax           tax and franchise tax notices and next steps. Meeting attendees: M. Musano, E. Zheng, E. Steigler, &       0.40     $525.00       $210.00
                                                                                                       E. Hall.
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                 Name           Rank          Date of Service            Project Category                                                     Description of Services                                            Hours   Hourly Rate   Fees
Bost,Anne                 Managing Director     1/26/2023                 Transfer Pricing             Internal call with A Bost (EY) and Giulia Di Stefano (EY) on the status of the risk analysis              0.50     $775.00       $387.50
Di Stefano,Giulia             Senior            1/26/2023                 Transfer Pricing             Internal call with A Bost (EY) and Giulia Di Stefano (EY) on the status of the risk analysis              0.50     $395.00       $197.50
                                                                                                       Internal discussion with J. Berman, J. Scott, B. Mistler to discuss request list for RLA re: income tax
Shea JR,Thomas M          Partner/Principal     1/26/2023                 US Income Tax                                                                                                                          0.50     $825.00       $412.50
                                                                                                       compliance transition, lookback/diligence for prior year returns
                                                                                                       Internal written correspondence re: Tax examination scope and approach with EY Controversy team,
Shea JR,Thomas M          Partner/Principal     1/26/2023                 US Income Tax                                                                                                                          1.10     $825.00       $907.50
                                                                                                       coordinating partner
                            Client Serving
Scott,James                                     1/26/2023                 US Income Tax                Assist in providing response to Ledger Holdings IRS document request.                                     0.40     $600.00       $240.00
                            Contractor JS
                                                                                                       Meeting to discuss next steps regarding the foreign workstreams and engaging EY member firms. EY
MacLean,Corrie                 Senior           1/26/2023                   Non US Tax                                                                                                                           0.50     $395.00       $197.50
                                                                                                       Attendees: D. Hammon, T. Knoeller, K. Staromiejska, C. MacLean, A. Farrar, C. Tong, T. Shea

                                                                                                       Meeting to discuss next steps regarding the foreign workstreams and engaging EY member firms. EY
Staromiejska,Kinga            Manager           1/26/2023                   Non US Tax                                                                                                                           0.50     $525.00       $262.50
                                                                                                       Attendees: D. Hammon, T. Knoeller, K. Staromiejska, C. MacLean, A. Farrar, C. Tong, T. Shea

                                                                                                       Meeting to discuss next steps regarding the foreign workstreams and engaging EY member firms. EY
Hammon,David Lane             Manager           1/26/2023                   Non US Tax                                                                                                                           0.50     $525.00       $262.50
                                                                                                       Attendees: D. Hammon, T. Knoeller, K. Staromiejska, C. MacLean, A. Farrar, C. Tong, T. Shea

                                                                                                       Meeting to discuss next steps regarding the foreign workstreams and engaging EY member firms. EY
Knoeller,Thomas J.        Partner/Principal     1/26/2023       Project Management Office Transition                                                                                                             0.50     $825.00       $412.50
                                                                                                       Attendees: D. Hammon, T. Knoeller, K. Staromiejska, C. MacLean, A. Farrar, C. Tong, T. Shea

                                                                                                       Meeting to discuss next steps regarding the foreign workstreams and engaging EY member firms. EY
Shea JR,Thomas M          Partner/Principal     1/26/2023                 US Income Tax                                                                                                                          0.50     $825.00       $412.50
                                                                                                       Attendees: D. Hammon, T. Knoeller, K. Staromiejska, C. MacLean, A. Farrar, C. Tong, T. Shea

                                                                                                       Meeting to discuss next steps regarding the foreign workstreams and engaging EY member firms. EY
Farrar,Anne               Partner/Principal     1/26/2023                   Non US Tax                                                                                                                           0.50     $825.00       $412.50
                                                                                                       Attendees: D. Hammon, T. Knoeller, K. Staromiejska, C. MacLean, A. Farrar, C. Tong, T. Shea

                                                                                                       Meeting to discuss next steps regarding the foreign workstreams and engaging EY member firms. EY
Tong,Chia-Hui              Senior Manager       1/26/2023                   Non US Tax                                                                                                                           0.50     $650.00       $325.00
                                                                                                       Attendees: D. Hammon, T. Knoeller, K. Staromiejska, C. MacLean, A. Farrar, C. Tong, T. Shea

                                                                                                       Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
MacLean,Corrie                 Senior           1/26/2023                   Non US Tax                 standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.            1.00     $395.00       $395.00
                                                                                                       Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                       Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Staromiejska,Kinga            Manager           1/26/2023                   Non US Tax                 standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.            1.00     $525.00       $525.00
                                                                                                       Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                       Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Hammon,David Lane             Manager           1/26/2023                   Non US Tax                 standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.            1.00     $525.00       $525.00
                                                                                                       Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                       Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Knoeller,Thomas J.        Partner/Principal     1/26/2023       Project Management Office Transition   standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.            1.00     $825.00       $825.00
                                                                                                       Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                       Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Hammon,David Lane             Manager           1/26/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.             1.00     $525.00       $525.00
                                                                                                       Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                                       Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Knoeller,Thomas J.        Partner/Principal     1/26/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.             1.00     $825.00       $825.00
                                                                                                       Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                                       Meeting to review transition-related items including next steps, issues requiring escalation, setup of
MacLean,Corrie                 Senior           1/26/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.             1.00     $395.00       $395.00
                                                                                                       Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                                       Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Staromiejska,Kinga            Manager           1/26/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.             1.00     $525.00       $525.00
                                                                                                       Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).
                                                                                                       Meeting with team to confirm approach as updated transaction files missed some transactions
Richardson,Audrey Sarah       Manager           1/26/2023              Information Reporting                                                                                                                     1.00     $525.00       $525.00
                                                                                                       necessary for reporting
Richardson,Audrey Sarah       Manager           1/26/2023              Information Reporting           Meeting with T. Nichols and A. Richardson (EY) to review prior year 1099 populations                      1.00     $525.00       $525.00
Nichol,T.J.                Senior Manager       1/26/2023              Information Reporting           Meeting with T. Nichols and A. Richardson (EY) to review prior year 1099 populations                      1.00     $650.00       $650.00
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                 Name           Rank          Date of Service            Project Category                                                      Description of Services                                              Hours   Hourly Rate   Fees
                                                                                                       Perform data analysis by performing vlookups of data against list of in-scope transaction types to
Richardson,Audrey Sarah       Manager           1/26/2023              Information Reporting                                                                                                                        1.60     $525.00       $840.00
                                                                                                       narrow 1099 reporting population
Shea JR,Thomas M          Partner/Principal     1/26/2023                 US Income Tax                Preparation of agenda, including coordination with workstream leads, for Tax C-Suite Update                  1.00     $825.00       $825.00
Rodriguez,Lenny                Senior           1/26/2023                   Non US Tax                 Prepare materiality section for each entity for functional profile.                                          4.00     $395.00      $1,580.00
                                                                                                       Pull and review Wage Motion and Order from docket and provide to EY team reviewing and
                                                                                                       responding to employment tax notices for guidance on pre-petition issues. Articulate bankruptcy
Flagg,Nancy A.            Managing Director     1/26/2023             US State and Local Tax           requirement included in all tax related motions and orders to full EY tax team assisting with corporate      2.00     $775.00      $1,550.00
                                                                                                       and employment tax notice reviews and resolutions to ensure proper bankruptcy protocols are
                                                                                                       followed.
Nichol,T.J.                Senior Manager       1/26/2023              Information Reporting           Remediate gaps identified in the 1099-MISC reporting templates provided by Nils Molina                       2.40     $650.00      $1,560.00
                                                                                                       Meeting to detailed review the bankruptcy wage motion documentation regarding acceptable payment
DeVincenzo,Jennie         Managing Director     1/26/2023                   Payroll Tax                of employment tax pre-petition liabilities and if penalty and interest applies. Attendees: K. Wrenn          0.80     $775.00       $620.00
                                                                                                       (attended for 25 minutes) and J. DeVincenzo
                                                                                                       Meeting to detailed review the bankruptcy wage motion documentation regarding acceptable payment
Wrenn,Kaitlin Doyle           Manager           1/26/2023                   Payroll Tax                of employment tax pre-petition liabilities and if penalty and interest applies. Attendees: K. Wrenn          0.80     $525.00       $420.00
                                                                                                       (attended for 25 minutes) and J. DeVincenzo
Marlow,Joe                     Senior           1/26/2023                Value Added Tax               Review if any new Indirect Tax related documents were available in the Virtual Data Room.                    0.10     $395.00        $39.50
                                                                                                       Review meeting notes and hand outs for 1/24 meeting which N. Flagg and K. Gatt walked through
                           Client Serving                                                              the basics of bankruptcy proceedings for tax purposes. Topics Discuss include pre-petition v. post-
Bieganski,Walter                                1/26/2023             US State and Local Tax                                                                                                                        0.40     $200.00        $80.00
                           Contractor WB                                                               petition treatment of tax liabilities, tax creditor notice process, and particular claims on file with the
                                                                                                       Bankruptcy Court for this case
                                                                                                       Review of information in the data room, questionnaire and internal EY emails to confirm VAT
Madhok,Kishan              Senior Manager       1/26/2023                Value Added Tax                                                                                                                            0.30     $650.00       $195.00
                                                                                                       approach for non-US countries
Berman,Jake               Senior Manager        1/26/2023                 US Income Tax                Review of RLA requests and creation of additional requests for Friday meeting                                0.70     $650.00       $455.00
                              National                                                                 Review of Wage motion regarding pre petition payment of employment taxes and discussion with
Lowery,Kristie L                                1/26/2023                   Payroll Tax                                                                                                                             0.90     $990.00       $891.00
                          Partner/Principal                                                            Nancy Flagg and summary to Kathy Schultea
Ancona,Christopher             Senior           1/26/2023          Fee/Employment Applications         Review first monthly monthly application                                                                     2.50     $395.00        $987.50
Ancona,Christopher             Senior           1/26/2023          Fee/Employment Applications         Continue to review and prepare exhibits for the first monthly fee application                                3.20     $395.00      $1,264.00
                                                                                                       Review the 1099-MISC reporting templates provided by Nils Molina and identified gaps in required
Nichol,T.J.                Senior Manager       1/26/2023              Information Reporting                                                                                                                        2.60     $650.00      $1,690.00
                                                                                                       data attributes
                            Client Serving
Scott,James                                     1/26/2023                 US Income Tax                RLA detail document request review and assignment                                                            0.50     $600.00       $300.00
                            Contractor JS
                                                                                                       State and Local Tax - Sales and Use tax review - Analysis pertaining to payable invoices provided to
Jimenez,Joseph Robert      Senior Manager       1/26/2023             US State and Local Tax           determine whether vendor properly charged sales tax or any use tax exposure in instances where the           0.80     $650.00       $520.00
                                                                                                       vendor did not charge sales tax.
                                                                                                       Summarize FTX EY Leads touchpoint meeting discussion, compile action items, follow-up items, and
Ancona,Christopher             Senior           1/26/2023       Project Management Office Transition                                                                                                                1.20     $395.00       $474.00
                                                                                                       applicable parties. Circulate meeting notes to EY Leads.
                                                                                                       Draft correspondence with EY Controversy team, M Cilia (FTX), and S&C re: power of attorney for
Shea JR,Thomas M          Partner/Principal     1/26/2023                 US Income Tax                                                                                                                             1.40     $825.00      $1,155.00
                                                                                                       Ledger Holdings tax examination
Shea JR,Thomas M          Partner/Principal     1/27/2023       Project Management Office Transition   Meeting with T. Shea (EY), C. Ancona (EY), A. Farrar (EY) to discuss FTX strategy                            0.50     $825.00       $412.50
Farrar,Anne               Partner/Principal     1/27/2023       Project Management Office Transition   Meeting with T. Shea (EY), C. Ancona (EY), A. Farrar (EY) to discuss FTX strategy                            0.50     $825.00       $412.50
Ancona,Christopher             Senior           1/27/2023       Project Management Office Transition   Meeting with T. Shea (EY), C. Ancona (EY), A. Farrar (EY) to discuss FTX strategy                            0.50     $395.00       $197.50
                                                                                                       Internal discussion re: additional accounting/bookkeeping and payroll support workstreams. EY
Farrar,Anne               Partner/Principal     1/27/2023                 US Income Tax                                                                                                                             0.50     $825.00       $412.50
                                                                                                       attendees: A. Farrar, C. Ancona and T. Shea
                                                                                                       Internal discussion re: additional accounting/bookkeeping and payroll support workstreams. EY
Ancona,Christopher             Senior           1/27/2023                 US Income Tax                                                                                                                             0.50     $395.00       $197.50
                                                                                                       attendees: A. Farrar, C. Ancona and T. Shea
                                                                                                       Internal discussion re: additional accounting/bookkeeping and payroll support workstreams. EY
Shea JR,Thomas M          Partner/Principal     1/27/2023                 US Income Tax                                                                                                                             0.50     $825.00       $412.50
                                                                                                       attendees: A. Farrar, C. Ancona and T. Shea
                                                                                                       Call with A. Farrar (EY), C. Tong (EY), C. Ancona (EY) and P. Ash (EY) to level set on action
Farrar,Anne               Partner/Principal     1/27/2023       Project Management Office Transition                                                                                                                0.50     $825.00       $412.50
                                                                                                       items for on-site meetings including aligns on workstream calendars and deadlines
                                                                                                       Call with A. Farrar (EY), C. Tong (EY), C. Ancona (EY) and P. Ash (EY) to level set on action
Tong,Chia-Hui              Senior Manager       1/27/2023       Project Management Office Transition                                                                                                                0.50     $650.00       $325.00
                                                                                                       items for on-site meetings including aligns on workstream calendars and deadlines
                                                                                                       Call with A. Farrar (EY), C. Tong (EY), C. Ancona (EY) and P. Ash (EY) to level set on action
Ash,Polly Westerberg       Senior Manager       1/27/2023       Project Management Office Transition                                                                                                                0.50     $650.00       $325.00
                                                                                                       items for on-site meetings including aligns on workstream calendars and deadlines
                                                                                                       Call with A. Farrar (EY), C. Tong (EY), C. Ancona (EY) and P. Ash (EY) to level set on action
Ancona,Christopher             Senior           1/27/2023       Project Management Office Transition                                                                                                                0.50     $395.00       $197.50
                                                                                                       items for on-site meetings including aligns on workstream calendars and deadlines
                                                                                                       Review timesheet entries for monthly fee application process to ensure entries were recorded
Ancona,Christopher             Senior           1/27/2023          Fee/Employment Applications                                                                                                                      0.80     $395.00       $316.00
                                                                                                       correctly in accordance with Bankruptcy court guidelines
Santoro,David                 Manager           1/27/2023              Information Reporting           Analyze and scope 1099 data.                                                                                 0.90     $525.00       $472.50
                                                                                                       Review the tax filing calendar tracker created by staff and have senior to work with staff to correct
Zheng,Eva                     Manager           1/27/2023             US State and Local Tax                                                                                                                        0.50     $525.00       $262.50
                                                                                                       issues
                                                                                                       Call with M. Musano (EY) and J. Jimenez (EY) on possible sales and use tax and commercial rent tax
Jimenez,Joseph Robert      Senior Manager       1/27/2023             US State and Local Tax                                                                                                                        0.50     $650.00       $325.00
                                                                                                       exposure
                                                                                                       Call with M. Musano (EY) and J. Jimenez (EY) on possible sales and use tax and commercial rent tax
Musano,Matthew Albert      Senior Manager       1/27/2023             US State and Local Tax                                                                                                                        0.50     $650.00       $325.00
                                                                                                       exposure
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                  Name          Rank          Date of Service        Project Category                                                    Description of Services                                          Hours   Hourly Rate   Fees
                                                                                                Conclude risk analysis on the intercompany agreements and performed research on FTX's and
Di Stefano,Giulia              Senior           1/27/2023             Transfer Pricing                                                                                                                    3.60     $395.00      $1,422.00
                                                                                                affiliates users terms and conditions for purposes of risk allocation
Rule,Martin Daniel         Senior Manager       1/27/2023               Payroll Tax             Contact IRS request compliance check and copy of transcripts.                                             0.60     $650.00       $390.00
                                                                                                Corporate Notices Day 2 (continued): Summarize pressing notices or those with tax liability and sent
Hall,Emily Melissa             Senior           1/27/2023         US State and Local Tax                                                                                                                  0.70     $395.00       $276.50
                                                                                                out an email to the bankruptcy and tax team.
                                                                                                Corporate Notices Day 2: Review remaining notices with tax liability or notices that require
Hall,Emily Melissa             Senior           1/27/2023         US State and Local Tax                                                                                                                  1.30     $395.00       $513.50
                                                                                                immediate action and included updates in the tracker.
Hammon,David Lane             Manager           1/27/2023              Non US Tax               Correspondence with PMO team regarding status updates of the various foreign workstreams                  2.20     $525.00      $1,155.00
Nichol,T.J.                Senior Manager       1/27/2023          Information Reporting        Determine next steps for identified gaps in required data                                                 3.30     $650.00      $2,145.00
Nichol,T.J.                Senior Manager       1/27/2023          Information Reporting        Meeting with T. Nichol (EY) and A Richardson (EY) to review data and approach slides                      0.90     $650.00        $585.00
Richardson,Audrey Sarah       Manager           1/27/2023          Information Reporting        Meeting with T. Nichol (EY) and A Richardson (EY) to review data and approach slides                      0.90     $525.00        $472.50
                                                                                                Draft of workplan summarizing milestones/tasks needing to be completed to finish due diligence
Hammon,David Lane             Manager           1/27/2023              Non US Tax                                                                                                                         1.40     $525.00       $735.00
                                                                                                procedures
                              National
Simpson,Kirsten                                 1/27/2023              Tax Advisory             Draft outline consideration structuring and potential alternatives and income tax implications, if any    2.30     $990.00      $2,277.00
                          Partner/Principal
                                                                                                Draft slide deck with newest approach, assumptions, and risks, based on the newest approach landed
Richardson,Audrey Sarah       Manager           1/27/2023          Information Reporting                                                                                                                  1.70     $525.00       $892.50
                                                                                                on with teampermed more data analysis to show examples of how we landed on our 1099 approach
                            Client Serving
Scott,James                                     1/27/2023       Fee/Employment Applications     Review fee application prior to filing                                                                    0.70     $600.00       $420.00
                            Contractor JS
                                                                                                Follow-up related to the outstanding items were reviewing, including sending emails to internal teams
Jayanthi,Lakshmi           Senior Manager       1/27/2023           US International Tax        to get status updates, setting up calls related to open items and reviewing the Box to determine if not   1.60     $650.00      $1,040.00
                                                                                                documents were uploaded.
                                                                                                Internal conference to discuss next steps in transfer pricing analysis, including discussion regarding
                                                                                                possible borne risk amongst certain entities, identifying materially related to service providing
Hall,Olivia                     Staff           1/27/2023             Transfer Pricing                                                                                                                    0.50     $225.00       $112.50
                                                                                                companies and mapping transfer pricing policy. Call participates: D. Katsnelson (EY); L. Rodriquez
                                                                                                (EY); D. McComber (EY); G. Di Stefano (EY); A. Bost (EY); O, Hall (EY)and S Canale (EY).

                                                                                                Internal conference to discuss next steps in transfer pricing analysis, including discussion regarding
                                                                                                possible borne risk amongst certain entities, identifying materially related to service providing
Bost,Anne                 Managing Director     1/27/2023             Transfer Pricing                                                                                                                    0.50     $775.00       $387.50
                                                                                                companies and mapping transfer pricing policy. Call participates: D. Katsnelson (EY); L. Rodriquez
                                                                                                (EY); D. McComber (EY); G. Di Stefano (EY); A. Bost (EY); O, Hall (EY)and S Canale (EY).

                                                                                                Internal conference to discuss next steps in transfer pricing analysis, including discussion regarding
                                                                                                possible borne risk amongst certain entities, identifying materially related to service providing
Canale,Steven P.               Senior           1/27/2023             Transfer Pricing                                                                                                                    0.50     $395.00       $197.50
                                                                                                companies and mapping transfer pricing policy. Call participates: D. Katsnelson (EY); L. Rodriquez
                                                                                                (EY); D. McComber (EY); G. Di Stefano (EY); A. Bost (EY); O, Hall (EY)and S Canale (EY).

                                                                                                Internal conference to discuss next steps in transfer pricing analysis, including discussion regarding
                                                                                                possible borne risk amongst certain entities, identifying materially related to service providing
Di Stefano,Giulia              Senior           1/27/2023             Transfer Pricing                                                                                                                    0.50     $395.00       $197.50
                                                                                                companies and mapping transfer pricing policy. Call participates: D. Katsnelson (EY); L. Rodriquez
                                                                                                (EY); D. McComber (EY); G. Di Stefano (EY); A. Bost (EY); O, Hall (EY)and S Canale (EY).

                                                                                                Internal conference to discuss next steps in transfer pricing analysis, including discussion regarding
                                                                                                possible borne risk amongst certain entities, identifying materially related to service providing
Katsnelson,David              Manager           1/27/2023             Transfer Pricing                                                                                                                    0.50     $525.00       $262.50
                                                                                                companies and mapping transfer pricing policy. Call participates: D. Katsnelson (EY); L. Rodriquez
                                                                                                (EY); D. McComber (EY); G. Di Stefano (EY); A. Bost (EY); O, Hall (EY)and S Canale (EY).

                                                                                                Internal conference to discuss next steps in transfer pricing analysis, including discussion regarding
                              National                                                          possible borne risk amongst certain entities, identifying materially related to service providing
McComber,Donna                                  1/27/2023             Transfer Pricing                                                                                                                    0.50     $990.00       $495.00
                          Partner/Principal                                                     companies and mapping transfer pricing policy. Call participates: D. Katsnelson (EY), L. Rodriquez
                                                                                                (EY), D. McComber (EY), G. Di Stefano (EY), A. Bost (EY), O, Hall (EY) and S Canale (EY).

                                                                                                Internal conference to discuss next steps in transfer pricing analysis, including discussion regarding
                                                                                                possible borne risk amongst certain entities, identifying materially related to service providing
Rodriguez,Lenny                Senior           1/27/2023              Non US Tax                                                                                                                         0.50     $395.00       $197.50
                                                                                                companies and mapping transfer pricing policy. Call participates: D. Katsnelson (EY); L. Rodriquez
                                                                                                (EY); D. McComber (EY); G. Di Stefano (EY); A. Bost (EY); O, Hall (EY)and S Canale (EY).
                            Client Serving                                                      Assist in responding to IRS document request for West Realm Shires Services, Alameda Research
Scott,James                                     1/27/2023             US Income Tax                                                                                                                       0.60     $600.00       $360.00
                            Contractor JS                                                       Holdings, Paper Bird, North Dimension
                                                                                                Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
MacLean,Corrie                 Senior           1/27/2023              Non US Tax               standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.            1.00     $395.00       $395.00
                                                                                                Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)
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                 Name          Rank           Date of Service            Project Category                                                     Description of Services                                           Hours   Hourly Rate   Fees

                                                                                                       Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Staromiejska,Kinga            Manager           1/27/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.            1.00     $525.00       $525.00
                                                                                                       Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                                       Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Hammon,David Lane             Manager           1/27/2023                   Non US Tax                 standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.           1.00     $525.00       $525.00
                                                                                                       Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                       Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Knoeller,Thomas J.        Partner/Principal     1/27/2023       Project Management Office Transition   standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.           1.00     $825.00       $825.00
                                                                                                       Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                       Meeting to update the PMO team on the status of various items concerning the foreign workstreams.
Staromiejska,Kinga            Manager           1/27/2023                   Non US Tax                                                                                                                          0.50     $525.00       $262.50
                                                                                                       EY Attendees: D. Hammon, K. Staromiejska, A. Farrar, T. Knoeller, C. Tong, C. MacLean

                                                                                                       Meeting to update the PMO team on the status of various items concerning the foreign workstreams.
Staromiejska,Kinga            Manager           1/27/2023                   Non US Tax                                                                                                                          0.50     $525.00       $262.50
                                                                                                       EY Attendees: D. Hammon, K. Staromiejska, A. Farrar, T. Knoeller, C. Tong, C. MacLean

                                                                                                       Meeting to update the PMO team on the status of various items concerning the foreign workstreams.
MacLean,Corrie                 Senior           1/27/2023                   Non US Tax                                                                                                                          0.50     $395.00       $197.50
                                                                                                       EY Attendees: D. Hammon, K. Staromiejska, A. Farrar, T. Knoeller, C. Tong, C. MacLean

                                                                                                       Meeting to update the PMO team on the status of various items concerning the foreign workstreams.
Hammon,David Lane             Manager           1/27/2023                   Non US Tax                                                                                                                          0.50     $525.00       $262.50
                                                                                                       EY Attendees: D. Hammon, K. Staromiejska, A. Farrar, T. Knoeller, C. Tong, C. MacLean

                                                                                                       Meeting to update the PMO team on the status of various items concerning the foreign workstreams.
Knoeller,Thomas J.        Partner/Principal     1/27/2023                   Non US Tax                                                                                                                          0.50     $825.00       $412.50
                                                                                                       EY Attendees: D. Hammon, K. Staromiejska, A. Farrar, T. Knoeller, C. Tong, C. MacLean

                                                                                                       Meeting to update the PMO team on the status of various items concerning the foreign workstreams.
Farrar,Anne               Partner/Principal     1/27/2023                   Non US Tax                                                                                                                          0.50     $825.00       $412.50
                                                                                                       EY Attendees: D. Hammon, K. Staromiejska, A. Farrar, T. Knoeller, C. Tong, C. MacLean

                                                                                                       Meeting to update the PMO team on the status of various items concerning the foreign workstreams.
Tong,Chia-Hui              Senior Manager       1/27/2023                   Non US Tax                                                                                                                          0.50     $650.00       $325.00
                                                                                                       EY Attendees: D. Hammon, K. Staromiejska, A. Farrar, T. Knoeller, C. Tong, C. MacLean
                              National                                                                 Meeting with K Lowery (EY) and K Wrenn (EY) to discuss 2023 and prior periods US and global
Lowery,Kristie L                                1/27/2023                   Payroll Tax                                                                                                                         1.60     $990.00      $1,584.00
                          Partner/Principal                                                            employment tax service items.
                                                                                                       Meeting with K Lowery (EY) and K Wrenn (EY) to discuss 2023 and prior periods US and global
Wrenn,Kaitlin Doyle           Manager           1/27/2023                   Payroll Tax                                                                                                                         1.60     $525.00       $840.00
                                                                                                       employment tax service items.
                                                                                                       Meeting with T. Nichol (EY) and A. Richardson (EY) to review the new accounts payable report
Nichol,T.J.                Senior Manager       1/27/2023              Information Reporting                                                                                                                    1.00     $650.00       $650.00
                                                                                                       pulled from quick book
                                                                                                       Meeting with T. Nichol (EY) and A. Richardson (EY) to review the new accounts payable report
Richardson,Audrey Sarah       Manager           1/27/2023              Information Reporting                                                                                                                    1.00     $525.00       $525.00
                                                                                                       pulled from quick book
Nichol,T.J.                Senior Manager       1/27/2023              Information Reporting           Perform additional analysis on the 1099-MISC reporting data provided by Nils                             2.40     $650.00      $1,560.00
                            Client Serving
Scott,James                                     1/27/2023                 US Income Tax                PMO slide review                                                                                         0.40     $600.00       $240.00
                            Contractor JS
                                                                                                       Prepare for and discussion with RLA with R Lee, M Hernandez, T Ferris, TJ Nichols, B Mistler, T
Berman,Jake                Senior Manager       1/27/2023                 US Income Tax                                                                                                                         1.10     $650.00       $715.00
                                                                                                       Shea
MacLean,Corrie                Senior            1/27/2023                  Non US Tax                  Prepare PSM, foreign office ACR and payroll contact                                                      0.70     $395.00        $276.50
Bost,Anne                 Managing Director     1/27/2023                 Transfer Pricing             Research FTX trading system line of credit                                                               0.30     $775.00        $232.50
Bost,Anne                 Managing Director     1/27/2023                 Transfer Pricing             Research and review articles on allocation of payments in bankruptcy cases                               2.40     $775.00      $1,860.00
                                                                                                       Research details concerning FTX Trading's insurance fund and backstop liquidity provider program to
Bailey,Doug               Partner/Principal     1/27/2023                  Tax Advisory                                                                                                                         2.30     $825.00      $1,897.50
                                                                                                       determine if taxable income was understated
Marlow,Joe                     Senior           1/27/2023                Value Added Tax               Review if any new Indirect Tax related documents were available in the Virtual Data Room.                0.10     $395.00        $39.50
                                                                                                       Review of global payroll ad hoc requests from Switzerland, Gilbaralter and Germany, coordination
Wrenn,Kaitlin Doyle           Manager           1/27/2023                   Payroll Tax                                                                                                                         1.30     $525.00       $682.50
                                                                                                       with global payroll operate team
Marlow,Joe                      Senior          1/27/2023                Value Added Tax               Review of historic files uploaded                                                                        0.70     $395.00       $276.50
Tong,Chia-Hui              Senior Manager       1/27/2023       Project Management Office Transition   Review PMO action items with engagement team                                                             1.20     $650.00       $780.00
                            Client Serving
Scott,James                                     1/27/2023                 US Income Tax                RLA documentation gap next steps                                                                         0.60     $600.00       $360.00
                            Contractor JS
                                                                                                       Schedule meetings concerning Germany and Switzerland bookkeeping and payroll urgent assistance
Hammon,David Lane             Manager           1/27/2023                   Non US Tax                                                                                                                          3.20     $525.00      $1,680.00
                                                                                                       (identification of EY local teams, getting local teams up to speed, Correspondence)
                                                                                                       Scope analysis - E-mail Correspondence summarizing additional scope of services that may be
Jimenez,Joseph Robert      Senior Manager       1/27/2023             US State and Local Tax                                                                                                                    0.40     $650.00       $260.00
                                                                                                       required for drafted statement of work.
Carver,Cody R.                 Senior           1/27/2023                   Payroll Tax                Status update of IRS notices and IRS transcript requests                                                 0.30     $395.00       $118.50
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                  Name          Rank          Date of Service            Project Category                                                     Description of Services                                         Hours   Hourly Rate   Fees
                                                                                                       Tax Team Leads call with S&C, A&M to discuss status and issues relevant to FTX tax workstreams
Mistler,Brian M               Manager           1/27/2023                 US Income Tax                being performed by each firm. Attendees: J. Berman (EY), J. Scott (EY), C. Howe (A&M), D.              0.50     $525.00       $262.50
                                                                                                       Hariton (S&C), B. Mistler (EY), T. Shea (EY)
                                                                                                       Tax Team Leads call with S&C, A&M to discuss status and issues relevant to FTX tax workstreams
                            Client Serving
Scott,James                                     1/27/2023                 US Income Tax                being performed by each firm. Attendees: J. Berman (EY), J. Scott (EY), C. Howe (A&M), D.              0.50     $600.00       $300.00
                            Contractor JS
                                                                                                       Hariton (S&C), B. Mistler (EY), T. Shea (EY)
                                                                                                       Tax Team Leads call with S&C, A&M to discuss status and issues relevant to FTX tax workstreams
Berman,Jake                Senior Manager       1/27/2023                 US Income Tax                being performed by each firm. Attendees: J. Berman (EY), J. Scott (EY), C. Howe (A&M), D.              0.50     $650.00       $325.00
                                                                                                       Hariton (S&C), B. Mistler (EY), T. Shea (EY)
                                                                                                       Tax Team Leads call with S&C, A&M to discuss status and issues relevant to FTX tax workstreams
Shea JR,Thomas M          Partner/Principal     1/27/2023                 US Income Tax                being performed by each firm. Attendees: J. Berman (EY), J. Scott (EY), C. Howe (A&M), D.              0.50     $825.00       $412.50
                                                                                                       Hariton (S&C), B. Mistler (EY), T. Shea (EY)
Hall,Emily Melissa             Senior           1/27/2023             US State and Local Tax           Update workstream tracker for state and local tax purposes and added additional tasks.                 0.20     $395.00        $79.00
                                                                                                       Draft correspondence between S&C and EY Controversy team regarding Ledger Holdings tax
Shea JR,Thomas M          Partner/Principal     1/27/2023                 US Income Tax                                                                                                                       1.00     $825.00       $825.00
                                                                                                       examination
                                                                                                       Prepare correspondence with S&C and relevant EY team leads re: additional tax examination notices
Shea JR,Thomas M          Partner/Principal     1/27/2023                 US Income Tax                                                                                                                       1.10     $825.00       $907.50
                                                                                                       for certain other entities
Ash,Polly Westerberg       Senior Manager       1/27/2023          Fee/Employment Applications         Draft initial December fee application for review by U.S. Bankruptcy courts                            1.20     $650.00       $780.00
Ancona,Christopher             Senior           1/29/2023          Fee/Employment Applications         Review the Monthly Fee Application                                                                     1.80     $395.00       $711.00
Berman,Jake                Senior Manager       1/29/2023                US Income Tax                 Work on federal tax summaries for Ledger Holdings Inc and other federal FTX entities                   0.40     $650.00       $260.00
Flagg,Nancy A.            Managing Director     1/29/2023             US State and Local Tax           Reply to EY J. Scott on pre-petition income tax definition and classification for notice review        1.10     $775.00       $852.50
                                                                                                       Coordination of EY teams schedules to have a call with FTX Asia team to discuss urgent assistance in
Hammon,David Lane             Manager           1/29/2023                   Non US Tax                                                                                                                        0.70     $525.00       $367.50
                                                                                                       Singapore and Japan
                                                                                                       MVL ASSISTANCE - Consideration of next steps (position re regulator, Co House up to date, poss
Rumford,Neil              Partner/Principal     1/29/2023                   Non US Tax                                                                                                                        1.00     $990.00       $990.00
                                                                                                       redundancy, MVL Q
Rumford,Neil              Partner/Principal     1/29/2023                   Non US Tax                 MVL ASSISTANCE - Review information emailed by Olga Okuneva on 1/27/23                                 0.50     $990.00       $495.00
                                                                                                       Review quickbooks transaction data in order to determine what assumptions needed to be made for
Richardson,Audrey Sarah       Manager           1/29/2023              Information Reporting                                                                                                                  1.70     $525.00       $892.50
                                                                                                       1099 reporting. Document assumptions and organize data.
Ellenson,Cory              Senior Manager       1/30/2023                IRS Audit Matters             IRS audit. Call with Tom, David from S&C and C. Ellenson (EY)                                          0.50     $650.00       $325.00
Alfaro,Adriana                  Staff           1/30/2023                   Payroll Tax                Catalog notices for Employment Tax                                                                     1.30     $225.00       $292.50
                                                                                                       Follow up on Project Management Office action items including correspondence with workstream
Ancona,Christopher             Senior           1/30/2023       Project Management Office Transition                                                                                                          0.50     $395.00       $197.50
                                                                                                       leads and updating the Project Management Office status tracker
Ancona,Christopher             Senior           1/30/2023          Fee/Employment Applications         Meeting with C. Tong (EY) and C. Ancona (EY) to discuss monthly fee application                        0.50     $395.00        $197.50
Tong,Chia-Hui              Senior Manager       1/30/2023          Fee/Employment Applications         Meeting with C. Tong (EY) and C. Ancona (EY) to discuss monthly fee application                        0.50     $650.00        $325.00
Ancona,Christopher             Senior           1/30/2023          Fee/Employment Applications         Review Monthly Fee Application                                                                         0.60     $395.00        $237.00
Nichol,T.J.                Senior Manager       1/30/2023             Information Reporting            1099-NEC data analysis for Ledger entities                                                             3.70     $650.00      $2,405.00
Di Stefano,Giulia              Senior           1/30/2023                Transfer Pricing              Analyze FTX Japan email for assistance in TP planning                                                  0.40     $395.00        $158.00
                                                                                                       Call with D Hariton (S&C), C Ellenson (EY) and T Shea (EY) to discuss IRS Examination approach,
Ellenson,Cory              Senior Manager       1/30/2023                 US Income Tax                                                                                                                       1.00     $650.00       $650.00
                                                                                                       cadence, support model
                                                                                                       Call with D Hariton (S&C), C Ellenson (EY) and T Shea (EY) to discuss IRS Examination approach,
Shea JR,Thomas M          Partner/Principal     1/30/2023                 US Income Tax                                                                                                                       1.00     $825.00       $825.00
                                                                                                       cadence, support model
                                                                                                       Call with K Lowery (EY), K Soderman (EY), J Yencho (EY), J DeVincenzo (EY) and K Wrenn
                              National
Lowery,Kristie L                                1/30/2023                   Payroll Tax                (EY) to discuss global payroll operation questions for FTX and transition of ad hoc request for        0.40     $990.00       $396.00
                          Partner/Principal
                                                                                                       Switzerland, Germany and Gibraltar.
                                                                                                       Call with K Lowery (EY), K Soderman (EY), J Yencho (EY), J DeVincenzo (EY) and K Wrenn
DeVincenzo,Jennie         Managing Director     1/30/2023                   Payroll Tax                (EY) to discuss global payroll operation questions for FTX and transition of ad hoc request for        0.40     $775.00       $310.00
                                                                                                       Switzerland, Germany and Gibraltar.
                                                                                                       Call with K Lowery (EY), K Soderman (EY), J Yencho (EY), J DeVincenzo (EY) and K Wrenn
Soderman,Kathy            Managing Director     1/30/2023                   Payroll Tax                (EY) to discuss global payroll operation questions for FTX and transition of ad hoc request for        0.40     $775.00       $310.00
                                                                                                       Switzerland, Germany and Gibraltar.
                                                                                                       Call with K Lowery (EY), K Soderman (EY), J Yencho (EY), J DeVincenzo (EY) and K Wrenn
Wrenn,Kaitlin Doyle           Manager           1/30/2023                   Payroll Tax                (EY) to discuss global payroll operation questions for FTX and transition of ad hoc request for        0.40     $525.00       $210.00
                                                                                                       Switzerland, Germany and Gibraltar.
                                                                                                       Call with K Lowery (EY), K Soderman (EY), J Yencho (EY), J DeVincenzo (EY) and K Wrenn
Yencho,Jeremiah           Managing Director     1/30/2023                   Payroll Tax                (EY) to discuss global payroll operation questions for FTX and transition of ad hoc request for        0.40     $775.00       $310.00
                                                                                                       Switzerland, Germany and Gibraltar.
Hammon,David Lane             Manager           1/30/2023                   Non US Tax                 Correspondence regarding on-call compliance services (Gibraltar, Germany, Japan, Singapore)            2.50     $525.00      $1,312.50
                                                                                                       Correspondence with leadership on communication to local teams regarding engagement updates
Hammon,David Lane             Manager           1/30/2023                   Non US Tax                                                                                                                        2.90     $525.00      $1,522.50
                                                                                                       (contracting, scope, next steps)
                                                                                                       Discuss Indian and Singapore tax considerations associated with the potential sale of FTX Japan KK
Bailey,Doug               Partner/Principal     1/30/2023                  Tax Advisory                                                                                                                       0.50     $825.00       $412.50
                                                                                                       with R. Nichols (EY), C. Gala (EY), L. Lovelace (EY), D. Bailey (EY), L. Jayanthi (EY)
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                  Name          Rank           Date of Service     Project Category                                                Description of Services                                        Hours   Hourly Rate   Fees

                                                                                            Discuss Indian and Singapore tax considerations associated with the potential sale of FTX Japan KK
Gala,Chintan                Senior Manager       1/30/2023           Tax Advisory                                                                                                                 0.50     $650.00       $325.00
                                                                                            with R. Nichols (EY), C. Gala (EY), L. Lovelace (EY), D. Bailey (EY), L. Jayanthi (EY)

                                                                                            Discuss Indian and Singapore tax considerations associated with the potential sale of FTX Japan KK
Lovelace,Lauren            Partner/Principal     1/30/2023           Tax Advisory                                                                                                                 0.50     $825.00       $412.50
                                                                                            with R. Nichols (EY), C. Gala (EY), L. Lovelace (EY), D. Bailey (EY), L. Jayanthi (EY)

                                                                                            Discuss Indian and Singapore tax considerations associated with the potential sale of FTX Japan KK
Jayanthi,Lakshmi            Senior Manager       1/30/2023           Tax Advisory                                                                                                                 0.50     $650.00       $325.00
                                                                                            with R. Nichols (EY), C. Gala (EY), L. Lovelace (EY), D. Bailey (EY), L. Jayanthi (EY)

                                                                                            Discuss Indian and Singapore tax considerations associated with the potential sale of FTX Japan KK
Nicholas,Russell Kenneth    Senior Manager       1/30/2023           Tax Advisory                                                                                                                 0.50     $650.00       $325.00
                                                                                            with R. Nichols (EY), C. Gala (EY), L. Lovelace (EY), D. Bailey (EY), L. Jayanthi (EY)
                                                                                            Discussion on potential PFIC filings required based on minority investments made by FTX with L.
Raulli,Lindsay Elizabeth    Senior Manager       1/30/2023           Tax Advisory           Lovelace (EY), D. Bailey (EY), L. Raulli (EY), D. Hariton (S&C), A. Ulyaneko (A&M), A. Kritzman       0.50     $650.00       $325.00
                                                                                            (A&M) and L. Jayanthi (EY)
                                                                                            Discussion on potential PFIC filings required based on minority investments made by FTX with L.
Lovelace,Lauren            Partner/Principal     1/30/2023           Tax Advisory           Lovelace (EY), D. Bailey (EY), L. Raulli (EY), D. Hariton (S&C), A. Ulyaneko (A&M), A. Kritzman       0.50     $825.00       $412.50
                                                                                            (A&M) and L. Jayanthi (EY)
                                                                                            Discussion on potential PFIC filings required based on minority investments made by FTX with L.
Bailey,Doug                Partner/Principal     1/30/2023           Tax Advisory           Lovelace (EY), D. Bailey (EY), L. Raulli (EY), D. Hariton (S&C), A. Ulyaneko (A&M), A. Kritzman       0.50     $825.00       $412.50
                                                                                            (A&M) and L. Jayanthi (EY)
                                                                                            Discussion on potential PFIC filings required based on minority investments made by FTX with L.
Jayanthi,Lakshmi            Senior Manager       1/30/2023           Tax Advisory           Lovelace (EY), D. Bailey (EY), L. Raulli (EY), D. Hariton (S&C), A. Ulyaneko (A&M), A. Kritzman       0.50     $650.00       $325.00
                                                                                            (A&M) and L. Jayanthi (EY)
                                                                                            Discussion on tax treatment of the divestures/potential sale of non-US FTX entities as well as
Bailey,Doug                Partner/Principal     1/30/2023           Tax Advisory                                                                                                                 1.00     $825.00       $825.00
                                                                                            ownership of Robinhood shares with L. Lovelace, D. Bailey, L. Raulli, L. Jayanthi (All EY)

                                                                                            Discussion on tax treatment of the divestures/potential sale of non-US FTX entities as well as
Jayanthi,Lakshmi            Senior Manager       1/30/2023           Tax Advisory                                                                                                                 1.00     $650.00       $650.00
                                                                                            ownership of Robinhood shares with L. Lovelace, D. Bailey, L. Raulli, L. Jayanthi (All EY)
                               National
Simpson,Kirsten                                  1/30/2023           Tax Advisory                                                                                                                 3.30     $990.00      $3,267.00
                           Partner/Principal                                                Draft outline analyzing past FTX reorganizations.
                                                                                            Draft response to Sullivan and Cromwell's business license request and including scoping language
Musano,Matthew Albert       Senior Manager       1/30/2023       US State and Local Tax                                                                                                           2.70     $650.00      $1,755.00
                                                                                            and EY / non-EY fees in the response
                                                                                            Draft workplan to summarize milestones/tasks needing to be completed in order to finish the due
Hammon,David Lane              Manager           1/30/2023            Non US Tax                                                                                                                  1.10     $525.00       $577.50
                                                                                            diligence procedures
                                                                                            EY internal call to address general questions about bankruptcy notice and actions to take when
Flagg,Nancy A.             Managing Director     1/30/2023       US State and Local Tax                                                                                                           0.30     $775.00       $232.50
                                                                                            dealing with them. Attendees: D. Johnson, J. Scott, T. Shea, N. Flagg, K. Gatt (All EY)
                                                                                            EY internal call to address general questions about bankruptcy notice and actions to take when
Gatt,Katie                  Senior Manager       1/30/2023       US State and Local Tax                                                                                                           0.30     $650.00       $195.00
                                                                                            dealing with them. Attendees: D. Johnson, J. Scott, T. Shea, N. Flagg, K. Gatt (All EY)
                                                                                            EY internal call to address general questions about bankruptcy notice and actions to take when
Johnson,Derrick Joseph           Staff           1/30/2023       US State and Local Tax                                                                                                           0.30     $225.00        $67.50
                                                                                            dealing with them. Attendees: D. Johnson, J. Scott, T. Shea, N. Flagg, K. Gatt (All EY)
                             Client Serving                                                 EY internal call to address general questions about bankruptcy notice and actions to take when
Scott,James                                      1/30/2023          US Income Tax                                                                                                                 0.30     $600.00       $180.00
                             Contractor JS                                                  dealing with them. Attendees: D. Johnson, J. Scott, T. Shea, N. Flagg, K. Gatt (All EY)
                             Client Serving
Scott,James                                      1/30/2023          US Income Tax           Federal tax technical analysis                                                                        1.20     $600.00       $720.00
                             Contractor JS
Raulli,Lindsay Elizabeth    Senior Manager       1/30/2023        US International Tax      FTX - Divestures & PFIC                                                                               1.50     $650.00       $975.00
Santoro,David                   Manager          1/30/2023       Information Reporting      Review and analyze 1099 vendor data for FTX                                                           0.70     $525.00       $367.50
                                                                                            Internal call to discuss the unclaimed property notices, procedures for responding to notices and
Toi,Sarah Massey           Partner/Principal     1/30/2023       US State and Local Tax     payments, and unclaimed property considerations as related to bankruptcy proceedings. EY Meeting      0.50     $825.00       $412.50
                                                                                            attendees: M. Musano, N. Flagg, S. Toi, and E. Hall
                                                                                            Internal call to discuss the unclaimed property notices, procedures for responding to notices and
Flagg,Nancy A.             Managing Director     1/30/2023       US State and Local Tax     payments, and unclaimed property considerations as related to bankruptcy proceedings. EY Meeting      0.50     $775.00       $387.50
                                                                                            attendees: M. Musano, N. Flagg, S. Toi, and E. Hall
                                                                                            Internal call to discuss the unclaimed property notices, procedures for responding to notices and
Hall,Emily Melissa              Senior           1/30/2023       US State and Local Tax     payments, and unclaimed property considerations as related to bankruptcy proceedings. EY Meeting      0.50     $395.00       $197.50
                                                                                            attendees: M. Musano, N. Flagg, S. Toi, and E. Hall
                                                                                            Internal call to discuss the unclaimed property notices, procedures for responding to notices and
Musano,Matthew Albert       Senior Manager       1/30/2023       US State and Local Tax     payments, and unclaimed property considerations as related to bankruptcy proceedings. EY Meeting      0.50     $650.00       $325.00
                                                                                            attendees: M. Musano, N. Flagg, S. Toi, and E. Hall
                                                                                            Internal discussion re: global payroll services support workstream. Attendees: K. Soderman (EY), E.
Soderman,Kathy             Managing Director     1/30/2023          US Income Tax                                                                                                                 0.50     $775.00       $387.50
                                                                                            Hachmer, S. Sullivan, J. Yencho (EY), T. Shea (EY)
                                                                                            Internal discussion re: global payroll services support workstream. Attendees: K. Soderman (EY), E.
Yencho,Jeremiah            Managing Director     1/30/2023          US Income Tax                                                                                                                 0.50     $775.00       $387.50
                                                                                            Hachmer, S. Sullivan, J. Yencho (EY), T. Shea (EY)
                                                                                            Internal discussion re: global payroll services support workstream. Attendees: K. Soderman (EY), E.
Shea JR,Thomas M           Partner/Principal     1/30/2023          US Income Tax                                                                                                                 0.50     $825.00       $412.50
                                                                                            Hachmer, S. Sullivan, J. Yencho (EY), T. Shea (EY)
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                 Name           Rank          Date of Service            Project Category                                                     Description of Services                                        Hours   Hourly Rate   Fees
                            Client Serving                                                             Internal discussion regarding income tax notice support function. EY Attendees: N. Flagg, J. Scott,
Scott,James                                     1/30/2023                 US Income Tax                                                                                                                      0.50     $600.00       $300.00
                            Contractor JS                                                              K. Gatt, D. Johnson, T. Shea
                                                                                                       Internal discussion regarding income tax notice support function. EY Attendees: N. Flagg, J. Scott,
Flagg,Nancy A.            Managing Director     1/30/2023                 US Income Tax                                                                                                                      0.50     $775.00       $387.50
                                                                                                       K. Gatt, D. Johnson, T. Shea
                                                                                                       Internal discussion regarding income tax notice support function. EY Attendees: N. Flagg, J. Scott,
Gatt,Katie                 Senior Manager       1/30/2023                 US Income Tax                                                                                                                      0.50     $650.00       $325.00
                                                                                                       K. Gatt, D. Johnson, T. Shea
                                                                                                       Internal discussion regarding income tax notice support function. EY Attendees: N. Flagg, J. Scott,
Johnson,Derrick Joseph          Staff           1/30/2023                 US Income Tax                                                                                                                      0.50     $225.00       $112.50
                                                                                                       K. Gatt, D. Johnson, T. Shea
                                                                                                       Internal discussion regarding income tax notice support function. EY Attendees: N. Flagg, J. Scott,
Shea JR,Thomas M          Partner/Principal     1/30/2023                 US Income Tax                                                                                                                      0.50     $825.00       $412.50
                                                                                                       K. Gatt, D. Johnson, T. Shea
                                                                                                       Internal discussion with Steve Beattie and T. Shea (EY) regarding tax, liquidation supporting
Shea JR,Thomas M          Partner/Principal     1/30/2023                 US Income Tax                                                                                                                      0.50     $825.00       $412.50
                                                                                                       workstreams
                            Client Serving
Scott,James                                     1/30/2023                 US Income Tax                Assist in identifying contacts for data relating to IRS document requests                             0.70     $600.00       $420.00
                            Contractor JS
                            Client Serving
Scott,James                                     1/30/2023             US State and Local Tax           License scope lender                                                                                  0.80     $600.00       $480.00
                            Contractor JS
Steigler,Ella                   Senior          1/30/2023             US State and Local Tax           Log FTX notices onto internal tracker for determining next steps to resolution                        1.40     $395.00       $553.00
Karan,Anna Suncheuri             Staff          1/30/2023                Transfer Pricing              Review files to find trial balance to create summary file                                             1.00     $225.00       $225.00
                                                                                                       Meeting on 1099 workstream connect to discuss current status and data analysis with TJ Nichols
Santoro,David                 Manager           1/30/2023                   Payroll Tax                                                                                                                      0.80     $525.00       $420.00
                                                                                                       (EY), D Santoro (EY), L Loo (EY), K Wrenn (EY) and A Richardson (EY)
                                                                                                       Meeting on 1099 workstream connect to discuss current status and data analysis with TJ Nichols
Loo,Lydia                      Senior           1/30/2023                   Payroll Tax                                                                                                                      0.80     $395.00       $316.00
                                                                                                       (EY), D Santoro (EY), L Loo (EY), K Wrenn (EY) and A Richardson (EY)
                                                                                                       Meeting on 1099 workstream connect to discuss current status and data analysis with TJ Nichols
Richardson,Audrey Sarah       Manager           1/30/2023                   Payroll Tax                                                                                                                      0.80     $525.00       $420.00
                                                                                                       (EY), D Santoro (EY), L Loo (EY), K Wrenn (EY) and A Richardson (EY)
                                                                                                       Meeting on 1099 workstream connect to discuss current status and data analysis with TJ Nichols
Nichol,T.J.                Senior Manager       1/30/2023                   Payroll Tax                                                                                                                      0.80     $650.00       $520.00
                                                                                                       (EY), D Santoro (EY), L Loo (EY), K Wrenn (EY) and A Richardson (EY)
                                                                                                       Meeting on 1099 workstream connect to discuss current status and data analysis with TJ Nichols
Wrenn,Kaitlin Doyle           Manager           1/30/2023                   Payroll Tax                                                                                                                      0.80     $525.00       $420.00
                                                                                                       (EY), D Santoro (EY), L Loo (EY), K Wrenn (EY) and A Richardson (EY)
Wrenn,Kaitlin Doyle           Manager           1/30/2023                   Payroll Tax                Meeting planning for onsite with FTX regarding US employment tax support                              0.30     $525.00       $157.50
                                                                                                       Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Staromiejska,Kinga            Manager           1/30/2023                   Non US Tax                 standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.        1.00     $525.00       $525.00
                                                                                                       Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                       Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Hammon,David Lane             Manager           1/30/2023                   Non US Tax                 standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.        1.00     $525.00       $525.00
                                                                                                       Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                       Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
Knoeller,Thomas J.        Partner/Principal     1/30/2023       Project Management Office Transition   standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.        1.00     $825.00       $825.00
                                                                                                       Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)

                                                                                                       Meeting to review transition-related items (e.g., next steps, issues requiring escalation, setup of
MacLean,Corrie                 Senior           1/30/2023                   Non US Tax                 standard EY processes/procedure, project updates) concerning the FTX engagement. Attendees: D.        1.00     $395.00       $395.00
                                                                                                       Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY)
                                                                                                       Meeting with T Ferris (EY), A Richardson (EY), L Loo (EY), T Nichol (EY), and Santoro (EY) on
Ferris,Tara               Partner/Principal     1/30/2023              Information Reporting                                                                                                                 0.50     $825.00       $412.50
                                                                                                       Reporting Data Logic
                                                                                                       Meeting with T Ferris (EY), A Richardson (EY), L Loo (EY), T Nichol (EY), and Santoro (EY) on
Richardson,Audrey Sarah       Manager           1/30/2023              Information Reporting                                                                                                                 0.50     $525.00       $262.50
                                                                                                       Reporting Data Logic
                                                                                                       Meeting with T Ferris (EY), A Richardson (EY), L Loo (EY), T Nichol (EY), and Santoro (EY) on
Nichol,T.J.                Senior Manager       1/30/2023              Information Reporting                                                                                                                 0.50     $650.00       $325.00
                                                                                                       Reporting Data Logic
                                                                                                       Meeting with T Ferris (EY), A Richardson (EY), L Loo (EY), T Nichol (EY), and Santoro (EY) on
Santoro,David                 Manager           1/30/2023              Information Reporting                                                                                                                 0.50     $525.00       $262.50
                                                                                                       Reporting Data Logic
                                                                                                       Meeting with T Ferris (EY), A Richardson (EY), L Loo (EY), T Nichol (EY), and Santoro (EY) on
Loo,Lydia                      Senior           1/30/2023              Information Reporting                                                                                                                 0.50     $395.00       $197.50
                                                                                                       Reporting Data Logic
Rumford,Neil              Partner/Principal     1/30/2023                  Non US Tax                  MVL ASSISTANCE - Email to EY US re protocol/current status                                            0.20     $990.00        $198.00
Ash,Polly Westerberg       Senior Manager       1/30/2023       Project Management Office Transition   Prepare for FTX PMO status and progress meeting                                                       0.90     $650.00        $585.00
Ash,Polly Westerberg       Senior Manager       1/30/2023       Project Management Office Transition   Prepare for the tax executive meeting with M. Cilia and K. Shultea                                    1.10     $650.00        $715.00
Mistler,Brian M                Manager          1/30/2023                 US Income Tax                Prepare IRS Examination summaries for in-scope entities                                               3.00     $525.00      $1,575.00
Bailey,Doug               Partner/Principal     1/30/2023                  Tax Advisory                Prepare response to David Hariton's memo concerning a tax issue relevant to the company               3.30     $825.00      $2,722.50
                            Client Serving
Scott,James                                     1/30/2023                 US Income Tax                Priority claim analysis                                                                               0.60     $600.00       $360.00
                            Contractor JS
Flagg,Nancy A.            Managing Director     1/30/2023             US State and Local Tax           Reply to EY J. Scott on Maryland tax notice inquiry received                                          0.30     $775.00       $232.50
Sun,Yuchen                      Senior          1/30/2023             US State and Local Tax           Review and prepare TY2022 Tax tracker/calendars.                                                      1.00     $395.00       $395.00
                                                                                                       Review intercompany agreements to determine risk allocation for each entity as a party to the
Hall,Olivia                     Staff           1/30/2023                   Non US Tax                                                                                                                       3.80     $225.00       $855.00
                                                                                                       transaction; review terms and conditions of user agreements
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                  Name        Rank           Date of Service               Project Category                                                     Description of Services                                            Hours   Hourly Rate   Fees
                                                                                                         Review of MD proof of claim, drafting response to MD proof of claim for income tax, sales and use
Musano,Matthew Albert     Senior Manager       1/30/2023                US State and Local Tax                                                                                                                     2.50     $650.00      $1,625.00
                                                                                                         and property tax.
Tong,Chia-Hui             Senior Manager       1/30/2023         Project Management Office Transition    Review PMO weekly status documents to capture action items from stakeholder teams                         4.10     $650.00      $2,665.00
                           Client Serving
Scott,James                                    1/30/2023       Non-Working Travel (billed at 50% of rates) Travel Raleigh, NC to New York, NY                                                                      3.60     $300.00      $1,080.00
                           Contractor JS
                                                                                                         Update communication to EY local teams regarding scope and contract updates based off leadership
Hammon,David Lane            Manager           1/30/2023                     Non US Tax                                                                                                                            1.10     $525.00       $577.50
                                                                                                         feedback
MacLean,Corrie                Senior           1/30/2023                     Non US Tax                  Update contact list tracking, email communications for accounting and payroll foreign office leads        0.80     $395.00       $316.00
                                                                                                         Draft correspondence with M Cilia and EY controversy lead re: execution of powers of attorney
Shea JR,Thomas M         Partner/Principal     1/30/2023                    US Income Tax                                                                                                                          1.20     $825.00       $990.00
                                                                                                         related to tax examinations
                                                                                                         1/31 1099 - NEC filing deadline for Ledger entities; reviewed filings with Tara F. (EY) and Audrey R.
Nichol,T.J.               Senior Manager       1/31/2023                 Information Reporting                                                                                                                     2.20     $650.00      $1,430.00
                                                                                                         (EY)
                                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                             National
McComber,Donna                                 1/31/2023         Project Management Office Transition    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $990.00       $495.00
                         Partner/Principal
                                                                                                         implementation of global compliance and reporting services
                                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Jimenez,Joseph Robert     Senior Manager       1/31/2023         Project Management Office Transition    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $650.00       $325.00
                                                                                                         implementation of global compliance and reporting services
                                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                             National
Lowery,Kristie L                               1/31/2023         Project Management Office Transition    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $990.00       $495.00
                         Partner/Principal
                                                                                                         implementation of global compliance and reporting services
                                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Lovelace,Lauren          Partner/Principal     1/31/2023         Project Management Office Transition    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $825.00       $412.50
                                                                                                         implementation of global compliance and reporting services
                                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Bailey,Doug              Partner/Principal     1/31/2023         Project Management Office Transition    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $825.00       $412.50
                                                                                                         implementation of global compliance and reporting services
                                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Cotopoulis,Alex          Managing Director     1/31/2023         Project Management Office Transition    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $775.00       $387.50
                                                                                                         implementation of global compliance and reporting services
                                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Gengler,Charlie          Partner/Principal     1/31/2023         Project Management Office Transition    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $825.00       $412.50
                                                                                                         implementation of global compliance and reporting services
                                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Jayanthi,Lakshmi          Senior Manager       1/31/2023         Project Management Office Transition    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $650.00       $325.00
                                                                                                         implementation of global compliance and reporting services
                                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ferris,Tara              Partner/Principal     1/31/2023         Project Management Office Transition    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $825.00       $412.50
                                                                                                         implementation of global compliance and reporting services
                                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Madhok,Kishan             Senior Manager       1/31/2023         Project Management Office Transition    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $650.00       $325.00
                                                                                                         implementation of global compliance and reporting services
                                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Nichol,T.J.               Senior Manager       1/31/2023         Project Management Office Transition    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $650.00       $325.00
                                                                                                         implementation of global compliance and reporting services
                                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Soderman,Kathy           Managing Director     1/31/2023         Project Management Office Transition    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $775.00       $387.50
                                                                                                         implementation of global compliance and reporting services
                                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Yencho,Jeremiah          Managing Director     1/31/2023         Project Management Office Transition    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $775.00       $387.50
                                                                                                         implementation of global compliance and reporting services
                                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
MacLean,Corrie                Senior           1/31/2023         Project Management Office Transition    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $395.00       $197.50
                                                                                                         implementation of global compliance and reporting services
                                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ellenson,Cory             Senior Manager       1/31/2023         Project Management Office Transition    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $650.00       $325.00
                                                                                                         implementation of global compliance and reporting services
                                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ancona,Christopher            Senior           1/31/2023         Project Management Office Transition    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $395.00       $197.50
                                                                                                         implementation of global compliance and reporting services
                                                                                                         Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Ash,Polly Westerberg      Senior Manager       1/31/2023         Project Management Office Transition    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $650.00       $325.00
                                                                                                         implementation of global compliance and reporting services
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                 Name         Rank          Date of Service            Project Category                                                     Description of Services                                            Hours   Hourly Rate   Fees
                                                                                                     Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Berman,Jake              Senior Manager       1/31/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $650.00       $325.00
                                                                                                     implementation of global compliance and reporting services
                                                                                                     Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Bost,Anne               Managing Director     1/31/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $775.00       $387.50
                                                                                                     implementation of global compliance and reporting services
                                                                                                     Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                         Client Serving
Bieganski,Walter                              1/31/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $200.00       $100.00
                         Contractor WB
                                                                                                     implementation of global compliance and reporting services
                                                                                                     Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Farrar,Anne             Partner/Principal     1/31/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $825.00       $412.50
                                                                                                     implementation of global compliance and reporting services
                                                                                                     Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Hall,Emily Melissa           Senior           1/31/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $395.00       $197.50
                                                                                                     implementation of global compliance and reporting services
                                                                                                     Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Hammon,David Lane           Manager           1/31/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $525.00       $262.50
                                                                                                     implementation of global compliance and reporting services
                                                                                                     Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Katsnelson,David            Manager           1/31/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $525.00       $262.50
                                                                                                     implementation of global compliance and reporting services
                                                                                                     Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Knoeller,Thomas J.      Partner/Principal     1/31/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $825.00       $412.50
                                                                                                     implementation of global compliance and reporting services
                                                                                                     Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Musano,Matthew Albert    Senior Manager       1/31/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $650.00       $325.00
                                                                                                     implementation of global compliance and reporting services
                                                                                                     Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
                          Client Serving
Scott,James                                   1/31/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $600.00       $300.00
                          Contractor JS
                                                                                                     implementation of global compliance and reporting services
                                                                                                     Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Shea JR,Thomas M        Partner/Principal     1/31/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $825.00       $412.50
                                                                                                     implementation of global compliance and reporting services
                                                                                                     Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Staromiejska,Kinga          Manager           1/31/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $525.00       $262.50
                                                                                                     implementation of global compliance and reporting services
                                                                                                     Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Tong,Chia-Hui            Senior Manager       1/31/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $650.00       $325.00
                                                                                                     implementation of global compliance and reporting services
                                                                                                     Participate in daily EY Tax call regarding status check-in, issues, and risks with regards to providing
Wrenn,Kaitlin Doyle         Manager           1/31/2023       Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and the       0.50     $525.00       $262.50
                                                                                                     implementation of global compliance and reporting services
                                                                                                     1/31/23 Tax Support Workstream - Executive Update with FTX C-Suite. Attendees: P. Ash, M. Cilia,
Ash,Polly Westerberg     Senior Manager       1/31/2023       Project Management Office Transition                                                                                                             0.60     $650.00       $390.00
                                                                                                     K. Schultea, K. Lowery, J. Scott, J. Berman
                                                                                                     1099 data pull from EYI secure portal for historical and current year files provided by FTX and EYI
Wrenn,Kaitlin Doyle         Manager           1/31/2023                   Payroll Tax                                                                                                                          1.20     $525.00       $630.00
                                                                                                     remediation
MacLean,Corrie              Senior            1/31/2023                  Non US Tax                  ACR and payroll communications, tracking sheet updates                                                    0.30     $395.00       $118.50
Flagg,Nancy A.          Managing Director     1/31/2023             US State and Local Tax           Additional reply to EY M. Musano on notice response process by tax type                                   0.80     $775.00       $620.00
Hall,Emily Melissa          Senior            1/31/2023             US State and Local Tax           Analyze Maryland proof of claim letter received                                                           0.30     $395.00       $118.50
                                                                                                     Call with K Soderman (EY), J Yencho (EY), K Wrenn (EY), D Hammon (EY), C MacLean (EY), C
MacLean,Corrie               Senior           1/31/2023                   Non US Tax                 Tong (EY) regarding global payroll operate transition and current ad hoc requests from Germany,           0.30     $395.00       $118.50
                                                                                                     Switzerland and Gibraltar
                                                                                                     Call with K Soderman (EY), J Yencho (EY), K Wrenn (EY), D Hammon (EY), C MacLean (EY), C
Hammon,David Lane           Manager           1/31/2023                   Non US Tax                 Tong (EY) regarding global payroll operate transition and current ad hoc requests from Germany,           0.30     $525.00       $157.50
                                                                                                     Switzerland and Gibraltar
                                                                                                     Call with K Soderman (EY), J Yencho (EY), K Wrenn (EY), D Hammon (EY), C MacLean (EY), C
Soderman,Kathy          Managing Director     1/31/2023                   Payroll Tax                Tong (EY) regarding global payroll operate transition and current ad hoc requests from Germany,           0.30     $775.00       $232.50
                                                                                                     Switzerland and Gibraltar
                                                                                                     Call with K Soderman (EY), J Yencho (EY), K Wrenn (EY), D Hammon (EY), C MacLean (EY), C
Tong,Chia-Hui            Senior Manager       1/31/2023       Project Management Office Transition   Tong (EY) regarding global payroll operate transition and current ad hoc requests from Germany,           0.30     $650.00       $195.00
                                                                                                     Switzerland and Gibraltar
                                                                                                     Call with K Soderman (EY), J Yencho (EY), K Wrenn (EY), D Hammon (EY), C MacLean (EY), C
Wrenn,Kaitlin Doyle         Manager           1/31/2023                   Payroll Tax                Tong (EY) regarding global payroll operate transition and current ad hoc requests from Germany,           0.30     $525.00       $157.50
                                                                                                     Switzerland and Gibraltar
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                  Name          Rank          Date of Service     Project Category                                                 Description of Services                                              Hours   Hourly Rate   Fees
                                                                                           Call with K Soderman (EY), J Yencho (EY), K Wrenn (EY), D Hammon (EY), C MacLean (EY), C
Yencho,Jeremiah           Managing Director     1/31/2023            Payroll Tax           Tong (EY) regarding global payroll operate transition and current ad hoc requests from Germany,              0.30     $775.00       $232.50
                                                                                           Switzerland and Gibraltar
                            Client Serving                                                 Call with M. Musano (EY), J. Scott (EY) and M. Coffey (EY) to discuss business license proposal for
Scott,James                                     1/31/2023       US State and Local Tax                                                                                                                  0.50     $600.00       $300.00
                            Contractor JS                                                  Sullivan and Cromwell
                                                                                           Call with M. Musano (EY), J. Scott (EY) and M. Coffey (EY) to discuss business license proposal for
Coffey,Mandy V.            Senior Manager       1/31/2023       US State and Local Tax                                                                                                                  0.50     $650.00       $325.00
                                                                                           Sullivan and Cromwell
                                                                                           Call with M. Musano (EY), J. Scott (EY) and M. Coffey (EY) to discuss business license proposal for
Musano,Matthew Albert      Senior Manager       1/31/2023       US State and Local Tax                                                                                                                  0.50     $650.00       $325.00
                                                                                           Sullivan and Cromwell
Alfaro,Adriana                   Staff          1/31/2023            Payroll Tax           Catalog notices for Business Registration                                                                    2.40     $225.00       $540.00
Alfaro,Adriana                   Staff          1/31/2023            Payroll Tax           Catalog notices for Employment Tax                                                                           2.10     $225.00       $472.50
                            Client Serving
Scott,James                                     1/31/2023          US Income Tax           Claims files                                                                                                 0.60     $600.00       $360.00
                            Contractor JS
Karan,Anna Suncheuri             Staff          1/31/2023           Tax Advisory           Compile inventory of files added to share drive                                                              3.50     $225.00       $787.50
Dickerson,Kelsey              Manager           1/31/2023            Payroll Tax           Contact IRS to obtain 2022 941 transcripts and review for Alameda, Blockfolio and Ledgerprime                1.10     $525.00       $577.50
Dickerson,Kelsey              Manager           1/31/2023            Payroll Tax           Contact IRS to obtain 2022 941 transcripts and review for WRSS                                               0.80     $525.00       $420.00
                                                                                           Continue preparation of a response to David Hariton's memo concerning a tax issue relevant to the
Bailey,Doug               Partner/Principal     1/31/2023           Tax Advisory                                                                                                                        2.60     $825.00      $2,145.00
                                                                                           company
Hammon,David Lane             Manager           1/31/2023            Non US Tax            Correspondence regarding the permissibility to provide services to non-debtor entities                       1.10     $525.00       $577.50
Hall,Emily Melissa             Senior           1/31/2023       US State and Local Tax     Analyze corporate income tax notices                                                                         1.80     $395.00       $711.00
                                                                                           Discuss IRS transcripts, review of cataloged notices, & preparing script for calls to jurisdictions. Daily
Carver,Cody R.                 Senior           1/31/2023            Payroll Tax                                                                                                                        0.50     $395.00       $197.50
                                                                                           update call with K Wrenn (EY), C Carver (EY), M Hamilton (EY)
                                                                                           Discuss IRS transcripts, review of cataloged notices, & preparing script for calls to jurisdictions. Daily
Hamilton,Mary Catherine        Senior           1/31/2023            Payroll Tax                                                                                                                        0.50     $395.00       $197.50
                                                                                           update call with K Wrenn (EY), C Carver (EY), M Hamilton (EY)
                                                                                           Discuss IRS transcripts, review of cataloged notices, & preparing script for calls to jurisdictions. Daily
Wrenn,Kaitlin Doyle           Manager           1/31/2023            Payroll Tax                                                                                                                        0.50     $525.00       $262.50
                                                                                           update call with K Wrenn (EY), C Carver (EY), M Hamilton (EY)
                                                                                           Meeting with C. Velpuri (EY) and A. Richardson (EY) to discuss necessary data manipulations for
Velpuri,Cury                    Staff           1/31/2023       Information Reporting                                                                                                                   0.60     $225.00       $135.00
                                                                                           the 1099 reporting templates
                                                                                           Meeting with C. Velpuri (EY) and A. Richardson (EY) to discuss necessary data manipulations for
Richardson,Audrey Sarah       Manager           1/31/2023       Information Reporting                                                                                                                   0.60     $525.00       $315.00
                                                                                           the 1099 reporting templates
                            Client Serving
Scott,James                                     1/31/2023          US Income Tax           Document request inventory                                                                                   0.70     $600.00       $420.00
                            Contractor JS
Hall,Emily Melissa              Senior          1/31/2023       US State and Local Tax     Draft a response to the Maryland proof of claim for corporate income tax purposes.                           2.80     $395.00      $1,106.00
Wrenn,Kaitlin Doyle            Manager          1/31/2023            Payroll Tax           Draft US employment tax support outline for February through May                                             0.40     $525.00        $210.00
Hall,Emily Melissa              Senior          1/31/2023       US State and Local Tax     Email exchanges with other tax stream leads regarding MD proof of claim response.                            0.40     $395.00        $158.00
                                                                                           Follow up on international issues, high priority action items and correspondence with ITTS
Katelas,Andreas                Senior           1/31/2023           Tax Advisory                                                                                                                        1.00     $395.00       $395.00
                                                                                           workstreams.
                                                                                           Follow-up related to the outstanding list discussion, including sending emails and setting up calls
Jayanthi,Lakshmi           Senior Manager       1/31/2023           Tax Advisory                                                                                                                        1.40     $650.00       $910.00
                                                                                           internally to discuss the outstanding issues identified
                            Client Serving
Scott,James                                     1/31/2023          US Income Tax           Follow-ups on CFO bi-weekly meeting                                                                          0.80     $600.00       $480.00
                            Contractor JS
                                                                                           Internal call to discuss the status of direct and indirect tax workstreams and the process for
                                                                                           responding to notices for both pre-petition and post-petition liabilities. Meeting attendees: M.
Jimenez,Joseph Robert      Senior Manager       1/31/2023       US State and Local Tax                                                                                                                  0.40     $650.00       $260.00
                                                                                           Musano, M. O'Brien, D. Johnson, K. Davis, W. Bieganski, K. Gatt, N. Flagg, J. Jimenez, E. Hall , and
                                                                                           J. Cortes.
                                                                                           Internal call to discuss the status of direct and indirect tax workstreams and the process for
                           Client Serving                                                  responding to notices for both pre-petition and post-petition liabilities. Meeting attendees: M.
Bieganski,Walter                                1/31/2023       US State and Local Tax                                                                                                                  0.40     $200.00        $80.00
                           Contractor WB                                                   Musano, M. O'Brien, D. Johnson, K. Davis, W. Bieganski, K. Gatt, N. Flagg, J. Jimenez, E. Hall , and
                                                                                           J. Cortes.
                                                                                           Internal call to discuss the status of direct and indirect tax workstreams and the process for
                                                                                           responding to notices for both pre-petition and post-petition liabilities. Meeting attendees: M.
Cortes,jackie                   Staff           1/31/2023       US State and Local Tax                                                                                                                  0.40     $225.00        $90.00
                                                                                           Musano, M. O'Brien, D. Johnson, K. Davis, W. Bieganski, K. Gatt, N. Flagg, J. Jimenez, E. Hall , and
                                                                                           J. Cortes.
                                                                                           Internal call to discuss the status of direct and indirect tax workstreams and the process for
                                                                                           responding to notices for both pre-petition and post-petition liabilities. Meeting attendees: M.
Davis,Kathleen F.             Manager           1/31/2023       US State and Local Tax                                                                                                                  0.40     $525.00       $210.00
                                                                                           Musano, M. O'Brien, D. Johnson, K. Davis, W. Bieganski, K. Gatt, N. Flagg, J. Jimenez, E. Hall, and
                                                                                           J. Cortes.
                                                                                           Internal call to discuss the status of direct and indirect tax workstreams and the process for
                                                                                           responding to notices for both pre-petition and post-petition liabilities. Meeting attendees: M.
Flagg,Nancy A.            Managing Director     1/31/2023       US State and Local Tax                                                                                                                  0.40     $775.00       $310.00
                                                                                           Musano, M. O'Brien, D. Johnson, K. Davis, W. Bieganski, K. Gatt, N. Flagg, J. Jimenez, E. Hall , and
                                                                                           J. Cortes
                                                                                           Internal call to discuss the status of direct and indirect tax workstreams and the process for
                                                                                           responding to notices for both pre-petition and post-petition liabilities. Meeting attendees: M.
Gatt,Katie                 Senior Manager       1/31/2023       US State and Local Tax                                                                                                                  0.40     $650.00       $260.00
                                                                                           Musano, M. O'Brien, D. Johnson, K. Davis, W. Bieganski, K. Gatt, N. Flagg, J. Jimenez, E. Hall, and
                                                                                           J. Cortes.
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                  Name           Rank          Date of Service            Project Category                                                     Description of Services                                             Hours   Hourly Rate   Fees
                                                                                                        Internal call to discuss the status of direct and indirect tax workstreams and the process for
                                                                                                        responding to notices for both pre-petition and post-petition liabilities. Meeting attendees: M.
Hall,Emily Melissa              Senior           1/31/2023             US State and Local Tax                                                                                                                      0.40     $395.00       $158.00
                                                                                                        Musano, M. O'Brien, D. Johnson, K. Davis, W. Bieganski, K. Gatt, N. Flagg, J. Jimenez, and J.
                                                                                                        Cortes.
                                                                                                        Internal call to discuss the status of direct and indirect tax workstreams and the process for
                                                                                                        responding to notices for both pre-petition and post-petition liabilities. Meeting attendees: M.
Johnson,Derrick Joseph           Staff           1/31/2023             US State and Local Tax                                                                                                                      0.40     $225.00        $90.00
                                                                                                        Musano, M. O'Brien, D. Johnson, K. Davis, W. Bieganski, K. Gatt, N. Flagg, J. Jimenez, E. Hall, and
                                                                                                        J. Cortes.
                                                                                                        Internal call to discuss the status of direct and indirect tax workstreams and the process for
                                                                                                        responding to notices for both pre-petition and post-petition liabilities. Meeting attendees: M.
Musano,Matthew Albert       Senior Manager       1/31/2023             US State and Local Tax                                                                                                                      0.40     $650.00       $260.00
                                                                                                        Musano, M. O'Brien, D. Johnson, K. Davis, W. Bieganski, K. Gatt, N. Flagg, J. Jimenez, E. Hall, and
                                                                                                        J. Cortes
                                                                                                        Internal call to discuss the status of direct and indirect tax workstreams and the process for
                                                                                                        responding to notices for both pre-petition and post-petition liabilities. Meeting attendees: M.
O'Brien,Mike               Partner/Principal     1/31/2023             US State and Local Tax                                                                                                                      0.40     $825.00       $330.00
                                                                                                        Musano, M. O'Brien, D. Johnson, K. Davis, W. Bieganski, K. Gatt, N. Flagg, J. Jimenez, E. Hall, and
                                                                                                        J. Cortes.
                                                                                                        Internal call with A. Bost (EY), D. McComber (EY), J. Berman (EY), B. Mistler (EY) and G. Di
Mistler,Brian M                Manager           1/31/2023                 US Income Tax                Stefano (EY) to illustrate the risk allocation matrix created for purposes of allocating post bankruptcy   0.40     $525.00       $210.00
                                                                                                        filing expenses
                                                                                                        Internal call with A. Bost (EY), D. McComber (EY), J. Berman (EY), B. Mistler (EY) and G. Di
Bost,Anne                  Managing Director     1/31/2023                 Transfer Pricing             Stefano (EY) to illustrate the risk allocation matrix created for purposes of allocating post bankruptcy   0.40     $775.00       $310.00
                                                                                                        filing expenses
                                                                                                        Internal call with A. Bost (EY), D. McComber (EY), J. Berman (EY), B. Mistler (EY) and G. Di
Berman,Jake                 Senior Manager       1/31/2023                 US Income Tax                Stefano (EY) to illustrate the risk allocation matrix created for purposes of allocating post bankruptcy   0.40     $650.00       $260.00
                                                                                                        filing expenses
                                                                                                        Internal call with A. Bost (EY), D. McComber (EY), J. Berman (EY), B. Mistler (EY) and G. Di
Di Stefano,Giulia               Senior           1/31/2023                 Transfer Pricing             Stefano (EY) to illustrate the risk allocation matrix created for purposes of allocating post bankruptcy   0.40     $395.00       $158.00
                                                                                                        filing expenses
                                                                                                        Internal call with A. Bost (EY), D. McComber (EY), J. Berman (EY), B. Mistler (EY) and G. Di
                               National
McComber,Donna                                   1/31/2023                 Transfer Pricing             Stefano (EY) to illustrate the risk allocation matrix created for purposes of allocating post bankruptcy   0.40     $990.00       $396.00
                           Partner/Principal
                                                                                                        filing expenses
                                                                                                        Internal discussion on resources and coverage of outstanding issues on a go forward basis - L.
Katelas,Andreas                 Senior           1/31/2023                  Tax Advisory                                                                                                                           0.50     $395.00       $197.50
                                                                                                        Lovelace (EY), D. Bailey (EY), L. Raulli (EY) and A. Katelas (EY)
                                                                                                        Internal discussion on resources and coverage of outstanding issues on a go forward basis - L.
Raulli,Lindsay Elizabeth    Senior Manager       1/31/2023                  Tax Advisory                                                                                                                           0.50     $650.00       $325.00
                                                                                                        Lovelace (EY), D. Bailey (EY), L. Raulli (EY), L. Jayanthi (EY) and A. Katelas (EY)
                                                                                                        Internal discussion on resources and coverage of outstanding issues on a go forward basis - L.
Lovelace,Lauren            Partner/Principal     1/31/2023                  Tax Advisory                                                                                                                           0.50     $825.00       $412.50
                                                                                                        Lovelace (EY), D. Bailey (EY), L. Raulli (EY), L. Jayanthi (EY) and A. Katelas (EY)
                                                                                                        Internal discussion on resources and coverage of outstanding issues on a go forward basis - L.
Bailey,Doug                Partner/Principal     1/31/2023                  Tax Advisory                                                                                                                           0.50     $825.00       $412.50
                                                                                                        Lovelace (EY), D. Bailey (EY), L. Raulli (EY), L. Jayanthi (EY) and A. Katelas (EY)
                                                                                                        Internal discussion on resources and coverage of outstanding issues on a go forward basis - L.
Jayanthi,Lakshmi            Senior Manager       1/31/2023                  Tax Advisory                                                                                                                           0.50     $650.00       $325.00
                                                                                                        Lovelace (EY), D. Bailey (EY), L. Raulli (EY), L. Jayanthi (EY) and A. Katelas (EY)
                                                                                                        Work on POAs. Necessary to prepare 18 delegated Powers of Attorney (POAs) to add EY Tara
                                                                                                        Ferris to each POA so that Tara Ferris is authorized to speak directly to the IRS. Prepare draft
Ellenson,Cory               Senior Manager       1/31/2023                IRS Audit Matters             delgated POA and work with EY staff to complete. Review draft delegated POA and provide                    1.70     $650.00      $1,105.00
                                                                                                        changes. Review all 18 draft POAs and identify all errors and necessary updates/changes. Sign all 18
                                                                                                        delegated POAs. Various email communication between EY team members to effectuate this work.
                             Client Serving
Scott,James                                      1/31/2023             US State and Local Tax           License review of suspended/terminated scope                                                               0.60     $600.00       $360.00
                             Contractor JS
                             Client Serving
Scott,James                                      1/31/2023             US State and Local Tax           Licenses for re-start analysis                                                                             0.40     $600.00       $240.00
                             Contractor JS
                                                                                                        Log the remainder of FTX notices received to date onto internal tracker for determining next steps in
Steigler,Ella                   Senior           1/31/2023             US State and Local Tax                                                                                                                      0.30     $395.00       $118.50
                                                                                                        resolution process
                                                                                                        Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Hammon,David Lane              Manager           1/31/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.              1.00     $525.00       $525.00
                                                                                                        Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                                        Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Knoeller,Thomas J.         Partner/Principal     1/31/2023       Project Management Office Transition   standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.              1.00     $825.00       $825.00
                                                                                                        Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).

                                                                                                        Meeting to review transition-related items including next steps, issues requiring escalation, setup of
MacLean,Corrie                  Senior           1/31/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.              1.00     $395.00       $395.00
                                                                                                        Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).
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                  Name          Rank          Date of Service            Project Category                                                     Description of Services                                           Hours   Hourly Rate   Fees

                                                                                                       Meeting to review transition-related items including next steps, issues requiring escalation, setup of
Staromiejska,Kinga            Manager           1/31/2023                   Non US Tax                 standard EY processes/procedure, project updates concerning the FTX engagement. Attendees: D.            1.00     $525.00       $525.00
                                                                                                       Hammon (EY), T. Knoeller (EY), K. Staromiejska (EY), C. MacLean (EY).
                                                                                                       Meeting with the Payroll Operate team to align on next steps and ensure all urgent assistance required
Yencho,Jeremiah           Managing Director     1/31/2023                   Non US Tax                 by FTX is being addressed appropriately. EY Attendees: D. Hammon, J. Yencho, K. Wrenn, C. Tong,          0.50     $775.00       $387.50
                                                                                                       K. Staromiejska, C. MacLean, K. Soderman
                                                                                                       Meeting with the Payroll Operate team to align on next steps and ensure all urgent assistance required
Hammon,David Lane             Manager           1/31/2023                   Non US Tax                 by FTX is being addressed appropriately. EY Attendees: D. Hammon, J. Yencho, K. Wrenn, C. Tong,          0.50     $525.00       $262.50
                                                                                                       K. Staromiejska, C. MacLean, K. Soderman
                                                                                                       Meeting with the Payroll Operate team to align on next steps and ensure all urgent assistance required
Tong,Chia-Hui              Senior Manager       1/31/2023                   Non US Tax                 by FTX is being addressed appropriately. EY Attendees: D. Hammon, J. Yencho, K. Wrenn, C. Tong,          0.50     $650.00       $325.00
                                                                                                       K. Staromiejska, C. MacLean, K. Soderman
                                                                                                       Meeting with the Payroll Operate team to align on next steps and ensure all urgent assistance required
Wrenn,Kaitlin Doyle           Manager           1/31/2023                   Non US Tax                 by FTX is being addressed appropriately. EY Attendees: D. Hammon, J. Yencho, K. Wrenn, C. Tong,          0.50     $525.00       $262.50
                                                                                                       K. Staromiejska, C. MacLean, K. Soderman
                                                                                                       Meeting with the Payroll Operate team to align on next steps and ensure all urgent assistance required
Soderman,Kathy            Managing Director     1/31/2023                   Non US Tax                 by FTX is being addressed appropriately. EY Attendees: D. Hammon, J. Yencho, K. Wrenn, C. Tong,          0.50     $775.00       $387.50
                                                                                                       K. Staromiejska, C. MacLean, K. Soderman
                                                                                                       Meeting with the Payroll Operate team to align on next steps and ensure all urgent assistance required
MacLean,Corrie                 Senior           1/31/2023                   Non US Tax                 by FTX is being addressed appropriately. EY Attendees: D. Hammon, J. Yencho, K. Wrenn, C. Tong,          0.50     $395.00       $197.50
                                                                                                       K. Staromiejska, C. MacLean, K. Soderman
                                                                                                       Meeting with the Payroll Operate team to align on next steps and ensure all urgent assistance required
Staromiejska,Kinga            Manager           1/31/2023                   Non US Tax                 by FTX is being addressed appropriately. EY Attendees: D. Hammon, J. Yencho, K. Wrenn, C. Tong,          0.50     $525.00       $262.50
                                                                                                       K. Staromiejska, C. MacLean, K. Soderman
                                                                                                       MVL Assistance - Call with N. Rumford (EY), and N. Bugden (EY) to review draft Zubr liquidation
Rumford,Neil              Partner/Principal     1/31/2023                   Non US Tax                                                                                                                          0.50     $990.00       $495.00
                                                                                                       questionnaire and discuss potential flow of funds
                                                                                                       MVL Assistance - Call with N. Rumford (EY), and N. Bugden (EY) to review draft Zubr liquidation
Bugden,Nick R              Senior Manager       1/31/2023                   Non US Tax                                                                                                                          0.50     $900.00       $450.00
                                                                                                       questionnaire and discuss potential flow of funds
Wrenn,Kaitlin Doyle            Manager          1/31/2023                   Payroll Tax                Notice status review and adjustments to tracking mechanism                                               1.60     $525.00       $840.00
Santoro,David                  Manager          1/31/2023              Information Reporting           Perform 1099 Vendor Data Analysis                                                                        1.10     $525.00       $577.50
                            Client Serving
Scott,James                                     1/31/2023                 US Income Tax                Review PMO slides for input on weekly EY Tax slide update                                                1.10     $600.00       $660.00
                            Contractor JS
                                                                                                       Preparation for onsite meeting with FTX team members including US payroll tax items and current
Wrenn,Kaitlin Doyle           Manager           1/31/2023                   Payroll Tax                                                                                                                         2.80     $525.00      $1,470.00
                                                                                                       global payroll operate requirements with IRS transcript retrieval updates
Shea JR,Thomas M          Partner/Principal     1/31/2023                 US Income Tax                Preparation of agenda, including coordination with workstream leads, for Tax C-Suite Update              1.00     $825.00       $825.00
Ancona,Christopher             Senior           1/31/2023          Fee/Employment Applications         Make amendments to the monthly application                                                               3.10     $395.00      $1,224.50
Richardson,Audrey Sarah       Manager           1/31/2023             Information Reporting            Pull in vendor static data (address, entity type, etc.) to the transaction data files                    2.10     $525.00      $1,102.50
Flagg,Nancy A.            Managing Director     1/31/2023             US State and Local Tax           Reply to EY T. Shea on tax notice process tracking and resolution process                                0.60     $775.00        $465.00
                           Client Serving                                                              Review correspondence regarding state notices, including a notice from Maryland, in preparation for
Bieganski,Walter                                1/31/2023             US State and Local Tax                                                                                                                    0.10     $200.00        $20.00
                           Contractor WB                                                               discussion with the team on how to handle
                                                                                                       Review docket for tax claims filed and send the tax claims identified to the EY team handling tax
Flagg,Nancy A.            Managing Director     1/31/2023             US State and Local Tax                                                                                                                    0.60     $775.00       $465.00
                                                                                                       notices
Tong,Chia-Hui             Senior Manager        1/31/2023          Fee/Employment Applications         Review fee application exhibits                                                                          2.40     $650.00      $1,560.00
Ferris,Tara               Partner/Principal     1/31/2023             Information Reporting            Review of Form 1099 scope, support with 1099 submissions                                                 1.10     $825.00        $907.50
Santoro,David                 Manager           1/31/2023             Information Reporting            Analyze 1099 FTX Data within Quickbooks to determine reportability                                       1.90     $525.00        $997.50
                           Client Serving
Scott,James                                     1/31/2023             US State and Local Tax           State notices received                                                                                   1.30     $600.00       $780.00
                           Contractor JS
                                                                                                       Summarize FTX EY Leads touchpoint meeting discussion, compile action items, follow-up items, and
Ancona,Christopher             Senior           1/31/2023       Project Management Office Transition                                                                                                            1.10     $395.00       $434.50
                                                                                                       applicable parties. Circulate meeting notes to EY Leads.
                                                                                                       Tax update with key stakeholders C. Tong (EY), T. Shea (EY), J. Scott (EY), K. Lowery (EY), J.
Mistler,Brian M               Manager           1/31/2023                 US Income Tax                                                                                                                         0.60     $525.00       $315.00
                                                                                                       Berman (EY), B. Mistler (EY), P. Ash (EY), M. Cilia
                              National                                                                 Tax update with key stakeholders C. Tong (EY), T. Shea (EY), J. Scott (EY), K. Lowery (EY), J.
Lowery,Kristie L                                1/31/2023                 US Income Tax                                                                                                                         0.60     $990.00       $594.00
                          Partner/Principal                                                            Berman (EY), B. Mistler (EY), P. Ash (EY), M. Cilia
                                                                                                       Tax update with key stakeholders C. Tong (EY), T. Shea (EY), J. Scott (EY), K. Lowery (EY), J.
Ash,Polly Westerberg       Senior Manager       1/31/2023       Project Management Office Transition                                                                                                            0.60     $650.00       $390.00
                                                                                                       Berman (EY), B. Mistler (EY), P. Ash (EY), M. Cilia
                            Client Serving                                                             Tax update with key stakeholders, M. Cilia (FTX), C. Tong (EY), T. Shea (EY), J. Scott (EY), K.
Scott,James                                     1/31/2023                 US Income Tax                                                                                                                         0.60     $600.00       $360.00
                            Contractor JS                                                              Lowery (EY), J. Berman (EY), B. Mistler (EY), P. Ash (EY),
                                                                                                       Tax update with key stakeholders, M. Cilia (FTX), C. Tong (EY), T. Shea (EY), J. Scott (EY), K.
Berman,Jake                Senior Manager       1/31/2023                 US Income Tax                                                                                                                         0.60     $650.00       $390.00
                                                                                                       Lowery (EY), J. Berman (EY), B. Mistler (EY), P. Ash (EY),
                                                                                                       Tax update with key stakeholders, M. Cilia (FTX), C. Tong (EY), T. Shea (EY), J. Scott (EY), K.
Shea JR,Thomas M          Partner/Principal     1/31/2023                 US Income Tax                                                                                                                         0.60     $825.00       $495.00
                                                                                                       Lowery (EY), J. Berman (EY), B. Mistler (EY), P. Ash (EY),
                                                                                                       Tax update with key stakeholders, M. Cilia (FTX), C. Tong (EY), T. Shea (EY), J. Scott (EY), K.
Tong,Chia-Hui              Senior Manager       1/31/2023       Project Management Office Transition                                                                                                            0.60     $650.00       $390.00
                                                                                                       Lowery (EY), J. Berman (EY), B. Mistler (EY), P. Ash (EY),
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                Name           Rank           Date of Service               Project Category                                                      Description of Services                                            Hours   Hourly Rate   Fees
                                                                                                           Discuss process, data/information request needs related to exam notice for Ledger Holdings. EY
Ash,Polly Westerberg      Senior Manager        1/31/2023         Project Management Office Transition                                                                                                               0.30     $650.00       $195.00
                                                                                                           Attendees: C. Ancona, P. Ash, C. Ellenson, T. Shea, C. Tong
                                                                                                           Discuss process, data/information request needs related to exam notice for Ledger Holdings. EY
Ellenson,Cory             Senior Manager        1/31/2023         Project Management Office Transition                                                                                                               0.30     $650.00       $195.00
                                                                                                           Attendees: C. Ancona, P. Ash, C. Ellenson, T. Shea, C. Tong
                                                                                                           Discuss process, data/information request needs related to exam notice for Ledger Holdings. EY
Ancona,Christopher             Senior           1/31/2023         Project Management Office Transition                                                                                                               0.30     $395.00       $118.50
                                                                                                           Attendees: C. Ancona, P. Ash, C. Ellenson, T. Shea, C. Tong
                                                                                                           Discuss process, data/information request needs related to exam notice for Ledger Holdings. EY
Shea JR,Thomas M          Partner/Principal     1/31/2023                    US Income Tax                                                                                                                           0.30     $825.00       $247.50
                                                                                                           Attendees: C. Ancona, P. Ash, C. Ellenson, T. Shea, C. Tong
                                                                                                           Discuss process, data/information request needs related to exam notice for Ledger Holdings. EY
Tong,Chia-Hui             Senior Manager        1/31/2023         Project Management Office Transition                                                                                                               0.30     $650.00       $195.00
                                                                                                           Attendees: C. Ancona, P. Ash, C. Ellenson, T. Shea, C. Tong
                              National
Lowery,Kristie L                                1/31/2023       Non-Working Travel (billed at 50% of rates) Travel from New York, NY to Charlotte, NC                                                                3.60     $495.00      $1,782.00
                          Partner/Principal
Hammon,David Lane             Manager           1/31/2023       Non-Working Travel (billed at 50% of rates) Travel from Cleveland, OH to New York, NY for meetings                                                   6.00     $262.50      $1,575.00
                                                                                                           Update communication to local teams based off General Counsel's feedback and issuing of
Hammon,David Lane             Manager           1/31/2023                     Non US Tax                                                                                                                             0.70     $525.00       $367.50
                                                                                                           communication to local teams
                                                                                                           Update Notice tracker, rename files, update document type, create drop down options for several
Hamilton,Mary Catherine        Senior           1/31/2023                      Payroll Tax                                                                                                                           1.70     $395.00       $671.50
                                                                                                           columns in tracker
Zheng,Eva                     Manager           1/31/2023                US State and Local Tax            Use scoping and budget tool to calculate and forecast TY22 state compliance hours                         1.90     $525.00       $997.50
                                                                                                           Weekly PMO with FTX, RLKS, A&M, S&C update for executive group. Attendees include 30+
Shea JR,Thomas M          Partner/Principal     1/31/2023                    US Income Tax                                                                                                                           0.70     $825.00       $577.50
                                                                                                           individuals across all firms (did not attend full meeting)
Ancona,Christopher             Senior           1/31/2023             Fee/Employment Applications          Work related to processing the monthly fee application                                                    3.10     $395.00      $1,224.50
Shea JR,Thomas M          Partner/Principal     1/31/2023                US State and Local Tax            Draft correspondence re: Letter from state Comptroller                                                    0.80     $825.00        $660.00
Shea JR,Thomas M          Partner/Principal     1/31/2023                    US Income Tax                 Draft correspondence to EY team leads regarding priority tasks and workstreams for the weak               1.00     $825.00       $825.00
                                                                                                           Draft correspondence with EY controversy team re: background information on entities subject to
Shea JR,Thomas M          Partner/Principal     1/31/2023                    US Income Tax                                                                                                                           1.40     $825.00      $1,155.00
                                                                                                           income tax examination
                                                                                                           Correspondence with Robbie Hoskins re: Tax compliance kick-off and preliminary request items
Shea JR,Thomas M          Partner/Principal     1/31/2023                    US Income Tax                                                                                                                           0.80     $825.00       $660.00
                                                                                                           (chart of accounts, tax organizational structure)
                                                                                                           Analyze transaction data ( we had to date ) that will be reported to clients to confirm what we plan to
Richardson,Audrey Sarah       Manager           1/30/2023                 Information Reporting                                                                                                                      1.40     $525.00       $735.00
                                                                                                           present is accurate and complete
                                                                                                           Continue the analysis of transaction data that will be reported to clients by going through the remote
Richardson,Audrey Sarah       Manager           1/30/2023                 Information Reporting                                                                                                                      2.20     $525.00      $1,155.00
                                                                                                           desktop and looking at the transaction tables
                                                                                                           Analyze transaction data and the various tables in the remote desktop and document open questions
Richardson,Audrey Sarah       Manager           1/30/2023                 Information Reporting                                                                                                                      2.00     $525.00      $1,050.00
                                                                                                           for Nils and ftx team
Nichol,T.J.               Senior Manager        1/31/2023                 Information Reporting            1/31 1099 - NEC filing deadline for Ledger entities; prepare reporting templates                          3.90     $650.00      $2,535.00
                                                                                                           1/31 1099 - NEC filing deadline for Ledger entities; reviewed filings with Tara F. (EY) and Audrey R.
Richardson,Audrey Sarah       Manager           1/31/2023                 Information Reporting                                                                                                                      2.20     $525.00      $1,155.00
                                                                                                           (EY)
                                                                                                           1/31 1099 - NEC filing deadline for Ledger entities; reviewed filings with Tara F. (EY) and Audrey R.
Ferris,Tara               Partner/Principal     1/31/2023                 Information Reporting                                                                                                                      2.20     $825.00      $1,815.00
                                                                                                           (EY)
                                                                                                           Review intercompany agreements to determine cost allocations; review terms and conditions of user
Hall,Olivia                     Staff           1/30/2023                     Non US Tax                                                                                                                             3.20     $225.00       $720.00
                                                                                                           agreements
                                                                                                           Call with Zubr management, E. Simpson (SC), B. Richards, K. Hutchison, and N. Bugden (EY) and
Bugden,Nick R             Senior Manager         1/3/2023                 Liquidation Activities                                                                                                                     0.50     $900.00       $450.00
                                                                                                           A&M to discuss Zubr liquidation process
                                                                                                           Call with Zubr management, E. Simpson (SC), B. Richards, K. Hutchison, and N. Bugden (EY) and
Hutchison,Keiran          Partner/Principal      1/3/2023                 Liquidation Activities                                                                                                                     0.50     $850.00       $425.00
                                                                                                           A&M to discuss Zubr liquidation process
                                                                                                           Call with Zubr management, E. Simpson (SC), B. Richards, K. Hutchison, and N. Bugden (EY) and
Richards,Briana A.        Partner/Principal      1/3/2023                 Liquidation Activities                                                                                                                     0.50     $1,150.00     $575.00
                                                                                                           A&M to discuss Zubr liquidation process
                                                                                                           Discussion re: treatment of tax reserve balances for monthly operating reports Attendees: J. Scott
Bugden,Nick R             Senior Manager         1/3/2023                    US Income Tax                                                                                                                           0.50     $900.00       $450.00
                                                                                                           (EY), B. Richards, N. Flagg (EY), N. Bugden, D. Johnson (EY), T. Shea (EY)
Hutchison,Keiran          Partner/Principal     1/10/2023                 Liquidation Activities           Conference calls with S&C, A&M, EY and FTX to discuss KYC Testing                                         0.80     $850.00       $680.00
Bugden,Nick R             Senior Manager        1/12/2023                 Liquidation Activities           Call with T. Hudson and C. Arnett (A&M) and N. Bugden and K. Hutchison (EY) re Zubr liquidation           0.30     $900.00       $270.00

Hutchison,Keiran          Partner/Principal     1/12/2023                 Liquidation Activities           Call with T. Hudson and C. Arnett (A&M) and N. Bugden and K. Hutchison (EY) re Zubr liquidation           0.30     $850.00       $255.00
Hutchison,Keiran          Partner/Principal     1/17/2023                 Liquidation Activities           Call with K. Schultea, M Cilia, B Richards (EY), K Hutchison (EY), T Shea (EY) re liquidation             0.70      $850.00      $595.00
Richards,Briana A.        Partner/Principal     1/17/2023                 Liquidation Activities           Call with K. Schultea, M Cilia, B Richards (EY), K Hutchison (EY), T Shea (EY) re liquidation             0.70     $1,150.00     $805.00
                                                                                                           Call with T. Shea (EY) and J. Scott(EY), N. Bugden (EY) and E. Simpson (S&C) regarding
Bugden,Nick R             Senior Manager        1/19/2023                 Liquidation Activities                                                                                                                     0.40     $900.00       $360.00
                                                                                                           liquidation considerations for FTX Trading GmbH
                                                                                                           Call with T. Shea (EY) and J. Scott(EY), N. Bugden (EY) and E. Simpson (S&C) regarding
Shea JR,Thomas M          Partner/Principal     1/19/2023                 Liquidation Activities                                                                                                                     0.40     $825.00       $330.00
                                                                                                           liquidation considerations for FTX Trading GmbH
                           Client Serving                                                                  Call with T. Shea (EY) and J. Scott(EY), N. Bugden (EY) and E. Simpson (S&C) regarding
Scott,James                                     1/19/2023                 Liquidation Activities                                                                                                                     0.40     $600.00       $240.00
                           Contractor JS                                                                   liquidation considerations for FTX Trading GmbH
                                                                                                           Call with N. Bugden (EY) and T. Hill (S&C), J. Sandow (EY), K. Hutchison (EY), regarding
Bugden,Nick R             Senior Manager        1/19/2023                 Liquidation Activities                                                                                                                     0.40     $900.00       $360.00
                                                                                                           liquidation considerations for FTX Trading GmbH
Richards,Briana A.        Partner/Principal     1/19/2023                 Liquidation Activities           Call with A&M and S&C regarding Embed Liquidation Value Analysis                                          0.30     $1,150.00     $345.00
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                Name        Rank           Date of Service    Project Category                                                Description of Services                                        Hours      Hourly Rate      Fees
                                                                                        Call with N. Bugden (EY) and T. Hill (S&C), J. Sandow (EY), K. Hutchison (EY), regarding
Hutchison,Keiran       Partner/Principal     1/19/2023       Liquidation Activities                                                                                                           0.40       $850.00           $340.00
                                                                                        liquidation considerations for FTX Trading GmbH
Richards,Briana A.     Partner/Principal     1/20/2023       Liquidation Activities     Review docket (.9) and attended a portion of the hearing (1.3)                                        2.20       $1,150.00        $2,530.00
                                                                                        Call with B. Richards, K. Hutchison, and N. Bugden (EY) to discuss initial steps required for Zubr
Bugden,Nick R          Senior Manager        1/24/2023       Liquidation Activities                                                                                                           0.30       $900.00           $270.00
                                                                                        (Gibraltar) liquidation
                                                                                        Call with B. Richards, K. Hutchison, and N. Bugden (EY) to discuss initial steps required for Zubr
Richards,Briana A.     Partner/Principal     1/24/2023       Liquidation Activities                                                                                                           0.30       $1,150.00         $345.00
                                                                                        (Gibraltar) liquidation
                                                                                        Call with B. Richards, K. Hutchison, and N. Bugden (EY) to discuss initial steps required for Zubr
Hutchison,Keiran       Partner/Principal     1/24/2023       Liquidation Activities                                                                                                           0.30       $850.00           $255.00
                                                                                        (Gibraltar) liquidation
                                                                                        Call with E. Simpson, M. Haase, T. Hill, O. de Vito Piscicelli, Lenz, A&M and FTX Europe
Richards,Briana A.     Partner/Principal     1/24/2023       Liquidation Activities                                                                                                           0.10       $1,150.00         $115.00
                                                                                        personnel re: FTX Trading GmbH and next steps
                                                                                        Call with N. Rumford, B. Richards, K. Hutchison, and N. Bugden (EY) to prepare for management
Rumford,Neil           Partner/Principal     1/25/2023       Liquidation Activities                                                                                                           0.30       $990.00           $297.00
                                                                                        call on Zubr (Gibraltar) liquidation
                                                                                        Call with N. Rumford, B. Richards, K. Hutchison, and N. Bugden (EY) to prepare for management
Bugden,Nick R          Senior Manager        1/25/2023       Liquidation Activities                                                                                                           0.30       $900.00           $270.00
                                                                                        call on Zubr (Gibraltar) liquidation
                                                                                        Call with N. Rumford, B. Richards, K. Hutchison, and N. Bugden (EY) to prepare for management
Richards,Briana A.     Partner/Principal     1/25/2023       Liquidation Activities                                                                                                           0.30       $1,150.00         $345.00
                                                                                        call on Zubr (Gibraltar) liquidation
                                                                                        Call with N. Rumford, B. Richards, K. Hutchison, and N. Bugden (EY) to prepare for management
Hutchison,Keiran       Partner/Principal     1/25/2023       Liquidation Activities                                                                                                           0.30       $850.00           $255.00
                                                                                        call on Zubr (Gibraltar) liquidation
Bugden,Nick R          Senior Manager        1/25/2023       Liquidation Activities     Discussed liqudiation considerations with N. Bugden and B. Richards (EY)                              0.40        $900.00          $360.00
Richards,Briana A.     Partner/Principal     1/25/2023       Liquidation Activities     Discussed liqudiation considerations with N. Bugden and B. Richards (EY)                              0.40       $1,150.00         $460.00
Richards,Briana A.     Partner/Principal     1/25/2023       Liquidation Activities     Review correspondence with S&C re liquidation of Zubr (0.3), reviewed financial statements (0.4)      0.70       $1,150.00         $805.00

Bugden,Nick R          Senior Manager        1/25/2023       Liquidation Activities     Review latest Zubr financials (Oct 2022) to understand solvecy position and category of assets        0.80       $900.00           $720.00
Rumford,Neil           Partner/Principal     1/25/2023       Liquidation Activities     Review Zubr data sent by N Budgen; rvw info sent by EY US                                             1.30       $990.00          $1,287.00
                                                                                        Call with Zubr (Gibraltar) directors, E. Simpson (SC), N. Rumford, B. Richards, K. Hutchison, and
Rumford,Neil           Partner/Principal     1/26/2023       Liquidation Activities                                                                                                           0.50       $990.00           $495.00
                                                                                        N. Bugden (EY) to discuss Zubr assets, liabilities, data needs, and liquidation process
                                                                                        Call with Zubr (Gibraltar) directors, E. Simpson (SC), N. Rumford, B. Richards, K. Hutchison, and
Bugden,Nick R          Senior Manager        1/26/2023       Liquidation Activities                                                                                                           0.50       $900.00           $450.00
                                                                                        N. Bugden (EY) to discuss Zubr assets, liabilities, data needs, and liquidation process
                                                                                        Call with Zubr (Gibraltar) directors, E. Simpson (SC), N. Rumford, B. Richards, K. Hutchison, and
Richards,Briana A.     Partner/Principal     1/26/2023       Liquidation Activities                                                                                                           0.50       $1,150.00         $575.00
                                                                                        N. Bugden (EY) to discuss Zubr assets, liabilities, data needs, and liquidation process
                                                                                        Call with Zubr (Gibraltar) directors, E. Simpson (SC), N. Rumford, B. Richards, K. Hutchison, and
Hutchison,Keiran       Partner/Principal     1/26/2023       Liquidation Activities                                                                                                           0.50       $850.00           $425.00
                                                                                        N. Bugden (EY) to discuss Zubr assets, liabilities, data needs, and liquidation process
Rumford,Neil           Partner/Principal     1/28/2023       Liquidation Activities     Review information emailed by Olga Okuneva on 27/1/23                                                 0.50       $990.00           $495.00
Rumford,Neil           Partner/Principal     1/28/2023       Liquidation Activities     Consideration of next steps (position re regulator, Co House up to date, poss redundancy, MVL Q       1.00       $990.00           $990.00
Rumford,Neil           Partner/Principal     1/30/2023       Liquidation Activities     Email to EY US re protocol/current status                                                             0.10       $990.00            $99.00
                                                                                        Call with N. Rumford, B. Richards, K. Hutchison, and N. Bugden (EY) to review draft Zubr
Rumford,Neil           Partner/Principal     1/31/2023       Liquidation Activities                                                                                                           0.50       $990.00           $495.00
                                                                                        liquidation questionnaire and discuss potential flow of funds
                                                                                        Call with N. Rumford, B. Richards, K. Hutchison, and N. Bugden (EY) to review draft Zubr
Bugden,Nick R          Senior Manager        1/31/2023       Liquidation Activities                                                                                                           0.50       $900.00           $450.00
                                                                                        liquidation questionnaire and discuss potential flow of funds
                                                                                        Call with N. Rumford, B. Richards, K. Hutchison, and N. Bugden (EY) to review draft Zubr
Richards,Briana A.     Partner/Principal     1/31/2023       Liquidation Activities                                                                                                           0.50       $1,150.00         $575.00
                                                                                        liquidation questionnaire and discuss potential flow of funds
                                                                                        Call with N. Rumford, B. Richards, K. Hutchison, and N. Bugden (EY) to review draft Zubr
Hutchison,Keiran       Partner/Principal     1/31/2023       Liquidation Activities                                                                                                           0.50       $850.00           $425.00
                                                                                        liquidation questionnaire and discuss potential flow of funds

Total                                                                                                                                                                                        1,837.80                 $1,130,705.00
